Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                      Page 1 of 101 PageID 5213
                                                                                                              1




                                        REPORTERS             RECORD
                                       VOLUME 39              OF 55
     2                      TRIAL    COURT CAUSE              NO. 1184294D
                            COURT    OF APPEALS           NO.      AP-76596
     3



     4   STATE    OF   TEXAS                             IN    THE      432ND     JUDICIAL

     5   VS.                                             DISTRICT          COURT        OF


     6   JOHN    WILLIAM    HUMMEL                       TARRANT          COUNTY         TEXAS

     7


     8


     9


    10
                                                                                         FILED IN
                                     TRIAL     ON     THE      MERITS
                                                                                 COURT OF CRIMINAL
    11                                                                                                       APPEALS


    12                                                                                       FEB 02   2012



    13
                                                                                   Louise Pearson Clerk
                                                                                                 s


    14


    15                 On   the   21st   day     of      June           2011     the


    16   following      proceedings       came      on    to       be    heard     in    the


    17   above-entitled        and   -numbered           cause          before     the       Honorable

    18   Ruben    Gonzalez        Jr.    Judge      Presiding              held     in       Fort


    19   Worth     Tarrant     County      Texas

    20                 Proceedings       reported             by   machine        shorthand.

    21



    22


    23


    24                            ANGIE TAYLOR   CSR RPR
                                  Official Court Reporter
    25                             432nd DISTRICT COURT
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                            Page 2 of 101 PageID 5214
                                                                                                          2




      1                            A    P   P   E       A   R   A    N    C    E   S



      2



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     16


     17


     18


     19


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     25
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17              Page 3 of 101 PageID 5215
                                                                                            3




      1                                 CHRONOLOGICAL  INDEX
                                             VOLUME 39
      2                                 TRIAL ON THE MERITS


      3

          JUNE    21     2011                                             PAGE        VOL
      4


      5   STATES        WITNESSES            DIRECT       CROSS       VOIR     DIRE   VOL


      6   Ernest       Van    Der   Leest    3857          111         1423           39
                                             99122                     536975
      7

          Kristie       Freeze               129162        165         158            39
      8

          Shiping       Bao                  180212        208213                     .3
      9

                  Sisler                     216                                      39
          Gary
    10


    11

          Proceedings          Concluded .................                   259      39
    12
          Court     Reporters         Certificate ..........                 260      39
     13


     14
                                    ALPHABETICAL      WITNESS     INDEX
     15
          WITNESSES                          DIRECT        CROSS       VOIR    DIRE   VOL
     16
          Bao     Shiping                    180212        208213                     39
     17
          Freeze        Kristie              129162        165         158            39
     18
          Sisler        Gary                 216                                      39
     19
          Van    Der    Leest       Ernest   3857          111         1423           39
     20                                      99    122                 536975

     21



     22


     23


     24


     25
     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17       Page 4 of 101 PageID 5216
                                                                                          4




           1                             EXHIBIT      INDEX


           2

               STATE
           3   NO.        DESCRIPTION                    OFRD          ADMT        VOL

           4   229B2      MetroPCS   Records               158          162          39


           5   229C1      MetroPCS   Text   Records      110           111           39
                          Redacted
           6

               229D2      MetroPCS   Records               163           163         39
           7
               229E1      MetroPCS   Records             110           111           39
           8              Redacted

           9   229F1      MetroPCS   Records          93126          93126           39


          10   250        M.E.   Photograph                258           258         39


          11   251        M.E.   Photograph                258           258         39


          12   252        M.E.   Photograph                258           258         39


          13   253        M.E.   Photograph                258           258         39
r-

          14   254        M.E.   Photograph                258           258         39


          15   270A       M.E.   Diagram-Jodi     Hummel      245        245         39


          16   270B       M.E.   Diagram-Jodi     Hummel      245        245         39


          17   270C       M.E.   Diagram-Jodi     Hummel      245        245          39.


          18   270D       M.E.   Diagram-Jodi     Hummel      245        245          39


          19   270E       M.E.   Diagram-Jodi     Hummel      245        245          39


          20   270F       M.E.   Diagram-Jodi     Hummel      245        245          39


          21   270G       M.E.   Diagram-Jodi     Hummel      245        245          39


          22   270H       M.E.   Diagram-Jodi     Hummel      246        246          39


          23   271A       M.E.   Diagram-C.    Bedford        232        232          39


          24   271B       M.E.   Diagram-C.    Bedford        232        232          39


          25   271C       Model-Skull-C.       Bedford        230        230          39
      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17         Page 5 of 101 PageID 5217
                                                                                             5




rte

            1                                  EXHIBIT   INDEX
                STATE
            2   NO.        DESCRIPTION                        OFRD        ADMT        VOL


            3   272A       M.E.    Diagram                     200          200         39


            4   272B       M.E.    Diagram                     200          200         39


            5   272C       M.E.    Diagram                     200          200         39


            6   273B       Wells Fargo         Records         58           58           39
                           Poster
            7

                273C       Wells Fargo                         58           58           39
            8              Poster

            9   273F       Excerpt       of   Wells   Fargo      53          57          39
                           Binder
           10
                303        Image    of    Book   Cover         165          165          39
           11

                304        M.E.    Photo-Joy      Hummel       194          198          39
           12
                305        M.E.    Photo-Joy      Hummel       194          198          39
           13
                306        M.E.    Photo-Joy      Hummel       194          198          39
           14
                307        M.E.    Photo-Joy      Hummel       194          198          39
           15
                308        M.E.    Photo-Joy      Hummel       194          198          39
           16
                309        M.E.    Photo-Joy      Hummel       194          198          39
           17
                310        M.E.    Photo-Joy      Hummel       194          198          39
           18
                311        M.E.    Photo-Joy      Hummel       194          198          39
           19
                312        M.E.    Photo-Joy      Hummel       194          198          39
           20
                313        M.E.    Photo-Joy      Hummel       194          198          39
           21

                314        M.E.    Photo-Joy      Hummel       194          198          39
           22
                315        M.E.    Photo-Joy      Hummel       194          198          39
           23
                316        M.E.    Photo-Joy      Hummel       194          198          39
           24
                317        M.E.    Photo-Joy      Hummel       194          198          39
           25
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17       Page 6 of 101 PageID 5218
                                                                                     6




                                       EXHIBIT   INDEX

      2   STATE
          NO.        DESCRIPTION                   OFRD           ADMT         VOL
      3



      4   318        M.E.   Photo-Joy     Hummel     194            198          39


      5   353        M.E.   Photo-C.    Bedford      225            229          39

      6   354        M.E.   Photo-C.    Bedford      225            229          39

      7   355        M.E.   Photo-C.    Bedford      225            229          39


      8   356        M.E.   Photo-C.    Bedford      225            229          39


      9   357        M.E.   Photo-C.    Bedford      225            229          39

     10   358        M.E.   Photo-C.    Bedford      225            229          39


     11   359        M.E.   Photo-C.    Bedford      225            229          39

     12   360        M.E.   Photo-C.    Bedford      225            229          39


     13   361        M.E.   Photo-C.    Bedford      225            229          39

     14   362        M.E.   Photo-C.    Bedford      225            229          39

     15   363        M.E.   Photo-C.    Bedford      225            229          39

     16   364        M.E.   Photo-C.    Bedford      225            229          39

     17   365        M.E.   Photo-C.    Bedford      225            229         39

     18   366        M.E.   Photo-C.    Bedford      225            229         39

     19   367        M.E.   Photo-C.    Bedford      225            229         39

     20   368        M.E.   Photo-C.    Bedford      242            243         39

     21   369        M.E.   Photo-C.    Bedford      242            243         39

     22   370        M.E.   Photo-C.    Bedford      242            243         39

     23   371        M.E.   Photo-C.    Bedford      242           243          39

     24   372        M.E.   Photo-C.    Bedford      242           243          39

    25    373        M.E.   Photo-C.    Bedford      242           243          39
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17         Page 7 of 101 PageID 5219
                                                                                       7




      1                               EXHIBIT      INDEX

      2    STATE
           NO.       DESCRIPTION                      OFRD          ADMT         VOL
      3



      4    374       M.E.    Photo-C.     Bedford      242            243          39


      5    375       M.E.    Photo-C.     Bedford      242            243          39


      6    376       Photo    -   Blood   Card         251            251          39


      7    377       Photo    -   Blood   Card         202            202          39


      8    378       Photo    -   Blood   Card         236            236          39


      9    379       Photo    -   Fetus                202            202          39


     10    385       M.E.    Photograph                258            258          39


     11    386       M.E.    Photograph                258            258          39


     12    387       M.E.    Photograph                258            258          39


     13    405A      DME-Original-Walmart                  --         37           39
                     Burleson
     14
           405B      DME-Excerpts-Walmart                  --          37          39
     15              Burleson

     16    406A      DME-Original-Walmart                  --         37           39
                     Grand Prairie
     17
           406B      DME-Excerpts-Walmart                  --          37          39
     18.             Grand Prairie

     19    407A      DME-Original -Walmart                 --         37          39
                     Arlington
     20
           407B      DME-Excerpts-Walmart                  --          37         39
     21              Arlington

     22    408A      DME-Coast      Inn-Original       22             22          39

     23    408B      DME-Coast      Inn-Excerpt     2246               46         39

     24    412       Still    Image   E-Z   Mart           63          65         39

     25    413       Still    Image   E-Z   Mart           63          65         39
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17               Page 8 of 101 PageID 5220
                                                                                             8




      1                                 EXHIBIT          INDEX
          STATE
      2   NO.        DESCRIPTION                             OFRD         ADMT        VOL

      3   414        Still     Image    E-Z       Mart           63          65         39


      4   415        Still     Image    Walmart                  63          65         39


      5   416        Still     Image    Walmart                  63          65         39


      6   417        Still     Image    Walmart                  63          65         39


      7   418        Still     Image    Walmart                  63          65         39


      8   419        Still     Image    Walmart                  63          65         39


      9   420        Still     Image    Walmart                  63          65         39


     10   421        Still     Image    Walmart                  63          65         39


     11   422        Still     Image    Walmart                  63          65         39


     12   423        Still     Image    Walmart                  63          65         39


     13   424        Still     Image    Walmart                  63          65         39


     14   425        Still     Image    Walmart                  63          65         39


     15   426        Still     Image    Coast          Inn       63          65         39


     16   427        Still     Image    -                        63          63         39
                     Main     Attraction
     17
          431        DME-ATM-Walmart                             --          37          39
     18
          432A       DME-E-Z  Mart-Joshua                        --         37          39
     19              Complete

     20   432B       DME-E-Z  Mart-Joshua                        --          37         39
                     Redacted
     21

          437B       Remnant     of    Shirt       -          191           191         39
     22              Joy     Hummel


     23   441        Photos-Known           DNA               252           252         39
                     Samples
     24
          442        Photos-Known           DNA               252           255         39
     25              Samples
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17       Page 9 of 101 PageID 5221
                                                                                     9




      1                                EXHIBIT   INDEX
          STATE
      2   NO.        DESCRIPTION                     OFRD          ADMT        VOL

      3   445        Map-Blow-up                      59            59           39


      4   446        Comparison       Photo              68          99          39


      5   447        Still    Photos    from   DME       63          65          39


      6   448        Photo-Walmart                       63          65          39


      7   449        Photos-Walmart                      63          65          39


      8   450        Photos-Walmart                      63          65          39


      9   451        Photos-Walmart                      63          65          39


     10   452        Photos-Walmart                      63          65          39


     11   453        Photos-Walmart                      63          65          39


     12   454        Photos-Walmart                      63          65          39


     13   455        Photos-Walmart                      63          65          39


     14   456        Photos-Walmart                      63          65          39


     15   457        Photos-Walmart                      63          65          39


     16   458        Photos-Walmart                      63          65          39

     17   459        Photos-Walmart                      63          65          39


     18   460        Photos-Walmart                      63          65          39

     19   462        Wallet                              49          49          39

     20   463        Keys                                49          49          39


     21   464        Motel    Keys                       49          49          39

     22   465A       Boot                                49          49          39


     23   465B       Boot                                49          49          39

     24   466        Black    Shirt                      49          49          39

     25   467        Pants                               49          49          39
 --7
                                                   11                                                                                                                                                                                                                                             13
                   Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                          Page 10 of 101 PageID 5222
 1                                          PROCEEDINGS                                                                                                   1   had custody of the tape                                        up        until           the     time that Mr. Van

 2                                  June 21 2011                                  907 a.m.                                                                2   Der Leest                 took        it    to        testify        that           it     was        not materially

 3                                  Open             court Defendant                                 present no jury                                      3   altered          in       any way.

                                    THE COURT                            Were back on                             the       record            in   the    4                                   THE COURT                            All       right.                And under Rule 901

     John Hummel case.                                                                                                                                    5   thats       not           required.

 6                                  Previously                 --    or        yesterday                      the       Court was                         6                                   MR.             MOORE                Well


     provided           with         a    question                  with regard                      to       a series of                                 7                                   THE COURT                            I       understand                   your objection

 8   video       recordings that                          were taken place at an E-Z Mart a                                                               8   and        Im        overruling                  it    on that basis.

 9   Walmart            --     and was there another                                        location                   State                              9                                   MR.             MOORE                Thats                 fine Judge.

10                                  MR.     BRISSETTE                             E-Z Mart and Walmart                                         have      10                                   THE COURT                            Now                 with regard to                --       do you

11   been     talked              about so far Your Honor                                             and theres                                         11   want me to review the tape to determine                                                                      whether or not

12   footage
                       --
                             hyper technically                            from an ATM                             --    a    banking                     12   the    evidence                 sufficient                sic            to     support a finding                          that

13   establishment                       inside a          Walmart.                                                                                      13   the    matter              in   question                  is   what the proponent                                 --       or   what

14                                  THE COURT                            All    right.           And at that time                                        14   the State claims                           it    to     be
15   the    Defense                 made an               objection                   on    the basis that                           there               15                                   MR.             MOORE                It       --      it    would be            my         request

16   was     a lack of foundation                               or the requisite                               basis         for     the                 16   that       you do              so.


17   admission of the evidence                                       had not been                             satisfied.                                 17                                   THE COURT                            All       right.                State can you go

18                                  The Court has been                                  provided                   some evidence                         18   ahead           and set up the camera so that we can                                                              --       or the

19   or provided                  case      law       to       review             and has done                              so      and                  19   video           and        I   will        have         a couple                   of questions                 for    Mr.       Van

20   considered               it.        Tentatively                     its     the       Courts                                                        20   Der Leest.

21   conclusion                   based      upon              the       Angleton                    Case 971                       S.W.2d          65   21                                   MR.             BRISSETTE                          And          --
                                                                                                                                                                                                                                                                    and Judge
22   and    in     a    underpinning                       contained                   within             Darnell                Alonzo                  22   before          --    while           Mr.        Van Der Leest                             is
                                                                                                                                                                                                                                                               doing         that        Page     v.


23   Page     v.       State         --    and        I   do not have                       the           cite         with         me     but           23   State       is       125 S.W.3d                       640.


24   the    Court of Appeals                          cause              number                 is    01-02-1213                      CR                 24                                   THE COURT                            Thank                 you.

15   contains           an underpinning                             of a        Reavis               v.       State         from the                     25                                   MR.          BRISSETTE                             And Thierry                  vs.    State        that


                                                                                                                                               12                                                                                                                                                 14

 1   Fort    Worth Court of Appeals                                            the     2002 84 S.W.3d                                 716                 1   cites      page           that        we used yesterday                                     is       288 S.W.3d             80.

 2   that    addresses                    specifically               the        admittance                         of the                                 2                                   THE COURT                            Thank                 you.

 3   security videotape.                                                                                                                                  3                                   MR.          BRISSETTE                             Judge              we have him as                     I



 4                                  Now          I    would             like     to        ask the Defense                                have            4   think       chronological                             order.         Van              Der Leest                can start

 5   you had an opportunity                                    to review the case                                      law that           was             5   with the             E-Z Mart                    which          is       States Exhibit 432B                                Your

 6   provided           by the             State and do you have                                              a   response                                6   Honor           that           weve             offered for                   all
                                                                                                                                                                                                                                                       purposes.

 7                                  MR.     CUMMINGS                              I    have           no response                        this             7                                   THE COURT                            You may proceed.

 8   morning Your Honor.                                                                                                                                  8                                   States                  Exhibit No.                        432B published

 9                                  THE COURT                           All     right.           Now               I    will        ask do                9                                   THE COURT                            State                 what was that exhibit

10   you    believe               its     necessary                 for        the Court                  to       conduct               an              10   432        is    that          correct

     examination                    of the                                     before                                                                                                         MR.          BRISSETTE
11                                                   videotape                                   admitting                     it    or                  11                                                                                      432B              as   in   boy Yes Your
12   based       upon             your knowledge                               have        the requisites                           been                 12   Honor.

13   satisfied          based             upon        the Rule                  of     Evidence                   901 and the                            13                                   THE COURT                            Thank                 you.

14   Angleton case the Reavis                                       case          I    cited          to          and the Alonzo                         14                                               ERNEST              VAN DER LEEST
15   Page     v.       State         case                                                                                                                15   having          been           first        duly        sworn                 testified               as follows

16                                  MR.     MOORE                        No       I    still     --       I    still        object                       16                                                     VOIR EXAMINATION
17   to the      admission.                  I       dont           --    I    still       dont think they                                               17   BY MR.           BRISSETTE
18   laid   the        predicate.                    He said             that          he didnt know.                               He                   18           Q.           Mr.       Van Der Leest                             I    believe the next                        in    the

19   couldnt           --           was               opinion that                      there             been              no
                             it             his                                                                                                          19   timeline             is   the        Burleson              Walmart                         is    that     correct

     alteration             of the         tape but he didnt know                                                 that as a                              20          A.            It   is     sir.


     fact    and theres                    been           no testimony.                                                                                  21                                   MR.          BRISSETTE                          Judge                 that     would be 405B

22                                  In    Angleton                  a     lot    of the admissibility of                                                 22   as    in   boy.

23   the                turned            upon            the       fact that                    was taken                       from the                                                                                                              405B published
            tape                                                                           it                                                            23                                   States                  Exhibit No.

24   person        of the            Defendant.                     And         in     this          particular                                          24           Q.           BY        MR.          BRISSETTE                           Investigator                    Van Der Leest
25                      our problem                             we dont have anybody                                                          has        25          ATM
     instance                                             is                                                                        that                      the                  footage               that         you collected                           does      it   come through
                                                                                                                               15                                                                                                                              17
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                     Page 11 of 101 PageID 5223
  1   the store         we      just looked                 at      in    405B                                                        1   Walmart         in      Grand Prairie                        is    that    correct

 2           A.     It     does            sir.                                                                                       2          A.      That            is   correct.


  3          Q.     And would                      that     be States             431                                                 3                                 THE COURT                       Excuse            me      just      --    the proffer

A1           A.     I    believe            thats           correct.                                                                  4   that    you    were discussing                               what was the metadata

             Q.     Can you                 show           the      Judge        States 431 on the                                    5   information              that           was retrieved                    from What                 exhibit         was

 6    screen                                                                                                                          6   that

 7                              States               Exhibit             No.   431 published                                          7                                 MR.       BRISSETTE                        Your Honor                were       --   on the

  8                             THE WITNESS                              Thats     it.                                                8   screen       we have States                            Exhibit           431       displayed            on the

  9                             MR.         BRISSETTE                      Judge             if    I
                                                                                                       may         as part of         9   screen.


10    our proffer          to        this    while          youre looking                         at   it                            10                                 THE COURT                       And the one thats                          been

11           Q.     BY          MR.         BRISSETTE                      Mr.    Van Der Leest                          youve       11   proffered           right          there

12    had a chance                   to look         at     States 343              have you not                                     12                                 MR.       BRISSETTE                        This      is   343 thats             already

13           A.     I    have.                                                                                                       13   been        admitted               that       Mr.      Hummel gave                      to investigator             Steve

14           Q.     There             is   an ATM               receipt        on States 343.                           Do you       14   Steele.


15    recognize that                  receipt                                                                                        15                                 THE COURT                       Thank you.




--24
16           A.     I    do.                                                                                                         16          Q.      BY             MR.       BRISSETTE                    Investigator                  Van     Der Leest

17           Q.     And does                  it    have        a   time stamp on                           it                       17   is   the    Grand             Prairie         Walmart States 406B                                  is    that the


18           A.     It     does.                                                                                                     18   next    one        in    the        timeline

19           Q.     And what                  is    that        time stamp                                                           19          A.      It       is.




20           A.     014654                    a.m.                                                                                   20          Q.      And can you show 406B to the Judge                                                         please

21           Q.     The States                      431 thats              on the screen                         right   now         21                                 States               Exhibit         No.     406B          published

22    were you able to look at the metadata                                                    associated                with        22                                 MR.       BRISSETTE                        Your Honor                in    continuation


23    that   video                                                                                                                   23   of the       States            proffer

             A.     Yes.                                                                                                             24          Q.      BY             MR.       BRISSETTE                        Mr.    Van Der Leest                   States

                    Did         it    have         a time stamp as well                                                              25   Exhibit       343        --       thats           been       admitted              there to            your

                                                                                                                               16                                                                                                                              18

  1          A.     It     did.                                                                                                       1   left   --   does         it    have          a    Walmart            receipt            on   it    sir

 2           Q.     And what was the time stamp on the metadata                                                                       2          A.      It       does.

  3          A.     14654.                                                                                                            3          Q.      And what store                           is    that             Are you familiar with

 4                              THE REPORTER                               Im    sorry                                                4   that    store       thats               depicted         on the receipt                      343
 5                              THE WITNESS                               14654.                                                      5          A.      I    am.

 6           Q.     BY          MR.         BRISSETTE                      So the receipt that were                                   6          Q.      Is       that        the receipt               from the Grand                       Prairie


 7    seeing here            in       States          343 do you have an                                    opinion as          if    7   Walmart

 8    it   was generated                   while Mr.                Hummel         is        standing              there        or    8          A.      It       is.



 9    can you       tell     us that               from the video                                                                     9          Q.      Is       it    a    charge or cash                    transaction

10           A.     The metadata                                not displayed                     on the screen                      10          A.      This                 a                    --                         cash transaction.
                                                           is                                                                                                           is
                                                                                                                                                                                  charge                    this    is   a

11    here but          this         video         displays              Mr.   Hummel                  at the       ATM        at    11          Q.      And what                      is   it   for

12    the    time   this         receipt            was         printed.                                                             12          A.      It       is    for a          knit top.

13           Q.     And did they only have one                                      --
                                                                                                  youve           been    to         13          Q.      And                  that          whats                             there         on the screen
                                                                                                                                                                        is
                                                                                                                                                                                                        depicted

14    the    store correct                                                                                                           14   that    we    just            saw       in    States          406B
15           A.     I    have.                                                                                                       15          A.      It       is.



16           Q.     You been                 to      the        bank       and to the Walmart                                        16          Q.      And what time was that based                                              on the receipt

17    correct                                                                                                                        17          A.      043323.
18           A.          have been                   to the         Walmart         and to the                                                   Q.
                    I                                                                                              loss              18                  Is       the Arlington                    Walmart States 407B                               the

19    prevention           officers                office       for the bank.                                                        19   next    in    the                                        timeline
                                                                                                                                                                  chronological

1X1          Q.     Do you know                       if
                                                            they have             more than one ATM                                  20          A.      It       is     sir.


      machine                                                                                                                        21          Q.      Can you show                            that to the              Judge          please
22           A.     In that            --           that        Walmart                                                              22
                                              in
                                                                                                                                                                        States               Exhibit         No.     407B          published
23           Q.     Yes.                                                                                                             23                                 MR.       BRISSETTE                        Your Honor                in    conference

24           A.     Theres                 only      one                                                                             24   with    Defense               Counsel while we were showing that                                                last


25           Q.     All    right.            The next Walmart                                     believe                the         25                 the        State           would anticipate
                                                                                         I                         is
                                                                                                                                          exhibit                                                                            adding one
                                                                                                                                         19                                                                                                                                           21
                           Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                      Page 12 of 101 PageID 5224
     1    additional piece                        of       evidence              that      would        be    in   the    same                 1           Q.     And have you                       been able                   to        make        observations of


     2    line   of objections                         I   think           from the Defense.                                                   2   Mr.     Hummels             tattoos here                  this           morning               prior        to    your

     3                                  If    I
                                                   may               just briefly with Mr.                        Van Der                      3   testimony

b-4       Leest put another                            number                                   consideration while                            4           A.           have.
                                                                            for      your                                                                          I




_
          the jury          is   out                                                                                                           5           Q.     Are        you     able to look                     at        Mr.        Hummels                 right


     6                                  THE            COURT                   You may.                                                        6   forearm

     7            Q.         BY        MR. BRISSETTE                                     Investigator             Van Der Leest                7           A.      I    did.


     8    you had           a    chance                to        process          video         collected          from the                    8           Q.      Were you able                      to    --       as part of your training

     9    Coast        Inn        is   that correct                                                                                            9   with     LEVA        is   there a            --    part of              your            certification


    10           A.          I   have.                                                                                                        10   does that cover                  photographic                      comparison

    11            Q.        And thats been labeled                                         as    408A         a    copy on Gold               11           A.      It   does.


    12    Optical          for    the original                        is   that      correct                                                  12           Q.      And what                is
                                                                                                                                                                                                photographic                          comparison

    13.          A.         That         is       correct.                                                                                    13           A.      Photographic                      comparison                       is   whenever                 you take           a


    14           Q.         And 408B which                                  is   a   copy        for    the   jury        is   that           14   known         image and you compare against an unknown                                                                      image or

    15    correct                                                                                                                             15   items that are within that image.


    16           A.         That         is       correct.                                                                                    16           Q.      Can         a   known             image also be                          a    visual        inspection

    17           Q.         And         did        you              prepare both                exhibits                                      17   by yourself as the                     --    as the forensic                            analyst

    18           A.          I   did.                                                                                                         18           A.      It   can.

    19           Q.         And are you                             familiar         with the contents                   on    both           19           Q.      And did you conduct                                 that       this           morning on Mr.

20        exhibits                                                                                                                            20   Hummel
21               A.         I    am.                                                                                                          21           A.      I    did.


22               Q.         What             are the                 contents                                                                 22           Q.      Do you have an opinion as                                               to   any unique

23               A.         The contents                             on    A   is    the    original         data    files                    23   characteristics                 that    you observed                          on the            individual             on

24        from the           DVR             includes                 the      player          and the video              itself              24   States        408B
.2        and on the B case                            is       a    Quick Time video                    H264 video                 of        25           A.      I    did.


                                                                                                                                         20                                                                                                                                           22

     1    the    cameras               after           I    have edited                   them together.                                       1           Q.     And what                 is   that

     2           Q.          Have            you had occasion                             to    study     whats           on    408B           2           A.     The tattoo that                     is     on the               right          forearm            is



     3           A.         I    have.                                                                                                         3   consistent with the tattoo                               that           is   on the            right        forearm

     4           Q.         And as part of your analysis of 408B                                                     do you                    4   of the       individual          in    the        videos.

     5    look                          characteristics                          and unique                                                    5           Q.     And 408A                     the original
                  for      class                                                                                                                                                                                                did        you receive               this


     6    characteristics                    of    individuals depicted                            in   408B                                   6   from Investigator                  Jim        Rizy

     7           A.         I    do.                                                                                                           7           A.      I    did.


     8           Q.         With         class              characteristics                     did    you        recognize         a          8                               MR.       BRISSETTE                          Your Honor that would                                 end

     9    particular             shirt       that has                 been          --    has    been part           of   your                 9   our proffer          on     that.            We    would                offer       408A            for     the       record

    10    investigation                                                                                                                       10   only and we would                           offer in         front           of the jury               408B           for


    11           A.         I    did.                                                                                                         11   all
                                                                                                                                                          purposes.

    12           Q.         What             shirt          is       that                                                                     12                             THE COURT                          Well            with regard                  to     408A         at

    13           A.         It          a    Mac Tools                     shirt.                                                             13   this    time do you               have any
                                  is
                                                                                                                                                                                                                objections

    14           Q.         The Mac Tool                             shirt     thats           already       been admitted                    14                               MR.    CUMMINGS                              No         Your        Honor.

    15    into   evidence               would                be consistent                  with       that                                   15                             THE COURT                          408A             is    admitted              for     the

    16           A.         Yes.                                                                                                              16   record.

17               Q.         What are unique                                characteristics                                                    17                                                                                 408A
                                                                                                                                                                             States              Exhibit No.                                     admitted
18               A.         Unique characteristics                                        for   example with the                              18                             THE COURT                          Regarding                       408B any objection
19        Mac shirt would                         be        if      there      was a hole              in a   specific                        19                             MR.      CUMMINGS                              I
                                                                                                                                                                                                                                agreed            to    consider            it   at

          location         or     a    stain               maybe a bleach                                since                                20                   because
                                                                                                stain                this      is                  this    time                       I    think       it       is    --    the        objection               I   have

          a    black       shirt       thats               in    a   specific            location.       That would                           21   is
                                                                                                                                                         going    to    be     the    same            as    I    have            to        the    --   the videos

22        make        it
                           unique.                                                                                                            22   that    you have observed                          up     to       this point.


23               Q.         Can people actually                                   have unique                characteristics                  23                             THE COURT                          All    right.


24        to   themselves                                                                                                                     24                             MR.      CUMMINGS                              Im         not sure           if       we have them
25               A.         They         can.                                                                                                 25   all   played        or    not.
                                                                                                                                      23                                                                                                                                                                  25
                           Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                  Page 13 of 101 PageID 5225
      1                                THE COURT                        Do you           have a copy                  of   408B            for        1
                                                                                                                                                          morning

  2       me        to    review        or        do you           have one              in    the video          form that                       2              A.         That               is    correct.

      3   youre going                 to      play                                                                                                3               Q.            And that                  is
                                                                                                                                                                                                                    going to            be the case with                                --   431        is



  1                                    MR.        BRISSETTE                                                                                       4                                                                                one camera shot
                                                                               Yes            sir.                                                        the    ATM.                Is    that          a         --
                                                                                                                                                                                                                         just

                                       THE COURT                        All   right.           You may proceed.                                   5              A.             Yes            sir       it        is.




  6       Turn       off       the    lights.                                                                                                     6               Q.            Okay.               And the only                        --    so     any editing that may

  7                                    States Exhibit No.                           408B published                                                7       have occurred                          there              is       just to        have        the            period of              time

  8                                    THE COURT                        All   right.           And          Mr.   Brissette                       8       in   which            the individual                               you    believe             to     be John                  Hummel               is



  9       do you           have any questions                           for    Mr.       Van Der Leest with                                       9       depicted              on that video correct

 10       regard to the                exhibits                                                                                                  10              A.         That               is    correct.

 11                                    MR.        BRISSETTE                    I    believe that concludes                                       11               Q.            As     far          as    406B thats                         a     Grand                   Prairie      Walmart.

 12       the       States           proffer at              this   time Your Honor.                                                             12       Thats        again the                     same                    situation


 13                                    THE COURT                        All   right.                                                             13                                         Now                wait a second.                       Did               you say Grand

 14                                    MR.        CUMMINGS                     Your Honor                    may       I    ask a                14       Prairie      is       a different                         system

 15       couple           of questions                 --                                                                                       15              A.             It    is.




 16                                    THE COURT                        You may.                                                                 16              Q.             Okay.               Is        it    --       I   believe          its   multiple

 17                                    MR.        CUMMINGS                     --       to    clarify       the   exhibits                       17       cameras                though                   is        it       not
 18       Im        not sure          its        clear.                                                                                          18              A.             It    is.



 19                                               VOIR DIRE EXAMINATION                                                                          19              Q.             So the same process                                         applies

 20       BY MR.               CUMMINGS                                                                                                          20              A.             Exactly the                         same process                        although with the

 21                 Q.         Mr.    Van Der Leest when                                 we     are looking                at the                21       Grand        Prairie                 Walmart because                                    there           was no on-screen

 22       Walmart videos                         thats a particular system that you                                          have                22       metadata                   for    me           --        for       me    to   be able to determine                                       which

 23       said      a     couple       of times during                        your testimony.                     What           is              23       camera view he moved from                                                      I   actually                      had the loss

 24       it                                                                                                                                     24       prevention                  officer             come                   to the video               lab.


                    A.         There        --    theres actually two systems.                                        The                        25                                         And he sat down                                  with       me                 and        based        on     his
25.
\ýr                                                                                                                                   24                                                                                                                                                                  26
  1       ones where you                         see the           metadata              on the screen                 are       March            1       knowledge                   of the floor plan                              of the         Walmart he                           told           me
  2       Networks.              The          one from Grand                       Prairie           where you do not                             2       which        camera angle to put                                          first     and then next and then

  3       see the metadata                         is   a Verint          Technology                   System.                                    3       next    and next for the Court.

  4                 Q.         What      the       Judge            has   observed                   this    morning 432B                         4              Q.         Okay.                   The             --       the   next one              is           an Arlington

  5       is   --    is   that a       --     thats an E-Z Mart.                              In the        case of                               5       Walmart.                   Again the same situation.                                                    I    --       I    dont have

  6       432B            is   this   edited                 Is this      something                   that    you                                 6       the    number down                              as            far      as the      exhibit.                      I   guess         its


  7       compiled                                                                                                                                7       probably 40                     --     407B and then 4086                                         is        the           Coast Inn the

  8                 A.         Yes.     I     took the different                        camera angles that                                        8       last   one we saw that hasnt been dealt with                                                                               yet.     Even

  9       the       original         files       came         in    and edited them                     into      a    fluid                      9       there you have                             sequentially                       depicted                  three              different

 10       video          as    he moved             from one camera                            --    camera angle to the                         10       cameras                is       that       correct

 11       other.                                                                                                                                 11              A.         No             sir.          Theres                   four different                      cameras.

 12                 Q.         And thats also the case                              in       405B           the Burleson                         12              Q.         Four different                                   cameras.              Okay.
 13       Walmart.              That         is   a compilation                    of    many          different                                 13                                         So the raw data you                                                                and then
                                                                                                                                                                                                                                                     get              it                           it


 14       cameras               correct                                                                                                          14       shows        the four different                                        videos      all
                                                                                                                                                                                                                                                    running                         together.

 15                 A.         Yes     sir.                                                                                                      15       You have               put        it      in    such                a situation           that               it      is



 16                 Q.         And                                      was provided with several                                                16
                                       in    discovery              I
                                                                                                                                                          chronologically                         displayed

 17       or   numerous camera shots from each of the Walmarts                                                                        that       17              A.         Yes             sir.



 18       went                 30 minutes some cases                                      or you know                                                            Q.         As                                                                     my
                     for                                                            --
                                                                                                                           they                  18                                   far        as       this               viewing         of             clients right

 19       varied          as    far   as      length correct                                                                                     19       forearm                                                        and comparing
                                                                                                                                                                         this              morning                                                           it       to the video                   on

                    A.         Yes     sir.                                                                                                      20       the    screen               specifically                           4086 thats                 a
aý1                                                                                                                                                                                                                                                            pretty                grainy

                    Q.         So you         have gone                 through and                   extracted            from                  21       shot    from across                         the               room       in   the        managers                          office        or

 22       those various                cameras or various separate videos                                                                        22                                                      Coast Inn.                     Are you relying upon
                                                                                                                            is
                                                                                                                                                          whatever                   of that                                                                                                       that

 23       that      correct                                                                                                                      23       shot          make                that
                                                                                                                                                                  to                                      comparison
 24                            That
                    A.                 is     correct.                                                                                           24              A.         I        am        not.            Throughout                    all    these                   videos           you can
 25                 Q.         And edited                    for    what we have                      viewed          here                       25       see    --                  can see                                 darker image on the forearms
                                                                                                                                                                       you                                               a                                                                                on
                                                        it                                                                       this                                                                         in
                                                                                                                                                                    27                                                                                                                                           29

      1       the
                       Case 4:16-cv-00133-O
                     Walmarts video       The
                                              Document
                                                   not
                                                       23-19 Filed videos
                                                                   07/06/17      PageStates
                                                                          contained
                                                                                      14 of Exhibits
                                                                                            101 PageID
                                                                                                     432
                                                                                                           5226
                                                                                                         and Im             detail                                                                                             in                                                       --
                                                                              specifically.                                                is                                 1




      2       sufficient                   enough                      to         make out                    the    shape         per se             except              2       going         in   the           sequence                   that        it       was      presented          --
                                                                                                                                                                                                                                                                                                    432 405
      3       for    the           Walmart Arlington                                              video           when hes             standing                at             3   431 406 407 and 408                                              the         Court finds that under

 ---4         the    cash                  register.                         You can clearly see the shape                                                of the          4       Rule       --    Texas                Rules        of       Evidence                    9.01b         and specifically

              tattoo          there and that                                       is       consistent                   with the           shape          of             5       3    and      4       that the               Court            --       the        State        has    sufficiently


      6       the    tattoo                 that                is     in     the       Oceanside                     motel video.                                        6       established                     evidence               sufficient                  to support              a finding

      7                  Q.            Yet the                    detail            is        not sufficient                    to identify                               7       that the           matter                in   question                      is   what a proponent                      claims.


      8       the    actual                     --    the            tattoo            --         or what            --    what the tattoo                                8                                        And that                   is   Mr.         Hummel             traveling          to   and

      9       is    of    is       it                                                                                                                                     9       from the Walmarts                                 in    question                   and being           videotaped               as

  10                     A.            It       is     not.                                                                                                              10       well as           photographed                          in       the         form of the              ATM         the

  11                     Q.            I     mean                      overall              shape                 but to discern                 what          is        11       circumstances                          under           --        under which                   those       photographs

  12          actually             supposed                             to        be represented with the tattoo                                                         12       were assembled and the videotape assembled                                                                        is    consistent

  13          its    not quite                        good               enough                        is    it                                                          13       with       what has been                           presented to the Court                                    in   addition

  14                     A.                                                                      can give                                                                                          confirmed                    by other exhibits                               formally States
                                       It       --     it       is     not.            It                            us the location                                     14       to also

  15          it   can give                     us the                 --     the        shape                of the tattoo.                    But for                  15       Exhibit          343             specifically                    the         ATM          as well as the

  16      example                          if    it     --        if    it    had the word                           Mom              on    --       written             16       transactional                     information                      from the Walmart.

  17      on        it    these                  cameras and these surveillance                                                            systems do                    17                                        As a result the Court finds that the

  18          not    have enough                                       detail          within                them         to    be able              to   read           18       evidence              is        sufficient             to        support a finding that the

  19      that.                                                                                                                                                          19       matter           in    question                   is   what a proponent                              claims.

 20                      Q.         When you                                 testified                  that      these exhibits                     have not            20                                        Do you                require               any other findings                        Defense
 21           been altered                            in        any           way                they have                been        edited.             The       --   21       Your objection                          is   overruled.

 22       the subject                            matter remains the                                               same          but    you have cut                      22                                        MR.         MOORE                      Judge             I    have a particular

 23       and            paste               and created                            a video                   presentation                 for the          jury         23       objection              that           each         of the exhibits                         have       been     modified

 24       is       that       accurate                                                                                                                                   24       from the original form                                      in     that          theyve been edited

1-9                      A.         That                   is    correct.                                                                                                25       together              to        form what appears to be a sequential

                                                                                                                                                                    28                                                                                                                                           30

      1                  Q.         Im               going                   to   take                you back            to    Grand           Prairie                   1       photograph                      based         on the time                         --     time and date stamp on

      2   where you                             had             to     have the assistance of the                                               loss                      2       the video                                         to               the videos
                                                                                                                                                                                                             in   regard                  all
                                                                                                                                                                                                                                                                                 except the Grand
      3   prevention                            officer.                     You working                           with         your equipment                            3       Prairie          video.               And theres no showing that the time and




 --16
      4   downstairs                            on the other videos                                               rely     upon       some hidden                         4       date       stamp.is                   correct           in       regard to those                      videos        and

      5   metadata                          information                            that               is    displayed            on your                                  5       that the           sequence                   --       sequence                    is    correct.

      6   equipment correct                                                                                                                                               6                                        THE COURT                              And youre talking specifically

      7              A.            You have                             to        go through                      a different              process             in         7       with regard to the                            Grand Prairie and that would be

      8   order           to       get               to      it        but         yes yes you can see                                      the                           8       406B
      9   metadata                          of the                files.                                                                                                  9                                        MR.         MOORE                      Well Grand                   Prairie      doesnt
 10                      Q.         Did              you                          on                  for these other                 exhibits                           10       have any date                                               He                          on some other witness
                                                                     rely                   it
                                                                                                                                                                                                                        stamp.                           relied


 11       other           than                  Grand                  Prairie                                                                                                    whos
                                                                                                                                                                         11                    not present                      to       testify              to    tell    him the sequence                    in


 12                  A.             I       did         not.                 On     the               ones where the metadata                                   was      12       which        to place                 the various                      camera shots.                       So we dont
 13       displayed                        on the screen                                as the                date and time                      I    relied             13       know        if    thats a true and accurate representation                                                              of the

 14       on        that.                                                                                                                                                14       way        that       it    actually              occurred                   or not.

 15                  Q.             But as                      far          as    Grand Prairie                                that situation                           15                                        That witness                                           present and theres
                                                                                                                           in                                                                                                                            is    not

          you        had the assistance                                             of           whom                                                                    16       you        know            he      --    he said he based                                 on   his    understanding                 or

 17                  A.            I       dont                 recall             his        name             off    the top of                my        head.          17       his   testimony                    regarding                     the        way         that the       various          aisles

 18                have             written                       down                       my                                             crimes.                                      and so
                                                                                                                                                                         18       ran
                                                                                                                                                                                                                                                                                                     know
          I                   it                                                   in                       office    in   special                                                                            forth.            And so                   think            that    the   --
                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                              you
 19                  Q.            And                      was              his    --                 was        that     individual                 that               19
                                                      it                                         it
                                                                                                                                                                                  by editing                 the        tape together                          in   that fashion              and

          employee of Walmart who                                                                      directed           you to display                   a             20       representing                     it    as a sequential                            --     as    one flowing

          particular                       camera                      in     sequence                       with     other        cameras                               21                                  hes
                                                                                                                                                                                  sequence                                relied         on somebody                            elses advice             as to

 22                  A.                         was.                                                                                                                     22
                                   It                                                                                                                                             the    way         that the aisles run                                  in       the     thing       and there           is


 23                                                   MR.              CUMMINGS                               Thats         all   the questions                      I   23       no    --   theres not any                                                   to verify          that    thats
                                                                                                                                                                                                                                         ability

 24       have.                                                                                                                                                          24       actually           the          sequence                in       which            it     occurred.

 25                                                  THE COURT                                                                                                                                                     THE COURT
                                                                                                                                                                         25                                                                                                 Now Im
                                                                                                      All                  After reviewing                     the
                                                                                                             right.                                                                                                                                      Okay.                                going       --    for
                                                    31                                                                                                                                                                                                                                33
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                      Page 15 of 101 PageID 5227
  1   the    moment Im                          going to          tell    you        I    disagree           with regard                 1                                 And          I   think           that the             --     the           purpose of our

  2   to the testimony.                                                                                                                  2   motion requesting                              that       there           be a date certain on which

  3                                Mr.      Van Der Leest                       didnt you                   previously                   3   all    the   evidence                will        be provided to us                                  is    to allow          us

  1   testify       that the            information                    contained               in   406B from           the              4   to     adequately               represent                      the    Defendant                          and         to   allow the

      Grand         Prairie            Walmart               that       does not include the                                             5   evidence            to       come          in in         an untimely fashion impacts our

  6   information              on the bottom of the screen                                          but just       merely                6   ability      to     do        that.            So    I    object to              all      those             tapes           and

  7   the    photograph                     you        retrieved           the           information looked                    at        7   I     object to          this       evidence                   on that basis.

  8   the    information                    based           upon        what was on the equipment                                        8                                 THE COURT                             All    right.              State do you have

  9                             THE WITNESS                               That           is   correct.         Whenever             I    9   a     response

 10   retrieved          it    with the               gentleman who                           came      to   my    office               10                                 MR.      BRISSETTE                               Yes Your Honor                               but       Ill


 11   when      I
                     originally                 retrieved          it    from him at the Grand                                          11   do them            in    reverse order.                             First       with           the        videotapes                   it




 12   Prairie       Walmart                 I    visually saw the time and date on                                                      12   was during one of the hearings                                                 in    chambers where Defense

 13   their interface                  that          they have.             Thats              how we knew               to             13   asked        if    we would have                           all      the        evidence                   available           for


 14   locate        these       images on the time and date                                             in   question                   14   them to preview prior to the commencement                                                                             of   trial.


 15   that   we were                   looking          for.                                                                            15   That was a discussion that was had back                                                                    in    chambers                   and

 16                             THE COURT                          All     right.             Thank          you   Mr.       Van        16   we said Yes                    well            have           stuff       available.


 17   Der Leest               for clarifying                 that.                                                                      17                                 The      videotapes                         in   the fashion                       its      been

 18                             Youre factually                           incorrect             about what he                           18   here     have            been        in        open           court with                 all    the        evidence              the


 19   contended               there.             Its     still    the      Courts conclusion that                                       19   Defense            has flipped                   through the                     last          two weeks.                    Theyve
 20   that   would be                  --   satisfy          your Rule               901b.                                              20   had a chance                   to    see the                   stuff.          Its       been             here

 21                             Any other objections                                 or       any other matters                         21   available.               Its        been         here ready to be viewed                                             by whoever

 22   need      to be taken                     up at       this       time                                                             22   wants        it.




 23                             All         right.          Well         take        a    ten-minute recess                             23                                 They have                       the    raw data.                       Everything                 that

 24   before        we        bring         in   the jury.               Thank            you.                                          24   Mr.     Van Der Leest                          has talked about the videotapes                                                   is


                                   Recess from                      1011             a.m. to            1029 a.m.                       25   contained               in    the     raw data.                      The State has just put them
ýý5
                                                                                                                              32                                                                                                                                                         34

  1
                                   Open               court Defendant                          present no jury                           1   in     sequential              order.               We         have not altered                            any evidence.

  2                             THE              COURT              Back on the record.                                                  2   Weve         simply            prepared                   it    where           its       available                  for    court.

  3                                Mr.          Moore            Mr.     Cummings                   I   understand that                  3   The      Defense              had      all       those.              We         gave those over                            in


  4   you want to take                          up one matter                   --                                                       4   discovery.

  5                                MR.          MOORE               Yeah         Judge.                 They are        --   its         5                                 With             respect to the                    Defendants                           clothes

  6   my     belief      that they intend                          to offer          some           of the      evidence                 6   yes we             did    go get them yesterday with a subpoena.                                                                         The

  7   that   we have got                        --
                                                      you gave            us the opportunity                       to                    7   State        was put            in    a        position             last       week when we went                                    to

  8   review        yesterday the evidence                                  that              was taken         from         his         8   offer records                 --    business                   records for Wells                               Fargo         that

  9   property         here            in   the sheriffs                 office.              And       Im   going      to               9   we      could       not        link    the records                        up even though                               they      never

 10   object to          it   at       this      point.                                                                                 10   filed    the       objection                   subject              to the business records

 11                                I   am        going to object                     to the         introduction             of         11   affidavit           as the Rules                         of    Evidence                state.


 12   any    of that          evidence                  the introduction                       of   any of that                         12                                 So the State was put                                       in     a position to

 13   evidence         on the basis that thats                                   not          been timely                               13   further strengthen                             its       position to get the                              rest of the

 14   provided         --                                                                                                               14   records.            And we went over and                                        looked                    and the wallet

 15                             THE              REPORTER                  Im            sorry.         I   can barely                  15   did     contain           a credit              card           that                                  to    be the same
                                                                                                                                                                                                                       purports

 16   hear you.                                                                                                                         16   card                                            Reeves
                                                                                                                                                      that the              --    Mr.                             testified                 to    last        week         the

 17                             MR.             MOORE               That the evidence                          was not                  17   Wells        Fargo           expert            that        linked              up the credit card                           that

 18   timely provided to us                             pursuant            to       the orders of the                                  18   was found                in   the     Defendants                          possessions.

 19   Court.         We       think         that        theres a due process                                violation                   19                                 So     all        the information                          thats             --     the

 10   for   us to get           it     this          late    in   the     game.                                                         20   Defense            has been                    given           in   discovery                  all       the     information
                                We          also object                  to the          introduction           of the                  21   all    the   clothing                the description                           of the wallet                         the

 22   videotapes               which             the                     has already ruled to be                                        22
                                                         Court                                                                               watch         the        keys of Mr. Hummel and the discovery that was
 23   admissible on the same basis.                                          We           got the           raw footage.                23   turned        over from the San Diego                                           County                   Jail.


 24   We     never        got the               final       exhibits        that          have          been    offered                 24                                 Mr.     Cummings                        business card                             is
                                                                                                                                                                                                                                                                  actually            in

 25   here     in    court.                                                                                                             25   the pants            pocket           of the clothes that                                  have            been marked
                                                                                                                                                     35                                                                                                                             37
                          Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                   Page 16 of 101 PageID 5228
        1   for identification                           purposes             now.           Theyre             the           same                          1                                 THE COURT                        All   right.       I     understand.              Your

      2     clothes           and boots                   that Mr.            Hummel wore                           the night                 he was        2   objection          is    overruled.


                                              on the 31st of December                                          2009 and                   the               3                                                          Both     sides        ready              the




     --15
      3     in    court here                                                                                                                                                                  All   right.                                               for           jury

            possessions                   that have been there the wallet and such                                                                          4                                 MR.        BRISSETTE                     Yes Your Honor.

 ý...       is   all    descript               --      and talked                 about          in    the      San Diego                                   5                                 MR.        MOORE                 Yes         Judge.

      6     County            Jail       records which                        I    believe             have been                 filed                      6                                 THE COURT                        Thank        you.         Lets bring          in   the


      7     under seal as                          well       as part of business                            records                                        7   jury.


      8     affidavits.                                                                                                                                     8                                 Jury present

      9                                       THE COURT                           All    right.           You want                  to   add                9                                 THE COURT                        Good morning members of the

     10     something more Mr. Cummings                                                                                                                    10   jury.


     11                                       MR.        CUMMINGS                           Just so the record                            is       clear   11                                 All   right.             State you             may        proceed.

     12     those are the clothes                                   that Mr.            Hummel had on when you                                             12                                 MR.        BRISSETTE                     Your Honor               may        the    .Cour

     13     had him brought                              to    this    courtroom the day                                  I   was        --    I    met    13   inform the jury of                       its      rulings regarding                     our evidence

     14     him         in this      court.               He        was brought straight here before                                                       14                                 THE COURT                        Yes.        States        Exhibits          405B

            he was booked                              into    jail.                                                                                       15   or   405A      is   admitted                     for the record only.                     405B        is




     16                                       THE         COURT                   That       is    correct.                                                16   admitted           for    all       purposes.

     17                                       MR.        CUMMINGS                           So     I    met him gave him my                                17                                 406A          is    admitted            for    the      record        only.       406B

     18     card         we had               our hearing                  about three hours Mr.                                                           18   is   admitted            for     all
                                                                                                                                                                                                         purposes.

     19     Brissette              and myself and then he                                          left      here was booked                               19                                 407A          is    admitted            for    the      record        only and

     20     into jail              and thats why my card                                      is
                                                                                                       present.                                            20   407B     is   admitted                 for       all
                                                                                                                                                                                                                        purposes.

     21                                       Those clothes                       were just what he had on when                                            21                                 432A          is    admitted            for    the      record        only.       432B

     22     he     finally         got        booked                in later            on that night on the                                               22   is   admitted            for     all
                                                                                                                                                                                                         purposes.

     23     3    1st.                                                                                                                                      23                                 And then 431                     is    admitted           for   all
                                                                                                                                                                                                                                                                    purposes.

     24                                       THE         COURT                   Im        going         to    allow           the       evidence         24                                 You may proceed.

     15     in because                   in        a    form of rebuttal or anticipation                                            that                   25                                 States Exhibit Nos. 405A                                    405B 406A

ti                                                                                                                                                   36                                                                                                                             38

        1   the State               is    offering additional                               evidence            to    support                               1
                                                                                                                                                                                              406B 407A 407B 432A 432B 431 admitted
      2     their evidence.                            Accordingly                     the information                         was                          2                                          ERNEST              VAN DER LEEST

      3     available              to the              Defense          during the                     course         of discovery.                         3   having        been        first        duly            sworn         testified        as follows

      4     May not have been                                 in    the exact                form thats being                                               4                                               DIRECT EXAMINATION

      5     presented                in       the        Court         however                    the     raw data                  and the                 5   BY MR. BRISSETTE

      6     information                   was.                                                                                                              6           Q.     Youre the same Investigator                                            Van Der Leest that

      7                                       In       addition to                it    the Court               does not                 find               7   was here yesterday correct

      8     that        its    a    violation                 of the       Defendants                      Sixth              Amendment                     8           A.     I    am.

      9     rights        due process                         claim.       The              Defendant               has had                                 9           Q.     You talked yesterday                                    I   believe                         about
                                                                                                                                                                                                                                                          briefly

     10     sufficient             time            to    review         the            documentation                                                       10   a    system known                      as    Avid         is    that       correct

     11     furthermore                       it    was on notice                       with the pants                        and the                      11           A.     I    did.


     12     clothing that the                            Defendant                 was arrested                     in        at the time                  12           Q.     And what                          the Avid            Forensic
                                                                                                                                                                                                            is
                                                                                                                                                                                                                                                        System that you
     13     when counsel                        was appointed and                             to       meet with the                                       13   utilize

     14     individual.                                                                                                                                    14           A.     The Avid System                                   a nonlinear editing
                                                                                                                                                                                                                           is
                                                                                                                                                                                                                                                                       system.
     15                                       These            --   these items are                          not     new                 the               15           Q.     Does
                                                                                                                                    in                                                         it   --      is    it   configured            in   two     different

     16     sense that               this           is   evidence             of a nature that should                                                      16   application settings                         for       you           By that       --    how many            Avid

     17     surprise           anyone                   because          it       has been              in     the custody                     of          17   systems do you work                               on
     18     the Sheriffs                  Department.                                                                                                      18           A.     I    --    I    work on two.

     19                                       Are there                any        other matters                      or rulings that                       19           Q.     And how                   many does your                      partner          work         on
     -      you        require before                         we proceed                    forward Defense                                                20           A.     Two.

                                              MR.        MOORE                    Only other objection                               to       any     of   21           Q.     And you                 have a work station a big work                                       station

     22     the        clothes           is    on the basis of the                            --       same         basis           as    we               22   down     in   the        lab

     23     raised        in       the        Pretrial          Motions                to   Suppress                 the                                   23           A.          do.
                                                                                                                                illegal                                        I



     24     nature            of   the        arrest.               They      are a           product of                  that           and               24           Q.     And you                 also            have a smaller application there

     25     so    we would                    continue              those objections                           as    to       the    clothes.              25   on your laptop
                                                      39                                                                                                                                                                                              41
                      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                 Page 17 of 101 PageID 5229
     1          A.     I     do.                                                                                                   1   at the       bottom               of the            screen the metadata                       front   door

 2              Q.     The exhibits that the Judge just talked about                                                               2   ice   --    or front              ice          machine

 3       in   the    jurys presence                         do you have                   those loaded               on.   your    3          A.         Yes            sir.


         laptop       today                                                                                                        4          Q.             Do you have                     an opinion as to whats at the end

                A.     I     do.          They are on the hard drive                                  --    or the                 5   of that       hallway or                       end of that store as one walks toward

 6       external          hard drive.                                                                                             6   the top of the                    exhibit

 7                                   MR.        BRISSETTE                 Your Honor with the                                      7          A.         There               is   the       --   the    in-store bank.


 8       Courts permission Id                               like   to start with the                       first                   8          Q.             Did        you collect              digital      assets          from that

 9       video which                 I    believe          chronologically                  is   from the E-Z                      9   in-store          bank

10       Mart from the night of December the 17th.                                                                                10          A.             I   did.


11                                   THE COURT                     Granted.                                                       11          Q.         Is       that         whats             depicted          on   431
12                                   MR.        BRISSETTE                 May we                 take the           lights        12          A.         It       is.




13       down Judge                                                                                                               13          Q.         Can you publish                              431 to the jury please

14                                   THE COURT                     You may.                                                       14                                    States              Exhibit      No.       431 published

15                                   States              Exhibit        published                                                 15                                    THE WITNESS                      Thats          it.




16              Q.     BY            MR.        BRISSETTE                 Mr.      Van Der Leest                      on that     16          Q.             BY         MR.       BRISSETTE                   431       I     believe was a

17       exhibit      does the individual                          thats       depicted               in    the                   17   one-frame-per-second                                      image        is   that       correct      sir

18       center of the                frame          did        that    individual               go back           out to         18          A.         That            is    correct.

19       a vehicle          of       some sort                                                                                    19          Q.         And for presentation                                purposes              did   you hold the

20              A.     He does.                                                                                                   20   frame count for                            I   believe ten frames

21              Q.     And does that individual                                  --       based       on your                     21          A.         I       did.


22       observations                    does       that individual                stay          there      for     an            22          Q.         And that would be ten frames                                                    second
                                                                                                                                                                                                                               per

23       extended           period of               time at the           left        rear quarter                 panel          23          A.         That            is    correct.

24              A.     He does.                                                                                                   24          Q.         On 343 whats                            the    time stamp of the ATM

ý5.             Q.     And at some point does the individual                                                       leave          25   receipt

                                                                                                                           40                                                                                                                         42

 1              A.     He does.                                                                                                    1          A.         It       is    014654                   a.m.

 2              Q.     The           next point              in   time for video that you                                          2          Q.         Do you have                        video       footage         from a Walmart

 3       collected          what store was that                                                                                    3   located       in          the                  of    Grand Prairie
                                                                                                                                                                         city


 4              A.     This          was the Walmart                      in     Burleson.                                         4          A.         I       do.

 5              Q.     I     believe that                  is   States 405B.                     Is   that         your            5          Q.         I       believe              thats States             406B           is   that   correct

 6       understanding                        Mr.   Van Der Leest                                                                  6          A.         It       is.



 7              A.     That              is   correct.                                                                             7          Q.         Can you publish 406B for the jury please

 8              Q.     You have that loaded                              in    the Avid forensic                                   8                                    States              Exhibit      No.       406B published
 9       system                                                                                                                    9          Q.         BY             MR.       BRISSETTE                   Investigator               Van Der Leest

10              A.     I    do.                                                                                                   10   is
                                                                                                                                            part of              this    exhibit             which      is    406B          were you able to

11              Q.     With              the    Courts permission can you publish                                                 11   identify      a           particular             vehicle         that       a subject         of interest

12       that   to    the       jury                                                                                              12   of    yours was driving
13              A.     Yes           I    can.                                                                                    13          A.         Yes.

14                                   States              Exhibit        No.    405B published                                     14          Q.         And            is    that      what were seeing here to begin

15              Q.     BY            MR.        BRISSETTE                Investigator                  Van Der Leest              15   with
16       are    you   familiar with the exhibit                               --      I   believe          its     that           16          A.         Yes.

17       paper right to your                        left    there.       Is    that         343                                   17                                    States              Exhibit      No.       406B published
18              A.     It       is       sir.                                                                                     18          Q.         BY             MR.       BRISSETTE                   And       Mr.        Van Der Leest           to

19              Q.     Are you                                           an ATM                              thats
                                                familiar with                               receipt                               19   your       left           States           343        do you recognize contained                          on

         depicted          in    States             343                                                                           20   343 a receipt that you know                                       to    be generated               by a
                A.     I    am.                                                                                                   21   corporation                 known               as    Walmart
22              Q.     And where                    is     that    ATM        receipt        from sir                             22          A.         I       do.

23              A.                   from the                      Community Bank thats                                           23          Q.         Does                         have            date and time
                       It       is                         First                                                                                                         that                     a

24       located      within the                 Walmart           in   Burleson Texas.                                           24          A.         It       does.

25              Q.     The footage that we just saw that had depicted                                                             25          Q.         What            is       the      date and time
                                                                                                                                            43                                                                                                                              45
                       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                           Page 18 of 101 PageID 5230
   1           A.           December                        the        18th 2009 043323.                                                          1                                THE COURT               You may.

   2              Q.        How                did      the       --   how does the receipt show that                                             2           Q.     BY            MR.    BRISSETTE                  Showing              you whats               been

   3   the    bill      was           --       was settled                                                                                        3   marked        for identification               purposes                as      408B       as     in       boy.

               A.           This               was      a    cash        payment.                                                                 4   Do you recognize                     that

ý_..              Q.        With               respect            to    406B               as     in       boy      thats    been                 5           A.     I    do.


   6   debited          on        the           screen do you have an opinion                                               as   to   the         6           Q.     Do you recognize                     some            of the handwriting                      on it

   7   person           of       interest               settled          charges                there          on that deal                       7           A.     I    do.


   8              A.        It       was            a   cash          payment.                                                                    8           Q.     In       fact        theres two            different            --   theres three

   9              Q.        And what was the receipt for                                                                                          9   different      peoples handwriting                             the     person            that     put the

  10           A.           The receipt was                             for       a    knit top.                                                 10   exhibit       as one.               Do you    recognize                the handwriting                     at


 11               Q.        With               respect            to    431 406B and 4056 do you have                                            11   the    bottom

 12    an    opinion              as           to    whether or not the person                                       of    interest              12           A.     I    do.


 13    in   the video                  had a pen or                      a    piece of                 paper        in their                     13           Q.     Do you               recognize        initials          date         up here           at   the


 14    hands           to       take           down say prices                                                                                   14   top

 15            A.           I    do.                                                                                                             15           A.     I    do not know              whose             initials        those      are.


 16               Q.        And what                        is   that       opinion                                                              16           Q.     Whose               handwriting            is   at the          bottom

 17            A.           I    --        I   never             observed              any action                   such    as   that.           17           A.     Thats mine.

 18               Q.        Do you have an opinion                                              in     those        same      exhibits           18           Q.     Did           you    prepare        this    exhibit


 19    as    to    whether the person                                    was ever wiping                            their    face or             19           A.     I    did.


 20    putting          their              hands            to their          face         like        they         were either                  20           Q.     And whats                contained              on     408B
 21    sneezing                 or wiping                   moisture              from          their         nose or wiping                     21           A.     It       is   video    footage        from the Coast Inn                           in


 22    their      eyes                                                                                                                           22   Oceanside               California.


 23            A.           I    do not                 recall         ever       seeing             that.                                       23           Q.     Were you               able    to    take        the     raw images and

 24               Q.        I    believe                theres           a video                from an Arlington                                24   prepare       them            for   Court much                 like    you          have the other

       Walmart                  is     that correct                                                                                              25   exhibits that the jurys just                         seen

                                                                                                                                            44                                                                                                                              46

   1           A.           There               is.                                                                                               1           A.     I    was.

   2              Q.        And would that be                                 4078                                                                2           Q.     Were you               able    to    --    what does                 it   depict

   3           A.           It       is.                                                                                                          3           A.     It       depicts       Mr.    Hummel              registering              and        --    for   a

   4              Q.        And has the sun come                                           up on             December            the 18th         4   hotel       room.

   5   for   that           video sir                                                                                                             5                                MR.     BRISSETTE                  Wed            offer     408B         at   this


   6           A.           It       has.                                                                                                         6   time Your Honor                      tender     to       Defense.

   7              Q.        With               the      Courts              permission                      can     you     publish               7                                MR.     CUMMINGS                   Your Honor                 I    make        the       same
   8   407B                                                                                                                                       8   objections          that       we     put    forth       this     morning outside the

   9           A.           Yes.                                                                                                                  9   presence           of    the       jury as    to    specifically                Texas          Rule of

 10                                            States             Exhibit No.                   407B          published                          10   Evidence           901.        We     also    renew            our     pretrial          objections              to


 11               Q.        BY             MR.          BRISSETTE                      Investigator                   Van Der Leest              11   the    --   this exhibit.


 12    if   we were              to        continue                   408    --    or      excuse              me    --    the                   12                                THE COURT               Based upon the                       earlier          hearing
 13    Arlington                one            which             is    407B           as     in    boy what do we                     see        13                                MR.     CUMMINGS                   Yes.

 14    going         forward                                                                                                                     14                                THE COURT               All       right.          Both      of    your
 15            A.           He         exits            the store            and gets                      in his   vehicle       and            15   objections          are overruled.                 States             Exhibit         408 sic              is



 16    the    vehicle                leaves             the parking                   lot.                                                       16   admitted.

 17            Q.           Did            you have an occasion                                      through          the course            of   17                                And more specifically                      I      believe         its    408B.

 18    your investigation                                to       come        into         possession                of    digital               18                                MR.     BRISSETTE                  Yes         sir.



 19    assets          from an establishment                                          in   the         state of California                       19                                THE COURT               408        is    admitted            for    the record

       specifically                   the           Coast         Inn                                                                            20   only    sic.

               A.                did.                                                                                                            21                                                                        408B admitted
                            I
                                                                                                                                                                                   States         Exhibit No.

 22            Q.           And who                                         receive             those          from                              22                                MR.     BRISSETTE
                                                        did       you                                                                                                                                                 May       it    be published                as

 23            A.                                                                                                                                23
                            Chief              Investigator                   Rizy.                                                                   well Your Honor

 24                                        MR.          BRISSETTE                          May         I    approach        witness              24                                THE COURT               It    may.
 25    Your Honor                                                                                                                                25                                States         Exhibit No.              408B           published
 vt




 10


 11

 12
     --6
     1




     2


     3




     7


     8


     9
         over



         that
                Q.

         as part of


         subpoena

         Tarrant

                A.


                Q.

                A.


                 the


                Q.

                 was

                A.
                           BY




                           I




                           Did




                           He
                                your

                                from our




                                served


                           confinement



                               in    his
                                         MR.




                       County Sheriffs Department

                           I    did.


                           And who did you




                                        Mr.




                                        did.


                                         MR.
                                                     47
                     Case 4:16-cv-00133-O Document 23-19
                                               efforts
                                                         Filed 07/06/17
                                                   BRISSETTE



                                                        office
                                                              in this




                                                   Chief Allen Dennis.




                                                   Dennis

                                               possession



                                                   BRISSETTE
                                                              bureau.


                                                                 give
                                                                        case

                                                                  yesterday




                                                                   serve




                                                                        you
                                                                            Investigator




                                                                              a




                                                                            May
                                                                                    did


                                                                                     to serve




                                                                                    --




                                                                                     I
                                                                                          Hes



                                                                                          a
                                                                                              you




                                                                                               box




                                                                                          approach
                                                                                                      Van Der Leest

                                                                                                      receive


                                                                                                          upon




                                                                                                     the chief




                                                                                                      of items




                                                                                                               the
                                                                                                                      a

                                                                                                                     the




                                                                                                                      witness
                                                                                                                                10


                                                                                                                                11


                                                                                                                                12
                                                                                                                                     1



                                                                                                                                     2


                                                                                                                                     3


                                                                                                                                     4

                                                                                                                                     5

                                                                                                                                     6


                                                                                                                                     7


                                                                                                                                     8


                                                                                                                                     9
                                                                                                                                                Q.

                                                                                                                                                A.


                                                                                                                                                Q.

                                                                                                                                                A.


                                                                                                                                                Q.

                                                                                                                                                A.


                                                                                                                                                Q.

                                                                                                                                                A.


                                                                                                                                                Q.

                                                                                                                                                A.




                                                                                                                                         the State
                                                                                                                                                           Do they have

                                                                                                                                                           They

                                                                                                                                                           What

                                                                                                                                                           Puritan.


                                                                                                                                                           Do they have

                                                                                                                                                           They

                                                                                                                                                           Like


                                                                                                                                                           34/30.

                                                                                                                                                           So 34 inches

                                                                                                                                                           Correct.
                                                                                                                                                                       a




                                                                                                                                                                       MR.
                                                                                                                                                                           Page 19 of 101 PageID 5231
                                                                                                                                                                           do.


                                                                                                                                                                           is




                                                                                                                                                                           do.
                                                                                                                                                                                 that




                                                                                                                                                                            waistline




                                                                                                                                                                would tender to Defense
                                                                                                                                                                                             a particular




                                                                                                                                                                                             a size




                                                                                                                                                                                         waistline




                                                                                                                                                                                 BRISSETTE
                                                                                                                                                                                                           like   a
                                                                                                                                                                                                                      manufacturer




                                                                                                                                                                                                                  30 inches



                                                                                                                                                                                                             Your Honor
                                                                                                                                                                                                                                  in




                                                                                                                                                                                                                                      at


                                                                                                                                                                                                                      Counsel States 462
                                                                                                                                                                                                                                          length



                                                                                                                                                                                                                                           this   time
                                                                                                                                                                                                                                                         49




 13      Your Honor                                                                                                             13       and    all   of        its   contents               463 464 465A and                         B    466 and

 14                                      THE COURT                   You may.                                                   14       467.

15              Q.         BY           MR.        BRISSETTE                Showing you whats been                              15                                     MR.       CUMMINGS                    Your Honor               we renew our
 16      marked        for          identification               purposes as States                       462 463               16       objections              that       we made                prior to Mr.            Van Der Leests

17       and 464 and ask you to take                                       a look        at those          and see         if   17       testimony              here        this   morning                before       the jury.

18       you    recognize                   those         items                                                                 18                                     Further           I   object         to    462 63 64 65 66
19              A.         I    do.                                                                                             19       and 67 as to relevance.

20              Q.         Were these items that you collected                                            yesterday             20                                    THE COURT                         Any additional           objections
21              A.     They                 are.                                                                                21                                     MR.       CUMMINGS                     No       Your Honor.

22              Q.         Can you                 --    what does 462 appear                        to    be                   22                                    THE COURT                         Your objections            are overruled.

23              A.         462           is    a   mens        tri-fold     wallet            black       in   color.           23                                    462 463 464 465A                                and    B   466 and 467 are

24              Q.         And           463                                                                                    24       admitted.

                A.                       alarm key fob                      what appears to be a                                25
                           Is       a                                for
                                                                                                                                                                      States         Exhibit              Nos.     462-464 465A

y-                                                                                                                         48                                                                                                                            50

         Ford Windstar.
     1                                                                                                                               1
                                                                                                                                                                      465B 466-467 admitted
     2          Q.     And do you                         recognize the           name thats                                     2                                    MR.        BRISSETTE
                                                                                                               depicted                                                                                      May       I
                                                                                                                                                                                                                           approach        the     witness
     3   on the key                 for     464                                                                                  3       Your Honor

 4              A.     I        do.                                                                                              4                                    THE COURT                        You may.

     5          Q.     Showing                     you        whats been marked                      for                         5              Q.         BY         MR.        BRISSETTE                                         Van Der Leest
                                                                                                                                                                                                            Investigator

 6       identification                  purposes as              465A and           B.        Do you          recognize         6       States       Exhibit              340B can you                    read       the    manufacturer                and
 7       465A and              B                                                                                                 7       the waist          and length size of the fabric tag thats

 8              A.     I       do.                                                                                               8                         inside the exhibit
                                                                                                                                         depicted                                                       please
 9              Q.     And were these items that you received                                                    from            9              A.         It    is   a    Puritan           tag        34W       by 30L.
                 Dennis                        well
10       Chief                          as                                                                                      10              Q.         States           464      sir           I   asked      you a minute ago                 if



11              A.     Yes.                                                                                                     11       you    recognized the                     name on                the exhibit.           Can you          tell

12              Q.     Can you                     --    is   there a      description           to give         to             12       the   members                 of the jury             what establishment                      this   key
13       465A    and           B                                                                                                13       belongs      to
14              A.     Yes.                                                                                                     14             A.      Coast Inn.

15              Q.     What                 are     they                                                                        15              Q.     Do you know                       a    particular           room number on here
16              A.     They                                                   boots manufacturer
                                            are    black       steel-toe                                                   by   16             A.      214             I   believe.

17       Brahma.                                                                                                                17              Q.     Lets not guess                         if       we have        the    number.
18              Q.     States                  466 do you               recognize             466                               18             A.      24.

19              A.             do.                                                                                              19             Q.      As part of your work                                                case do you
                       I
                                                                                                                                                                                                           in this

                Q.     And what                     is    466                                                                   20       review records that                       are obtained                                        Grand
                                                                                                                                                                                                                  through        the                Jury
                A.     It       is      a     black       T-shirt.                                                              21                    to look              for further
                                                                                                                                         process                                                       digital    assets
22              Q.     States                  467 do you               recognize         467                                   22             A.      I        do.

23              A.             do.                                                                                              23
                       I
                                                                                                                                               Q.      Did            you have an occasion                            to look    at    some
24              Q.     And what                     is    467                                                                   24       banking      records               in    this       case
25              A.     A        pair of black                  mens      slacks.                                                25             A.      I        did.
                                                        51                                                                                                                                                                                                                              53
                        Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                        Page 20 of 101 PageID 5232
        1          Q.         And what was the purpose of your review of                                                                    I           A.          John W. Hummel.

       2    banking           records                                                                                                       2                                     MR.     BRISSETTE                    Your Honor                      at           this         time

        3          A.         To determine whether or not there was any other                                                               3   the State               would tender                  to    Defense           Counsel                 273F and offer

     ý-4    video       assets           that           may be          related to               this   case.                               4   it    for    all   purposes.


     a.-J          Q.         Did        you have                 an occasion                  to look       specifically                   5                                     MR.    CUMMINGS                       May       I    ask Investigator                                 Van

       6    at    some        Wells           Fargo records                                                                                 6   Der Leest                a couple              of   questions            Your Honor

       7           A.         I    did.                                                                                                     7                                     THE COURT                 You may proceed.

       8           Q.         Were you able to make                                       any observations                 whether          8                                           VOIR DIRE EXAMINATION

       9    or not a merchant by the name of E-Z                                                       Mart Joshua         were       in    9   BY MR.             CUMMINGS
      10    those       records                                                                                                            10               Q.      Investigator                    Van Der Leest                     how many owners                                    are


      11           A.         They            --    I    did.                                                                              11   there of that                     Wells        Fargo       account

      12           Q.         And prior to your testimony                                            today    in   the                     12           A.          I    believe          there        are three.

      13    courtroom                   did    you             take    out a larger exhibit                        records                 13               Q.     The            records that             have         been          handed                   to         me       as


      14    that just pertained                            and had references to the E-Z Mart                                              14   273F          as        in   Frank            cover    a    period of time.                          Do you know

      15    other    events              that           you      know           are related             specifically       to              15   what length of time

      16    this   case                                                                                                                    16           A.          I    believe          it
                                                                                                                                                                                                begins       September the 15th of 2009

      17           A.              did.                                                                                                    17   and ends January the 14th                                    of 2010.




     --P.5
                              I




      18                                  MR.           BRISSETTE                     May        I   approach        the   witness         18               Q.     These            records           reflect      transactions                       from                 all



      19    Your Honor                                                                                                                     19   three        bank            cards

     20                                  THE COURT                          You may.                                                       20           A.         Yes.


     21            Q.         BY         MR. BRISSETTE                               Investigator              Van Der Leest               21                                     MR.    CUMMINGS                      Your Honor                       my                objection          to




      --7
     22     Im     going           to    show             you whats              been           marked for                                 22   this    exhibit              is   that        its    overbroad.              It       --   it    starts                   in


     23     identification                purposes as 273F                                as    in   Frank.        Do you                  23   early        September                   --    actually       the        first        record               I        see          it



     24     recognize              this       exhibit                                                                                      24   may         very well              cover        from 9/15

                   A.         I    do.                                                                                                     25                                     THE COURT                 Let        me    visit         with            the lawyers

                                                                                                                                 52                                                                                                                                                     54

       1           Q.         Have you had a chance                                       to review the             pages that              1   on the side about the exhibit.                                         Thanks.

       2    are    contained              in        that        exhibit                                                                     2                                     BENCH CONFERENCE PROCEEDINGS




      --14
       3           A.         I    have.                                                                                                    3                                     THE COURT                 Okay.            Which              are            you interested
       4           Q.         And do those pages                                 depict transactions                  from                  4   in
       5    somebodys account                                                                                                               5                                     MR.    BRISSETTE                     Im     interested                            in    all



       6           A.         It    does.                                                                                                   6   the     --    to    start with

                   Q.         And through                        your investigative                     years of                            7                                     THE REPORTER                         Im    sorry.                  Can you speak

       8    service       I       guess            for         lack of      a   better          term have you                               8   into    the        microphone
       9    come     to figure out                         how        to read         and translate                banking                  9                                     MR.    BRISSETTE                     Yes maam.                               My         apologies.

      10    records                                                                                                                        10                                     To start with Judge                        were               interested                        in


      11           A.         Somewhat                          yes.                                                                       11   all    the       E-Z Mart transactions.                                Mr.   Van Der Leest went

      12           Q.         With                                                                   have you
                                          specific               to Wells            Fargo                           learned               12   through the large exhibit                                  last   week            as       I    thought                    that

     13     how    to    translate                  particular              charges             used        by different                   13   the     Courts instruction                            the    Defense              objection                         was
            credit      cards                                                                                                              14   and we found just the pages                                            the
                                                                                                                                                                                                                  in          banking                   records that

      15           A.         Yes.                                                                                                         15   contained                E-Z Mart transactions.                              Every E-Z                     Mart Joshua

     16            Q.         In looking                   inside       462          if   I    showed         you a Wells                  16   transaction                  links      back to the Defendants                                   credit                   card.

     17     Fargo       credit card                     that     ended          in    5408 do you see                    credit            17                                     THE COURT                 Okay.            So each page                                 has one of

     18     card    transactions                        or debit         card        transactions              that   end       in         18   those        E-Z         Mart transactions                    on it

     19     5408     contained                           273F          as         Frank                                                    19                                     MR.    BRISSETTE
                                                   in                       in
                                                                                                                                                                                                                       Yes        sir.          And            if    it



                   A.         I    do.                                                                                                     20   doesnt             have an E-Z Mart transaction on                                              it    it       gets             into

ti
                   Q.         For the              E-Z Mart charges                            in --   in   Joshua                         21   the    --     when           the        time were talking about of the offense

     22     Texas       do the            last           four     digits        end       in    5408                                       22   date         December                   17th        and December 18th where we have
     23            A.      They           do.                                                                                              23   charges            for the night                    of the offense                and then                     flight

     24            Q.      Can you                      tell    the    members                 of the jury         whose        name       24   from the offense to California.

     25     appears on              462                                                                                                    25                                     MR.    CUMMINGS                      The    --
                                                                                                                                                              55                                                                                                                                              57
                          Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                     Page 21 of 101 PageID 5233
      1                                  THE COURT                                     Im         listening.                                                             1   admitted.


      2                                   MR.            CUMMINGS                                 Okay.            The            exhibit           starts         --    2                                      MR.     CUMMINGS                          I   had an objection                          as to

      3   first      transaction                         I    think       is           9/21             which           is       remote             in                   3   relevance as                       well.


 -A       time        from the sequence                                   of           events that are                            --    make             it              4                                      THE COURT                      I    did.          And     I    also established


I_        a     --   that      this       trial              is   based            on.            The         E-Z Mart                  is    not                        5   it
                                                                                                                                                                                  by     --       based          upon         that the              context          of       what was

      6   the        scene        of     this            offense.                  I    dont            think           weve             had        --                   6   discussed                   in     the    form of Mr.                  Hummels testimony                                   or


      7   Im         trying to            remember.                           I        dont            think       weve                had any                           7   confession                   and that            it    corroborates                    that       information                   and

      8   testimony               that that                       particular                  location             is       relevant                at                   8   he discusses                        regarding               Ms.        Freeze           how they                   first    met

      9   all     to the       case at                   this       point.                                                                                               9   and that he would meet her at the E-Z Mart                                                                    in    Joshua

     10                                   THE COURT                                    Okay.                Let   me         ask a question.                            10   Texas                and      it   specifies           that           in   273F.

     11                                   MR.            BRISSETTE                                Yes.                                                                  11                                      MR.     CUMMINGS                          So       my     objection                is




     12                                  THE                 COURT                     Isnt there testimony with                                                        12   overruled

     13   regard to               Mr.         Hummel meeting                                       with       Ms.           Freeze at the E-Z                           13                                      THE COURT                      Your objection                       is     overruled.

 14       Mart                                                                                                                                                          14                                      OPEN COURT PROCEEDINGS
 15                                       MR.            BRISSETTE                                Yes Your Honor.                                                       15                                      THE COURT                      Members                of the          jury 273F                   is



 16                                      THE                 COURT                 And thats                      contained                    within          the      16   admitted.


 17       video confession that                                     was taken                          --                                                               17                                      States             Exhibit              No.       273F admitted

 18                                       MR.            CUMMINGS                                 Yes.                                                                  18                                       DIRECT EXAMINATION                                       Contd
 19                                      THE COURT                                     --    over at the San Diego                                        jail          19   BY MR.               BRISSETTE

 20                                       MR.            BRISSETTE                                It    is   contained                   there            where         20             Q.          Mr.          Van Der Leest                      directing            your attention                       to

 21       he was asked                         by Sergeant Carlson how                                                  long           hes been                         21   the    last          two pages                  of the       Exhibit             273F            first        Id    like


 22       thinking           about                 this.           And        I    dont want                      to        misquote                 it                 22   to have              you look at the second                                     to    last   page             on 273F and

 23       Judge.            Its        either                a couple                  months                or several                  months                         23   see    if       it   is    an      identical           representation                       to    273B              as     in


 24       and        this    is     --    the            first      couple                   of    pages           of this               in                             24   boy

N5        fairness          to the                 Defense                is       the        first          references                   is   in                       25             A.          It     is.




                                                                                                                                                              56                                                                                                                                              58

      1   the        larger exhibit                          thats       an A number for what you have                                                                   1             Q.          Has 273B as                      in    boy been                  highlighted                  down             in


      2   in    front of you.                       Its the              first              reference              to        E-Z        Mart.                            2   your        digital           evidence                lab

      3                                  The States position with the                                                            --    with         the                  3             A.          Yes.

      4   phone           records that                            would come                           in    behind              this     is   you see                   4             Q.          Would              273B         aid    in       your testimony today before

      5   transactions                   to begin with of                                    fuel       and       --     and what we                                     5   the jury to explain                             these records

      6   believe         is    cigarette                         purchases here and then                                               it                               6          A.             It    would.

      7   progresses to where Mr. Hummel                                                                    says       in    his       statement                         7             Q.          If    you could                 look    at the             last    page            in   273F
      8   that       began             with         calling              and then texting.                                                                               8   sir.      Ill        show you whats been                                    marked for

      9                                  Then the two documents                                                        when you                     look      at         9   identification                     purposes             as    273C ask you                         to       do the same

 10       them together                            in        addition              to        his       statement                       corroborate                      10   thing       to        compare              if   the     --    the          background                    the actual

 11       not only           as        motive                     but    put the timeline                                in       contextual                            11   black       text                   consistent               with the                                     of    273F.
                                                                                                                                                                                                                                                                        page
                                                                                                                                                                                                          is                                                  last


 12       references               together                       that    he was frequenting                                           the                              12          A.             It    is.



 13       establishment and                                       this   is       where he met Ms. Freeze.                                                              13             Q.          And has the other highlighting                                              and lettering

 14                                      THE COURT                                 Okay.                    Do you have                      anything                   14   been        added                by your team down                                    the        lab     to aid
                                                                                                                                                                                                                                                              in                                    you       in


 15       else       to   add                                                                                                                                           15   your testimony today before the jury

 16                                      MR.             CUMMINGS                                 No         Your Honor.                       Ive made                 16          A.             It    has.

 17              the objections                               have        --                                                                                            17                                      MR.     BRISSETTE                        Your Honor at                                  time
          all                                            I
                                                                                                                                                                                                                                                                                            this


 18                                      THE             COURT                     The            State           has        --       has clearly                       18   the State                  will    offer        273B and C                   for      demonstrative

 19       established                  the relevance                              of        States Exhibit 273                                                          19
                                                                                                                                               in                            purposes before the jury.
2         relation          to the video                           confession that                            was taken by                           --                 20                                      MR.    CUMMINGS                          I    have        no additional
          from John Hummel at the San Diego                                                                   County                   Jail.        In                  21                               to     273B and             C.
                                                                                                                                                                             objections

 22       addition          to      it        it    is       contextual                      in    time.           It       is                                          22                                      THE COURT                      Your objection                       continues                to    be
 23       tailored          to identify                       those specific                           dates            and                                             23   overruled.                   273B and C                 are           admitted             for     demonstrative

 24       therefore               it     is     not          overbroad.                                                                                                 24   purposes.

 25                                      Your objection                                       overruled.                     273F                        be             25
                                                                                        is                                                   will                                                               States             Exhibit          Nos.           273B 273C admitted
                                                 59                                                                                                                                                                                                                    61
                 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                           Page 22 of 101 PageID 5234
 1                                   MR.       BRISSETTE                May     they    be published                        Your       1   in    that       county Vado New Mexico                                         and requested the same

 2   Honor                                                                                                                             2   and was            told        that there                     was no one            there      that        had the

 3                               THE COURT                   They        may.                                                          3   capability             of retrieving                     anything            like   that.



            Q.        BY         MR.           BRISSETTE                Mr.    Van Der           Leest did you                         4               Q.     Did     you attempt                         to contact           a   Chevron            in    Tucson

     take    those          bank              records    and make contact                    with              some                    5   Arizona

 6   establishments                       throughout         the        southwestern                  part-of           the            6               A.     I    did.         I   contacted                the    Tucson           Chevron                and

 7   United      States                                                                                                                7   they said              there         was no video available.

 8          A.        I    did.                                                                                                        8               Q.     El    Centro California

                                               you whats
 9          Q.        Showing                            been                  marked        for                                       9               A.     El    Centro                I    contacted            a    person at the store.

10   identification                  purposes as States 445.                           Did   you               prepare                10   I    had some communication                                           issues.       They       --    they spoke

                                                                                                                                                                                                                                                 and they
                                preparing 445 for                                                                                          Spanish            primarily as their                             primary language
                                                                   --                                                                 11
11   or assist        in                                                 for   presentation


12   before the             jury          today                                                                                       12   said        that       they would have                            a   manager           call    me     back.


13          A.        I    did.                                                                                                       13                                  I    attempted                  on two other occasions                            to


14          Q.        Are you familiar with the items that are                                                                        14   contact that               manager and was never able                                           to    get       through

15   depicted         with the                 different     colored           flags   and symbols on                                 15   to    anyone to recover that.

16   445                                                                                                                              16               Q.     Are you                familiar with a                    1998       Ford        Windstar and

17          A.        I    am.                                                                                                        17   its    capacity           for       fuel

18                                   MR.       BRISSETTE                Your Honor               at       this       time             18               A.     I    am.

19   the State             would              tender to      Defense           445 and offer                    it    for             19               Q.     Are you familiar with the EPA studies for that

20   demonstrative                        purposes       before the jury.                                                             20   vehicle          for     that            model year as to miles per gallon

21                                   MR.       CUMMINGS                 Your Honor               I    have            no              21               A.     I    am.

22   objection             to    States          445.                                                                                 22               Q.     What             is    the       approximate                range of fuel                if    its


23                                   THE COURT               It    is    admitted        for                                          23   a    full
                                                                                                                                                        load between                          --    for a        1998     Ford      Windstar

24   demonstrative                        purposes.                                                                                   24               A.     About 320 miles.

                                     States        Exhibit No.            445 admitted                                                25               Q.     Youve had                       a     chance         to   prepare the exhibit                        I




                                                                                                                            60                                                                                                                                         62

 1                                   MR.       CUMMINGS                 Your Honor               may            I    move        so    1   believe            445             the    map. Were you                        able      to    do distance

 2   that   I    can observe                                                                                                           2   measurements                         between                  the locations             that are           depicted              on

 3                                   THE COURT                Please.                                                                  3   the         map
 4          Q.        BY             MR.       BRISSETTE                Investigator             Van Der                Leest          4               A.     I    was.

 5   lets   see       if    we can walk                 through          this    without             tripping                          5               Q.     And are those within                                 range of the                fuel   load        for

 6   over everything.                                                                                                                  6   the         1998       Ford         Windstar                  based      on the federal government

 7                                   In       States    Exhibit         273C      were you                     able    to              7   standards

 8   identify     some                fueling      locations            throughout           the                                       8               A.     It    is.



 9   southwestern                     part of the United                 States                                                        9               Q.     Also            on the           --    I    believe the          last       page of your

10          A.                                                                                                                        10   exhibit                            273F
                      I    was.                                                                                                                             there                             in    front of       you do you see a credit
11          Q.        And were                   you able       to      make     contact             with           certain           11   card        transaction                  thats one two                        three          four     five


12   fueling      locations                   or gasoline         merchants throughout                                the             12   lines        down from                   the       header

13   southwest part of the United                                 States                                                              13               A.     I    do.

14          A.        Yes.                                                                                                            14               Q.     And do you recognize that establishment                                                        in


15          Q.        Can you take                     the   members             of the jury                   through                15   Joshua Texas

16   what you              did       as part of         your investigation                                                            16               A.     I    do.

17          A.        After                            at the     bank records                       --                               17               Q.     And what                         the transaction                  date
                                      looking                                                I             I                                                                           is                                                  for    that sir

18   noticed      a transaction                    in    Midland          Texas.        I    contacted                                18               A.     12/16.

19   the    Town and Country                           corporate          office    located                in                         19               Q.     Mr.     Van Der Leest as part of your preparation

     Houston              as     I    recall      and attempted                  to get      video              from                  20   for     court did you                      print a             number         of    stills     from the

     the    store         for        the      same     time that          this    transaction                                         21   exhibits           that        weve seen                       here     today
22   occurred              and        I       was unable        to get video           from them.                                     22               A.     I    did.


23          Q.        Did        you next make                    an attempt           to locate                    digital           23               Q.     And do these                          stills       highlight         some        different

24   assets      in       New Mexico                                                                                                  24   parts of the exhibits                               for       your testimony                 today before

25          A.        I    did.           I   contacted       the sheriffs             office             in --                       25   the         jury
                                                  63                                                                                                                                                                                                              65
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                        Page 23 of 101 PageID 5235
 1           A.     It    does.                                                                                                      1   addition      to            it     the       still   photographs                     would      be helpful

 2           Q.     Youve had a chance                                   to look        at   States           Exhibits               2   as   an aid to the jury to determine                                                the accuracy               of the


 3   412 through 427 inclusive                                        have you          not                                          3   video.       In addition                       to    it     to look           for    characteristics

             A.     I    have.                                                                                                       4   that   would identify                           clearly the                  Defendant and those

             Q.     And are those exhibits that you                                           prepared                               5   videotapes.                      Accordingly                     it    is   not duplicitous              --    or


 6   yourself                                                                                                                        6   duplicative                  excuse              me        and therefore                     should          be and     will


 7           A.     I    did.                                                                                                        7   be admitted.

 8           Q.     And have you                       had a chance                    to look at States                             8                                     All    right.            Thank            you.

 9   447 through 460 inclusive                                                                                                       9                                     MR.        BRISSETTE                       Yes      sir.




10           A.     I    have.                                                                                                      10                                     OPEN COURT PROCEEDINGS
11           Q.     And are those images that you                                             prepared          in                  11                                    THE         COURT                    Members            of the      jury 427 sic

12   preparation           for        your testimony                         today                                                  12   is   admitted               for the record                        only.        Exhibits         412 through

13           A.     They             are.                                                                                           13   426 are admitted                             for     all    purposes                and States                Exhibits

14                              MR. BRISSETTE                                Your Honor               at    this    time            14   447 through                      460 are also admitted.                                  The Defendants

15   the State           would         tender          to        Defense           Counsel            States         427            15   objection          is        overruled.


16   and offer at          this         time        for         the record             only just 427.                               16                                     States             Exhibit                Nos.    412-426

17                              MR.         CUMMINGS                         No objection              to    427 being              17                                     447-460 admitted

18   offered       for    the        record         only.                                                                           18                                    THE         COURT                    You may proceed.

19                            THE COURT                           427 for the record only                            is             19          Q.         BY             MR.      BRISSETTE                          Investigator            Van Der Leest

20   admitted.                                                                                                                      20   in   your    forensic                   field        is    there            a science         known           as

21                              States Exhibit No.                                427 admitted                                      21   photographic                      comparison

22                              MR. BRISSETTE                                We    would        tender         to        Defense    22          A.      There                is.



23   Counsel       States              412 through 426 and then 447 through 460                                                     23          Q.         Can you explain to the jury what photographic

24   inclusive      and         offer         those         for       all    purposes.                                              24   comparison                   means              to   you           as a forensic              video          analyst

5                               MR.         CUMMINGS                         Your Honor               regarding                     25          A.         It        is    the process                    by which            you take            a   known

                                                                                                                               64                                                                                                                                 66

 1   States       Exhibit            412 through                      426 we have                the       same                      1
                                                                                                                                         image and you                           compare             it        against       an unknown                 image      for


 2   objections          for      these           exhibits            as     we    put forth           for    the                    2   unique and class characteristics.

 3   videotapes           from which                   they are taken.                                                               3          Q.         Lets start with unique.                                       What         are    unique
 4                              Further they are                             in   fact duplicative                  of               4   characteristics

 5   the exhibits          that the jury                        has already observed                          this                   5          A.      A unique                      characteristic                   would be something                        that

 6   morning        on     the source                  videotapes.                  We       object         on that                  6   would       set a            person or an object apart from                                          all      others.

 7   basis    as   well.                                                                                                             7          Q.      What                 are class characteristics

 8                            And just so that                          it   saves       a   little
                                                                                                        time         I               8          A.      Class                characteristics                         are characteristics                 that

 9   have the same objections                                   to    447 through 460.                                               9   would       put        it        into    a     class        such            as a four-door

10                            THE COURT                           I   need        to   talk    to     the lawyers                   10   automobile a pickup                                  truck             a short-sleeve               shirt       et

11   just    briefly.                                                                                                               11   cetera.

12                            MR.           CUMMINGS                         Do you need the exhibits                               12          Q.      Youve had an                                occasion            to    testify        as   an expert
13   Your Honor                                                                                                                     13   in this     field           as well before                        in    state       district    court
14                            THE           COURT                 No.                                                               14   have you           not
15                            BENCH                 CONFERENCE PROCEEDINGS                                                          15          A.      I       have.

16                            THE COURT                          Regarding              your objection                     I        16          Q.      Have you used photographic                                                 comparison to rule
17   wanted       to     do           outside the                 presence             of the
                                it                                                                    jury.     I                   17   individuals              into           a situation                   and     in    addition rule

18   wanted        to    rule        on      it   but       I    also        wanted      to    articulate                           18               out of a situation
                                                                                                                                         people

19   the reasons           for        it.                                                                                           19          A.      I       have.

                              Im            going      to       overrule           your objection.                   Ill            20          Q.              believe                        have
                                                                                                                                                        I
                                                                                                                                                                                      you                       in   front of      you       a blue

     give    a continuous                    running objection.                         However               part        of        21   binder labeled                     States             Exhibit               446     is   that   correct
22   that    is   based       upon            your claim that the authentication                                                    22          A.      I       do.

23   comes        into    question.                 The admissibility of that evidence                                              23          Q.      Did               you generate                      446
24   should       be brought                 --        --       has already been                      decided
                                                  is
                                                                                                                         by         24          A.     I        did.


25   the Court          based                       what Ive articulated.                                                                               How many pages
                                       upon                                                            But     in                   25          Q.                                                          are contained               in    446
                                                     67                                                                                                                                                                                                               69
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                               Page 24 of 101 PageID 5236
    1          A.     60.                                                                                                        1                                   MR.     CUMMINGS                         Thank you Your Honor.

   2           Q.     How many image pages                                                                                       2                               THE COURT                           All     right.                Thank           you.          Well

   3           A.     59.                                                                                                        3   be      in   recess.


               Q.     And theres a                         --   a face        page        is   there       not                   4                                   Recess from 1150 a.m.                                              to   1210 p.m.
               A.     There           is.                                                                                        5                                   Open           court            Defendant                         present          no jury

   6           Q.     So a        total        of      60       pages                                                            6                               THE COURT                           All     right.                Both       --
                                                                                                                                                                                                                                                    everybody

   7           A.     Correct.                                                                                                   7   ready to go on the record

   8           Q.     Whats             contained                 on those 60 pages                                              8                                   MR.     CUMMINGS                          Yes Your Honor.

   9           A.     These           are      still        images taken from the assorted                                       9                               THE COURT                           Okay.                  The         Defense has

10      videos       depicting              certain             things       within       each       image that             I   10   requested to have                             an      opportunity to                          review 59                pages

11      wanted to make sure that the                                        trier    of fact      was aware              of.    11   contained              in       States Exhibit 446 for the purposes of

12             Q.     Are you able                         as part of your investigation                               to       12   objections             and conducting                           a     voir dire                   examination.

13      have    access          to     physical                 items of evidence                                               13                                   Mr.    Cummings                       you may proceed.

14             A.     I    am.                                                                                                  14                                   MR.     CUMMINGS                          Thank you Your Honor.

15             Q.     And        did        you have              opportunity                  prior to     them                15                                          VOIR DIRE EXAMINATION

16      being       admitted           into the                 courtroom            to   take those into                       16   BY MR.          CUMMINGS

17      the    photographic                  booth down on the fourth                                 floor   and               17             Q.         Mr.    Van         Der Leest during the break                                                 I    was      able


18      actually      photograph                     those images                                                               18   to      visit   with        you        to      kind        of   clarify               some          things             from

19             A.     We        did.                                                                                            19   States Exhibit No.                            446          which         is       a         notebook           that


20             Q.     Does that then become your                                          known                                 20   contains             59 pages of photographs                                            that        you prepared                   and

21             A.     It   does.                                                                                                21   one page              of    text         correct

22             Q.     Are you able to take a known then and                                                   compare           22             A.         That        is   correct.


23      it   to the video exhibits                         that    weve             shown       the jury          this          23             Q.         And what Im                         able to         --       or        what you have                       told


24      morning                                                                                                                 24   me       during        the           break          is     that     these               --    these are

               A.     I    am.                                                                                                  25   comparisons                     of    stills        from the videos with some

                                                                                                                       68                                                                                                                                             70

    1          Q.     And are your opinions                                  as to class             and possibly                1
                                                                                                                                     photographs                     youve taken                     of articles                       of clothing

   2    unique       characteristics                       contained           in    States          446                         2   associated                with        John            Hummel                 correct

   3           A.     It   is.                                                                                                   3             A.         Yes.


   4           Q.     And        is    that         what you would be                          able to      present              4             Q.         The        --.so the                process         --
                                                                                                                                                                                                                           well would                you

    5   as an expert here today as whats contained                                                     in   446                  5   describe             the        process             for     the Judge

   6           A.     Yes.                                                                                                       6             A.         Id be glad                to.


   7                             MR.         BRISSETTE                      Your Honor at                  this    time          7                                   Whenever were                           processing                      video          within         that

   8    the State          would tender                     to Mr.          Cummings States 446 and                              8   Avid nonlinear                        editor we have                         the            ability      to    look at

   9    offer   it   for   all
                                  purposes.                                                                                      9   each         frame of video                         individually.                      In     order to export a

 10                              MR.         CUMMINGS                        Your Honor its                 59                  10   still
                                                                                                                                               image        of that             frame             its        as    simple as placing an

 11     different         images and                   I    need        to    ask Mr. Van              Der Leest                11   in      and     out marker on                         each        side of that                      frame of video

 12     several      voir dire questions                          outside            the presence of the                        12   and          then exporting                    it     as a      still    image.

 13     jury before         we can                  deal        with    the admission                 of   this                 13                                   And      it    is     from those                      still       images that               I



 14     particular         exhibit.                                                                                             14   exported              from the multiple videos                                          I     worked          in       this     case

 15                              THE COURT                        All       right.     Members             of the               15   that         you see            on the pages of                         this           --     of this         image chart

 16     jury    since       its       10     till    1200              were going               to   go ahead                   16   comparison.

 17     and    break       --    allow          you to break for lunch right now.                                               17             Q.         So     in        fact       if   --    because                   youve             given          me       the

 18                              Please             remember the Courts                              previous                   18   benefit         of the           digital            file    as well               I     --    I    believe         you

 19     instructions.             Do        not discuss this                    case      with       anybody or                 19   intended             to     discuss            your findings                          with         the jury and

22-11
        amongst           yourselves                 or discuss              what court youre                     in   right    20   display         it    on your projector digitally

        now     as a juror.                                                                                                     21             A.         Correct.

 22                              Please             be back            at    130.         Thank you very                        22             Q.         And        as     you progress                     through                    your       digital


 23     much.        Youre excused                          for lunch.                                                          23   presentation                     the      photos are added                                    as you testify and

 24                              Well         take a             ten-minute recess to take a                                    24   the      arrows            --    or directing                                --       our attention                    to   what
                                                                                                                                                                                                     your

25      look    at the      photographs.                                                                                        25   youre discussing                          in     the        photograph                        are       added          as   you
                                                                                                                                                71                                                                                                                                                        73
                      Case 4:16-cv-00133-O
                              the slides
                                           Document 23-19 Filed 07/06/17
                                                                   Q.  And
                                                                           Page
                                                                            runs
                                                                                 25 of 101  PageID  5237
    1
        progress              through                                                   the      of                                                            1                                    it               through                               sequence                       photos

    2           A.        That        is    correct.                                                                                                           2   through               24.


    3           Q.        This       is     a presentation                              that            deals           with      first                        3                                    Page 25 of 59 what                                      is    the focus               there

-t      the uniform              shirt          in     pages               2     --     or        1     of    59 through 8 of                                  4   What        are        you           doing

        59      is    that     correct                                                                                                                         5             A.          My        focus        on       this        was         to        show           the class


    6           A.             believe                 is                                                                                                      6   characteristics                       of the          hat that                --        that            in   evidence.
                          I                      it
                                                                yes.                                                                                                                                                                                                is




    7           Q.        When you                    did       this             you actually took the                                                         7             Q.          Okay.               One more                  slide.              25 of 59.

    8   uniform shirt                 the        --        the    piece of                        evidence              to    your       lab                   8             A.          Oh Im                 sorry          sir.




    9   and photographed                             it                                                                                                        9             Q.          You        --       you     finish          with the                   hat       and what               is   the


10              A.        We     photographed                               it      on the fourth                        floor      in    what                10   next       --        this       next       sequence                 that           youre covering

11      we     call      the    green           room.                 Its           a   photographic                          room that                       11             A.          This       --       this    is   an image taken                                  from the ATM

12      we     have.                                                                                                                                          12   surveillance                    video.


13              Q.        A room            within the                         District                Attorneys Office                                       13             Q.          And so were                      still        addressing                     the       same            articles


14      that you-all             have enhanced                                 for that                  purpose                                              14   of clothing                 that          you have discussed                                  prior to         this



15      photographic                 purposes                                                                                                                 15   through               the earlier               sequences

16              A.        Yes.                                                                                                                                16             A.          That           is   correct.             In       this            image you can see the

17              Q.        I    mean Im                     not        --                                                                                      17   fedora           hat the dark hat with the                                               light     trim and you

18              A.        Yes.        It    is        --   it    is    a       room that we have                                  set     up                  18   can see the emblem on the front of the dark                                                                        shirt.


19      for    taking          pictures               taking               images of clothing                                     people                      19             Q.          Okay.               And to close                   out the subject                           matter you

20      whatever              we need                to.                                                                                                      20   then       --        on page 42                  of    59 you moved                                to a different


21              Q.         Now when you                               --    youve                     got additional                training                  21   garment and you                              make            similar               comparisons

22      and education                  regarding                      forensic                    videos            correct                                   22             A.          That           is   correct.

23              A.        Correct.                                                                                                                            23             Q.          Okay.               Thank        you.

24              Q.        In the           exhibit that                        you           have             here you             have                       24                                    MR.        CUMMINGS                           Your Honor                      my           objection       to


25      taken        a   slide       or     a    frame from a                                --    a     --    a   frame from a                               25   the       testimony                   from Investigator                                 Van Der Leest                   is    that


                                                                                                                                                    72                                                                                                                                                    74

    1   video         and you              are        comparing                         it    to that              photograph                you               1   it   --    its.--          it   invades the province of the jury.                                                       Its

    2   took     in      your green room.                                                                                                                      2   not       necessary                   for   any expertise                           to       compare photographs

    3           A.         Mark Porter actually took the photos.                                                                                               3   and make                   observations                    from them.

                Q.                                                                                                                                             4
    4                     Okay.             Fine.                                                                                                                                                   Theres               no    --      I
                                                                                                                                                                                                                                           mean                 its       not a       matter of

    5                                Did        you         use any sort of measuring device                                                         to        5   showing dimensions                                are        identical                   or you know
    6   make         the      comparison between                                          your known                      photograph                    and    6   scientific             measurements                          are not used.                             Its    --       Its    --   a

    7   the excerpts                 from the videos                                                                                                           7   juror       can look                  for   themselves                    and compare photographs to

                A.
    8                     I    did    not.                                                                                                                     8   this      extent.               Maybe            --
                                                                                                                                                                                                                          maybe              they               wouldnt do                 it    in


    9           Q.        Did    you            --    did       you            rely          upon             your       --   a   lot     of                   9   detail.


10      different          tools really                      your background                                       as an                                      10                                    And        my        objection                is        to Investigator                      Van Der

11      investigator                 as a street                  officer                         Youre            --   just the                              11   Leest        providing                    opinions             as to these photographs.

12      fact    that       youre a man whos                                         lived             life    and you             make                        12   Opinions are reserved for expert                                                        testimony.                 I   think

13      observations                 and you pay                           particular                    attention             to                             13   this      invades               the        province of the jury                                and goes outside

14      details          is    that       correct                                                                                                             14   his       area        of expertise.

15              A.        Yes        sir.                                                                                                                     15                                    Hes         learned a                  lot    and provided the Court

16              Q.        The        next item that                            you            apparently                  focus         on     is   a         16   with       testimony                      about videos and                              --    and whats entailed

17      black        photograph                  --    excuse                  me            --    black            button-up              mans               17   with videos                     and components                           of        it    that      we might                  not

18      short-sleeve             shirt           with           an emblem of some sort on the                                                                 18   otherwise               know                but   this         is
                                                                                                                                                                                                                                           merely               comparing photographs

19      front        and you cover                         those           comparisons with the video                                                         19   to   see              they       depict the                 same                                                       one of
                                                                                                                                                                                   if
                                                                                                                                                                                                                                                 images.                  Every
-
        excerpt          through            --       the front                   is     covered                through              14 of                     20   those jurors                    is    just as          capable                of doing that as                          he or

        59 correct                                                                                                                                            21   I.    Thats            my        objection                 Your Honor.

22              A.        Yes        sir.                                                                                                                     22                                    MR.        BRISSETTE                          Your Honor                      now           that      were
23              Q.        And then               the            back                    covered               from        15 through                          23
                                                                                                                                                     19            outside the                     presence              of the            jury may                        ask Mr. Van Der
                                                                               is
                                                                                                                                                                                                                                                                      I



24      of    59 and then                   you        focus           on the hat                             correct                                         24   Leest       a        few        more questions about                                      his                          in
                                                                                                                                                                                                                                                                      training

25              A.        Yes                                                                                                                                 25   photographic
                                     sir.
                                                                                                                                                                                                    comparison
                                                                                                                                             75                                                                                                                                                   77
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                   Page 26 of 101 PageID 5238




--10
 1                                       THE COURT                         You may.                                                                     1   that    are involved                    in        it     and           how             experts          such        as Mr.           Van

 2                                                   VOIR DIRE EXAMINATION                                                                              2   Der Leest          would               --        their            testimony would have                                    actually


 3   BY MR.           BRISSETTE                                                                                                                         3   assist the         trier       of fact                   in       deciding               the       case.


               Q.         Mr.        Van Der                   Leest as part of your photographic                                                       4                             THE COURT                                      Do you have any                            additional


     comparison                          do you actually go to fabric school                                                                            5   questions            Mr.       Cummings
 6             A.         Yes.                                                                                                                          6                             MR.           CUMMINGS                                       No     Your Honor.




--18
 7             Q.         Can you                    explain           to        the    Judge            what were talking                              7                             THE COURT                                      All       right.          Now         with       regard to


 8   about when                                      fabric          school                                                                             8   the    --   the    purpose                   of the                proffer               thats          contained
                                     I     say

 9             A.         Sure.                The         manufacturing                          process for clothing                                  9   within      States Exhibit 446

     is   --   is    rather                unique.               In these              images that we have                                             10                             MR.           BRISSETTE                                      Yes     sir.



11   here for          this              trial           the shirt for                 example                     being                               11                             THE COURT                                         --    what        is   the        purpose behind

12                             now                   on page              42/59                   a simple              black         T-shirt          12   these       --   the     exhibit                    if
                                                                                                                                                                                                                         you can state                         it
     displayed                                 is                                           is




13   that      has been                        screen           printed           with a               logo for             Mac Tools.                 13                             MR.           BRISSETTE                                      Sure.


14                                       There            --    theres no way for                                  me       to   determine             14                             The attack                              --     or the           voir dire            has       been

     how many                                                        were made because                                      theres                          from the Defense                                   and                           been                         on through
                                                                                                                                            --         15                                               --                     its                      carried
15                              of these that


16                   the process                          --    this             a simple               black       shirt.                             16   jury selection
                                                                                                                                                                                          --       that            if     there              are issues with the
     during                                                               is




17   These           are class                  characteristics                        that         Im        pointing            out.                 17   statement           or    if       a    statement                            is        challenged              that       they

     With       --    with               all    of these             images                   its      class                                           18   I
                                                                                                                                                                anticipate           there              will         be a Jury Charge of they can

19   characteristics.                               Its        not   unique characteristics.                                                           19   disregard          the        items               in         the        statement                   have           to consider


20             Q.         With             Mr.        Cummings                    pinstripe               coat          here how                 the   20   the    case       based            on everything                                   other       than whats                  in     the


21   fabric          lays      and              how        the stripes                 come about on                             the                   21   statements               themselves.

22   lapels          would that be unique characteristics                                                               when youre                     22                             So the State has to prove up                                                         identity

23   looking at                photographs                           and trying to compare fabric                                                      23   throughout               the       process that                                  Mr.     Hummel               is   one and the

24             A.         It    --        it    would           if   you could                    see the           detail.                            24   same        that    did        these acts and                                      was pertained                    --    or


S    The coat that Mr. Hummel                                               is    wearing                is    actually           a    --    a         25   portrayed           on these                      in        his flight.                  If   were            talking


                                                                                                                                             76                                                                                                                                                    78

 1   better          representative                             of   --     if
                                                                                  you            could        get the            detail                 1   about the Mac Tool                                shirt                either           when          he gets            his    boots


 2   from the camera of where the seams come together.                                                                                                  2   and     goes to Oceanside for the other events that are

 3                                        Because               the       way          clothing               is   manufactured                         3   contained          therein                   it        goes to the identity of the

 4   the       cloth       is        laid           out    on a table                  it        has a pattern                    and                   4   individual.


 5   then       it   is    cut say for example for the front part of                                                                                    5                             And           were working two prongs here Judge

 6   the       shirt.          And then the sleeves                                         are cut            from the sides                           6   not    knowing what the                                      --    the           final    Courts Charge                        is.



 7   of   --    of that extra                            fabric.          So whenever                         they are sewn                             7   going to be.              And               its          a    way            for        us through                 the

 8   together                  chances                   are     theres not going to be the same                                                        8   forensic         process                to rule out                              all    inconsistencies.


 9   lines      that           come                 together           at the            same            location                on two                 9                             I    believe                       Mr.       Van Der Leest would                                tell       the


10   shirts.                                                                                                                                           10   jury    and       tell    the          Court he found                                    no inconsistencies.

11             Q.         Is     photographic                          comparison                        in    your studies                            11   There are class                    characteristic                                  consistencies                   throughout

12   with       LEVA             is        that a          sub       discipline                   of   your        overall                             12   and there are actually                                       several                   unique       consistencies

13   forensic          video                   certification                that        you         have                                               13   throughout               the       images                         that           being        the tattoo                 on the

14             A.         It    is        a     sub discipline of what we do.                                                                          14   right forearm.                     And thats                           linking            the      individual

15             Q.         Is     also               a sub discipline                             you     want to do a                                  15   together           because                        think                                                 Mr.    Van        Der
                                                                                                                                                                                                                                         you
                                                                                            if                                                                                                           I                         if               recall




     --Rodgers
16   height          comparison of the individuals you would go out                                                                                    16   Leests direct testimony when he was talking                                                                          about the

17   and do a reverse projection                                                                                                                       17   Walmart           videos               we          refer to the                          person as a person of

18             A.         Yes.                                                                                                                         18   interest         because               of the quality.                                  Youre            not actually

19                                        MR.        BRISSETTE                         Your Honor                       I    believe         under     19   making a           facial          recognition                               ID.        Youre ID

                          versus State 205                                     S.W.3d               525        specifically                 at         20   identifying          the clothes                             that            have already                     been       admitted

     page        527            it       discusses               what needs                       to     be met under Rules                            21   in   evidence            and coming up with whether                                                           or not       theres

22   of    Evidence                  702.                                                                                                              22   consistencies                 or inconsistencies.

23                                       And              have        Stevenson versus State which                                                     23                             Youve                    seen the image quality.
                                                     I                                                                                            is
                                                                                                                                                                                                                                                                                 Were down
24   304 S.W.3d                          603         out of the                  Fort         Worth Court of Appeals.                                  24   to looking          at pixels that                                are other                   than the face for a

25   It   is   published                       on video              forensics                   and the disciplines                                   25   person such               as Mr.                 Van Der Leest                                to   make            a call       and
                                                   79                                                                                                                                                                                                                          81
                   Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                              Page 27 of 101 PageID 5239
        thats the               proffer on               this.                                                                              1   his    amendments                       or revisions               whichever                word you choose.




        --testimony
    1




    2                                     THE      COURT               All      right.       The Court finds                                2                                    THE COURT                   Before            we go any                further              let



    3   that    States               Exhibit         446 should                 be admitted                   for    the                    3   me make               sure         I   understand.                 Whos             going        to     be the

        following           reasons                  Based upon                  the     review           of   the                          4   sponsoring witness                         in    229B1             through            B    --    Im        sorry

                                 the information                       thats          contained               within       446              5   229B through                     El
    6   perhaps        would                be     of    a clarifying                value    for       the jurors                          6                                    MR.      BRISSETTE                  The sponsoring witness

    7   because            it    identifies              the     specific            clothing thats                                         7   Your Honor                   would         have been the custodian                                    from MetroPCS

    8   unique     or has                   unique        characteristics                   that        was worn                            8   when he put the                        initial        records        in.        We        have since done

    9   allegedly           by        the      Defendant               on the days                 in
                                                                                                         question             in            9   redactions to                    those and the remaining items                                                I    believe


  10    December                     2009.                                                                                                 10   are    subject              to   the      original       offer        from the custodian

  11                                      As   a    result the information                              that    is                         11   who was             here         last     week         as    to     the entirety                 of     it.




  12    proffered               by the          State       for       the    purposes              of    identifying                       12                                    We     have redacted                  out          stuff       that the               Defense

  13    those    characteristics                          that        might otherwise escape the                                           13   told   us they              would         object        to and             I    think       we have

  14    notice    of       the jurors                would            be     helpful.         It    is   also        the                   14   exhibits        that are                in a     presentation                  format           for     all



  15    States     responsibility                         to     prove          the case           beyond            a                     15   purposes              before the jury                   for    29E-1            and 29C-1.                         Those

  16    reasonable                   doubt.                                                                                                16                  to                Hummels phone.




    --5
                                                                                                                                                belong                Joy

  17                                      As   a result of those                      burdens            and        --   and the           17                                    And theres one remaining                                   phone number with

  18    reasons        that               Ive discussed those                          --    the testimony                    of           18   respect         to    29C-1 that Mr. Van Der Leest                                          is    familiar


  19    Mr.    Van Der Leest should                                   be    and      will    be admitted as                     well       19   with       belongs               to    one Trish Murphy.                            With        that          the

  20    as    States            Exhibit 446.                                                                                               20   numbers that are highlighted and contained                                                            in          that


  21                                      Are there            any         other      findings           --    or                          21   exhibit        have          all       been      identified.           At that point                          once

  22    objections               that        you may have                       Mr.    Cummings                     Mr.       Moore        22   Mr.    Van Der Leest says that                                 in    front of the                jury

  23                                      MR.      MOORE               Just can             we have            a     continuing            23   theyve          all      been          identified        in       open court.

  24    objection               to    all   the     testimony                                                                              24                                    So whats             left    in    here        has been                identified


  F.                                      THE      COURT               Yes you may.                                                        25   for    the     jury.         The         phone         numbers that are                          left         in       29E-1

                                                                                                                                      80                                                                                                                                       82

    1                                     MR.      MOORE                   On   that        same         basis       that       was         1   have       also       all    been         identified           in    open           court        through

    2   enunciated                                                                                                                          2   testimony.

    3                                     THE      COURT               All      right.       And have                I                      3                                    THE      COURT              Okay.

   4    addressed                all      your      objections                                                                              4                                    MR.      BRISSETTE                  With           respect           to


                                          MR.      MOORE               Yes           Judge.                                                 5                                    THE      COURT              Let     me         ask       some          questions              first




 ---
   6                                      THE      COURT               All      right.       All    right.           Lets                   6   off   so   I   can          just get          clear.         All    right.           Lets look at

    7   go ahead and take our lunch recess                                                   and lets be back                               7   29         229B1.                              The number 817-770-3723                                                   and who
                                                                                                                                                      --
                                                                                                                                     in                                          Okay.

    8   an    hour.                                                                                                                         8   is   that related                  to
    9                                     Recess from 1227 p.m.                                    to    135 p.m.                           9                                    MR.      BRISSETTE                  Are we looking                               in   Bravo       1
  10                                      Open court Defendant                                present               no jury                10   Judge
  11                                      THE      COURT               Both          sides        ready        to    proceed               11                                    THE COURT                   Yes.




 --24
  12                                      MR. BRISSETTE                          States           ready.                                   12                                    MR.      BRISSETTE                  3723                         Hummel.
                                                                                                                                                                                                                                     is   Joy

  13                                      MR.      CUMMINGS                      Yes Your               Honor.                             13                                    THE COURT                   And who                is    the     one that

  14                                      During         the     break           I    visited       with Mr.             Gill              14   identified            Ms.        Hummels phone number

  15    and Mr. Brissette regarding an exhibit or set of                                                                                   15                                    MR.      BRISSETTE                  Ms.            Hummels phone number




 --25
  16    exhibits       I        anticipate              well be            seeing        introduced                 here                   16   was    identified                by a      gentleman by the name                                  of          Chris

  17    shortly       and             I   thought           that       we       could       deal with the                                  17   Paris.         And youll see                     if
                                                                                                                                                                                                      you      look        at Ms.          Hummels
  18    Defense        objections                    to    those           proposed           exhibits.                                    18   records          which             are    text        messages                 in   29E-1          youll               see

  19                                      And      Im      talking           about 229B through                            F    I          19   that Mr.         Paris             phone         number and Ms.

        think    Your Honor.                         They         were offered through the                                                 20                                    THE COURT                   Im      sorry.               Slow down.

ýý...   MetroPCS                custodian                and introduced                     for    purposes              of the            21                                    Okay.         Whats          the     phone               number that youre

  22    record     only at that time.                             Mr.        Brissette has                amended                   his    22   referring                   at
                                                                                                                                                                    to             this   point
  23                                                                                  some                                                 23                                             BRISSETTE
        original      exhibits trying                       to    address                          of    my                                                                      MR.                                 Mr.        Paris           phone              number

        complaints about                           the    subject            matter          and Id            like      to                24   youre asking                     how      do     I    identify


        deal    with         my           objections             to    what he has come up with with                                       25                                    THE COURT                   Yes.
                                                                                                                                           83                                                                                                                           85
                        Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                            Page 28 of 101 PageID 5240
    1                                    MR.        BRISSETTE                --    Ms.       Hummels phone                                        1   to    the    left    of    it    and gray boxes               filling     in    the      fields


    2       number                                                                                                                                2   where those phone                           numbers          any reference                 to   date     and

    3                                    THE        COURT             And     I   already             have Ms. Hummels                            3   time source                  destination          or message have                        been removed

-1          identified        through               Mr.    Paris.                                                                                 4   as indicated              throughout the                exhibit.


iý...                                    MR.        BRISSETTE                Correct.             I        was just                               5                               THE COURT                  All    right.        Now          based         upon

    6       showing       the Court through the records                                          how we linked                        that        6   the    --   the representation                    of the       State           Mr.       Cummings do

    7       together with Mr. Paris and that was actually done                                                                   in               7   you have any objections

    8       29C1 with          Mr.        Paris       and Ms.          --    Mrs.       Hummel exchanging                                         8                                MR.        CUMMINGS               Were           dealing           with the


    9       text   messages.                                                                                                                      9   Exhibit       2298-1 only at the moment arent                                            we Judge                 Is


   10                                    THE        COURT             Okay.            So with regard                       to    the            10   that    what youre asking                        me
   11       others that          youre              identifying                                                                                  11                               THE         COURT          Yes      B1.


   12                                    MR.        BRISSETTE                817            212-8181 has been                                    12                                MR.        CUMMINGS               The       --   these        are text


   13       identified.                                                                                                                          13   messages Your                         Honor.




    --3
   14                                    THE        COURT             Who does               that belong                    to                   14                               THE COURT                  Well      first        off   is   that     --   let


   15                                    MR. BRISSETTE                       That           belongs              to       Ms.    Kristie         15   me     address            this        part with you.           The numbers that have

   16       Freeze.                                                                                                                              16   been        identified            through        the    testimony             of Mr.       Paris        Mr.


   17                                    THE        COURT             And what testimony                                  has                    17   Harris Ms.            --        Mark        Porter those         --     that testimony                  has

   18       identified        that        number with Ms. Freeze                                                                                 18   identified          and authenticated                   those           numbers associated

   19                                    MR. BRISSETTE                       Redirect             examination                         of         19   with those individuals                        on those dates                  correct

   20       Chris      Paris    after          Defense           asked        Mr.       Paris         if    he ever                              20                                MR.        CUMMINGS               Mark Porter indicated                          that


   21       made phone               contact              with Ms.          Freeze.                                                              21   he had reviewed                        records    or    something              like      that and he

   22                                    There        has also         been testimony                            and       --    and an          22   associated            those            numbers with those names.

   23       exhibit      Judge             that       I
                                                          only have one copy of which                                       is                   23                               THE COURT                  All    right.          Now        with regard              to


   24       229F-1       that Mr.              Paris      also       identified            Ms.    Freezes phone                                  24   Mr. Paris           he had personal                    knowledge              of    those       phone

            number and               --    and       if   youll       recall      in    29F-1              --    229F-1                          25   numbers and he                         identified      them through the course                               of

                                                                                                                                           84                                                                                                                           86

        1   that   is   subscriber information                              that the custodian                             from                   1   his   testimony correct

    2       MetroPCS          testified             to.                                                                                           2                                MR.        CUMMINGS               He       identified         Joys and

                                         At    sidebar           Defense           asked us                 to       remove            the        3                               THE COURT                  And Mr. Hummel.

    4       MIN    numbers from that and                               strike          Mrs.      Freezes address                                  4                                MR.        CUMMINGS               And       his       own      and he           --   he

    5       and they wouldnt                        have further objection                            to        it    and                         5   may have done                         Mr.   Hummel.

    6       thats       whats            listed      in   229F-1.            The redactions                          have                         6                               THE COURT                  Okay.            Now         with    regard           to   Mr.

    7       been made               in    accordance                 with the          instructions                   I    received               7   Paris       he      testified           and    identified       his      number correct
    8       at   the    sidebar.                                                                                                                  8                                MR.        CUMMINGS               Yes.

    9                                    THE        COURT             And that color coding                                remains                9                               THE COURT                  All    right.          So theres           no

   10       consistent         throughout                  all   the exhibits                                                                    10   outstanding               numbers that have not been                                 identified


   11                                    MR.        BRISSETTE                Yes Your                 Honor.                                     11   through          the various pieces                    of testimony                 at   this    time
   12                                    THE        COURT             Okay.                                                                      12                                MR.        CUMMINGS               Identification                   correct.

   13                                    MR. BRISSETTE                       The next number                                     were            13                               THE COURT                  Now               the        purposes
                                                                                                                            if                                                                                          for                                  of the

   14       looking      at    B     as        in   boy 1229B1                 sic would                    be that                              14   record        thats             been properly authenticated                              by the

   15       number of           682                558-3863.            Mark           Porter         from our                  office           15   records        custodian                pertaining       to those             phone calls and

   16       identified        that        number           to    belong           to   a    Gretchen                  Bow.                       16   the    State        has         redacted        those other conversations                              that

   17                                    And then           the       last   number that                        --    in   the                   17   are    not     pertinent or relevant to the case.

   18       translation         key           in    Exhibit      B1 of 229                  817            323-7667                              18                                MR.        CUMMINGS               To some extent.

   19       was    testified         to       by the       owner of that phone                              number at                            19                               THE COURT                  All    right.          Do you have any

            the    time       Chris           Paris.       So    I    believe          in   229B1 we have                                        20   specific       objections               to    any passages              that       you     believe       are

            identified        all    the       phone         numbers that are                         left           and                         21   not    relevant                 Ill    consider        them now at                 this point.


   22       highlighted throughout                          the       document.                                                                  22                                MR.        CUMMINGS               Thank          you         Judge.

   23                                    Those numbers that are not contained                                                     in       the   23                               The lady Gretchen                     Bow we                 object    to    her

   24       translation                             the top          have been stricken                              from the                    24                                                                 She has
                                key           at                                                                                                      being       included             in this exhibit.                              --    her    name was
   25       record       and the              lines       remain with the blue                             line       number                     25   brought          up and               Mr.    Porter    was      --    Mr.     Porter or Mr.
                                                                                                                                              87                                                                                                                                                         89
                        Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                    Page 29 of 101 PageID 5241
     1
          Paris         I    cannot remember who                                        the witness                       was     --    was               1
                                                                                                                                                              motive        their             proof of                  motive               and that                   is    Kristie


     2    merely asked                         does            this    number belong                           to     this      person.             If    2   Freeze.         Shes                the          only          one        identified.                     She        is




     3    youll       look Your Honor                                  the        --                                                                      3   identified           in        the       videotaped                       statement                    taken              in       San

                                           THE COURT                             Which            --    which             one are you                     4   Diego     on         12/20/09                       of     John           Hummel                  and           he specifically

          referring                   to                                                                                                                  5   says    Kristie                Freeze on that tape.

     6                                     MR.            CUMMINGS                      B1.                                                               6                                   Gretchen Bow                              is   never mentioned                                 anywhere

     7                                     THE COURT                             Thank            you.
                                                                                                                                                          7   else   throughout                        the         evidence of                    this         case           other              than

     8                                         MR.        CUMMINGS                      Thats             --    thats            --    thats              8   these text            messages and the questions                                                           asked           of the


     9    why     I     wanted                 to     do        this   outside               the        presence.                Its     very             9   witness       --      I        think           it   was         Porter           --       that        identified                   her.


 10       detail      oriented                   stuff here.                                                                                             10                                   Further                   Gretchen Bow                           is    in      the text


 11                                        Shes                identified          with           purple.             Thats                              11   messages              beginning                       on        11/13/09                   and continuing                           through

 12       probably                    not the             right      color         but        thats           what          Im        going              12   the early          --          or   no           not just early                       --    continuing                     through

 13       to   call         it        682           558-3863.                     My    objection                    to   anything            in         13   November.                      And        it        appears that the                             last          entry          is   on




 --3
 14       this   document                        pertaining                 to her           is    a    right         to confront                        14   12/5/09         if    Ive            --     so        its       not relevant                     to the              conduct

 15       the    witness.                      This        is
                                                                hearsay.               Its         not    even             relevant.                     15   that   this     case                is    about.                The           time period                      is   remote.

                                                                                                                                                                                                                                                                has nothing
          They havent
 16                                            established                                                                                               16   Its    before                   several                                  before.
                                                                            any sort of relevance.                                                                                                                      days
                                                                                                                                                                                      --                                                                  It                                       to


 17                                        This           is    for the benefit                    of the Court.                       This              17   do    with...



 18       is   allegedly                 a exotic               dancer with                   whom             there         was some                    18                                   THE COURT                                State            do you have                          a    response

 19       apparent                    communication                         between John                        Hummel and                     her.      19   to    what the Defense                                has just urged other than what

 20       This     is       being              offered            to   --    as character                     evidence                 and               20   youve      already                   previously                      stated

 21       we havent                      heard             from her.               We         dont know                    who she             is   --   21                                   MR.        GILL                 Well just a                      --    just

 22       who she                  is.     I   --     I    identify              her as an exotic dancer                                                 22   timeframe-wise                            Mr.         Hummel                   tells       us on that interview                                    in


 23       merely because                              Mr.       Brissette              informed                me         that     thats        who      23   San Diego               that             his        motive               began            a couple                  of    months

 24       she                         what she                                                                                                           24   before     he gave                       the        statement                         San Diego


5
                 is     or                                  is.                                                                                                                                                                              in                                        so    this       is



                                           THE            COURT                  Okay.             Mr.    Brissette                   how     is         25   all   relevant              as far as                     time frame goes.

                                                                                                                                              88                                                                                                                                                          90

     1    that relevant                        to     this      case         regarding                  Ms.     Gretchen                Bow               1                                   THE COURT                                All   right.




 --10
     2                                         MR.        GILL          Judge            if   I        could         address that                         2                                   MR.        MOORE                         Judge             we have one

                                           THE            COURT                  Yes.                                                                     3                                   THE COURT                                Mr.     Moore                I    have a tentative

     4                                         MR.        GILL          Its       motive               evidence.                 Mr.                      4   conclusion                if    youd                like       to    listen         to     it    to       exclude the

     5    Hummel                   tells       us     on the interview                            that     he gave                                        5   testimony regarding                                   those exhibits.                            Do you want                         to     urge
     6    Investigator                     Rizy           in    San Diego               that           he wanted to be                                    6   anything         else

     7    single.                And       its      our theory that one of the reasons he                                                                 7                                   MR.        MOORE                         Well         I    --    were               talking          about

     8    wanted to be single                                   is    so    he could               pursue women                         like              8   Gretchen Bow.                            Ive got an objection                                     to       everybody

     9    Gretchen                    Bow who                   hes        obviously               pursuing                 as     you can                9   Kristie    Freezes

          see from the text of the text messages thats                                                                       included                    10                                   THE COURT                                All   right.


 11       in   the exhibit.                                                                                                                              11                                   MR.        MOORE                         --
                                                                                                                                                                                                                                             testimony as                         well.           While

 12                                        Were                not offering              those items for the                                             12   were      talking               about                it    I    want to make sure.

 13       truth of the                     matter asserted so theyre                                            not hearsay.                             13                                   You know                        Mr.       Gill      has indicated that                               this


 14       Were          offering                 --
                                                          offering          them        to        show         that         those                        14   evidence           is       being offered                           to     show            that the                 statements

 15       conversations                         were took                   --   took place                and those                                     15   were made.                      Ive got two big                                problems                   with that.                    One        is



          statements                     were made by the Defendant.
 16                                                                                                                                                      16   theyve got evidence                                       that       this text             was made from                                  that

                                           So the relevance                                                          Theres            no                     phone                                any evidence as to who                                                made                            who
 17                                                                                    is     motive.                                                    17              but             not                                                                                            the        --


 18       hearsay implication                                   because            were            not offering                  it    for               18   texted     that            message                        or    who           received                that          message.
 19       the truth of the                          matter asserted.                              And were not                                                                                So
                                                                                                                                                         19                                            in      that          regard            they proved                         up yeah                   a

     0    offering                    for character.                        Were         offering                     for                                20   text   message was                               sent to that                    phone            or a text                    message
                                 it                                                                             it




..    i   motive.                                                                                                                                        21   was    received                 to that               phone                   but they havent                             tied       it   to

 22                                        MR.            CUMMINGS                      Your Honor                                                       22   any particular                      individual.

 23                                        THE COURT                             Yes     sir.                                                            23                                  The        second                    and the more                          --    and the more

 24                                        MR.            CUMMINGS                      If    --       throughout                 the    States          24   cogent objection                          with            all       of    these            Mr.        Gills indicated

 25       opening statement they identified                                                        the object                of their                    25   that   theyre                  not                         offered             for the truth of the
                                                                                                                                                                                                       being
    1




    2

    3




    6


    7
            --of
            matter asserted


            evidence

            truth


                 the




            Crawford


            we have
                       of



                          motive




                               a
                                   then

                            the matter asserted




                                evidence.
                                           is



                                          It




                                    right to
                                                 and

                                               they




                                                what theyre

                                                is
                                                            91
                            Case 4:16-cv-00133-O Document 23-19
                                                           if




                                                          are.
                                                                Filed 07/06/17
                                                                theyre being offered

                                                                  They are being

                                                                           because that




                                                     hearsay and more than that

                                                          Its


                                                     confront
                                                                 communicated
                                                                                 saying.




                                                                           that person
                                                                                                          offered

                                                                                                           is




                                                                                                      evidence


                                                                                                      in court.
                                                                                                                 the
                                                                                                                     as motive




                                                                                                                           its
                                                                                                                               for


                                                                                                                           basis




                                                                                                                               to


                                                                                                                               And
                                                                                                                                     the




                                                                                                                                     which
                                                                                                                                                     1




                                                                                                                                                     2


                                                                                                                                                     3

                                                                                                                                                     4

                                                                                                                                                     5


                                                                                                                                                     6


                                                                                                                                                     7
                                                                                                                                                         would


                                                                                                                                                         all




                                                                                                                                                         one
                                                                                                                                                               purposes.




                                                                                                                                                                exhibit




                                                                                                                                                         have any objection
                                                                                                                                                                                 at     a


                                                                                                                                                                                        Mr.
                                                                                                                                                                                            Page 30 of 101 PageID 5242
                                                                                                                                                                     ask that that be admitted




                                                                                                                                                                                        229C1

                                                                                                                                                                                        THE COURT

                                                                                                                                                                                             time.


                                                                                                                                                                                                  Cummings
                                                                                                                                                                                                                         Just




                                                                                                                                                                                                                              with
                                                                                                                                                                                                                                        in front




                                                                                                                                                                                                                                        a     moment.




                                                                                                                                                                                                                                                 regard
                                                                                                                                                                                                                                                                of




                                                                                                                                                                                                                                                                     to
                                                                                                                                                                                                                                                                             the jury




                                                                                                                                                                                                                                                                                   Lets deal with




                                                                                                                                                                                                                                                                                  229F1 do you
                                                                                                                                                                                                                                                                                                   for
                                                                                                                                                                                                                                                                                                           93




--19
    8       so   we object              on the            basis       of   Crawford                 that were being                                  8                                  MR. CUMMINGS                                Your Honor my                                          --
                                                                                                                                                                                                                                                                                                   you have

    9       denied confrontation                           of    that person that purportedly                                                        9   the only          copy         of       that and thats                         fine.               My

10          made       that        text        message..              We         dont          have the              right          to              10   understanding                      is   that on            --   well               let   me            just          look            at



11          cross-examine                      that person.                                                                                         11   it.




12                                        THE COURT                        Well             the    Courts opinion                        is         12                                  I    have no additional                                  objections                        to    229F1.


13          that regarding                 the       conversations                          or text      messages                                   13   From my review                          of    it    it   only     address                         those             two

14          between            the Defendant                     and Gretchen                       Bow         it    ends          December        14   telephone           numbers.

15          5th.     And with regard                        to   that            the timelessness                         is    a                   15                                  THE           COURT              All    right.                     229F1                  is    admitted.


16          factor        in   the Courts opinion                          and              therefore           the        --   the                 16                                  States                Exhibit No.                    229F1 admitted

17          trans      --      the communications                           or the transmittals that are                                            17                                  THE           COURT               229B1

18                     on       between the two should                                      be excluded.                                            18                                  MR. BRISSETTE                               Your Honor thats
            going


                                          Now             with regard                  to    the    Defendant                                       19                                  THE           COURT               Which was                            --   I        was         just       going

20          communicating                       with       Kristie         Freeze            and     vice       versa               the             20   to    say    is   that the               --    with        the    changes                         that          I    ordered               to



21          testimony              has     been thus              far      that             was     his   motivating                                21   be     made         do     you have any other                                      additional                       objections

22          factor        for      committing or allegedly                                  committing                the       acts                22   with    regard            to       229B1             Mr.        Cummings

23          of   murder             capital          murder and therefore                                  should              be                   23                                  MR.           CUMMINGS                          No         Your Honor.                                We      --   we

24          considered              by the           --    the jury          for --           under        404b                for                  24   will   persist in              objecting                 as the basis                     of --            that            weve

-5          motive and               intent.                                                                                                        25   already           made         as        far       as the       right              to    confront                        the


                                                                                                                                               92                                                                                                                                                           94

    1
                                          Now             regarding              the Crawford                   objection                            1   witness.           We        do         believe           its    hearsay and                               if
                                                                                                                                                                                                                                                                             you

    2       State do you have                          a   response                                                                                  2   overrule          our objection                          we     would               like          to   have                a    limiting


    3                                     MR.        GILL             My response                   is    were not                                   3   instruction.


    4       offering           these       matters              for   the        truth         of   the     matter                                   4                                  THE COURT                         And Ive asked you                                              to     prepare

    5       asserted.                                                                                                                                5   one    for    the Court.


    6                                     THE COURT                        All
                                                                                     right.         Im     going           to                        6                                  MR. CUMMINGS                                    I    --    I       can       do that Judge.

    7       sustain         the States                response              or overrule                  your objection                              7                                  THE COURT                         All    right.                    Now 229                            as

    8       based                                                                                                                                    8
                          upon Crawford                     objection                  Mr.     Moore.                                                    directed           will      be admitted.                       In     the present                              form            it    will


    9                                     Now             State       you            will    redact        or     however                            9   not    be.


10          remove             the communications                           from the Defendant                                 to    Gretchen       10                                  MR. BRISSETTE                               Yes Your Honor.                                             The State

11          Bow      in     the     exhibits.              And Im examining                               specifically                              11   intends           to call          that       229B2 or Bravo                             2.


12          229B1.                                                                                                                                  12                                  THE COURT                         With              the corrections                                   or the

13                                        Are there              any other references                                to    Ms.           Bow        13   changes ordered                          by the Court.

14          contained              in   the other exhibits                                                                                          14                                  MR.           BRISSETTE                     Yes.

15                                         MR.       BRISSETTE                         I    believe       so         Your       Honor.              15                                  THE COURT                         Now                with              regard               to     229C1.

16                                        THE COURT                        Those             also    need            to   be        removed.        16                                  MR.           CUMMINGS                      Those are some text messages

17                                        All    right.          Are both                   sides ready              to    proceed                  17   from    Joys phone Your Honor.                                             I       have the same

18          with     the       jury                                                                                                                 18   objections.               We            start at          10/2/09                  with           communications

19                                         MR.       BRISSETTE                         No      Your Honor.                      We have             19   between            --
                                                                                                                                                                                 alleged               communications                              between                         Mrs.         Hummel
-9          other      exhibits            that       we need              to        get     a ruling       on        from you                      20   and John Hummel.

-       i   outside         the presence                   because               I     imagine           theyre going                     to        21                                  There are apparent                                   --    there are                           phone

22          have       objections.                                                                                                                  22   numbers            that are unidentified so                                        far.           I    believe                  theres

23                                        THE COURT                        All       right.         What other                  exhibits            23   817          680-1602                   that .           dont     --   I       dont                have              it    in    my
24          do   you want               for     the Court             to    take             up                                                     24   notes       as being               identified              yet.


25                                         MR.       BRISSETTE                         229F1         in front of                you we              25                                  MR.           BRISSETTE                     And                I   think              I    made            the
                                                                                                                                       95                                                                                                                                                97
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                Page 31 of 101 PageID 5243
    1   proffer       that Mr.            Van Der Leest                        knows            that to         be a person                           1   This     was something that the State had planned                                                           that          we

    2   by the name                of Trish           Murphy.                                                                                         2   were supposed                    to be talking              to      Defense               Counsel               this


    3                              Is     that correct                    Mr.        Van Der Leest                                                    3   weekend              and we never heard                            from Mr. Cummings or                                         I




                                   THE WITNESS                                That        is   correct          sir.                                  4   would have                had      this    done          then.           So     Im        removing Ms.

ý...ý                              THE COURT                            Okay.                                                                         5   Bows phone                 number from                   this        and were reprinting                                  the


    6                                MR.       CUMMINGS                        The         objections             I    have            are            6   exhibit        downstairs.


    7   the    same.            They       go    to relevance                        of the         --    of the        remote                        7                              THE COURT                     All       right.           So 229D1               will       be

    8   material           as   to    date       from the offense date.                                    In other                                   8   modified to               remove Ms. Bows information.

    9   words 10/2/09                     is    where           this          record           begins          which         is                       9                              And then             finally        I    have 229E1.                       State

  10    over two and a half months prior to the alleged date of                                                                                      10   whats          the    purpose         of       you offering                   El     and who                does

  11    the offense.                                                                                                                                 11   that     --    and     817          7701-1823 sic who                                     is    that


  12                               There         are       --       I   dont know                   who     this        Chris                        12   associated            with

  13    Murphy         is.      We        havent           got the              ability         to       confront           him                      13                              MR.      CUMMINGS                        John        Hummel.

  14    and cross-examine                        him as to the communications                                               that are                 14                              THE COURT                     Thank                you.

  15    contained            within here.                  Theyre               hearsay.                  We     dont have                           15                              And      this       is   just to record                   the        time frames

  16    any knowledge                     of whether or not these text messages were                                                                 16   that he answered the phone                                     is    that       correct

  17    done    by     Joy or that they                         were done                      by   Clyde having                                     17                              MR.      BRISSETTE                       Your Honor                    I   believe              if




  18    borrowed             her     phone           or    John having                         borrowed her phone.                               I   18   were          dealing with            Echo          1    that        is       Ms.    --    that       is   Ms.


  19    mean         one device to another we have no evidence                                                                   as to               19   Hummels               cell    phone         records of               --       the    telephone                  number

  20    who was            using          the device                at that           time.                                                          20   is     1823.         Contained            in   that       highlighted                 in        yellow          is   Mr.


  21                               THE COURT                            All    right.          With       regard to Ms.                              21   Hummels.

  22    Murphy or Mr. Murphy                               --   I       dont know                   who    --    but        its    the               22                              The blue            in    that      record           is    Chris Paris.


  23    number         817            680-6962.                         How     is    that          relevant                                         23   As we go further on through                                 the          record            line       1309           is



  24                                 MR.       BRISSETTE                       Your Honor                   Ms.        Murphy               is       24   identified           as   Papa Johns Pizza which                                     has been

    5   here    and was going                        to    be a witness                    this      afternoon.                                      25   authenticated                 by the phone                 number               contained                  in    the       bank

                                                                                                                                       96                                                                                                                                                 98

    1   Rachel        is   here       this      morning.                      She     is   the       person           that                            1   records that              have       been admitted.                           Lines        1335           and        1336

    2   will   be    identifying                the       living         person as Joy Hummel                                                         2   have      been        identified           as       Delaney Elementary                                School.

    3   before       she was murdered.                                                                                                                3                              THE COURT                      Mr.       Cummings
   4                               THE COURT                            All    right.          So     Im       going to                               4                                MR.    CUMMINGS                        My        objection               to that

    5   table that           for     the       time       being based                          upon       the    States                               5   particular           exhibit         Your Honor                     is    based           upon        a    lack           of

    6   representations.                                                                                                                              6   relevance            to    the offenses that                       we         are here           on    trial.


    7                                In    regard          to       229D1            --                                                               7                              THE COURT                     Your objection                         regarding                 229E1

    8                                MR.       CUMMINGS                         The        phone          calls        --   D1         is             8   is     overruled.            229E1         will     be admitted.

    9   John Hummels                      telephone calls and thats whats                                                                             9                              All     right.       Are there any other exhibits

  10    represented              in       the   document.                      They            start at        10/1/09                 so            10   that     we need             to discuss             at   this       time
  11    the    remoteness objection as                                    far    as relevance                    persists                            11                              MR.      BRISSETTE                       Not from the State Judge.

  12    with    this       document.                 These              are telephone                     calls       both        --                 12                              MR.      CUMMINGS                        One         of those              was tabled

  13    both    sent         and received                  or called                 and answered.                                                   13   correct

  14                               THE COURT                            State whats                      the    purpose of                           14                              THE COURT                     That            is
                                                                                                                                                                                                                                        correct            and thats

  15    you    offering these                   records                                                                                              15   with     regard to Ms.                --    one of the anticipated                                witnesses




  --23
  16                                 MR. GILL                   Well          Your Honor                   its    the       --                       16   that     will     be speaking               later         and that witness is once

  17    its    the    same           --   same            theory          we had               for    admissibility of                               17   again
  18    the    text    messages.                     Its the contact                           between           he and                              18                              MR.      BRISSETTE                       Ms.        Murphy Your                       Honor.

  19    Kristie      Freeze           and       --    and the other individuals                                   that                               19                              THE COURT                     Thank                you.        All    right.


        have been               identified           through testimony.                                                                              20                              MR.      CUMMINGS                        Thank            you Your               Honor.                   I



                                   THE COURT                            With     regard              to   Ms.     --                                 21   felt    like    if   we      did    this    now wed                  be more                efficient


  22                                 MR.       BRISSETTE                       Judge                the   purple            phone                    22   than

        number         --                                                                                                                            23                              THE COURT                     We         will      see.

  24                               THE COURT                            Yes.                                                                         24                              All     right.       Are both sides ready for the

  25                               MR.         BRISSETTE                        --    is   being          taken         out.                         25   jury
                                                                                                                       99                                                                                                                                    101
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                               Page 32 of 101 PageID 5244
 1                             MR.     BRISSETTE                     The States ready Your                                    1            A.       There            is.




 2   Honor.                                                                                                                   2            Q.           Can you show                    those to the jury

 3                             MR.     CUMMINGS                      Yes        sir.                                          3            A.           Again the image on the                               left       is    from the

                               THE COURT               Lets bring                      in   the    jury.                      4   Burleson              Walmart             video.          The      image on the right                             is   a


                               Jury present                                                                                   5   photograph                  we took              of the       shirt       that    is       in     evidence              the


 6                             THE COURT               You may proceed                              when youre                6   front portion                    of the         shirt.    And the arrows point to

                                                                                                                              7   specific areas of the                            shirt    that      are     consistent                  in    both
 7   ready.

 8                             MR.     BRISSETTE                     Your Honor                   may      the Court          8   of these              images.            Again these are class

 9   inform       the jury as to             its   ruling         on 446               please                                 9   characteristics.


10                             THE COURT                  Members                of the        jury States                   10            Q.           And that            is    on    slide     14 of          59          is    that    correct

11   Exhibit       446    is     admitted.                                                                                   11            A.           Correct            sir.




12                             States        Exhibit No.               446 admitted                                          12            Q.           Is    there        a next          grouping

13                             THE COURT               You may proceed.                                                      13            A.           There        is.




14                               DIRECT EXAMINATION                                  Contd                                   14            Q.           Can you show                    that     to the          members                  of the         jury

15   BY MR.        BRISSETTE                                                                                                 15            A.           Again the image on the                               left       is    from the

16           Q.     Investigator             Van Der Leest                        before lunch                  we           16   Burleson               Walmart.                 Image on           the      right           is    the    back          of the


17   started                      about your photographic                                   comparison               work.   17   shirt.          The one on the right                          is   our     known                  the    one on
                   talking

18   Exhibit       446      is   that contained                 on your laptop as well                                       18   the      left     is       our unknown.                  And the arrows are pointing                                         to


19           A.     It   is.                                                                                                 19   areas within                     both images that are consistent                                        for class


20                             MR.     BRISSETTE                     Your Honor                   with     the               20   characteristics.


21   Courts permission may we publish 446 using the                                                                          21            Q.           And that            --     for reference              purposes on                      446        is




22   projector                                                                                                               22   that      image             19
23                             THE COURT                  You may.                                                           23            A.           It   is.




24           Q.     BY         MR.     BRISSETTE                     Mr.    Van         Der Leest               I    know    24            Q.           Is    there        another          grouping sir

.    that    it   may sound             daunting           that       theres 59 pages                       in               25            A.           There        is.




                                                                                                                      100                                                                                                                                     102

 1   there        but    do they actually                 --    if   we were                looking        at                 1            Q.           Can you show                    that      to the         jury

 2   this    forensically             down    in    the        lab do certain amount of                                       2            A.           Again image on the                           left    is     from the Burleson

 3   those slides stack                 on top of each other as a                                                             3   Walmart.                   Image on the right                      is     the hat that                  is   in


 4   transparency                if
                                      you want       to        look        at   it     that    way                            4   evidence               sitting          on the mannequin.                         The            lower       image           is




 5           A.     They         do.                                                                                          5   also      from the Burleson Walmart.                                       Again the arrows point




--14
 6           Q.     Can you take               us    --    are        they divided                  into    sets              6   to the class                 characteristics                  of the       hat being                similar            in


 7   based        on your        --    how your           opinion comes down                               in       this      7   both      the          known            and the unknown.

 8   case                                                                                                                     8            Q.           Thats         in    2459 sir

 9           A.     They         are.                                                                                         9            A.           Yes        sir.




10           Q.     Can you go through the                             first         set     for    us   then                10            Q.           Is    there        another          set

11           A.     I    can.                                                                                                11            A.           There        is.



12                             The two images from the E-Z Mart video                                                        12            Q.           Can you show                    that      to the         jury
13   these        were images taken                  from the video                         itself.      The two             13            A.           The        image

     images that are of the uniform                                  shirt       that are           on the                   14            Q.           Youre         on 34 of             --   35 of        59         is    that    correct

15   mannequin             what         Im    doing        is     using the                 shirts    --    the              15   sir

16   picture taken             with the        shirt       on the mannequin                           is   my                16            A.           Yes        sir.     The         image onithe                upper right corner

17   known.         The        pictures      --    the     images taken                        from the E-Z                  17   is   a   still
                                                                                                                                                        image taken                 from the ATM                  video              the       image on

18   Mart are the              unknown.                                                                                      18   the      left     top       is    an image taken from the surveillance

19                             Im      comparing class characteristics                                     of the            19   camera video at the Kennedale Police Department                                                                         and the

     shirt    from the video                 the    unknown                  with           class                            20   image            in    the center               is   our known             that        was taken                  here at

     characteristics              of the     known             specifically                  the      name                   21   the      District           Attorneys                 Office.


22   tag     the    badge             the patch      thats on the                       left      shoulder                   22                                    And                                                               that
                                                                                                                                                                           this        slide    just represents                                 you can

23   and the epaulets that are up on the shoulders                                                                           23   see the structure                        of the          emblem           in    all    three            and they

24   themselves.                                                                                                             24   are consistent                    with          the    same        class        characteristics.

25           Q.     Is    there a next set of                     images sir                                                 25             Q.          Is    there        another set sir
                                                     103                                                                                                                                                                                                                                      105
                      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                   Page 33 of 101 PageID 5245
    1           A.         There           is.                                                                                                        1   to    examine Mr. Hummels                                          right       arm
    2           Q.         Can you               take      us    to        that          please                                                       2           A.         I     did.


    3                                 Image 41 of 59 what                                      are          we   looking        at                    3           Q.         What did you observe

        here sir                                                                                                                                      4           A.         I     observed               a tattoo                 on     his       right      forearm.

                A.         Again           were         looking            at   the            hat more                                               5           Q.         Directing               your          attention                   to       the screen               in   446

    6   specifically            with          the arrows that are                              --       the      two sets of                          6   slide      59 do you have                           an        opinion                as       to   the unique


    7   arrows that are at the                            top.         Were              looking              at    specific                          7   characteristics                  that are                displayed                   on the screen

    8   areas        of   the        known             which          is   the       image on the                       left                          8           A.         Yes.


    9   being        the       --    the dark           area that               is       in    the          middle of the                             9           Q.         And what                    is   that           opinion

10      gray area of the                      hat.       The bottom arrows simply are                                                                10           A.     This             --
                                                                                                                                                                                                my        opinion                 is    that the tattoo                    is




        pointing out that                                    a                                                                                                                     throughout
                                                                 --    a dark                 hat with a                                             11   consistent                                                    these
11                                               this   is                                                           light                                                                                     all                       images              in   its     location

12      band around                   the head.                                                                                                      12   its    shape and                its   size.


13                                    But the top arrows point                                          to    specific                               13           Q.         With         respect             to     the general                         class


14      locations          within that gray                       image that                       is    on the black                                14   characteristics                  you talked about                                on the            first       58 slides

15      hat that          is    consistent              class         characteristics                         for   the                              15   did    you    find         any        inconsistencies                           throughout                     all     the

16      hat.                                                                                                                                         16   videos       that         youve            looked                  at    and         testified          about           today
17              Q.         Do you have another set sir                                                                                               17           A.         I     have found                  no inconsistencies.


18              A.         I    do.                                                                                                                  18           Q.         Are you familiar                            in       western cultures as                             to


19              Q.         Can        you please show that                                    to    the       jury                                   19   where        gentlemen wear a wedding                                                 ring

20              A.         Witness                complies.                                                                                          20           A.         I     am.

21              Q.         51       of     59 what            are          we   looking                  at   here                                   21           Q.         Have you had a chance                                             to   review            certain           videos

22              A.         What were looking                               at   for       our           known        is    the       Mac             22   in this      case         to     determine whether or not Mr. Hummel had

23      Tools        shirt          and on the               right         we    see           an image that was                                     23   a     wedding            ring        on    at       some point

24      taken        from the Arlington video                                   after          Mr.           Hummel           left   the             24           A.         I     did.



ý   5   Kennedale               police           station.                                                                                            25           Q.         Can you please                          pull           one of those                     images up               for


                                                                                                                                          104                                                                                                                                                 106

    1                                 Were             looking         at       on        the       bottom           left      the                    1   us    on     the       screen

 2      arrow points                  to    the    Mac Tools logo                              and on the                --   on     the              2                                   Let       me        ask       it     this      way             Mr.      Van Der Leest

    3   known         and on the unknown                                   you           can        see       what appears                 to   be    3   Can you take us                       to       the       video                please

 4      a    light    colored              set    pixels in           the       same               location          within                           4           A.         Ill     have           to    open            it      all    up.        I    have        a   still



 5      that    shirt.                                                                                                                                5   image of those.

 6                                    On the            right       you can see                         a    white set of                             6           Q.         You         do          Can you show us the                                      still


 7      pixels       on        the    known and again on the unknown                                                          the white               7           A.         Not on             here.

 8                                   that        same general                                                 And                                                 Q.         Do you             have
        pixels       are       in                                               location.                            its                              8                                                        a     hard           copy
 9      consistent              within the top                   --    the top                two arrows as                    well                   9           A.         I     have hard copies.

10      as    far    as the                              that         makes out the Mac word.                                                        10           Q.         And you                --    that are
                                      lettering                                                                                                                                                                                     already admitted                             into


11      Again these are                       class       characteristics                          for       this   shirt                            11   evidence

12      known         versus             unknown.                                                                                                    12           A.     They              have.

13              Q.         And your               final      eight          sir           What               are    we     looking                   13           Q.         Can you retrieve one from the witness stand

14      at    here        sir       for     the    first      set of            arrows                                                               14   there

15              A.         Okay.              On the                        images thats taken                                 from                  15           A.
                                                             left     is
                                                                                                                                                                             Witness                 complies.

16      the    Coast           Inn video.               On the             right          is   an image taken                                        16                                   MR.       BRISSETTE                            Your            Honor may we have the

17      from the Kennedale                             Police       Department interview.                                      And        in         17   lights

18      the    middle again                       is    our      known.                                                                              18           Q.         BY       MR.           BRISSETTE                            Mr.        Van Der Leest                       in

19                                    And once again                        I   am            using           the    arrows          to              19   States        Exhibit            451 and 456 are you able                                               to     determine a

        point out the                 class       characteristics that are                                       similar                             20   metallic object                  on Mr. Hummels                                  left         ring      finger

        with    all   of       these          images.                                                                                                21           A.     I         am.

22              Q.        And         slide       59       are there unique                                 class                                    22           Q.     And              in    States 449 what are we looking                                                        at

23      characteristics                    you    talked         about               I    think              before       lunch                      23   there

24              A.        There            are.                                                                                                      24           A.     Youre looking                                       the                hand
                                                                                                                                                                                                                   at                   left                  and no metallic
25              Q.         Prior         to   testimony               today did you                              have     a    chance                25   object.
                                                       107                                                                                                                                                                                                         109
                        Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                           Page 34 of 101 PageID 5246
     1             Q.        And           is    that     in      Oceanside                                                                        1   Walmart on the                     left    portion         of the wallet               you could

     2             A.        It    is.                                                                                                             2   see to       me        what appeared                 to    be an image a photograph of

     3             Q.        Now             when we                   talk       about looking at individual                                      3   some type and                     that     is   not   in       here       now.

         frames          like         these            exhibits          here were you able                              to    look                4          Q.         And do you               have       a   still    image of that as well

         at   the video                    and see           if   there           was any        artifacts               in   those                5          A.         I    do.


     6   areas          of   --    of       question                                                                                               6          Q.         And which               number          is   that sir

     7             A.        I    was.                                                                                                             7          A.         459.


     8             Q.        Whats                 an    artifact             for the       jurys benefit                                          8          Q.         And so           Im     clear       your        still    image from

     9             A.        An        artifact           would              be something that during the                                          9   Oceanside              thats        listed      as    449 you saw no                     metallic


    10   compression phase                               of       --    of capturing the                      video           an                  10   object consistent                   with the          ring        on   his     left-hand        ring


    11   artifact        would               be something where a                                pixel         was       --    takes          a   11   finger correct

    12   color      from          a        surrounding                  area        and puts             it   there       when           it       12          A.         That       is    correct.


    13   shouldnt                be        there.                                                                                                 13                                MR.    BRISSETTE                     May      I   approach         the    witness

    14             Q.        Were you                    able to follow                   frame by frame of the                                   14   Your Honor

    15   Walmart             in       which            Mr.        Hummel purchased                            his    boots                        15                                THE     COURT                You may.

    16             A.        I    was.                                                                                                            16           Q.        BY         MR.    BRISSETTE                     With     respect to          States

    17             Q.        Were you                    able to see                some         class characteristics                            17   Exhibit       229C1           and 229E1 are you familiar with Ms.




     --3
    18   of the boots                      that are           now        in       evidence                                                        18   Hummels                --    Mrs.    Hummels               cell    tower         calls   or    calls   and

    19             A.        I    was.                                                                                                            19   text    messages from her phone                                   as      prepared       in    these      two

    20             Q.        And by the boots                                in   evidence           I        mean       the       second         20   exhibits


    21   sets       the      ones he bought on video.                                                                                             21          A.         I    am.

    22             A.        Yes.                                                                                                                 22           Q.        Are you           familiar with a lady                       by the name of

    23             Q.        Do they have some unique color characteristics                                                                       23   Trish    Murphy

    24   to   the       sole       of       the        boot                                                                                       24           A.        I    am.

                             They have some class characteristics to the                                                                          25           Q.        Do you           know         Trish      Murphys             phone          number

                                                                                                                                         108                                                                                                                       110

     1   sole      of the          boot             yes.                                                                                           1           A.        It    is   --   not     off   the top           of   my head           no.


     2             Q.        And            is   that      a different               color than the actual                                         2           Q.        Is    817         68

         sole           Is   there               some insets                                                                                       3                                MR.    CUMMINGS                      Your Honor.                 Im   going     to


     4             A.        There               is.                                                                                               4   object       to       him leading           his      witness.

     5             Q.        And what color are the insets                                                                                         5                                THE COURT                    Sustained.

     6             A.        Yellow.                                                                                                               6                                MR.    BRISSETTE                     May      I   show      him the exhibit

     7             Q.        And could you                             determine that by your review of                                            7   Your Honor

     8   the video                as       well                                                                                                    8                                THE COURT                    You may approach.

     9             A.        I    could.                                                                                                           9           Q.        BY         MR.    BRISSETTE                     Im      showing        you whats been

    10             Q.        Theres a wallet                             I    believe          in   front           of   you       as             10   marked         for      identification               purposes             as   States         229C1.        Do

    11   well Mr. Van Der Leest                                         is   that    correct                                                      11   you     recognize             the    number           highlighted                in   pink    in   that

    12             A.        Yes            sir.                                                                                                  12   exhibit


    13             Q.        Do you                have an opinion as                          to   if        you    open          the            13           A.        Yes.

    14   wallet         up now and look at the placement of the credit                                                                            14           Q.        And have              you      spoken           to the person               who owns        that

    15   card      you talked                      about earlier were you                                able to          see that                15   phone        number currently

    16   on the transaction at the Arlington                                                Walmart as well                                       16           A.        By voicemail.

    17             A.        I    was.                                                                                                            17           Q.        And who            does that person purport                            to    be
    18             Q.        Is       it    consistent                 with the           placement of the card                                   18           A.        Trish       Murphy.

    19   as   it   sits      in       the wallet                  today                                                                           19                                MR.     BRISSETTE                    Your Honor             at    this    time

c
    ý              A.        It    is.                                                                                                            20   based        on the rulings outside the court                                    sic      the State

                   Q.        Did           you         notice          anything           else      about the wallet                              21   would        conditionally                offer      229E1         and 229C1              tender       to


    22   that      caught              your eye                in      review        of   it                                                      22   Defense.

    23             A.        I    did.                                                                                                            23                                MR.    CUMMINGS                      Your Honor              I   renew my

    24             Q.        What                was that                                                                                         24   objections             that       were made outside the presence                                   of the

    25             A.        Whenever                    the wallet                was opened                  at the Arlington                   25   jury after the                lunch       hour.       I    have no additional
                                                                                                                                                                                                                                                                                                    113
                Case 4:16-cv-00133-O Document 23-19
                                               111
                                                    Filed 07/06/17                                                                                                                           Page 35 of 101 PageID 5247
 1   objections         to         the       ones       I   already                 made.                                                                 1   image.

 2                             THE            COURT                  229E1            and C1 are conditionally                                            2                                You talked about the wallet that you                                                           have

 3   admitted.          Your objection                          is      overruled.                                                                        3   there      on     the        counter next                           to    you.        You-all got                    this   out


                                   States              Exhibit Nos.                   229C1                                                               4   of     Johns property                          did    you            not

                                   229E1 admitted                                                                                                         5           A.        Yes         sir.




 6                                 THE        COURT                  You may proceed.                                                                     6            Q.       Now           you           indicate that there                               is   a     --    a


 7         Q.      BY          MR. BRISSETTE                                   Thank            you               Investigator                     Van    7   photograph thats                              visible in                 --    in   the    --    in       one of the

 8   Der Leest.                                                                                                                                           8   images that you                          have offered before                               this           jury correct

 9                                 MR.        BRISSETTE                        We      pass the                       witness                 Your        9           A.        Correct.


10   Honor.                                                                                                                                              10            Q.      That          photograph was                                  --    which           --    what context

11                                 THE        COURT                  Cross-examination                                                                   11   are     we      talking         about

12                                 MR.        CUMMINGS                          May       I     approach                          Your Honor             12           A.        Whenever                     --    in        the        image from the Arlington

13                                 THE        COURT                  You may.                                                                            13   Walmart               whenever the wallet                                      is   opened on                    the      left    side


14                                                CROSS-EXAMINATION                                                                                      14   of the       wallet you                   can        see            what appears                      to    be an image

15   BY MR.       CUMMINGS                                                                                                                               15   of a     picture.


16         Q.      In                        direct         examination                   with Mr.                     Brissette                         16            Q.       Theres no photo                                   compartment                       in    this       wallet
                            your                                                                                                                                                                                                                                                                    is




     you were talking about                                                                             you were                                              there
                                                                                               --                                                        17
17                                                          a   photograph

18   identifying        a      photograph regarding                                    ring
                                                                                                        --        a   wedding                            18           A.       There              is    not.


19   ring or whatever.                            Is   that        this        photograph here                                                           19            Q.       Okay.              No        plastic              sleeves           in   which                somebody

20         A.      No          sir.                                                                                                                      20   could      --    could         place            a    photograph                       if
                                                                                                                                                                                                                                                         they           had one

21         Q.      459                  Would          you         --     is   it   451                                                                  21   correct

22         A.      451 and 456 have the ring 449 does                                                                       not.                         22           A.       That          is    correct.


23         Q.      Did         you           --   thank            you.                                                                                  23            Q.      There              is    no physical evidence                                   to indicate                that

24         A.      Yes             sir.                                                                                                                  24   there ever             was any such item                                       in   this   particular                 States

           Q.      449             is   taken          from          a    --    its    a captured                           still                        25   Exhibit         462 correct

                                                                                                                                                  112                                                                                                                                               114

 1   from the video                     at    the      Coast Inn correct                                                                                  1           A.        That         is    correct.

 2         A.      Yes             sir.                                                                                                                   2            Q.       You got that out of                                     --   from the Sheriffs

 3         Q.      Is    that the                  best quality                     you have                                                              3   Department
 4         A.      Yes             sir.                                                                                                                   4           A.        Yes         sir.



 5         Q.      Did         you           use       any      --       in    doing          your work with the                                          5            Q.       John arrived here                                  in       the custody                 of the

 6   videos       you have specialized                                    software                 and specialized                                        6   Sheriffs         Department                          December 31st 2009                                         is   that

 7   computer equipment                                to   deal          with       frame by frame and that                                              7   correct          or     do you                know
 8   sort of    thing              correct                                                                                                                8           A.       That          is    correct.

 9         A.      Yes             sir.                                                                                                                   9            Q.       John was placed                               into           the custody                 of the Tarrant

10         Q.      As       far         as    enhancing                   this       so that                      would             be                   10   County                   and         his                                      was put       in their
                                                                                                             it                                                               jail                           property

11   clearer      whether or not hes wearing a                                                     ring               or   not does                      11   possession              --    the         Sheriffs                  Departments                       possession

12   your software or your equipment do that                                                                 for       you                               12   until    you-all         recovered                        it   yesterday correct

13         A.      Im          sorry.              Could           you         repeat the                     question                                   13           A.       Yes          sir.



14         Q.      As       far         as    enhancing                   the       photograph                         --     I     --   I               14            Q.       Prior to               John coming here he didnt have the

15   assume        since            youve offered                          this      as       an exhibit                       this          is          15   full    ability        to control               his            person           nor the things                       on    his


16   the   best   we get                     correct            as      far    as     clarity                of this                                     16   person          did     he               He was                in    custody               wasnt            he
17   particular        still                                                                                                                             17           A.       Yes          sir.



                  Thats                                     good image yes
18         A.                           a    pretty                                                            sir.                                      18           Q.        I
                                                                                                                                                                                     mean we                   have               seen depicted                     on        this      large

19         Q.      Okay.                  Do you say that because                                            youre                familiar               19   screen        the      fact         that       one of your partners or one of the

     with the quality of the                            source                                                                                           20                                  your office                          Chief           Rizy
                                                                                                                                                              supervisors              in                                                                 actually talked

           A.      I   --      I
                                    am            yes       sir.                                                                                         21   to     John while he was                             in     custody                 on the 20th                 of    December
22         Q.      Its                                 not as clear as                                   took                                            22                                  time he didnt have
                             certainly                                                        if    I
                                                                                                                           your                               2009.         At that                                                                 possession                     of that

23   photograph             right            now with a camera                                 is       it                                               23   exhibit         did     he
24         A.      That            is     correct.                                                                                                       24           A.        No         sir.



25         Q.     All       right.                So thats               all   relative pretty                              good                         25           Q.        He was                 in           clothes                  when he was
                                                                                                                                                                                                            jail                                                              talking          to
                                                                                                                               115                                                                                                                                       117
                       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                 Page 36 of 101 PageID 5248
  1   those three investigators                                                                                                           1
                                                                                                                                              they

  2          A.         That           is    correct.                                                                                     2          A.          That    is     correct               they    do not.

  3          Q.             We     saw video                 of    John being             --   and we heard                               3          Q.          One     of     your jobs              is   to      make           things            to     edit to


      testimony              from a border patrol                          officer            that       John was              in         4   make     it       clearer for the                      consumer or whatever                                   to   present


_.ý   fact    taken              into       custody at that                point.              So from the                                5   your package                in       the        best possible               way.           All        accurate

  6   point that             he was taken                      into   custody by border patrol                                            6          A.          Yes     sir.




  7   hes been               in    custody              ever       since has he not                                                       7          Q.          Your     --       Im         sorry.        You brought                    us so            many

  8          A.             Yes.                                                                                                          8   different          things            it    takes        me    a minute.


  9          Q.             Hes been               transferred             from agency                        to      agency              9                             You showed                     us a       graph of tape that came                                  in



 10   and    the items that                        one would              normally have                       control      over          10   through            I    think         Mr.        Porter your partner.                                 Mr.      Barrys

 11   such    as       your         wallet              are actually           secured                 for                               11   work
 12   safekeeping                  or       for   whatever            purpose by law enforcement                                         12          A.          Correct.


 13   authorities             that have that individual                                  in    custody                                   13          Q.          Is   that      his          name       Barry

 14   correct                                                                                                                            14          A.          Yes     Barry               Dickey.

 15          A.         That           is    correct.                                                                                    15          Q.          And just to kind                      of hopefully                 put        an end to

 16          Q.         The        videos           that          you have          put before the jury                                  16   that youre               the      one that got Barry Dickey                                           involved

 17   today are videos                        that       you went to various locations and                                               17   correct

 18   obtained              from businesses that nowadays use those videos                                                               18          A.          Correct.


 19   all   the    time correct                                                                                                          19          Q.          However                     he didnt       come          here           to     tell        us   how he

 20          A.             Yes.                                                                                                         20   went about doing what he                                  did.        Youve attempted                               or     have

 21          Q.             Primarily             for    security         purposes                     both internal                     21   done     that          today or yesterday                        --    I   dont remember

 22   and external correct                                                                                                               22   which        --    correct

 23          A.             Yes.                                                                                                         23          A.          I   think      thats            incorrect.

 24          Q.             Asa matter                  of fact        your         office      has created                              24          Q.          Okay.          Correct               me.

      the    lab       that        you       and your partner run because                                             of the             25          A.          This what youre showing                                      now              is   a visual


.ý                                                                                                                             116                                                                                                                                       118

  1   prevalence                 of video           in    our culture               now        correct                                    1   representation                  of the            waveforms                from the                   original      file



  2          A.             Yes.                                                                                                          2   at the       bottom 220F                         and a representation                                 of the

  3          Q.             But    one of the things that you                                  do        is
                                                                                                               you                        3   waveform                after Mr.              Dickeys          work of 220D.

  4   take    --       and        in   the        case        of   Walmart what                        the jury          saw    is        4          Q.          And     this           appears to be a very noisy

  5   not    what you                  got        when you            picked         up those tapes when                                  5   environment correct

  6   you    did       --    and        if   you want me                  to    ask that a                   little                       6          A.          Yes     sir.



  7   more        --    I    see       your        --    your lack of comfort                           there.                            7          Q.          And      in       fact         was why you                   sent        it    to Mr.

  8                                 Okay.               When you           picked             up       those          tapes they          8   Dickey            correct

  9   werent           in    the        edited version the jury                               saw                                         9          A.          Yes     sir.



 10          A.         That           is    correct.                                                                                    10          Q.          Now      what we got back                               had some conversation

 11          Q.             You actually                 from Walmart get a series of                                                    11   cleaned           up    without                the diesel        noise           in       the     background

 12   several videotapes                           that       you     have edited                  for        them and                   12   best    he could           do             right

 13   combined               all    into      one exhibit                                                                                13          A.          Yes     sir.



 14          A.         That                 correct.                                                                                    14          Q.          But                           there                                    that
                                       is                                                                                                                                in     fact                     is   a     period                           for


 15          Q.             So each time you                        went       to    one of these places                                 15   whatever reason its just dead                                                              And the point of
                                                                                                                                                                                                                    space.

 16   particularly               Walmart but not just Walmart E-Z Mart                                                                   16   all   this    is       some      of       it    couldnt         be cleaned                 up         to    the

 17   does the same thing they have                                            multiple                cameras going at                  17   point    where we had conversation.                                             It   was just dead                     air


 18   any one time and when                                    you ask          for      the       evidence              from            18   or    whatever             is    that fair               Or would                you       like          to   say    it



 19   them we                get       perhaps            a    stream of several cameras or                                              19   in    your own words

      several videos                    being           played at the               same time                                            20          A.          Well     the           --    the     dead        air     I    believe               we     figured

             A.         That           is    correct.                                                                                    21   out    exactly           why      that           is.



 22          Q.         The presentation                           that you-all               have            made       here            22          Q.          There               a very loud                                        the
                                                                                                                                    is                                        is
                                                                                                                                                                                                              engine               in               background

 23   one that you                  have           in    a    sense created.                       I
                                                                                                        mean            they             23   and there are two men conversing.                                                    We    have             as     much      as of

 24   dont have those                         circles         identifying            a    particular                                     24   their conversation                         as could           be captured by your expert

 25   individual             on    their          videos           that   they provided you do                                           25          A.          That    is     correct.
                                                     119                                                                                                                                                                                                                               121
                      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                              Page 37 of 101 PageID 5249
   1            Q.          Okay.             Whether or not there were additional                                                              1   equipment true

   2   conversations                        he did what he could                             to get         what he                --           2          A.        Can be.

   3   what was played                            for    the     jury                                                                           3          Q.        Okay.                 I
                                                                                                                                                                                                guess           what            Im        getting       at       --   and        let


  ýý            A.          That        is    correct.                                                                                          4   me     just      jump             to the          --       to    what           Im         getting       at and you

ý...            Q.                            This exhibit              thats                     up       in    front        of                5   tell   me.
                            Okay.                                                       still




   6   the jury             right       now         States             Exhibit          446 correct                                             6                                    For       instance                   Unit      47         Unit    51        the


                                                                                                                                                7   evidence              before the jury                                 that you                  know theres                  a
   7            A.          Yes        sir.
                                                                                                                                                                                                                    is




   8            Q.          You        --    youre merely highlighting                                      observations                        8   certain       time and date indicated on that VHS tape.                                                                      Well

   9   that      you made                    in   your      lab by having                       the actual              garment                 9   at the       very same time that 47s recording                                                               51 may be

  10   there        and looking                    for     similarities            within                the videos                            10   recording                  and the date and time indicated on                                                     it    may be

  11   that      youve             presented                to    this      jury correct                                                       11   slightly         different


  12            A.          Not only              similarities              but differences                      as     well.                  12          A.        That             is   correct.


  13   Im      looking            for        both.                                                                                             13           Q.        Okay.                So just because                            we have made                         --    metadata

  14            Q.          But        you didnt               point out           any differences                            and              14   doesnt           necessarily                     mean            it    is   a    hundred percent

  15   you actually                   said        you      didnt        find       any                                                         15   accurate          or correlated.                            One         tape          is    not going             to



  16            A.          Correct.                                                                                                           16   necessarily translate                                 to    another

  17            Q.                            So    --     these are observations                                 that        you              17           A.        That                 correct.
                            Okay.                                                                                                                                                     is




  18   made and have                          presented            to       the    jury.             I    mean          you        did    it   18           Q.        The            bits       of video             from California                        is   Pacific



                    your own eyes you got years of experience as a law                                                                              Time
  19   with                                                                                                                                    19               is   it        not         or    do you             --     can you              assume that

  20   enforcement officer and the training                                                     that       you have as                         20           A.        I        can assume                      that.


  21   far     as    video             that       had nothing                --    that         had nothing to do                              21           Q.        Okay.                So the point                     is      is    that      you got to

  22   with the observations                               you     made.                You made those                                         22   calibrate             these            things              and theyre not necessarily

  23   observations                    with        your vision without                           the       benefit of              any         23   synchronized

  24                              devices           and have pointed out to the jury those                                                     24           A.        That                 correct.
       measuring                                                                                                                                                                      is




 y5    observations                    through             this    exhibit              correct                                                25           Q.        Okay.                Thank               you         sir.


                                                                                                                                        120                                                                                                                                            122

   1            A.          Correct.                                                                                                            1                                    MR.        CUMMINGS                            Ill      pass     the        witness Your

   2            Q.          Okay.             Metadata.                That        is   --      is       that the date                          2   Honor.


   3   that      we     are        seeing           at the         bottom of some of these                                                      3                                    THE         COURT                    Redirect

   4   devices          --       or    some          of these           exhibits                                                                4                                    MR.        BRISSETTE                           Your Honor                   at   this       time

   5            A.          Yes         its       a portion            of   the     metadata.                                                   5   the State               would tender to Defense                                          Counsel             States           468
   6            Q.          Okay.             So define metadata                             for         me                                     6   business records                            affidavit            of the           jail      records           from the

   7            A.          Video            travels        in    three       streams                     Audio          video                  7   San Diego                  County            Jail      that           have            been      filed        back       in


   8   and theres a metadata that goes along                                                             with     it.    It    --               8   December of 2010                                 pursuant to the Rules of Evidence.                                                 We
   9   it     can    tell        the audio              and video            how         to sync.                It     can                     9   offer    them for the record only at                                                  this      point

  10   tell    it   when           to       play when              not to          play and                 it   can be                        10                                    MR.        CUMMINGS                            Your Honor                   we have no

  11   graphically                displayed              on the screen                       as      weve seen                 in              11   objections                 to    this        being          offered for the record                                only at

  12   the video                 with the date                   and the time or frame rate or                                                 12   this    point.              If   its        --   if    we go           further             than that

  13   whatever                  the    --    the       software            engineer wants the metadata                                        13   well     have to                 revisit.


  14   to be.                                                                                                                                  14                                    THE         COURT                    States             Exhibit         468      is        admitted

  15            Q.          Okay.             So     its    a    lot    more than just the date                                                15   for    the record                 only.

  16   and time indicated                           on the screen                                                                              16                                    States                Exhibit No.                    468 admitted

  17            A.          It    can be yes.                                                                                                  17                                    THE         COURT                    State you may proceed.

  18            Q.          Okay.             Well         let    me        talk   about just the date                                         18                                    MR.        BRISSETTE                           May             approach               the
                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                  witness

  19   and time that we saw                                in    some         of the videos.                                                   19   Your Honor

                                       And youre familiar with                                   all      the videos               in          20                                    THE         COURT                    You may.

       this     case and even the ones from Unit 47 and Unit 51                                                                                21                                               REDIRECT                    EXAMINATION
  22   correct                                                                                                                                 22   BY MR.           BRISSETTE

  23            A.          I    am.                                                                                                           23           Q.        Mr.            Van Der Leest                         Im        going           to direct          your

  24             Q.         The date and time thats                                     indicated                on     the                    24   attention              to    States 468 to an item and ask you                                                         to


  25   bottom of the screen                                thats         dictated               by the recording                               25                              to     an item thats                         been           marked
                                                                                                                                                    compare               it                                                                                 for
                                                                                                                                                   123                                                                                                                                             125
                          Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                              Page 38 of 101 PageID 5250
       1   identification              purposes                   as States                 469 and see                          if                       1
                                                                                                                                                              Department

       2   theyre not one and the same.                                                                                                                   2          A.       Yes.


       3             A.     I    do see       some                variances                    in     the       two some                                  3           Q.      Was         it        in   the sealed                      bag with the wallet the

           differences            in   the two.                                                                                                           4   keys    and the boot laces                                      to   the boots             that    have been

ý._
                     Q.     Is    the center                  of      469 does                      it    have some                                       5   admitted           into     evidence

       6   security features                  to    it     to         blot          out certain                  areas                                    6           A.      The bag was not sealed                                            whenever             I       retrieved              it.




       7             A.     Yes.                                                                                                                          7           Q.      Does            it    have an individuals                                  name        at      the        top

       8             Q.     Certain areas                         that         --    Social              Security            number                       8           A.      It    does.


       9   and other things that                           --         identification                      are        redacted                             9           Q.      And        who                   And you recognize                              that individuals


      10             A.     Yes.                                                                                                                         10   name

      11             Q.     Okay.            With        respect                    to the           bottom of 469                            have       11           A.      I    do.




      --21
      12             had         chance                                                         the        page                  the                     12           Q.      Does                  have a date of                             birth     that    youre
           you                                to         compare                          to                               in                                                                  it
                            a                                                        it




      13   records         that    have been admitted                                       for          the      record              only               13   familiar       with

      14             A.     I    have.                                                                                                                   14           A.      Yes.


      15             Q.     And do you                   see an                 area        where               it    indicates                          15                              MR.             BRISSETTE                             Wed       offer      469 at              this



      16   whether or not theres                                  a   ring          present as part of the                                               16   time Your Honor                             for          the record               only.


      17   property                                                                                                                                      17                              MR.             CUMMINGS                              Your Honor                again           its        for



      18                               MR.    MOORE                            Objection                   calls           for     a hearsay             18   the    record        only.             We            have no objections                          to    coming              into



      19   response              testifying             from              a    document thats not                                      in                19   the    record.         We             dont want                       to    waive          any objections weve

      20   evidence.                                                                                                                                     20   made         prior    in    the            pretrial


                                       MR.     BRISSETTE                                  Judge            Ill        be happy                to         21                              THE             REPORTER                          I    couldnt         hear the                last


      22   rephrase.                                                                                                                                     22   part.


      23                               THE     COURT                           Sustained.                      First        off        Ill               23                              MR.             CUMMINGS                              We     dont intend                  to    waive            any

      24   sustain the            objection.                      Rephrase.                                                                              24   objections           we made                         at pretrial                 but since         its         being

      5              Q.     BY         MR. BRISSETTE                                      Without going                         into         the         25   offered       for     the record                         only we have no objection                                        to    it




                                                                                                                                                   124                                                                                                                                             126

       1   answer           is   there a section                          on        the property                      sheet            to     note        1
                                                                                                                                                              being        put     into       the         record.


       2   whether or not an                      individual                        presents with                      any            rings               2                              THE COURT                                  All    right.        States              Exhibit          469

       3             A.     Yes.                                                                                                                          3   for   the     record            only            is    admitted.                   May      I    see it

       4             Q.     Is    there       a    section                    on     the sheet                   to    know             if   an           4                              States Exhibit No.                                      469 admitted

       5   individual            presents          with               any watches                                                                         5                              THE COURT                                  You may proceed.

       6             A.     Yes.                                                                                                                          6                               MR. BRISSETTE                                        Your      Honor           I    dont know                   if



       7             Q.     Is    there       a    section                    on     the sheet                   that       --        to     show         7   this    has    been offered                              in     front       of   the jury         in   its



       8   if   an    individual            presents with                           any        --
                                                                                                      any United                      States              8   current        state.            The State would                                 offer     229F1           for      all



       9   currency                                                                                                                                       9   purposes             tender                to    Defense.

      10             A.     Yes.                                                                                                                         10                               MR.            CUMMINGS                              Your Honor                Ive seen                  it.



      11             Q.     And        is   there             a   section                 for   the individual                                           11   Its    the     one we dealt with at the                                           pretrial        hearing                 and

      12   thats          being    booked               into          a       facility         to        sign        their       name                    12   I    believe       that     I        have            no additional objections                                  to   229F1.

      13             A.     Yes.                                                                                                                         13                              THE COURT                                  All    right.        229F1           is    admitted.

      14             Q.     Do you see a signature of an individual on                                                                        469        14   Your objection                   is    overruled                      as dealt with during the

      15             A.     No.                                                                                                                          15   pretrial.


      16             Q.     Do you see                            on 468              in    the          records                                         16                              States Exhibit No.                                      229F1         admitted
                                                         it




      17             A.     Yes.                                                                                                                         17           Q.      BY         MR.             BRISSETTE                         Investigator                  Van Der Leest

      18             Q.     And both               --    without                    going           into        --    is    there an                     18   in    229F1          there            are several colors                              of   --   of highlight                   in


      19   indication            whether or not theres a ring                                                                                            19   that    document                      are there                      not

                                       MR.     MOORE                           Objection.                   Its        calling               for         20           A.      There                are.


           him       to   testify      from        a     document                         thats           not         in    evidence.                    21           Q.      Do you                 see           a    phone             number highlighted                            in


      22   It   would       be an           answer                based on hearsay.                                                                      22   yellow

      23                               THE     COURT                           Sustained.                                                                23           A.      I    do.

      24             Q.     BY         MR. BRISSETTE                                      Did       you        retrieve               469 as             24           Q.      And can                    you           tell        us the       name          associated                to     that

      25   part      of    your    subpoena                   request                  to      the        Sheriffs                                       25   as    listed    in    the            MetroPCS                        document
                                                                                                                        127                                                                                                                         129
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                 Page 39 of 101 PageID 5251
                          Joy Hummel.
     1          A.                                                                                                                    1   Please       pull      the         microphone to you.

     2          Q.        Is   there         a    number highlighted                         in   green                               2                                State you may proceed                               when youre           ready.


     3          A.        There        is.                                                                                            3                                                  KRISTIE           FREEZE

                Q.        And who            is       that    number associated                      to                               4   having       been            first          duly     sworn       testified        as follows


                A.        Joy    Hummel.                                                                                              5                                                DIRECT          EXAMINATION

     6          Q.        Is    there a           billing         address                                                             6   BY MR.       GILL

     7          A.        There        is.                                                                                            7          Q.         Would                you    tell        the jury       your    name       please

     8          Q.        What        is   the        billing          address                                                        8          A.         Kristie              Freeze.


     9          A.        600     Little         School           Road Kennedale Texas                                                9          Q.         And          Ms.           Freeze are you currently                       employed

    10   76060-5408.                                                                                                                 10          A.         Yes         sir.




    11          Q.        In    your       course            of    your investigation                  have you                      11          Q.         And what                   city     do you        work in

    12   come     to      know the               --   who         is    assigned           to the    number          in              12          A.         Cleburne.


    13   yellow      in   the Hummel family or do you need                                            the        other               13          Q.         What          city         do you          live   in

    14   exhibits      to      link    that           up                                                                             14          A.         Joshua.


    15          A.        Yes     please.                                                                                            15          Q.         How         long           have you           lived      in   Joshua

    16          Q.        Lets        go with the                 --     the    number            highlighted        in              16          A.         Since            I     was 16.

    17   red.                                                                                                                        17          Q.         And approximately                             how       old   are   you    now
    18          A.                                                                                                                   18          A.         27.
                          Okay.

    19          Q.        Have you               come         to       know        that     phone     number                         19          Q.         So youve                    been         living    in   Joshua      for


    20          A.        I    have.                                                                                                 20   approximately                      11       years

    21          Q.        And whose                   phone            number         is   that    listed     in   29     --         21          A.         Yes         sir.




    22   229F    1                                                                                                                   22          Q.         Do you have children

    23          A.        Kristie       Freeze.                                                                                      23          A.         One.

    24          Q.        Thank                                                                                                      24          Q.         And                  that a        male     child       or    female child
                                       you.                                                                                                                             is



    Z5                            MR. BRISSETTE                               Pass the witness.                                      25          A.         Female.

ý                                                                                                                       128                                                                                                                         130

     1                            THE COURT                            Cross-examination                                              1          Q.         And how                    old     is   she
     2                            MR.        CUMMINGS                         We      have        nothing        further       for    2          A.         Shes             seven.


     3   Mr.    Van Der Leest.                                                                                                        3          Q.         Would                you     do me a favor                    Would       you   spell   your

     4                            THE COURT                            All   right.        May he be        finally                   4   name        for    the        record please

     5   excused                                                                                                                      5          A.         K-r-i-s-t-i-e                      F-r-e-e-z-e.

     6                            MR.        MOORE                     Subject        to    recall    but        he can               6          Q.         Before               being         employed at your current job how

     7   be excused.                                                                                                                  7   were you           employed
     8                            THE COURT                            All   right.        Mr.    Van Der Leest                       8          A.         At    E-Z Mart.

     9   you    know the              rules.           Dont            talk   about your testimony                                    9          Q.         What             is       E-Z Mart

    10   with   anybody other than the lawyers or discuss                                                   it   with                10          A.         Its a         convenience                   store.

    11   any other witnesses.                                                                                                        11          Q.         And where                    is    that    E-Z Mart convenience                   store

    12                            THE WITNESS                                Yes    sir.                                             12   located

    13                            THE COURT                            You may step down.                        Thank         you   13          A.         In    Joshua.

    14   sir.                                                                                                                        14          Q.         And         is       it   located        on a     --    on a major street or

    15                            Witness               retires                                                                      15   road    in   Joshua

    16                            THE COURT                            State       call    your next witness.                        16          A.         174.

    17                            MR.        GILL            We          call   Kristie      Freeze.                                 17          Q.         And where                    is    Joshua         in    relation    to Fort     Worth
    18                            THE COURT                            Kristie     Freeze.                                           18          A.         About 20 minutes south.

    19                            Witness               enters               courtroom                                               19          Q.         Is    it    between                 Burleson           and Cleburne

    f1                            THE COURT                            Ms.    Freeze would             you         please            20          A.         Yes.


         come     up                                                                                                                 21          Q.         Is   there                a restaurant            in    Joshua Texas             by the

    22                            Ms.        Freeze would                       you    raise       your   right                      22   name        of    Huddle                 House
    23   hand                                                                                                                        23          A.         Yes.

    24                            Witness               sworn                                                                        24          Q.         And where                    is    Huddle         House located            in   relation

    25                            THE COURT                            Please      be seated          maam.                          25   to   the    E-Z Mart where youre employed
                                                         131                                                                                                                                                                                          133
                          Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                         Page 40 of 101 PageID 5252
       1            A.         Further south.                                                                                           1   that   you came to know                          as John        Hummel

       2            Q.         Approximately                         how far                                                            2          A.       Yes.


       3            A.         About a mile.                                                                                            3          Q.       Do you see                 that individual              in   the        courtroom

 a                  Q.         And you said                    you also          lived        in   Joshua           for   about         4   today

ý...        11     years.           Have you              lived         in     an apartment complex                            in       5          A.       Yes.


       6    Joshua                                                                                                                      6          Q.       Would         you please                 point to       him and describe what

       7            A.         Yes        I   do.                                                                                       7   hes wearing today

       8            Q.         In    December of 2009 were you                                          living       in   an            8          A.       A    suit.



       9    apartment               complex               in    Joshua                                                                  9          Q.       Is   he the              last   individual          at the table             over

  10                A.         Yes.                                                                                                    10   here to        my     left


  11                Q.         And approximately                               where     in   Joshua           is    that              11          A.       Yes.


  12        apartment               complex located                                                                                    12                           MR.         GILL           Can the record               reflect       shes

  13                A.         540 North Main Street.                                                                                  13   identified       the     Defendant

  14                Q.         Where           is   it    in    relation         to the        Huddle House                            14                           THE COURT                        The    record        will      so   reflect.



  15                A.         Right          behind           it.                                                                     15          Q.       BY      MR.         GILL         And       how      did      you meet Mr. John

  16                Q.         So    its      located                very close         to the          Huddle        House            16   Hummel

  17                A.         Yes.                                                                                                    17          A.       He came into the store.

  18                Q.         Is    Main Street the same thing                                    as    Highway            174        18          Q.       He was a customer at your store

  19                A.         No        it   branches                off.                                                             19          A.       Yes.


  20                Q.         So they          --       so     where you           live           are   they        parallel          20          Q.       And     approximately when                             would       it    have    been      that


  21        to     each    other                                                                                                       21   you    first    met     Mr.         Hummel           at    your store

  22                A.         Yes.                                                                                                    22          A.       Late     2009.

  23                Q.         And that Huddle                         House       is   located              on 174         is         23          Q.       Was he a frequent                        customer            at the       store

  24        that     right                                                                                                             24          A.       He     hadnt been                  before       I   met      him.


                    A.                                                                                                                 25          Q.       Okay.             After        you met him did he become
  l
      i-5                      Yes.                                                                                                                                                                                                               a


                                                                                                                                 132                                                                                                                  134

       1            Q.         And were you employed                                at the          --       how     long      were     1
                                                                                                                                            frequent        customer                 at the     store

       2    you employed at the E-Z Mart                                                                                                2          A.       Yes.


       3            A.         For       about a year and a                        half.                                                3          Q.       What type                 of items        would        he purchase at the

       4            Q.         Would           that       have          included        the        time period of the                   4   store

       5    fall    of   2009                                                                                                           5          A.       Cigarettes                and gas.

       6            A.         Yes.                                                                                                     6          Q.       Approximately how often did                                   he come           into the

       7            Q.         Were you                  employed               at the    E-Z Mart             in    December           7   store

       8    of     2009                                                                                                                 8          A.       Every day                 after.


       9            A.         Yes.                                                                                                     9          Q.       After        --    after        you met him he started                          coming

      10            Q.         Did       the    E-Z        Mart have              a store          number                              10   into   the store         every             day
      11            A.         I    dont remember                        it.                                                           11          A.       Yes.

      12            Q.         It   did       have        a store              number though didnt it                                  12          Q.       Did    you happen                   to    have      conversations               with      him
      13            A.         Yes.                                                                                                    13          A.       Yes.

      14            Q.         But       you dont remember what the store number                                                       14          Q.       And what did yall talk about at that time

      15    was                                                                                                                        15          A.       Anything                 and everything.

  16                A.         Yes.                                                                                                    16          Q.       When          he came to your store would he be clothed

  17                Q.         Now            while       you were employed                          by the E-Z Mart                   17   in   any particular                way
  18        what were your job duties                                                                                                  18          A.       He would wear                      his    uniform.

      19            A.         Same           as a        regular            cashier       stock             clean        take         19          Q.       What type                 of    uniform        would that               be
            care     of    customers                     place         orders      for inventory.                                      20          A.       His security                uniform            light    blue    shirt         black

                    Q.         So basically                    were you a clerk                    in    a   convenience               21   slacks         black    shoes.

  22        store        for       the   --   for the                E-Z Mart folks                                                    22          Q.       Did    you happen                         discuss                                         with
                                                                                                                                                                                                to                  his    employment
  23                A.         Yes.                                                                                                    23   him
  24                Q.         And while you were working                                      at the         E-Z Mart                 24          A.       Yes.

  25        located                                   did                                      meet an                                 25          Q.               he
                                    Joshua                      you      happen                                                                                                       you where he was                    employed
                           in                                                           to                          individual                              Did               tell
                                                                                                                             135                                                                                                                                      137
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                     Page 41 of 101 PageID 5253
     1          A.         Yes.                                                                                                            1           Q.           Shortly after          you       gave him your phone                                number

  2             Q.         What        did      he     tell
                                                                 you                                                                       2   did     he begin            telephoning             you
     3          A.         Walls.                                                                                                          3           A.           Yes.


                Q.         Do you understand what Walls is                                                                                 4           Q.           Did    he also text message                            you
                A.         Walls        is   a hospital                in   Cleburne.                                                      5           A.           Yes.


  6             Q.         Did     he    describe                what         his   duties          were       at the       --             6              Q.        Throughout            the      fall    of       2009        lets    say       from

  7      at the hospital                                                                                                                   7   October              through       December of 2009 did he                                  call        you on a

     8          A.         Security            officer.                                                                                    8   frequent or infrequent                       basis

     9          Q.         Did     he    describe                to    you       what         his   --    his    working                   9           A.           Frequent.


 10      hours       were                                                                                                                 10              Q.        And what do you                  mean when you                         say        frequent

 11             A.         I    believe         so         but    I    couldnt           tell    you what                                 11           A.           Daily.



 12      times they were.                                                                                                                 12              Q.        Approximately              --    Im            sorry

 13             Q.         So generally when                           you would see him                                                  13           A.           Daily.


 14                                     what time of the day or night would                                                  be           14              Q.        Would        he sometimes                      call   you    multiple times                       each
         approximately                                                                                                 it




 15      when he would                   stop         in    your store                                                                    15   day
 16             A.         Evening             and then early                      in   the morning.                                      16              A.        Yes.


 17             Q.         When you would                             see     him       in    the   evening           would          he   17              Q.        Would        sometimes those phone                            calls          be     in       the    15

 18      be on       his       way     to    work or on                 his      way home from work                                       18   20 30           telephone           calls    per       day           range

 19             A.         To     work.                                                                                                   19              A.        Theres only one occasion                               that   I    know            of    him

 20             Q.         When youd                   see        him       in     the       morning would                  he be         20   calling         me        repeatedly        like      that.



 21      on   his    way home from work then                                                                                              21              Q.        When would             that       be
 22             A.         Yes.                                                                                                           22              A.        December 16th.

 23             Q.         What else did you                           discuss           with Mr.          Hummel back                    23              Q.        How about           the text               messages

 24      in   the    --    in    the    fall     of        2009        just        generally                                              24              A.        They     were constant.

                A.         Cant name any                          specifics.                                                              25              Q.        Okay.        And they were constant from the time he

                                                                                                                                 136                                                                                                                                   138

     1          Q.         All    right.         Well            did    you discuss                 family with                            1   first      began           texting      you
     2   him                                                                                                                               2              A.        Yes.


     3          A.         Yes.                                                                                                            3              Q.        So just       --
                                                                                                                                                                                       just   on a general basis                        --       in    fact

     4          Q.         Did     you discuss                   --    did       he discuss              his   family                      4   did     you          have the occasion                 to       go through             an        exhibit          this


     5          A.         Yes.                                                                                                            5   morning which                     listed    in detail           the text          messages between

     6          Q.         What         did      you        discuss           --    understand                 his   family                6   you        and Mr.          Hummel
     7   to   include                                                                                                                      7              A.        Yes.

     8          A.         His     wife         his        daughter              and     his     father-in-law.                            8              Q.        So approximately                      how many              times           on a given              day

     9          Q.         Did     you explain to him that you                                      had a family                           9   was Mr. Hummel text messaging                                              you
 10             A.         Yes.                                                                                                           10              A.        It   depended.            If    --    if   I    responded              it    could           be

 11             Q.         Did     you         tell    him about your daughter                                                            11   a   lot.        If   I    didnt    respond            it   was only a few.

 12             A.         Yes.                                                                                                           12              Q.        But needless            to      say throughout                     the       fall       --   the

 13             Q.         Were you               married              at the           time                                              13   November and December of 2009                                               were there                 literally


 14             A.         Yes.                                                                                                           14   hundreds of text messages exchanged                                                between               you and              Mr.

 15             Q.         And were you                       undergoing any                     particular           type of             15   Hummel
 16      change           with regard                 to   your        life      at that        time                                      16              A.        Yes.

 17             A.         I    was going              through              a divorce.                                                    17              Q.        And were there dozens                             of   phone       calls            telephone

 18             Q.         Now          after         --   after talking                 to     him on several                            18   calls      exchanged               between           you and Mr.                 Hummel
 19      occasions               did    he     ask         for    your phone                  number                                      19              A.        Yes.

                A.         Yes.                                                                                                           20              Q.        Were some of those phone                                calls      brief          phone

._              Q.         Approximately                      how many                  occasions              did   you     visit        21   calls

 22      with   him before                   he asked             for       your phone              number                                22              A.        Yes.

 23             A.        15       20.                                                                                                    23              Q.        And were some of those phone                                      calls      relatively


 24             Q.         Did     you give him your phone                                      number                                    24   lengthy              phone    calls

 25             A.         Yes.                                                                                                           25              A.        Yes.
                                                                                                                            139                                                                                                                                141
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                     Page 42 of 101 outside
                                                                                                                                                                                         PageID 5254
            Q.                                                                                                                           of those conversations                                 take
                         By their nature text messages                                                  messages are
                                                                                                  --                                 1                                                                  place
 1




 2   generally               rather          brief     is   that    correct                                                          2          A.        Some were                       inside        some were              outside.


 3          A.           Yes.                                                                                                        3          Q.        Generally                 if
                                                                                                                                                                                          you were outside talking                             what

            Q.           And was that the                     --   was the tendency with you                                         4   were yall doing out there

     and Mr. Hummel to exchange                                         brief       text          messages back               and    5          A.        Smoking.

 6   forth                                                                                                                           6          Q.        Was        Mr.       Hummel                  talkative        with    you          during these


 7          A.           Yes.                                                                                                        7   visits


 8           Q.          In    the          document you looked                          at       today         did   you            8          A.        Yes.


 9                           the        content of the             --    of the text                   message                       9          Q.        After a             period of               time did you             and Mr. Hummel
     recognize

10   conversations                      between         you        and Mr.          Hummel                                          10   form a      --       a    friendship

11          A.           Yes.                                                                                                       11          A.        Yes.


12           Q.          And did that document accurately                                                reflect      those         12          Q.        Did       he try to take                     the friendship            further

                                                                                                                                                A.
             message conversations
13   text                                                                                                                           13                    Yes.




 --3
14          A.           Yes.                                                                                                       14          Q.        How        did       he attempt to do that

15           Q.          What           kind     of vehicle          did       Mr.       Hummel                 drive   back        15          A.        He        basically               wanted to have sex.

16   in    the    fall       of    2009                                                                                             16          Q.        And was he                       --    was he persistent                  about that

17           A.          A purple van.                                                                                              17          A.        Pretty          much                 yes.

18           Q.          Is    that          what he was            --    would drive when                            you    saw    18          Q.        Did there                 --      did     there       ever come           a       time when

19   him     at    the        E-Z Mart convenience                             store                                                19   that   took place

20           A.          Yes.                                                                                                       20          A.        Yes.


21           Q.          You mentioned that he purchased                                                 gas and                    21          Q.        And how                  --
                                                                                                                                                                                          explain          to    me how        that          happened

22   cigarettes               there.           Do you-all have                  a   --        have          a                       22   please.          What           --    what was the situation                          in       your       life   at


23   pay-at-the-pump                           system        at    that      E-Z Mart                                               23   that   point

24           A.          No.                                                                                                        24          A.        I       was under a                   lot    of stress.        Like       I       said    I




16           Q.          So       if    an    individual          purchases something                                               25   was going                through            a     divorce             worried    about losing                    my
                                                                                                                            140                                                                                                                                142

 1   gasoline            or anything                  else would they have to pay                                     for            1   daughter my boyfriend and                                         I    were arguing.

 2   that    item inside the                        store                                                                            2          Q.        And was                  --     it    was on that occasion                        that the


             A.          Yes           they would.                                                                                   3   the    sex with Mr. Hummel took place

 4           Q.          Would               they actually          have to produce                             payment to           4          A.        Yes.


 5   you     as the           --       as the clerk of the                   store                                                   5          Q.        Was        that          a     --     a   one-time        thing

 6           A.          Yes.                                                                                                        6          A.        Yes.


 7           Q.          How            did    Mr.    Hummel pay                for           his      purchases                     7          Q.        Do you              know              approximately            when               that   took place

 8           A.          A bank card.                   I   dont know               if    its          debit     or                  8          A.        Based               on    the text           messages           that          I   read        this


 9   credit.                                                                                                                         9   morning              it   was December                        10th.


10           Q.          But           he    gave     you some type of                            --   some      type of            10          Q.        Of       2009
11   plastic
                   --                                                                                                               11          A.        Yes.


12           A.          Yes.                                                                                                       12          Q.        Now            after           --     after that        particular            event took

13           Q.          --    to       pay     for   his    purchases                   is       that      right                   13   place       did          you learn something                            else   from Mr. Hummel that

14           A.          Yes.                                                                                                       14   caused       you          a great               deal       of discomfort         with              him and your

15           Q.          Did           Mr.    Hummel         like       to   wear cologne                                           15   relationship

16           A.          Yes.                                                                                                       16          A.        Yes.

17           Q.          What            kind    of cologne              did    he        like         to   wear                    17          Q.        What was that

18           A.          Axe.                                                                                                       18          A.        I       found out               his       wife       was pregnant.

19           Q.          Any particular variety                                                                                     19          Q.        And why did that cause you                                     discomfort

 o           A.          I    really          cant remember.                                                                        20          A.        Because                  he had no concern                     for    the safety of                   his


             Q.          It    was an Axe brand                          Thats                a    brand of                         21   unborn       child.


22   cologne                                                                                                                        22          Q.        And what                   --        what steps          if
                                                                                                                                                                                                                        any     did         you take

23           A.          Yes.                                                                                                       23   with regard to that                             information             when you               received          it

24           Q.          When you would                      see him at the E-Z Mart did you                                        24          A.        I       told    him not to talk to                       me    not     to text             me
25   all
           stay inside                  and have your conversations                                         or did      some        25   anymore.
                                                                                                                         143                                                                                                                  145
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                Page 43 of 101 PageID 5255
  1          Q.        Approximately                        when     in   time was          it   that         you               1   court date set for                     your divorce on December                                  16th

  2   learned        that        his    wife     was pregnant                                                                   2          A.   Yes.


  3          A.        I   would        say a day or two after having                                   sex.                    3          Q.    So did he know                             about that before December 16th

             Q.        Did       you    learn          it   from       him                                                      4          A.   Yes.


             A.        Yes.                                                                                                     5          Q.    And did you and he exchange                                                text    messages with

  6          Q.        Did       you    learn          it   from       him talking          on the phone                        6   regard to        your upcoming divorce hearing

  7   or   through          a text       message                                                                                7          A.    Yes.


  8          A.        On       the     phone.                                                                                  8          Q.    In fact                  did   you exchange                        text     messages with

  9          Q.        Did       you and he exchange                         text     messages regarding                        9   him on December 16th with regard to your upcoming court

 10   you finding out that                       his        wife   was pregnant                                                10   hearing

 11          A.        Yes.                                                                                                    11          A.    Yes.


 12          Q.        And       in    those text               messages             did    you       tell        him          12          Q.    Did       you            exchange text messages before your

 13   basically to leave                 you          alone                                                                    13   hearing

 14          A.        Yes.                                                                                                    14          A.    Yes.


 15          Q.        Even previous                       to   that      had you          informed him                        15          Q.    Did       you exchange                          messages after your hearing

 16   about the            --    about the state of your relationship                                         with             16          A.    Yes.


 17   him                                                                                                                      17          Q.    Did       he inquire of you the result of your

 18          A.        Yes.                                                                                                    18   hearing

 19          Q.        What had you                     told       him                                                         19          A.    I   let        him know                that      I    won.

 20          A.        We       were friends that he was married that                                                I         20          Q.    All   right.                  And what did you                       let    him    know
 21   had a boyfriend and                        it   wouldnt be anything                         more.                        21          A.    That               I
                                                                                                                                                                        won      that        my       daughter              would be staying

 22          Q.        Did       he seem              to    understand that                                                    22   with   me        and        it       was over.

 23          A.        Yes.                                                                                                    23          Q.    Did       you inform him that                                 --    that     your divorce

 24          Q.        Was        that    --     had that been                  your position                                  24   had    in   fact       been                granted

      basically        throughout                the         relationship                                                      25          A.    Yes.
JJ5
                                                                                                                         144                                                                                                                  146

  1          A.        Yes.                                                                                                     1          Q.    So your divorce was                                   final    on what date

  2          Q.        After       you      had the discussion with him about                                            his    2          A.    December                       16th.


  3   wife being            pregnant and you                        informed him that you                                       3          Q.    Of    2009
  4   just
             --   for       him    to    leave          you        alone did he persist                       in                4          A.    Yes.

  5   trying      to       reach      you        in    trying       to    converse          with       you                      5          Q.    Did       you inform Mr. Hummel that you                                             had some

  6   and    --   and persist               in   text           messaging        you                                            6   plans that        day
  7          A.        Yes.                                                                                                     7          A.    Yes.

  8          Q.        Did       he persist             in      telephoning          you                                        8          Q.    And what plans did you                                     inform           him that you      had
  9          A.        I    believe      so.                                                                                    9          A.    I   was supposed                           to   have          a divorce party.

 10          Q.        At that point                  was there something                        --   an event                 10          Q.    Were you supposed                                    to   have a divorce party

 11   occurring            in   your life              You said           you   --    you and he had                           11          A.    I   told               him that        I   was going                to     have one.

 12   the    one-time             sex    on December 10th and a couple                                             days        12          Q.    So    --               so there    really            was not a divorce party

 13   after that           is   when you found                      out that      his      wife       was                      13          A.    No.            I       didnt    feel        like      having         it.



 14   pregnant and you attempted                                    to    break      off    your                               14          Q.    But you informed                                Mr.       Hummel            that   there   was a

 15   relationship              with    him.           Was something                  else       happening                in   15   divorce     party

 16   your    life     at that         point                                                                                   16          A.    Yes.

 17          A.        Be       specific.                                                                                      17          Q.    Why            did        you do that

 18          Q.        The divorce                                                                                             18          A.    Because                   I   wanted to be                 left      alone.

 19          A.        Yes.                                                                                                    19          Q.    Did       it           succeed

             Q.        Okay.           Did     you          have     a    divorce      hearing               in                20          A.    No.

      December of                2009                                                                                          21          Q.    Why not
 22          A.        Yes.                                                                                                    22          A.    Because                   he kept           calling        me       and texting        me.

 23          Q.        What        date      was that               on                                                         23          Q.    Okay.                   You referred                 earlier        in     your testimony
 24          A.        December 16th.                                                                                          24   to there                            one day where he
                                                                                                                                                being                                                          really       persistently

 25          Q.        Had       you     informed Mr. Hummel that you                                         had a            25   telephoned         you.
                                                                                                                                              147                                                                                                                                            149
                      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                               Page 44 of 101 PageID 5256
    1            A.        Yes.                                                                                                                          1   it   was her birthday that                            day
    2            Q.        Is       that the                   date                                                                                      2          A.    Yeah.


    3            A.        Yes.                                                                                                                          3          Q.     Did        he    tell        you anything and give you                                           a    message

-                Q.        Do you remember approximately how many times he                                                                               4   that he     wanted            you          to        relay        to     her

    J1
         telephoned                 you that day                                                                                                         5          A.    Tell        her        he         said        happy          birthday.


    6            A.        No.                                                                                                                           6          Q.     Did        he    persist                in    trying         to     get together with

    7            Q.        But           it        was numerous                                                                                          7   you that day

    8            A.        Yes.                                                                                                                          8          A.    Yes.


    9            Q.        At       some point                        did    you       finally       respond              to   one       of              9          Q.     Were you giving                               him any information back                                      about


10       his --      did       he        also           text         message you numerous times that                                                    10   that as a possible                    plan           for    the         two of         you
                                                                                                                                                                    A.                him know that                                           would                                    He
11       day                                                                                                                                            11                 I    let                                             Kylie                          be there.


12               A.        Yes.                                                                                                                         12   said   thats       okay so                 I    said okay.


13               Q.        And            at        one point               did    you        finally      respond             to    one                13          Q.     So was            --       so      it    was         all    right        with          him      to    visit


                                                                                                                                                        14                                              there              You
                                messages or one                                                                      calls                                   with                                                                              like       --      like     that
14       of    his   text                                                     of    his       telephone                                                             your daughter                                                      felt



15               A.        Yes.                                                                                                                         15   was okay

16               Q.        And what                           did    you     inform           him                                                       16          A.     Yes.


17               A.        That               I     had been asleep.                                                                                    17          Q.     Were you attempting                                        to    have         a     --        have    a


18               Q.        And            did             he    --   did    he     persist          in   attempting                 to                  18   friendly    relationship with                              him      at     this        point

19       contact       you                                                                                                                              19          A.     I    was trying                   to     be         friends             not anything                  more

20               A.        Yes.                                                                                                                         20   and he understood                        that         it    wasnt going                     to       be anything


21               Q.        And            did             you carry on              --      after    that point                did                      21   more.


22       you     carry on                a         text        message            conversation                 with       him                           22          Q.     So on            December                      17th         of     --    of   2009              did    he come

23               A.        Yes.                                                                                                                         23   to   your   apartment                 to        visit       you
24               Q.        Now                     December                17th        is   that      a significant                 day                 24          A.     Yes.


    5                           also                                                                                                                    25          Q.     Do you remember approximately what                                                                    time of      day
C
         in    your    life




                                                                                                                                              148                                                                                                                                            150

    1            A.        Yes                it    is.                                                                                                  1   or night    it     was
    2            Q.        What                    --     what                                  about          December                                  2          A.           was        --              was at
                                                                                                                                                    -
                                                                      is   significant                                                                                     It                      it                          night.


    3    17th                                                                                                                                            3          Q.     And        --    in     the            evening

                                                                                                                                                         4          A.
    4            A.        Its           my daughters                         birthday.                                                                                    Yes.

    5            Q.        So how                       old     would        your daughter have been on                                                  5          Q.     After dark                   sometime

    6    December               16         --           December             17th        of    2009                                                      6          A.     I    believe            so.


    7            A.        Six.                                                                                                                          7          Q.     Okay.             And what                     were you doing                            at    home         at   that

    8            Q.        So that was her                                 sixth       birthday           is   that                                      8   time

    9    correct                                                                                                                                         9          A.     I    really       couldnt                    tell     you.

10               A.        Yes.                                                                                                                         10          Q.     Well            let     me         ask       you this                   Did       --     it    was your

11               Q.        Did           Mr.            Hummel             attempt            to    converse              with      you or              11   daughters birthday.                             Did        you do anything                           special            for


12       did    he    text      you on that                           particular            day                                                         12   her    birthday

13               A.        Yes.                                                                                                                         13          A.     I    cooked             for        her.


14               Q.        What was the subject                                        of     his   text   messages                  on                 14          Q.     What            did     you cook

15       that     day                                                                                                                                   15          A.     Spaghetti.

16               A.        Tell          Kylie             phonetic                happy            birthday.             He                            16          Q.     And why spaghetti

17       wanted        to       come over                            wanted        to       know what            I    was cooking                       17          A.     Because thats her                                   favorite             meal.

18       let   me know what                                he    was cooking.                                                                           18          Q.     Was         there anything                            in particular                    about          the

19               Q.        So before                           December            17th        of    2009        had           he met                   19   spaghetti         that                 recall
                                                                                                                                                                                       you

         your     daughter                                                                                                                              20          A.     I    forgot the                   mushrooms.

                 A.        I    dont                    know.          I   dont think so but                     I    cant                              21          Q.     Why         is    that            --    why          is    that significant

22       say    positively.                                                                                                                             22          A.     Because she loves mushrooms                                                         and she gave me                     a


23               Q.        Is       it     possible                  that he       had                                                                  23   hard time about                 it.



24               A.        Its           possible.                                                                                                      24          Q.     Okay.             It    was her birthday                                 the       mushrooms were

25               Q.        Okay.                        Did     he    seem        --    did     he    seem           to   care that                     25   her favorite             and you forgot                           them
                                                    151                                                                                                                                                                                                         153
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                   Page 45 of 101 PageID 5257
 1          A.       Yeah.                                                                                                           1          Q.        What was                  the        purpose of sending that                                --   that


 2          Q.       This     was          --        this   was            --    this    was not the            --    the            2   text    message

                     wanted                                      be                                                                  3          A.            hadnt heard                      from him.
 3   way you                             things to                          is   that        right                                                        I




            A.       No.                                                                                                             4          Q.        At that           point          had you heard                       anything           about the

            Q.       Do you remember seeing                                           a conversation                 about           5   events that had transpired                                  at     his      house          around midnight

 6   that      in   your     text          messages back                          and forth with Mr.                                 6   on December the                        18th           of    2009

 7   Hummel on               that        day                                                                                         7          A.        No.


 8          A.       Yes.                                                                                                            8          Q.        When            did       you        learn      about what had happened                                   at


 9          Q.       Was he              --     was he concerned                             about what you                 were     9   his    house         that        night

10                                                               --    for her birthday                    dinner                   10          A.        Sometime                   after that                 saw            on the news.
                     your daughter                        for                                                                                                                                               I             it
     cooking

11          A.       Yes.                                                                                                           11          Q.        Let me ask you about                                  --   about the text message

                     When                                                                                                                                     him on the 19th.                        You sent him a message that
12          Q.                      he showed                    up at your house                        that      night was        12   you    sent


13   your daughter there                                                                                                            13   said        Hey
14          A.       Yes.                                                                                                           14          A.        Uh-huh.

15          Q.       Did      Mr.          Hummel come                           in   and     --   and     visit     with           15          Q.        Did        he text message you back                                       in     response to

                                                                                                                                         that
     you and your daughter
16                                                                                                                                  16


17          A.       Yes.                                                                                                           17          A.        No.


18          Q.       Do you remember approximately                                                      how   long he               18          Q.        So you            heard              about the             --   the       fire    at    his      home

19   stayed                                                                                                                         19   on the        news

20          A.       About 30 minutes same as always.                                                                               20          A.        Yes.


21          Q.       I   take       it     he        --   he visited you at your house                                              21           Q.       And what was your reaction                                           to    that

22   on   --    on several other occasions                                                                                          22          A.        I    was shocked.

23          A.       Yes.                                                                                                           23           Q.       At    some            point          after      that did you                     hear that

24          Q.       And he generally stayed about 30 minutes.                                                           Is         24   the    --   the allegation                   he had been                     involved             in    --   in    the

 5   that      what      I   understand from your testimony                                                                         25   murder of             his       family

                                                                                                                         152                                                                                                                                      154

 1          A.       Yes.                                                                                                            1          A.        I    did       not        know        that      he was involved                        until



 2          Q.       And at some point                                 I    take        it   he left                                 2   Miles       the       D.A. showed                      up     at       my    house.


 3          A.       Yes.                                                                                                            3           Q.       So you had                      --   so    you hadnt heard                        anything

 4          Q.       Was he                in   uniform               that        night or         --    or   not                    4   about       it   on the news                     or    --   or     by any other                   means
 5          A.       Yes.                                                                                                            5           A.       I    heard           there           was a      fire.



 6          Q.        Now       after                he   left    your house                  that night           on                6           Q.       Okay.

 7   December 17th                    of        2009 have you ever                                 heard      from      Mr.          7           A.       And that they died.

 8   Hummel           again         in     person                                                                                    8           Q.       But you               hadnt heard anything                                 beyond            that

 9          A.        No.                                                                                                            9           A.       No.

10          Q.        Did     you ever receive                              another           text      message from                10           Q.       And your next contact was with a member of the

11   him                                                                                                                            11   Tarrant          County D.A.s                         Office       is   that          right

12          A.        No.                                                                                                           12           A.       Yes.

13             Q.     Did     he ever attempt                               to   contact           you by telephone                 13           Q.       And at some point did you                                       --    were you               called      to

14   in   any fashion                                                                                                               14   testify       as a witness                  in        front of the Tarrant                        County

15          A.        Nope.                                                                                                         15   Grand        Jury

16          Q.        Have you attempted                                    to contact             Mr.    Hummel         at   any   16           A.       Yes.


17   point                                                                                                                          17           Q.       And on the day you testified                                          whenever that

18          A.       Yes.            sent            him a        --        a    message on the 19th                                18   might have                 been            did              have the benefit of having
                                I
                                                                                                                                                                                           you                                                                    your

19   saying Hey.                                                                                                                    19   text    messages                 to    be able to read and refer back                                             to
               Q.     On December 19th                                                                                              20           A.           No     I    did       not.

            A.       Yes.                                                                                                           21           Q.       The text message that                                  I   referred              to the ones

22             Q.    And what did that message                                               say                                    22   between              you        and    Mr.        Hummel.

23             A.     Hey       H-e-y.                                                                                              23           A.       I    did       not        have        those.

24             Q.     Is     that                     said                                                                          24           Q.       Those            --       those       were not shown                              you
                                      all       it                                                                                                                                                                                    to              until


25          A.       Thats           it.                                                                                            25   sometime              later           is   that        correct
                                                                                                                                                 155                                                                                                                                               157
                         Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                    Page 46 of 101 PageID 5258
 1                  A.        Yes.                                                                                                                      1             A.          My signature                     is   on     it.




 2                  Q.        Sometime                           after               Grand Jury appearance                                              2             Q.          Okay.             I   asked you                 to       look through                     that        and
                                                                             your

 3                  A.        Yes.                                                                                                                      3   then       if
                                                                                                                                                                            you recognize                      the contents                         of    it    to    put your


                    Q.         Did           Mr.       Hummel                 ever    discuss                 with       you    the    fact             4   initials        or     to    sign that             document                         is       that correct


         that he          wanted                      to   leave        his        wife                                                                 5             A.          Yes.


 6                  A.         He       said               that he           wasnt         in    love with               her but                        6             Q.          And you               did    so

 7       he          he didnt                                                  was going                                                                7             A.          Yes.
                                                  say that he
               --                                                                                        to    leave.



                                                                               that you wanted                           him          do                8             Q.          And              229B1                                                         the
                                                                                                                                                                                                                        --                                 of               text
 8                  Q.         Is that                 something                                                                to                                                            is                   a          a      printout

 9       leave          his    wife                                                                                                                     9   messages that were exchanged                                                   between                you        and Mr. John

10                  A.         No.                                                                                                                     10   Hummel

11                  Q.         From your point                                of   view         was there any                    --
                                                                                                                                       any             11             A.          Yes.


12       future          in   your            relationship                    with    him                                                              12             Q.          And         is   it   an     accurate                rendition                of    the        text



13                  A.         No.                                                                                                                     13   messages that were exchanged                                                    between you and                            Mr.    Hummel

14                  Q.         Did           you explain                     that    to     him                                                        14             A.          Yes.


15                  A.         Repeatedly.                                                                                                             15             Q.          And does               it   accurately                    show the text

16                  Q.         What was                          his   reaction            to    that                                                  16   conversations                     that       you had with Mr. Hummel                                             beginning


17                  A.         He kept                     saying he               would        take          what        he could          get.       17   in   --    I    think        it   was October                     of     2009                is    that right


18                  Q.         At       some point were you contacted                                                    by an                         18   Im        sorry.            Its    November                  of       2009.


19       individual                by the              name            of     Chris                                                                    19             A.          Yes.


20                  A.         Yes.                                                                                                                    20             Q.          And those text messages continue                                                          up    to    and

21                  Q.         And            did          you     understand                   Chris         to    be    a friend          of         21   including              December                   17th      of     2009

22       Mr.    John           Hummel                                                                                                                  22             A.          Yes.


23                  A.         Yes.                                                                                                                    23             Q.          And then theres one additional                                                     text    message

24                  Q.         And what                          was    it    that   --     that Chris                  wanted        you              24   from you               to    Mr.        Hummel              on        December                      19th        where you asked

19       to   do or was asking from                                          you                                                                       25   him or              told    him Hey

                                                                                                                                                 156                                                                                                                                               158
     1




 1                  A.         He        --           he    said       that John asked                        him        to   call    me                1             A.          Yes.


 2       and ask me                     if    I       wanted           his     information so                       I   could        write              2             Q.          And         its       an    accurate               rendition                  of    those        text


 3       him.                                                                                                                                           3   conversations


 4                  Q.         And            what was your response                                      to        that                                4             A.          Yes.


 5                  A.         I    told              him        no.                                                                                    5              Q.          Okay.            Im        going          to      show you now States 229B2

 6                  Q.         Why             is      that                                                                                             6   which           I   can      represent                 to   you          is    --       if   you     want        to       take

 7                  A.         Because                      it    was        his fault          that the D.A.                  was     at               7   just a          second            to    look through                      it   and see               if   it    also

 8       my     house              and            I    had        to   go downtown                       and answer              questions              8   contains              those            same text messages                                    that you            examined

 9       and that Im                         sitting             right       here now.               I    was upset about                               9   earlier             today

10       the whole                 situation.                                                                                                          10             A.           It
                                                                                                                                                                                        appears               to   be        the      same.

11                  Q.         So youre not                            --     youre         not very                happy about                        11              Q.          Okay.            And within that exhibit which                                                is    229B2
12       having          to        be        here           today                                                                                      12   is   your telephone                         number highlighted                                     with        the   color       red

13                  A.         No Im                       not.                                                                                        13             A.           Yes.


14                  Q.         Are you concerned                                   about         your          --       about    the                   14              Q.          And        is    Mr.       Hummels                  telephone                      number

15       situation             with           --       with the custody                         of   your daughter                      Is             15   highlighted                 with        the color                yellow

16       that       a    concern                  to       you                                                                                         16             A.          Yes.

17                  A.         No.                                                                                                                     17                                     MR. BRISSETTE                                 Your          Honor             at    this    point

18                  Q.         Ms.           Freeze Im going                           to       show you whats been                                    18   were going to                      offer          22962           for         all
                                                                                                                                                                                                                                                    purposes.

19       marked               as    229B1                   and ask you               if    you          have ever had                 a               19                                     MR.        MOORE                    May           I   ask her           a     question          or   two

         chance           to       --    to           look through                  this particular                     document                       20   on    voir dire              regarding these                          exhibits                Judge
                    A.         Yes            I       have.                                                                                            21                                     THE        COURT                You               may.

22                  Q.         Okay.                   Is        that something                  that you                looked                        22                                               VOIR DIRE                    EXAMINATION

23       through              today                                                                                                                    23   BY MR.              MOORE
24                  A.         Yes.                                                                                                                    24              Q.          Ms.        Freeze           let      me show you whats                                    been        marked

25                  Q.         And how                       do you recognize                        it                                                25   for identification                          purposes             as States                    Exhibit           No.
                                                 159                                                                                                                                                                                                                                 161
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                              Page 47 of 101 PageID 5259
 1   229B2.        The text messages                           that             were between              you and John         1                              I    think the              ones           in    green               were the ones

 2   are the       ones that are highlighted                                     in   red     and yellow          is           2   that   involve            Joy and the ones                            in    blue           at the           back were

 3   that    correct                                                                                                           3   the    ones that Mr.                   Paris          made.

            A.      Yes.                                                                                                       4                              THE COURT                        That            is    correct.                  I        believe


            Q.      And those                are the           ones you                 recognize                              5   thats       also        Mr.     Harris.



 6          A.      Yes.                                                                                                       6                              MR.         MOORE                    Paris.



 7          Q.      The ones that are                          --    are         in    green       here do you                 7                              MR.         GILL            Paris.



 8   recognize       any          of    those       messages                                                                   8                              THE COURT                            Paris.           Thank                you.

 9          A.      No.                                                                                                        9                              All        right.          Anything else

10          Q.      And       later         on theres some back here that are                                                 10                                 MR.      MOORE                    Huh-uh.

11   in   blue.     Do you recognize                          any of those messages                                           11                              THE COURT                            229B2             is   admitted                       for        all




12          A.      No.                                                                                                       12   purposes.               Your objection                     is    overruled.


13          Q.      So just            --    its    the       ones          in --       in   red    and                       13                                 MR.       MOORE                   And         for       --       just        for        the        record

14   yellow that          youve             reviewed               and that you look                      at   and            14   Judge our objection                              is   he   identified                  this           phone                number

15   that                                                          communication                    between           you     15   and he           testified           that there             were some                          calls        made.
             you                             as being                                                                                                                                                                                                                       I
                    recognize




 --4
16   and John           is   that       correct                                                                               16   dont think he was                           --    he ever             specifically                    identified



17          A.      Yes.                                                                                                      17   any of those               texts.


18           Q.     As       far   as the others                    in      there you dont                     really         18                              THE COURT                            Okay.             I    --       well        first           off              is




19   know       anything about                     the    --    the truth               or veracity of                        19   that   if   it    was      --    if    it    wasnt          identified                     I     believe              it




20   those text                                          that       correct                                                   20   was properly authenticated                                      based             upon                                                            and
                        messages                   is                                                                                                                                                                                   his    testimony


21          A.      No.                                                                                                       21   based       upon          the overall                 summation of                             all    the information


22           Q.     Okay.              Thank                                                                                  22   that   he        testified           to regarding the                            text           as     well           as the
                                                    you.

23                            MR.           MOORE              Judge              I    --                                     23   telephone               conversations                      as well the records                                       that        were

24                            THE           COURT              Let       me       visit      with the          attorneys      24   reflected          to     that are               in   the record.                     Therefore                       I    do

     on   the     side.                                                                                                       25   find   that        if   there         wasnt           a    specific              identification                            to


                                                                                                                        160                                                                                                                                                          162

 1                            BENCH CONFERENCE PROCEEDINGS                                                                     1   the    text        it   would          still      be admissible.                            If        however                        I



 2                            MR.           MOORE              I    dont have any additional                                   2   do believe              that there                was some conversation about some

 3   objections         to    that exhibit                other than the                       ones we                         3   text that he did transmit                                   Im         not going                      to



     previously         made some                       of which                have        been cured          by her         4                                 MR.       GILL           That Your Honor.                                     Were                     also


 5   testimony.                                                                                                                5   not offering the                     content           of these                  for   the truth                      of the


 6                            I    do       object       to    the         --    the text          messages                    6   matter           asserted.              Actually            the relevance                              of       it    is        is



 7   that    have not been                   testified             to the ones that are                                        7   to    show that their conversation                                          --    a text conversation

 8   marked by            blue.                                                                                                8   between            Mr.     Hummel and                       his       wife.


 9                            THE           COURT              Okay.              Now         the green          is   Joy      9                              THE COURT                            All    right.              Your objection                                    is




10   Hummel correct                                                                                                           10   overruled.

11                            MR. GILL                   Thats             right.                                             11                                 OPEN COURT PROCEEDINGS
12                            THE           COURT              And          its       already       been                      12                              THE COURT                            Members of the jury States

13   established through                       Mr. Paris              whos              identified        those               13   Exhibit          229B2          is    admitted             for        all    purposes.

14   text    messages.                 In    addition           to     it        are there         any     other              14                                 States              Exhibit No.                    229B2                admitted

15   text    messages              that has             not     been             previously         identified          or    15                                   DIRECT EXAMINATION                                             Contd
16   testified     to     by Mr.            Paris       or    another witness                                                 16   BY MR. GILL

17                            MR.           GILL         No         sir.                                                      17          Q.          Ms.     Freeze now                      let    me         hand you                      whats                 been

18                            THE           COURT              Mr.         Moore             do   you have        anything    18   marked as 229D                         as        in   dog        2    and ask                   if
                                                                                                                                                                                                                                         you could                          take       a

19   else    to    add                                                                                                        19   second           and look through that exhibit                                                   In    fact               lets               go

                              MR.           MOORE               No          I   think        that the text                    20   just   back          to   December 16th.                              That            might be the easiest

     messages           in    green          were        --                                                                   21   way    for       you      to     authenticate                    this.


22                            THE           REPORTER                     Im           sorry.       Can you        speak       22                              You         testified            earlier              there               was a date that

23   into    the   microphone                                                                                                 23   Mr.    Hummel              telephoned                  you        repeatedly                          is    that           correct

24                            MR.           MOORE              Im          sorry.            Im    leaning       back         24          A.         Yes.

25   here.                                                                                                                    25          Q.         That was December 16th                                          of        2009
                                                                                                                           163                                                                                                                                  165
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                               Page 48 of 101 PageID 5260
  1            A.     Yes.                                                                                                        1           A.     Its the book.


  2            Q.     Do you see your                             --
                                                                        your telephone                   number                   2           Q.     Is        that    a    copy           of the           cover of the               --   of the


  3    reprinted          in    States        Exhibit                  229D2                                                      3   book that Mr. Hummel read to your daughter                                                              that       evening

--1.           A.     Yes.                                                                                                        4           A.     Yes.


               Q.     And the date December                                         16th                                          5                              MR.        GILL             We     offer 303.


  6            A.     Yes.                                                                                                        6                              MR.        MOORE                 Judge               I    dont have               any

  7            Q.     Does that accurately                                    reflect          the telephone                      7   objections.


  8    calls   that    were placed                  to        your telephone                       from Mr.                       8                              THE COURT                        303        is       admitted          for        all




  9    Hummels             telephone              on December                             16th    of   2009                       9   purposes.


10             A.     Yes.                                                                                                       10                              States                   Exhibit       No.       303           admitted

11             Q.     Does the document                                   go on to accurately                   reflect          11                              MR.        GILL             May        I    publish            it   Your Honor

12     the telephone              calls      that        were made                        --    before       and after           12                              THE COURT                        You may.

13     on the document                  --    the        telephone                    calls      that    were made               13           Q.     BY          MR.        GILL            Ms.     Freeze                 is   this    the        cover of

14     back and forth between                            you and Mr.                           Hummel                            14   the     book that Mr. Hummel read to your daughter                                                                 on the

15             A.     Yes.                                                                                                       15   evening        hours of December                              17th of                2009
16                               MR.    GILL                 Well             offer       229D2.                                 16           A.     Yes.


17                               MR.    MOORE                          Judge          I    would have the same                   17                              MR.        GILL             We     pass              the witness.


                                                                                                                                                                 THE COURT




--8
18     objections          that      we      --    that           I     made         in    connection          with the          18                                                               Cross-examination

19     prior Exhibit No.                229B2                     in    regard            to    229D2.                           19                              MR.        MOORE                 Thank you Your Honor.

20                              THE COURT                              All    right.           Your objection          is        20                                             CROSS-EXAMINATION

21     overruled.              The Courts ruling                              --
                                                                                   previous ruling                               21   BY MR.        MOORE
22     applies.       229D2            Delta             2        is    admitted.                                                22           Q.     Ms.         Freeze               Im     Larry           Moore.             We     visited           by

23                               States Exhibit No.                                 229D2         admitted                       23   telephone before                          is   that     correct

24             Q.     BY        MR.     GILL             Ms.             Freeze you                testified        that         24           A.     Yes.


05     Mr.     Hummel           visited       you            the        evening of your daughters                                25           Q.     You were kind                          enough to talk to                        me when               I



                                                                                                                           164                                                                                                                                  166
 1


  1    birthday                                                                                                                   1   called       you.

  2            A.     Yes.                                                                                                        2                              I   want to ask you                         a    few questions                     about




--15
  3            Q.     And while he was there                                        your daughter               was               3   your relationship                     with          John and               if    I   ask you something

  4    present       in    your apartment                             also                                                        4   you dont understand                                  just   let       me know                  and     Ill     try       to

  5            A.     Yes.                                                                                                        5   rephrase           it.    Okay
  6            Q.     And so at              least       on that occasion                              Mr.   Hummel               6           A.     Okay.

  7    had an opportunity                     to    converse                       and     --    and interact with                7           Q.     You said that you had worked                                                at the       E-Z Mart

       your daughter                                                                                                              8   that    --    that       you     did           work at the E-Z Mart                            for    about a

  9            A.     Yes.                                                                                                        9   year and           a     half     is      that        right

10             Q.     And did          --     did    they share something                                    that                10           A.     Yes.

11     evening       due        to   the     fact        that                  was her birthday                                  11           Q.     How             long       had you           been            working there when                            you
                                                                         it




12             A.     He read her a book.                                                                                        12   first   met John

13             Q.     What book               did        he read                                                                 13           A.     About            six       months.

14             A.          Could        Have Been Worse.                                                                         14           Q.     And              think                                                                 he would
                      It                                                                                                                                         I
                                                                                                                                                                                     you said that generally

               Q.     And what               --    what kind of book                                   that                      15   he would come                                  the     evening                             on                             work
                                                                                                  is                                                                   in    in                                   hours                his    way          to

16     Childrens           book                                                                                                  16   and then stop back                             in   the early           morning                hours         on    his        way
17             A.     Yes.                                                                                                       17   back from work                       is    that       right

18             Q.     And why was                   it       that             book that she wanted                    read       18           A.     Yes.

19     to her       on that particular occasion                                                                                  19           Q.     What            shift       did       you      work
1              A.     Its her          favorite.                                                                                 20           A.      1000            to     600.

               Q.     And your daughter turned                                            what age that evening                  21           Q.      1000            at night              until   600               in   the       morning
22             A.     Six.                                                                                                       22           A.     Morning.

23             Q.     Let       me show you whats been marked                                                  as   States       23           Q.     What days                       did            work
                                                                                                                                                                                            you

24     Exhibit No.             303 and ask                   if    you         recognize           whats                         24           A.     I
                                                                                                                                                             really    dont remember.

25     contained           in   States            Exhibit               303                                                      25           Q.     Okay.             Did           you    --    did       you        work seven                  days a
    .




     --7
     1




     2


     3
         week

                A.


                Q.
                      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17
                      or    was

                            No.

                            --   five
                                        it    --




                                             days or four
                                                                   A.
                                                                                                                            167

                                                                                                                                        1




                                                                                                                                        2

                                                                                                                                        3   know
                                                                                                                                                   Q.
                                                                                                                                                          No
                                                                                                                                                          On

                                                                                                                                                    whether

                                                                                                                                                          Do
                                                                                                                                                                        the
                                                                                                                                                                            I
                                                                                                                                                                                Page
                                                                                                                                                                                dont.
                                                                                                                                                                                      49 of 101 PageID 5261
                                                                                                                                                                                  days that you werent working

                                                                                                                                                                                 or not

                                                                                                                                                                                know
                                                                                                                                                                                                      he stopped at the E-Z
                                                                                                                                                                                                                                                                do you

                                                                                                                                                                                                                                                             Mart or not
                                                                                                                                                                                                                                                                        169




--16
                A.          Four days a week.                                                                                           4          A.                   I




.               Q.          Was your                shift        always 1000 p.m.                           to   600 a.m.               5          Q.     Uh-huh.

     6          A.          Yes        it    was.                                                                                       6          A.     No                I    dont know                        what he did

                Q.          Did        you         work the same days of the week                                       every           7          Q.     Okay.

                                                                 rotate                                                                 8          A.     --        outside.
     8   week         or did           your         shift


     9          A.          I    worked             same days every week                               if   we werent                   9          Q.     Would                   --       would             --    when         yall        first        started


                                                                             worked            more.                                   10                                                   take                  that    --
                                                                                                                                                                                                                                you said that yall
10       short.                 they were short                                                                                             talking      together                      I                   it
                       If                                               I




11              Q.          When you would work                                     at the      store        in --   in                11   would go outside and                                      smoke together                         and just kind              of


12       that    --    from 1000 at night                                   until       600     in   the         morning               12   have    general                     conversation                       and so forth                     is   that   right

13       would you be the only employee for the E-Z Mart that was                                                                      13          A.     Yes.


14       there        during that                  time                                                                                14          Q.     After that                        first          two weeks                 or a      month whatever

15              A.          Yes.                                                                                                       15   it
                                                                                                                                                 was     at       --        how        --        how would you                       characterize                your

                Q.          The        --     and     I      think          you said           that the store             sits         16   your relationship                          at that                  point

17       there        on Highway 174 as youre going south from Fort                                                                    17          A.     We                were friends.

18       Worth to Cleburne                            is        that    right                                                          18          Q.     You               --
                                                                                                                                                                                  you said at one                              point        in   talking         to    Mr.


19              A.          Yes.                                                                                                       19   Gill   that           Mr.           Hummel would                         --    was pushing                       you or    in



20              Q.          What             kind     of gasoline                  do yall       sell                                  20   some way trying to get you to have                                                         --
                                                                                                                                                                                                                                             engage             in   sexual


21              A.          Regular                super.                                                                              21   relations             with           him          is      that        right

22              Q.          Was        --     was          it   a particular             brand gasoline                                22          A.     Yes.


23              A.          No.                                                                                                        23          Q.     When                   did that                  --     when         did that          start

24              Q.          You said that                       --    that the          first    time that John                        24          A.     I        cant           tell        you.

     5   came         into       the store that                       you     recall      meeting            him was                   25          Q.     Okay.                   Now                 you said earlier on direct

                                                                                                                            168                                                                                                                                         170

     1   sometime                in    late        2009          --                                                                     1   examination                     that           you were going through                                        a   divorce    during

     2          A.          Yes.                                                                                                        2   that period of                       time         in      late        2009          is   that        right

     3          Q.          --    is   that         right                                                                               3          A.     Yes.


     4                                 By      late        2009 can                 you narrow              it   down        Was        4          Q.         When was your                                     divorce actually                    filed


     5   it   September October                                      November              December               or    do you          5          A.         I    filed         December                         2008.

     6   have any idea                                                                                                                  6          Q.         Okay.               So you had                        --
                                                                                                                                                                                                                          your        --
                                                                                                                                                                                                                                            your divorce had

     7          A.          I    have         no     idea.                                                                              7   been    going on for almost a year by the time you met Mr.

     8          Q.          Do you know                         how         long     he had been                 stopping        in     8   Hummel                is    that           right

     9   the store or for                     about how                     long    he had been                  stopping        in     9          A.     Yes.


    10   the store              whenever yall                         decided           that yall           were going                 10          Q.     You also said something                                               about that you had a

    11   to   become              friends                 You said            that       you talked to him 15                          11   boyfriend              at that             time            --       at the     time that you came to

    12   or   20 times.                                                                                                                12   know        Mr.       Hummel                         is   that         right

    13          A.          I    would say two weeks                                to a        months           time.                 13          A.         I    still         have            that boyfriend.


    14           Q.         Two weeks                     to a        month                                                            14          Q.         Okay.               Were                --     how     long        had you been                    involved

    15          A.          Yeah.                                                                                                      15   with   your boyfriend                                at that           point

    16           Q.         Now              he would stop                    in    a   lot.     Would           he stop     in        16          A.         A     year.

    17   on the way to work and then coming home from work the                                                                         17          Q.         Okay.                So you had                       --    you had had a

    18   same day or would                            it        be on different days or how                               would        18   relationship.                       Was         it     a boyfriend/girlfriend

    19   it   work                                                                                                                     19   relationship                that           you had with your boyfriend                                            for    about

                A.          In    the beginning                        he would stop                 in     on    his   way      to    20   a    year
         work but not on                       his     way            back.         And then           as time went               on   21          A.     Yes.

    22   it   was     --
                                yes hed be                      there        on    his   way      to    work and                       22          Q.         So you had                           had a romantic                      relationship                  with

    23   back.                                                                                                                         23   this   man            for       about a year probably two-thirds of a year

    24           Q.         Okay.             Do      you know                 what hours he worked at the                             24   anyway by                   the        time that you ever met John                                                Hummel          is



    25   hospital                                                                                                                      25   that   right
                                                 171                                                                                                                                                                                                                              173
                 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                     Page 50 of 101 PageID 5262
 1          A.     Yes.                                                                                                                    1          Q.     And thats                         the    one and only time that                                          --    that


            Q.     You indicated                                                                                                           2   you had any kind                         of sexual               --   sexual                                                 with
 2                                                  in    your               --     in    your direct                                                                                                                                          relationship


 3   examination              that       you     were always very up front with John                                                       3   Mr.    Hummel
-A   and very frank about the fact that your friendship                                                                       with         4          A.     Yes         it      is.




     him was as           --    as friends                is    that               right                                                   5          Q.     And       --        and the best that you could                                                   recall       from

 6          A.     Yes.                                                                                                                    6   looking      at the text                        messages and                      so forth that                         was

 7          Q.     And that you didnt                               --        it    was not a romantic                                     7   sometime around                            the        10th of December

                                                                                                             correct                                  A.
                                     your mind
                                                                                         --         that                                   8                 Yes.
 8   relationship              in                              is    that                     is




 9          A.     I    indicated to                John that.we                              were friends and                             9          Q.     Now              in      those text messages                                           there        are


10   that    he was married and that                                     I     had a boyfriend.                                           10   occasions         where you and                             Mr.       Hummel have very                                       graphic


11          Q.     Okay.             And you             told        me              I    think         on    --   or     you             11   descriptions            of sexual                     relations              and so forth                         is    that


12   told   Mr.    Gill       on direct examination                                      that       he indicated to                       12   right

     you that he understood that
13                                                                   is            that       right                                       13          A.     Its       called                  sexting          yes.


14          A.     Yes.                                                                                                                   14          Q.     Its       called                  what

15          Q.     All    right.           Did      he    --    did                you ever discuss with                                  15          A.     Sexting.


16   him running              off    and getting                married                                                                   16          Q.     Sexting.                     Okay.

17          A.     No.                                                                                                                    17                           Was                it    your intent by those text messages

18          Q.     Did        you ever discuss with Mr.                                             Hummel           yall                 18   to    lead   him on               in    any           way
19   making a          life    together             and going forward                                   from that point                   19          A.     No.


20   together          as man and wife                                                                                                    20          Q.     Did       you            feel       like     that         --    that those text


21          A.     John         had said something                                       about its            sad that                    21   messages were                       in      any way inconsistent                                         with     what you had

22   when you           find        someone              or    when                 you        --    youre         finally         able   22   continually         told            him from the very                             first                  that yall


23   to    meet somebody that you                                   feel            like      you       could       be        with        23   werent going to have                                  any        kind        of relationship                       together

24   youre        not able           to.                                                                                                  24          A.     No        it     was conflicting                            but     we were                    just           having

 5          Q.     Okay.             So there was                    a            recognition                to    what he                25   fun.


                                                                                                                                   172                                                                                                                                            174

 1   told   you        that     it   was       not       --    that                your relationship                                       1          Q.     Okay.                 Do you             recall         when                 it    was that you

 2   wasnt        going        anywhere                  is    that               right                                                    2   learned that            his --                  his   wife       was pregnant

 3          A.      Rephrase                  please.                                                                                      3          A.     Within              a      day or two after having                                           sex.

 4          Q.     Okay.             You said that what he told you                                                 is     that            4           Q.    Okay.                 So sometime after the 10th of                                                      --    of


 5   its    sad that when                  you      finally          meet somebody that you                                                5   December           of     2009
 6   feel   like   you        could        have          a relationship                            with that             it                6          A.     Yes.


 7   just cant         happen              or its        not going to                          be able to                                  7           Q.    And you learned                               it    from Mr.                      Hummel                 is    the    way
 8   happen something                         like       that                                                                              8   I    understand              it       is     that      correct

 9          A.     Yes.                                                                                                                    9          A.     Yes.


10          Q.      So did that denote to you that he recognized                                                                          10           Q.    Do     you              recall          how        it   came up                        in   the


11   there    was not going                    to    be a relationship                                                                    11   conversation             or         anything                else

12          A.     Yes.                                                                                                                   12          A.     He was wearing                               the        Axe cologne                          while        getting

13          Q.      Okay.            And       --   and you had made that clear to                                                        13   ready to sic work                                and she              made         a            statement                   about how

14   him before you                  ever found out                           his         wife      was       pregnant               is   14   it   made     her    nauseous                          and       I    said        Is            she pregnant                       And

15   that    right                                                                                                                        15   he said yes.

16          A.     Yes.                                                                                                                   16           Q.    Okay.                 And then at that point                                           I    think    you said

17          Q.     Throughout                  your relationship your relationship                                                        17   that    you   --
                                                                                                                                                                   you told him Thats                                       it    I         dont want to

18   with Mr.       Hummel               is   one of friends                                                                              18   have     anything                 else to             do with you                      I        dont want to talk

19          A.     Yes.                                                                                                                   19   to    you or something                            like     that

            Q.      Now             at   one point you                            indicated             that       you        were        20          A.     I   told         him to leave                          me      alone yes.

     having       some problems                          that       you were under a                                lot       of          21           Q.    Okay.                 And you discussed with him throughout

22   stress       because            you were going to have                                         a   hearing               on          22   your relationship                       that          you werent going to be a

23   your    --    on your divorce                   and            --       and you were having                                          23   home-wrecker.                       You werent going                               --            he was           in    a

24   problems with your boyfriend                                                   that           right                                  24                                                                                                             and that you
                                                                              is                                                               relationship             you were                     in   a     relationship

25          A.      Yes.                                                                                                                  25   werent going to have                                  any part of                                        ending
                                                                                                                                                                                                                                 --            of                     his
                                                                                                                                    175                                                                                                                                                                177
                   Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                Page 51 of 101 PageID 5263
  1
      marriage               is   that     correct                                                                                            1          A.           Yeah.


 2           A.         Yes.                                                                                                                  2          Q.           You         told          him you                   didnt want him                                     to   call    you

             Q.                                                                                 him that that was                             3   you didnt want him                                           --
 3                      As a matter of fact you                                         told                                                                                                              to         to         text       you               anymore or

t     part   of    the        problem               in   your marriage                           is       that    right                       4   anything              like      that               is   that        correct

             A.         Yes.                                                                                                                  5          A.           Again                I    told       him to leave                             me         alone.               He wanted

 6           Q.         Mr.        Hummel never                       discussed                  with        you that he                      6   to   know           if   it    was           indefinite.                      I    told       him            I    didnt know.

 7    wanted           to    leave        his     wife or            his           family            is   that     correct                    7          Q.           It        was indefinite

 8           A.         Not that            I   recall no.                                                                                    8          A.           Yeah.


 9           Q.         All       right.        Your           --
                                                                    you said your divorce                                                     9          Q.           Okay.                When                --   when you had                                   not heard                  from him

10    became           final.        You had               a    hearing on the 16th and the                                                  10   after the                17th you                  texted               him on December the 19th                                                      is




11    divorce          became             final      on the 16th                          is   that        right                             11   that   right

12           A.         Yes.                                                                                                                 12          A.           Yes.


13           Q.         The 16th of December of                                           2009                                               13          Q.            So at that point                                you were trying to get ahold

14           A.         Yes.                                                                                                                 14   of   him        I     take          it       to     see what was going                                           on how come
15           Q.         And you were                       --
                                                                    you           were         happy        because            you been      15   you    hadnt                  heard           from           him
16    concerned              about         a    pending               custody issue                        in    regard        to   the      16          A.            I   was         --       yeah.


17    case        is   that right                                                                                                            17          Q.            Okay.               Chris           --       there            was            a    --        Mr.       Gill    had

18           A.         I    was relieved that                            I       became         sole       managing                         18   asked       you           about after the time that John was arrested                                                                                 in


                                                                                                                                             19                                                                                                                                                    and
19    conservatorship                     of    my daughter                             yes.                                                      connection                    with           this       case Chris                       Paris             contacted                   you

20           Q.         All       right.        And that was an                                important           day        for            20   asked you                 if   --    on behalf of John                                   if
                                                                                                                                                                                                                                                    you            wanted

21    you    because of that                         is    that           right                                                              21   information                    on how               to       write            him          is         that            right

22           A.         Yes.                                                                                                                 22          A.           Yes.


23           Q.         Then on the 17th                             --       I    think       you        said     December                  23          Q.            And you                   told          Mr.        Paris        no               is   that            correct

24    17th    was your daughters                                    sixth              birthday                                              24          A.            Yes.

115          A.         Yes.                                                                                                                 25          Q.            Okay.               And you havent                                  written                      to   John since

                                                                                                                                    176                                                                                                                                                                178

  1          Q.         When was                  the conversation                              --
                                                                                                      you        testified                    1   hes been                 in jail              is   that           right

 2    there    was           a    conversation                      about your cooking                             spaghetti                  2          A.            No.

 3    for   your daughter and that you had forgot the mushrooms                                                                               3          Q.            Have you                      --    after that                  first            phone                call    did

 4    and so       forth.           When            did        that conversation                            take     place                    4   Mr.    Paris continue to                                 call      --        call    you Im                            sorry.

 5           A.         December                  17th.                                                                                       5          A.            He called                     me        again.                He     said              it   seemed                like      I



 6           Q.         All       right.        Was        it       by telephone                      or by text                              6   needed              somebody to                          talk       to since                  I       was so upset about

 7    message                                                                                                                                 7   this   whole              ordeal.

 8           A.         It       was by text message.                                                                                         8          Q.            Did       he        --
                                                                                                                                                                                                     during          --         did    he           try       to        --    to

             Q.
 9                      So thats reflected                            in          the text           messages             that                9   establish a relationship                                      with            you
10    have been               introduced                 in     evidence                                                                     10          A.            He wanted                       to      know                 where           I        worked                 what       I   looked

11           A.         Yes.                                                                                                                 11   like   if   I       had        a    Facebook                       if    I        was married or                                single.

12           Q.         You said that                     --    how               --    how many             times        during             12          Q.            Okay.                   So    it    was your impression he was kind                                                              of

13    the time that                 you knew                  John            Hummel                 up     to    and including              13   hitting         on you              at that              point

14    December               the     17th           how many                           times during that                  whole       time   14          A.           Yes.

      do you think he actually came to your apartment
15                                                                                                                                           15          Q.           Thank                you very                  much                 Ms.           Freeze.

16           A.         Less than               a    handful of times.                                                                       16                                   MR.            MOORE                         Ill    pass              the        witness Judge.
17           Q.         By handful                  you mean                           five    six                                           17                                   THE            COURT                     Redirect

18           A.         Three          four maybe.                                                                                           18                                   MR.            GILL               No further questions                                            Your
19           Q.         All       right.        When you had                             --    when you             --    on that            19   Honor.

      one occasion                 around            December                          the 10th           when you had                       20                                   MR.            MOORE                     Judge                I       have no objection                               to


      sexual       relations with                    John was                          that at       your apartment                          21   Ms.    Freeze                 being           excused                   at        this    point.                  I    would           ask

22           A.         Yes.                                                                                                                 22   that   she remain subject to the Rule and subject                                                                                      to


23           Q.         You had            told          John that you didnt want                                        to   have           23   recall.


24    anything          to        do with him whenever you                                           found        out     his   wife         24                                   THE COURT                                All       right.                  Ms.        Freeze you                     are

25    was pregnant                         that          right                                                                               25                                                                           The                                      been
                                                                                                                                                  subject to being                             recalled.                              Rule has
                                     is
                                                                                                                                                                                                                                                                                   invoked.
--10
                                                                                                               179                                                                                                                              181
                Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                      Page 52 of 101 PageID 5264
     You                               your testimony with anybody                                   or                    hours    from China
           may    not discuss                                                                                 any      1
 1                                                                                                                                                             City.


 2   other                 witnesses.           You may not be present                                   in            2          Q.     And           did    you go            to       university          in   China
             potential


 3   the courtroom while the               trial       is    ongoing.           You need                 to            3          A.     Yeah.


 q   make yourself available              if    in    the     event       either side                                  4          Q.      What years                     did    you go           to    university            there

     contacts                     contacts                             the purposes             of                     5          A.      1980.
                  you   for --                       you      for



 6                              Do you understand                        Ms.     Freeze                                6          Q.      Did          you receive                  a    masters of science degree
     testifying   again.

 7                       THE WITNESS                       Yes     I    do.                                            7   from    --   in       China

 8                       THE     COURT             Thank           you maam.                    You may step           8          A.     Yes.


 9   down.                                                                                                             9          Q.      What was your masters of science in what

                                                                                                                      10   what
                         Witness retires                                                                                           specialty


11                       THE     COURT               All    right.       We     will    take         a                11          A.      Its          called       radiological                medicine.


12   ten-minute       recess.      Please        remember your previous                                               12          Q.      Dr.          Bao      I   think that                 microphone             will
                                                                                                                                                                                                                                 adjust up


13   instructions       members of the                 jury.           Thank you very much.                           13   if   you want          it   to    so you dont have to bend over.


14   Well be     in   recess     for   ten minutes.                                                                   14          A.      Okay.


15                       Recess         from         347       p.m.      to     415 p.m.                              15          Q.      Okay.              And where                   did    you     receive           your medical

16                       Open          court     Defendant               present no jury                              16   degree from

17                       THE     COURT               All    right.       Lets bring             in       the          17          A.      Anhui             Medical            University.


18   jury please.                                                                                                     18                               THE REPORTER                             Im      sorry

19                       Jury present                                                                                 19                               THE WITNESS                             Anhui        A-n-h-u-i            --   A-n-h-u-i


20                       THE     COURT               Please be           seated.                                      20   Medical      University.

21                       State     call    your next witness.
                                                                                                                      21          Q.      BY           MR. BRISSETTE                            Was      that        in   the country of


22                       MR.     BRISSETTE                   Dr.       Bao.                                           22   China       as well sir


23                       THE     COURT               Dr.     Bao.                                                     23          A.      Yeah.


24                       Witness enters courtroom                                                                     24          Q.      When              did     you come               to    the     United           States

                         THE     COURT               Dr.     Bao        please        come up.                        25          A.      In          1992.


                                                                                                                180                                                                                                                              182

 1                       Please        raise    your         right      hand.          Face     me.                    1          Q.      And were you                         --       have you been working                         in   the


 2                       THE WITNESS                       Okay.                                                       2   medical       field         since        1992        in       the    United       States

 3                       Witness         sworn                                                                         3          A.      Yes.


 4                       THE     COURT               Please be           seated          sir.                          4          Q.         Have        you        been accepted                      as   a   --    a    medical         doctor


 5                       Doctor would                 you please               pull    the                             5   here    in   the       United            States

 6   microphone         closer    to   you so we can                    hear     what        you say                   6          A.      Yes.


 7                       THE WITNESS                       Okay.                                                       7          Q.      And where                      are    you board               certified

 8                       THE     COURT               All     right.      You may proceed                               8          A.      Texas               and also              --   oh     I   have the Texas                    medical


 9   when youre         ready.                                                                                         9   license.      I       certified          in    anatomical                  clinical       and

10                                       SHIPING              BAO                                                     10   forensic      pathology by                     American Board of Pathology.

11   having     been    first   duly    sworn          testified          as follows                                  11          Q.      And do you currently                                 hold     a   position             here   in


12                                DIRECT             EXAMINATION                                                      12   Tarrant      County

13   BY MR.     BRISSETTE                                                                                             13          A.      Yeah Deputy                          Medical          Examiner.


14         Q.     Good afternoon                Doctor.             How        are    you       sir                   14           Q.     You work                  for Dr.             Peerwanis office

15         A.     Very    good.        Thank          you.                                                            15          A.      Yes.


16         Q.     Can you state your                  full     name       for     the    record                       16           Q.        Did       you     do        any residencies                    while         you were         in


17         A.     My name         --
                                       my name               is   Shiping        Bao.                                 17   the    states         in    the    field       of    medicine

18         Q.     How     do    you     spell    Shiping                                                              18          A.         I   did the            pathology residency                         in    Birmingham

19         A.     S-h-i-p-i-n-g.                                                                                      19   Alabama           from 2004               to    2008.


                  And how do you                spell        your       last   name          Doctor                   20           Q.        Was        that        in   the Baptist Health                       System there               in


           A.     B-a-o.                                                                                              21   Birmingham

22         Q.     Doctor where            did        you grow            up                                           22          A.      Yes.

23         A.         grew up           China.                                                                        23           Q.     And from 1988                                  1992                you do
                  I               in                                                                                                                                                to                did                    a   residency

24         Q.     What part of China                        What        province                                      24   in   China

25         A.     Called Anhui          Province              which       is    five    --   five                     25          A.         From        --    Im         sorry
                                                                                                                 183                                                                                                                                 185
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                          Page 53 of 101 PageID 5265
     1          Q.        From 88 to                   92      were you doing a residency                             in         1   for   autopsy             does Dr.            Peerwanis                 office          assign a


     2   radiation           oncology there                    in   mainland        China                                        2   particular         case          number         to the          remains                as    they are

     3          A.        Yes.                                                                                                   3   presented           for         autopsy

     t          Q.        Did       you         --    when     did    you       start at the         Tarrant                     4          A.     Yes.


         County           MEs           Office        as a    Deputy        Medical       Examiner                               5          Q.     Are you familiar with                             a Medical                Examiner Case

     6          A.        In       --    on July 1st 2009.                                                                       6   No.    0914836

                Q.                                                                                                                          A.     Yes                did                      on
                                               that were you doing a fellowship                               at                 7                                          autopsy                    this       case.
     7                    Prior          to                                                                                                                      I




     8   Dr.    Peerwanis                     office    in   the    field      of forensic                                       8          Q.         Was       this a      male or a female

     9                                                                                                                           9          A.         Female.
         pathology

    10          A.        Yeah            for        one year.                                                                  10          Q.         Was       this       an adult female or a                            child   female

                Q.        Have                               an opportunity from 1992 to 1995                                               A.                       female.
    11                                   you had                                                                                11                     Adult


    12   to    work       at Florida State                    University                                                        12          Q.         When           a   person presents                        at   autopsy what do you

    13          A.        Yes.                                                                                                  13   do to begin with                       Are they           still        in    a    body       bag
    14          Q.        What            did        you do at       FSU                                                        14          A.         First         we review        the       chart.                We     review the




    --22
    15          A.        Medical               research.                                                                       15   medical history the scene                             investigation                          then       pursue

    16          Q.        From 1995                    to    2001        did   you have         a    chance        to           16   the autopsy.


    17   work        at the         Washington                State       University                                            17          Q.         Do you             begin with           x-rays of the                      body       bag
    18          A.        Yes.                                                                                                  18          A.         Yes.


    19          Q.        And what were you doing there                                                                         19          Q.         Why           do you do that

    20          A.        Also medical                      research        cancer.                                             20          A.         We     try to detect              all    --     all       the        metals       in   the


    21          Q.        Were you working                          in   the    College of          Pharmacy                    21   body

         there       at   Washington State                                                                                      22                             THE REPORTER                            Im         sorry

    23          A.        Yes.                                                                                                  23                             THE WITNESS                          All      the       metal        m-e-t-a-l.


    24          Q.        And were you also a medical research scientist                                                        24                             THE COURT                   All       the         metals.


    5    at a private               corporation               known         as XL Sci-Tech             in                       25                             THE WITNESS                          Metals yeah.                        In    case   the
y
\                                                                                                                184                                                                                                                                 186

     1   Richland            Washington                 as    well                                                               1   bodies       --    the knives with the                         body.

     2          A.        Yes.                                                                                                   2          Q.         BY      MR.         BRISSETTE                   After           --    is   the    body at

     3          Q.        Are you               a     member         of the      National        Association               of    3   some        point       removed from the                          --    the        body bag that                it   was

     4   Medical          Examiners                                                                                              4   presented              in

     5          A.        Yes.                                                                                                   5          A.         Uh-huh.

     6          Q.        And how                    long    have     you been        a    member           of   that            6          Q.         Is   that          yes
     7          A.        Three years.                                                                                           7          A.         Yes.


     8                                  THE      REPORTER                 Im     sorry                                           8          Q.         Do you             take   photographs                      to    document               your

     9                                  THE      WITNESS                 Three.                                                  9   findings          as    you go through                    these

    10          Q.        BY            MR.      BRISSETTE                As a Deputy               Medical                     10          A.         Yes.


    11   Examiner are you assigned cases                                         each     morning           to   --     to      11          Q.         In addition            to     documentation                          via    photograph              do

    12   work                                                                                                                   12   you make drawings                          of the     injuries that                     you see when you

    13          A.        Yes.                                                                                                  13   look   at a        body during autopsy

    14          Q.        And who                    does the assignments typically                                             14          A.         Yes.


    15          A.        Dr.           Peerwani.                                                                               15          Q.         And       are      those things that you keep                                    in    the

    16          Q.        Dr.           Peerwani            decides      which of         his   deputies                        16   normal course of your business as part of your report

    17   will   --    will     work            on bodies that have                 been         presented          for          17          A.         Yes.


    18   autopsy             is     that       correct                                                                          18          Q.         Did     you have              an occasion                  then to do an autopsy

    19          A.        That           --    thats         during      the    weekdays.             During the                19   with   that        case          number on           a     particular                  date    in       December

         weekend               I
                                    --    I    decide        myself.                                                            20   of    2009
                Q.        People               work     shifts      on the weekends                                             21          A.         Yes.


    22          A.        Uh-huh.                                                                                               22          Q.         What date             did     you do            this           autopsy
    23          Q.        Is       that        yes                                                                              23          A.         Let     me         go through           the          chart.


    24          A.        Yes.                                                                                                  24                             December               19th 2009.
    25          Q.        On        a    particular           case       that    would be presented                             25          Q.         When           you    first    look at the                     body do you make
                                                                                                                187                                                                                                                          189
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                   Page 54 of 101 PageID 5266
 1    notations       as to           whether or not the                         body presented with                       1          A.      Uh-huh.

 2    any particular clothing                                                                                              2          Q.      Is     that     yes
 3           A.      Yes.                                                                                                  3          A.     Yes.


 t.          Q.      If   you         need to refer to your records please                                      do         4           Q.     Let     me show              you whats been marked for

      so.    But     can you               tell    the       members            of the jury          what                  5   identification          purposes as States 304.                                    Do you

 6    clothing that the                    body with               this    particular          case number                 6   recognize           304

 7    presented           with                                                                                             7          A.     Yes.


 8           A.      Okay.             I    need         go through              the chart.                                8           Q.     And      is     this    how           the     body presented at autopsy

 9                           On            this        case     the     bodies presented                to    me           9          A.      Yes.


                                                                                                         and                           Q.     Once the bag was removed
                          body bag and she clad
10    with black                                                                in pink        shorts                     10


11    white T-shirt          and            bra.                                                                          11          A.      Yes.


                             MR.            BRISSETTE                                                                                  Q.     States           305                          another representative
12                                                                        May     I    approach        the    witness     12                                              is       that


13    Your Honor                                                                                                          13   photo       of the      body      as       it       presented at autopsy

14                           THE             COURT               You may.                                                 14           A.     Yes.


15           Q.      BY      MR.            BRISSETTE                     Dr.    Bao when you                collect      15           Q.      Do you recognize the autopsy date on the card

16    items of clothing                    such as            this      after    youve         had a chance               16           A.     Yes.       Theres                a   date and the case                   number.

17    to read                                                                   report did you                            17           Q.                            Would           the        autopsy       had been started
                    your death                                                                                                                All
                                                  investigators                                                                                       right.


18    package        certain               items        in    an   --    or one-gallon              paint    cans         18   then     on the date thats depicted on the ruler                                             in    the


19    that   day                                                                                                          19   photos

20           A.      Yes.                                                                                                 20           A.     Yes.


21           Q.      Im      going                to   show        you whats been                   marked for            21           Q.      So the date would have                                 been     what

22    identification          purposes                   as     473A our              exhibit       number.          Do   22           A.      December 18 2009.

23    you    recognize            the tape               and the markings                     on that        can          23           Q.      Now        the    shirt             that    you collected               is   that


24           A.      Yes.                                                                                                 24   depicted        here      in    305
.            Q.      And are they consistent                                with         your lab number or               25           A.      305       yes.        Yeah            this       is    the shirt        yeah.

                                                                                                                 188                                                                                                                         190

      your ME number                               the       autopsy youre talking                     about                           Q.     And             States 304                        the    --   the    bra      that
 1                                         for                                                                             1                           in                                  is
                                                                                                                                                                                                                                      you

 2    today                                                                                                                2   just testified            is    that       depicted              here

 3           A.      Yes.         Normally we have the case                                    number and the              3           A.     Yes.


 4    name.                                                                                                                4           Q.      Doctor          Im         going to              show you whats been

 5           Q.      Did     --       did         you    place        items       in     that particular                   5   marked and identified                           as    437B.            Do you       recognize the

 6    can                                                                                                                  6   shirt    that       came out           of the          --    the       can labeled           437A        to   be

 7           A.      Yes.                                                                                                  7   one and the same as depicted                                      in    your photos there

 8           Q.      And with respect                           to that         can can you            identify            8           A.      Yeah           this   is    --
                                                                                                                                                                                    yeah        white       shorts.


 9    and    tell    us    what you                    placed      in    that     can                                      9           Q.      Do you          recall          looking           at these         photos         in


10           A.      This        is    the blouse.                                                                        10   preparation            for     your testimony at the Medical                                   Examiners

11           Q.      Is    that the                blouse          or the white T-shirt                you                11   Office       where      this --        where              this    photo       is   depicted            on a

12    talked        about                                                                                                 12   larger screen             when we were prepping

13           A.      Im      not           sure.                                                                          13           A.      I   do not       recall             any     --   its    --   its   been       two

14           Q.      Let     me show you whats been marked                                             for                14   years.

15    identification             purposes as States 470.                                    Take     a look    at         15           Q.      All    right.         Do you remember visiting                                a couple

16    470 and see            if
                                   you            can    tell      me what             if   anything                      16   of   weeks          ago
17    relates to          this    case            with       470                                                          17           A.      Uh-huh.

18           A.      This         case            labeled       bra         so    its       white    bra.                 18           Q.      Is    that      yes
19           Q.      471 do you                        recognize           this   can         sir                         19           A.     Yes.

             A.      Yes.         It       also        has name and case                      number          pink        20           Q.      Do you remember looking at photos of                                                this


      shorts.                                                                                                             21   shirt

22           Q.      And are these                       the       pink    shorts           that   you just               22           A.      Yes.

23    talked        about that the body presented with                                                                    23           Q.      And do you remember looking                                        at                          here
                                                                                                                                                                                                                       your report

24           A.      Yes.                                                                                                 24   and refreshed your memory that you                                            placed         an item          in   a

25           Q.      And did you place                             them     in    this      can                           25   particular          can         Do you              recall       that
                                                                                                                             191                                                                                                                                         193
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17
                                                                 Q.
                                                                          Page 55 of 101 PageID 5267
                                                                     States 310
  1           A.     Yes.                                                                                                                1




  2           Q.     Is   that       --    is    this    the item            thats      depicted                   in                    2             A.     Yes.


  3   305                                                                                                                                3             Q.     States                 311
-a            A.     Uh-huh.                                                                                                             4             A.     Yes.


              Q.     Around the neck                      of the        individual                                                       5             Q.     States Exhibit                         312

  6           A.                                                                                                                         6             A.     Yes.
                     Okay.

  7           Q.     Is   that       --                                                                                                  7             Q.     States                 313

              A.     Yes.                                                                                                                8             A.     Yes.
  8

  9           Q.     Is   it   the one and the                       same                                                                9             Q.     States                 314

              A.                                                                                                                        10             A.     Yes.
 10                  Yes.


 11                            MR.        BRISSETTE                   Your Honor                       at       this   time             11             Q.     On States                        Exhibit        315 have some                            items        been


 12   wed      offer      437B       for                                         believe           that                                 12   shaded          prior to the                      exhibit being                  brought         to        court




 --23
                                                all
                                                       purposes.             I




 13                                                                                                                                     13             A.     Yes.
      completes the conditional                           statement.


 14                            MR.        MOORE                Judge             we have no                     additional              14             Q.     In   your original                      photograph                      there            were areas

 15   objections          other       than the one we                        raised     in        connection                            15   of   --   of the      body                  that    was     autopsied                   that     were visible

 16   with the       pretrial         motions.                                                                                          16   is   that      correct

 17                            THE        COURT            All       right.        437B           is           admitted                 17             A.     Yes.


 18   for                                 Your objection                         overruled.                                             18             Q.     And some images have                                            been     --    some             graphic
             all
                   purposes.                                            is




 19                            States                 Exhibit No.           437B admitted                                               19   block-outs            have                  been    placed            on the photo                        is    that


 20                            MR.        BRISSETTE                   Your Honor                       at       this   time             20   correct

 21   the State        would tender to Defense                                   Counsel item and                                       21             A.     Yes.


 22   contents       labeled          470 and 471                     and offer them for                           all                  22             Q.     And youve had this photo taken

                                                        our conditional                 photos from                                     23             A.     Yeah                       have    photo with me.
      purposes as well to                       link                                                                                                                            I




 24   earlier.                                                                                                                          24             Q.     States                  316

_25                            MR.        MOORE                All    right.       Judge                   I   dont have                25             A.     Yes.


                                                                                                                             192                                                                                                                                          194

  1
      any additional             objections               to    those exhibits                    other            than                  1             Q.     States 317 and                            318

  2   what we raised at                    pretrial.                                                                                     2             A.     Yes.


  3                            THE        COURT                470 and            471    is       admitted.                      Your    3             Q.     Do you                     recognize          those             photos

  4   objection        continues                to     be overruled.                                                                     4             A.     Yes.


  5                            You may proceed.                                                                                          5             Q.     Were              all       --   were     all       those         photos taken at your

  6                            States                 Exhibit        Nos.        470    471            admitted                          6   instruction           or       by you during autopsy

  7                            MR.        BRISSETTE                   Your Honor                       I       believe that              7             A.     Yes.          I       have        same photo                     with     me.

  8   removes the conditional statement                                           as well          from the                              8             Q.     And you keep                           a collection               --
                                                                                                                                                                                                                                      you say you have

  9   images that Ms.                 Belcher            testified          to    about the bra.                         I               9   same photo              with                you.        You keep a collection                                  of the


 10   will    get those         numbers to the Court when                                     I        can        find                  10   photos with you as part of your case                                                     file        is    that


 11   them.                                                                                                                             11   correct

 12            Q.    BY        MR.        BRISSETTE                   Dr.        Bao    as part of                                      12             A.     Yes.

 13   autopsy do you                  --
                                            you say you document                                  it       with                         13                              MR.               BRISSETTE                     At     this    time the State

 14   photographs               is   that         correct                                                                               14   would tender                   to           Defense        Counsel States 304 through                                         318
 15            A.    Yes.                                                                                                               15   inclusive.


 16            Q.    Weve            already            looked        at    two photographs.                                 I          16                              MR.               MOORE               Judge             may we approach
 17   want to show              you        --     do you         recognize             States Exhibit                                   17                              BENCH CONFERENCE PROCEEDINGS
 18   306                                                                                                                               18                              MR.               MOORE               I   dont          have any                --    I   just    want

 19            A.    Yes.                                                                                                               19   to   make        sure.                 It    looks      like     --       tell
                                                                                                                                                                                                                               you what                 I    dont

               Q.    States           Exhibit           307                                                                             20   have       any objections                          to   304 through                     314.         I    do object to

               A.    Yes.                                                                                                               21   315       because          I       dont            think    that           theres          any wounds

 22            Q.    States           Exhibit           308                                                                             22   depicted          on that that                      I   cant         --     that    are not               shown         in


 23            A.    Yes.                                                                                                               23   other          photographs.

 24            Q.    States           Exhibit           309                                                                             24                              I       dont have any                          objection             to       316 or 317.

 25            A.    Yes.                                                                                                               25                              1       do object to 318                          on the ground of 403.
                                                   195                                                                                                                                                                                                                                       197
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                        Page 56 of 101 PageID 5268
  1    Its    more prejudicial                        than probative.                                                                                  1                               THE COURT                                 Ive carefully                   weighed the

  2                              THE COURT                      All   right.             The exhibits                                 with             2   information             and argument                                  of    Counsel              however               the        Court

  3    the    exception              of    315 and          318        those are admitted.                                                             3   finds that        under the 403 analysis the probative value

 -                               Now                with regard to 315 do you have                                                         a           4   substantially               outweighs                           the    danger of unfair                      prejudice.




 --16
       response                                                                                                                                        5                               Accordingly                           the State            has the burden of




 --17
  6                              MR. BRISSETTE                         I    didnt hear their                                                           6   sustaining            and proving                              beyond a reasonable doubt that

  7    objection.
                                                                                                                                                       7   the    events         in       question                    involving            Mrs.        Joy Hummel being

  8                              MR.           MOORE            My     only objection                                  is        that       I          8   pregnant          at the                time of the offense                            in       addition          to her


  9    think    --    I    dont see any wounds that are depicted on                                                                                    9   death the manner of                                       its    death that these photographs




 --20
 10    that    that       arent depicted                   on some other photographs.                                                                 10   should      be and                 will      be           admitted.


 11                              THE COURT                      So youre saying that                                                 this       is    11                                  MR.        MOORE                       And Judge                      just so that             Im
 12    irrelevant                                                                                                                                     12   sure we have                       an additional                       objection                that       that


 13                              MR.           MOORE            Yeah.                                                                                 13   particular            photograph                          is    more         prejudicial               because              its


                                 THE COURT                                                                                                                                                                      Hes




  --4
 14                                                             Or its         cumulative                                                             14   not    really     relevant.                                      not indicted                   in   this   case

 15                              MR.           MOORE            Cumulative.                                                                           15   with    having              killed           the          baby and                for that            reason           our

                                 MR.           BRISSETTE               Judge                 on 315                        its        the only        16   our argument                       is   that the prejudice                           overrules


       picture we have of the chest below the breast area that                                                                                        17   outweighs             the probative                             value.


 18    shows        the stab           wounds to the abdomen.                                              Were                  talking              18                                  I   understand                         its    the    Courts             ruling.          I




 19    about the one                  to       the right of the              ruler           and right below                                          19   just   want to make sure                                        my     objection

       the    ruler.                                                                                                                                  20                               THE COURT                                 Absolutely.                    Absolutely.              I




 21                              THE COURT                      Okay.                                                                                 21   understand               it.        But          I       also    want to emphasize the

 22                              MR.           BRISSETTE               Thats why the photo was                                                        22   thoughtfulness                      that             I    have considered                        this      heavily          in


 23    chosen..                                                                                                                                       23   that    the fact that                     this            is    contextual             in        that the


 24                              THE COURT                      Do you have any                                    other                              24   course      --    that             youve                 also said that                theres an issue

       significance             to    that particular                 area         of the                  stabbing                                   25   with    regard           to        the transaction                           of the     events of the
r-_5

                                                                                                                                                196                                                                                                                                          198

   1                             MR.           BRISSETTE               Well              I   think               it
                                                                                                                           goes            to          1   deaths       the         manner and how they                                         occurred               are a potential

  2    the    last    photo          you            have at the bottom                           there.                                                2   issue for the fact                        finder.                Accordingly                    these


  3                              The doctors                   going to            testify                 that there                                  3   photographs                    should                be and            will    be considered on that

       were organs behind                            those stab        wounds that were damaged                                                        4   as part      of the                Courts                 logic       as     well.


  5    as result of these                       injuries.                                                                                              5                                  MR.        MOORE                       All     right.        I    understand the

  6                              THE COURT                      Okay.             315            is    admitted.                                       6   Courts       ruling.


  7                              Now                with   regard to           318                                                                     7                               THE COURT                                 All    right.


  8                              MR.           BRISSETTE               We          have               --    theres been                                8                                  OPEN COURT PROCEEDINGS
  9    testimony               today before the                  Court that the individual                                                     was     9                               THE COURT                                 Members           of the             jury Exhibits

 10    pregnant.               This       is    the    photo that starts the chain                                                    of              10   471    --
                                                                                                                                                                       470 471                     --       thats not been                      the subject                  of   what

 11    custody        for       the       DNA samples                 to    prove paternity                                          for   this       11   we were          discussing.                             Excuse             me.

 12    baby and            for   the           --    the fact    that       she was pregnant.                                                         12                                  States                    Exhibits           304 305 through 318                               are

 13                              MR.           MOORE            Paternity                   of    this           baby                 is   not        13   admitted.

 14    an issue           in   this --                                                                                                                14                                  States                    Exhibit            Nos.     304-318 admitted

 15                              THE COURT                      Its    still       contextual                                   though.               15          Q.        BY         MR.           BRISSETTE                           Dr.    Bao             at the       request           of

 16    I   understand            what youre also saying                                      but           however                         the        16   our office            did          you redraw some of your drawings that

 17    matter at hand                  is       that    this    goes to            --        well go ahead                                            17   you    had       in   this          so       I       could        discern           what you were writing

 18    and complete                  your thought.                                                                                                    18   on    the   document

 19                              MR.           BRISSETTE               It    --        it    --       it    --        it        --                    19          A.        Yes.

 no    with    --    based           on the stab wounds that you                                             have                                     20          Q.                      safe
                                                                                                                                     depicted                               Is    it                    to          say that your notes                          in   autopsy

       in    315     in   the area               which     the    body            is    stabbed                            it
                                                                                                                                 goes           to    21   are    in   your handwriting                                    and     --    and very few people                             can

 22    what Mr. Hummel was stabbing                                         at.         When you                                look       at the     22   read    them
 23    stab    wounds            in    315 and you                line       that            up anatomically                                     on   23          A.        Could              be.

 24    a    female thats pregnant and youre stabbing                                                                   in        the area             24          Q.        Could              be
 25    where the womb                          is.                                                                                                    25          A.        Yeah.
                    Case 4:16-cv-00133-O Document 23-19
                                                   199  Filed 07/06/17                                                                                          Page 57 of 101 PageID 5269                                                           201


   1         Q.        At our          request            did   you make                three          new                         1   such as that

   2                                                                                                                               2           A.    Yes.
       drawings

                                                                                                                                               Q.                   --                   below           that            377        there
   3         A.        Yes     I       did.                                                                                        3                 Direct              directly                                   in



             Q.        With        the understanding                           that    we were             going      to           4   appears      to    be what              in     your professional world                              What        is




       blow those            up                                                                                                    5   this    object     here

   6         A.        Yes.        I    have the copy                 with           me     too.                                   6           A.    This      is   blood           card.


   7         Q.        Id    like       to    show        you whats                   been marked               for                7                          THE         REPORTER                      Im     sorry

   8                                                 --                                                                            8                          THE         WITNESS                   Blood          card.
       identification          purposes

   9                           MR.           BRISSETTE                    Judge         may           the witness                  9           Q.    BY       MR.        BRISSETTE                      And who              puts    the       blood    on

  10   stand      up so he can see the exhibit                                   --                                               10   the blood       card

  11                           THE COURT                        He may.                                                           11           A.    The technician.

  12                           MR.           BRISSETTE                    --    for    identification                             12           Q.    And       is   that technician                     working at your

  13         Q.        BY      MR.           BRISSETTE                Dr.        Bao        if
                                                                                                 you can         stand            13   direction


  14                                                                                                                              14           A.    Yes.
       up.

  15                           Do you recognize                           whats         now marked                 as      272A   15           Q.    Is    that tech             --   tech     --       technician            working

  16   Is this      one of your drawings                         sir                                                              16   right    next     to   you
  17         A.        Yeah            its    my handwriting                         case        number my name                   17           A.    Yes we work                      together.


  18   and the deceased                      --                                                                                   18           Q.    And       is   that a          blood      card       from           a   person        you    came

  19                           THE           REPORTER                 Im         sorry                                            19   to   know     as Joy         Hummel

  20                           THE WITNESS                           The name of the deceased.                                    20           A.    Yes.

                                                                                                                                                     And was
  21           Q.      BY      MR. BRISSETTE                              272B and 272C are those                                 21           Q.                         this      blood      card       generated at the time

  22                                                                                                                              22
       your drawings as well sir                                                                                                       of   autopsy

  23           A.      Yes     sir.                                                                                               23           A.    Yes.


  24           Q.      And did you cause those                                  to    be generated at our                         24           Q.    Item 379 did you have                                an occasion                to    collect


   5   request                                                                                                                    25   different     parts of tissue                   or a fetus              a    baby from              Mrs.


N-11                                                                                                                    200                                                                                                                            202

   1           A.      Yes.                                                                                                        1   Hummel
   2                           MR.           BRISSETTE                    At    this    time the State                             2           A.    Yes.

   3   would        tender     to       Defense           Counsel               272A through C and offer                           3           Q.    And did you                 package            the       --    the      --   the fetus       in


   4   them      for   all
                             purposes              before the              jury.                                                   4   an evidence            bag
   5                           MR.           MOORE              Judge            I    have no objection                    to      5           A.    Yes.


   6   those      exhibits.                                                                                                        6           Q.    And do you                  see your           initials        on the evidence

   7                           THE            COURT             272A            B    and C are admitted.                           7   bag
   8                           States               Exhibit Nos.                272A 272B                                          8           A.    Yes.


   9                           272C admitted                                                                                       9           Q.    And       this       is   the     evidence               bag that you                collected


  10                           MR.           BRISSETTE                    Your Honor                  may       those three       10   on December              the       18th         2009
  11   be published            at       some point                                                                                11           A.    Yes.

  12                           THE COURT                        They           may.                                               12                           MR.        BRISSETTE                     Your Honor                  at   this    time

  13           Q.      BY      MR.           BRISSETTE                    Dr.    Bao         as part of                           13   the State         would        offer         377 and 379                for    all     purposes

  14   autopsy         do you            collect      certain             body        fluids      from a                          14   removing our conditional from                                    earlier.


  15   deceased                                                                                                                   15                           MR.        MOORE              Judge             I   have        no additional

  16           A.      Yes.                                                                                                       16   objections         other          than those we previously made.

  17           Q.      Do you            collect      them           in   vials                                                   17                           THE COURT                     377 and 379 are admitted.

  18           A.      Yes.                                                                                                       18                           States               Exhibit Nos.              377 379 admitted
  19           Q.      And do you                  collect      them on blood                         cards                       19           Q.    BY        MR.       BRISSETTE                      Dr.    Bao Im              going to       show

               A.      Yes.                                                                                                       20   you whats           been marked                  for    identification                     purposes       as

               Q.      Im      going          to   show         you whats                 been marked                 for         21   States       Exhibit 441.                 On page            1    of   441 do you recognize
  22   identification          purposes              as 377.              Do         you recognize              the               22   an     evidence        card       --    blood        card        depicted             in this      as   well

  23   small card         in   the        picture of            377                                                               23           A.    Yes        its      my      signature              there.

  24           A.      Yes         which          has the        case          number and the name.                               24           Q.    All      right.       And youre talking about the second

  25           Q.      And would                  you put        a   blood            card       in   --   in   an item           25   card    down on          the       left      side      is    that      correct
   1




   2


   3   Bedford




               --Q.
               A.


               Q.



               A.
                          Yes.


                          And

                         Hummel
                          Yes.
                                    is   that
                                                    203
                     Case 4:16-cv-00133-O Document 23-19

                                                       a
                                                         Filed 07/06/17

                                                           blood        card       you    collected            of Joy
                                                                                                                                      1



                                                                                                                                      2


                                                                                                                                      3

                                                                                                                                      4
                                                                                                                                          that




                                                                                                                                          would
                                                                                                                                                     correct

                                                                                                                                                     A.


                                                                                                                                                     Q.

                                                                                                                                                          the
                                                                                                                                                                Yes.


                                                                                                                                                                If    this


                                                                                                                                                                     child
                                                                                                                                                                            Page 58 of 101 PageID 5270


                                                                                                                                                                                individual

                                                                                                                                                                                be located
                                                                                                                                                                                                        was carrying a child where

                                                                                                                                                                                                         in   the       womb when                         this
                                                                                                                                                                                                                                                                         205




  --13
                          And       did    you             collect      that       same        card      --    this    card           5              A.         In early stage of                       --    of the        child          is    here.


   6   at autopsy that                    day as well                                                                                 6              Q.         Dr.       Bao        in   2728 what                  are     we        looking at                     here




  --18
   7           A.         Yes.                                                                                                        7   sir

   8                                MR.        BRISSETTE                      Judge           may        the doctor step              8              A.        Thats            a total          of     six   lacerations              on the               right


   9   down         to   the     board                                                                                                9   parietal             skull       up    to 3.5           by 2.5         which           is    this          bigger

  10                                THE        COURT                   He may.                                                       10   one.        This           is   probably           caused             by multiple                 hit.


               Q.         BY        MR.       BRISSETTE                                Bao               you come down                               Q.         Would                                    was multiple                            by             by an
                                                                              Dr.                                                                                                                                                                         --
  11                                                                                            can                                  11                                         you       say      it                                  hit


  12   here     to       explain         your          findings                                                                      12   object               Can you

               A.         Yes.                                                                                                       13              A.         Yeah.


  14           Q.         You       have          to       make one promise                     for      everybody when              14              Q.         Was        it   a   soft object or                  a   hard          object

  15   youre down here.                           You have               to       keep your voice               up very              15              A.         Hard object.                     Probably the baseball                                 bat

  16   loud or shes going                          to       get upset at               us.      Okay            Its                  16   according                  to the investigation                       report.

  17   late    in    the       day.                                                                                                  17              Q.         Was        the scalp              --    was the skin broken                                 on

                                    If   you       could           take       a    pointer on 272A
                                                                                                                      --             18   on    --    on       this        persons head

  19   what are we looking                             at here          on 272A sir                                                  19              A.         Yeah            lacerations              means             the    --       the skin              or the

 20            A.         She had             a    total         of    thirty-five        stab        wounds              on         20   scalp       break.


 21    body         including            ten       on       the       chest        two    on the abdomen                             21              Q.         Did       the       skull    suffer           any       injuries           as a           result

 22    one on the              right      thigh              seven           on posterior neck                   fifteen             22   of the          --    the       wounds           that         you     saw
 23    on back.                                                                                                                      23              A.         In    this      case         I    did     not    see any               skull


 24            Q.         And why do you document                                       injuries         such as this                24   fractures.

   5           A.         This      is    routine               for   every        autopsy case.                 We                  25              Q.         To do autopsy                      the        person presented with hair

                                                                                                                               204                                                                                                                                       206

   1   document any                      injuries           on     the body.                                                          1   on the head                      is   that      correct

   2           Q.         And       its    routine               for   you        to   count        the    number of                  2              A.         Yes.

   3   penetrations                 to    the      body                                                                               3              Q.         And was the head shaved                                                                   do your
                                                                                                                                                                                                                            for       you        to


   4           A.         Yeah.                                                                                                       4   autopsy

   5           Q.         With       respect               to    the    internal          organs          in this                     5          A.             Yeah we shave                           hair.


   6   area      on the front of the body                                     did      you determine when.                            6              Q.         272C            sir    what are we looking                             at        here

   7                     the    autopsy                that there                 were any damage                          the        7          A.             She had                                       wound.                                   wound           means




 --19
       you     did                                                                                                    to                                                            six     incised                              Incised

   8   internal          organs          of    this         person                                                                    8   cut means the length of the wound                                                  is       greater than

   9           A.         Yes.       In    all     the stab              wounds           I    found          out    --               9   depth.               So she had two on the neck                                        each side of the

  10   there are           total         of ten            stab       wounds.           Ones        to    chest                      10   neck        three               on the       right       hand         and one on                      left      hand.

 11    cavity         the      ones through                      heart twice                  ones through                           11              Q.         With        respect          to        the    neck         are those                   wounds

 12    lungs        four       times           ones through                       liver   five      times..                          12   going       across               the      neck         like    this       left    to                       or
                                                                                                                                                                                                                                  right                   right


  13                                THE        REPORTER                       Im       sorry                                         13   to left

 14                                 THE WITNESS                              Liver      five    times which                          14          A.            Theyre               one on each                 side.        Its       hard            to      tell



 15    cause the death.                                                                                                              15   the direction                    of the         injury.


 16            Q.         BY        MR.       BRISSETTE                       Can you          show           me on 272A             16              Q.        You said they were longer than they were                                                               deep.

 17    approximately                     where             the    liver      is   in   the     body using the                        17   Were they                  --    how        long       were they                  Do you               recall

 18.   left    side      of the          diagram                                                                                     18          A.            A one-inch and a two-inch.                                        This           is
                                                                                                                                                                                                                                                     one two
               A.        The heart                is       here.       The heart was once or                                         19   one-inch              long and two-inch long.                                    This       --    this          wound         is




/-     twice        either          from back or from                          front.         Its   hard        to                   20   superficial.                    Theres          no      lethal      injury.


ký..   tell.    The lungs                 right            lung       left    lung      and     liver     is                         21                                    THE        REPORTER                   Im         sorry
 22    here.                                                                                                                         22                                    THE        WITNESS                   No      lethal                              Lethal.
                                                                                                                                                                                                                                       injury.


 23            Q.         Whats           in      the center here                      where you              have                   23              Q.         BY         MR.      BRISSETTE                    Is     there a             phrase               in   your

 24    indications             of   two stab wounds                           in    the center            above                      24   profession called                         defensive                wounds
 25    whats drawn                  on     this        drawing as the                    belly      button            is             25          A.            Yes.
                                                 207                                                                                                                                                                                                                  209
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                     Page 59 of 101 PageID 5271
 1          Q.       What            is     a defensive                  wound         to   you          Dr.    Bao                1              Q.     And approximately                                   how           old       was the fetus at that

 2          A.       Defense                --    defense               wound         means         the people              try    2   point

 3   to    protect
                          --    protect themself.                             They     use their hand                  to          3              A.         14 to          15 weeks.

                                                       which            cause typical                     type of                  4              Q.               a fetus         --             a    fetus that                      14     to 15       weeks
                 grab the              knife                                                    this                                                     Is                              is                                      is
     try   to



     injury.
                                                                                                                                   5   old capable                 of survival                outside of the                          womb
 6          Q.       The wounds                        that youre talking about on 272C on                                         6              A.         No.


                                                                                                                                   7              Q.     You indicated that there were a number of stab
 7   the    hands            do      you     --    is       it    your medical opinion that




--15
 8   those                                be defensive                         nature                                              8   wounds            clustered              in      the           --   in    the areas              that        youve
                 appear           to                                      in


 9          A.       Yes.                                                                                                          9   shown            on    those diagrams.                               When            stab        wounds            are     clustered


10           Q.      Dr.        Bao          as part              of    your internal           exam            did    you        10   in    a    particular                area     like         that          is   that         suggestive              to



11   have a chance                     to   look       at        the trachea            and larynx              of    this        11   any        particular                thing    to       you
12   individual                                                                                                                   12              A.         Means he               did       multiple               times.


13          A.       Yes          which           is   particularly               important              in    this               13              Q.     All        right.         Multiple times                           in   one particular

14   case       because           the        body present with                         superficial             thermal            14   area


     burns       and the skin                    spillage.               One     of    my    job     is    to    --   to          15              A.     Yes.


16   determine            if    she died before the house                                    fire    or    after                  16              Q.         --    is   that       correct

17   house        fire.                                                                                                           17                                    You indicated that there was                                           a    --    a


18                                In      this    case             I    did    not see       any soot            in   the         18   toxicological                    report done that indicated                                       that there             was

19   larynx        in     the        trachea.               Also         the     postmortem               toxicology              19   no CO2           in    the       blood




--C4-5
20   report       shows           theres           no carbon                   monoxide             in   the     blood            20              A.     Yes.


21   meaning she died before                                      the    fire.                                                    21              Q.         Was        there        any other chemicals                                     found        within the


22           Q.      Where                were         the thermal                injuries          on    this                    22   body

23   individual                                                                                                                   23              A.         No.


24           A.      On         --     on the back                      butt legs and arms.                                       24              Q.         Would           you        --    do you have                        a    copy     of the


             Q.      Through                 the       --        through         the   work at the Medical                        25   toxicological                    report

                                                                                                                            208                                                                                                                                       210

 1   Examiners                 Office        at    your direction were you able                                       to           1              A.         Yes        I    do.

 2   identify       these            remains                                                                                       2              Q.         Would           you        refer          to       that       for       me       please

 3           A.      Yes.                                                                                                          3              A.         Yes.           Right       here.

 4           Q.      And what was the name that was given                                                        to    these       4              Q.         Okay.

 5   remains through your investigation                                                                                            5                                    MR.     MOORE                       May        I
                                                                                                                                                                                                                            approach                Judge
 6           A.      The name                     of   deceased                                                                    6                                    THE        COURT                    You may.

 7           Q.      Yes                                                                                                           7              Q.         BY         MR.     MOORE                       May        I    see the report

 8           A.      Joy Bedford                       Hummel.                                                                     8              A.         Yes         right      here.


 9           Q.      H-u-m-m-e-l                                                                                                   9              Q.         Okay.            What           is       this      right       here

10           A.      Yes.                                                                                                         10              A.         Its        amphetamine.

11           Q.      What              was the cause of death                                sir                                  11              Q.         Amphetamine.                             Did       the        --    did    --    did    the




     --BY
12           A.      Multiple stab                     wounds.                                                                    12   toxicological                    report       show              positive             for       amphetamine
13           Q.      And what was the manner of death                                                          What was           13              A.         In    autopsy tests                           we do two                  steps     of       tests.


14   your ruling                                                                                                                  14   First      we     call       a       screen           test.          Screen               test    is
                                                                                                                                                                                                                                              very

15           A.      Homicide.                                                                                                    15   sensitive.                 We        can detect almost everything.                                                Because

16           Q.      Thank you.                                                                                                   16   its       too    sensitive               sometimes cause                                  false       positive.           If


17                                MR.        BRISSETTE                         Pass the witness.                                  17   we        find    particular                chemical                 positive                 then     we do
18                                THE COURT                            Cross-examination                                          18   confirmation                     test.


19                                MR.        MOORE                     Thank      you        Judge.                               19              Q.         And you            found             a        positive             for    amphetamine                    but

                                                 CROSS-EXAMINATION                                                                20   when you                   did the confirmation                               test

           MR.     MOORE                                                                                                          21              A.         Its        negative.              Theres                nothing.                This    is       false


22           Q.      Dr.        Bao          in   connection                   with    your autopsy                   were        22   positive.


23   you     able       to     make some                         kind    of estimate           as    to       how old the         23              Q.         Okay.

24   fetus      was                                                                                                               24              A.         Its        common               in       the       medical              tests.


25           A.      Yes according                                     the    weight        of the                                25              Q.                               Thats               the reason
                                                              to                                         fetus.                                              All    right.                                                            you do the
                                                                                                                                  211                                                                                                                                          213
                   Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                 Page 60 of 101 PageID 5272
 1    confirmation               test                                                                                                          1   stabbed that many times

 2           A.       Yeah.               We        do      for    every case                 if    one of them                  is            2         A.            I    would say below                              two minutes.

 3                                                                                                                                             3             Q.        Thank                   you.
      positive.


             Q.       All       right.          The         --    on the autopsy that you                                  did                 4                                  MR.            BRISSETTE                          Pass the witness.


--0   of Mrs.       Hummel                   you indicated that there were stab                                                                5                                  THE COURT                              Recross

 6    wounds         that        were found                      on the front of the body and on                                               6                                  MR.            MOORE                   Yes         if   I   could     Judge.


 7    the    back         of the body and actually one on the leg                                                          is                  7                                                 RECROSS-EXAMINATION

 8    that    correct                                                                                                                          8   BY MR.          MOORE

 9           A.       Yes.                                                                                                                     9             Q.        You said that the person that was stabbed that

10           Q.       All                       The blunt-force                         impact that you                     saw               10   many       times              would               live        below         --   less       than    two minutes
                                right.


11    to    the    head          I   think           you said that there                            --       there     was                    11   right

                            was not a                                                                                                                        A.
12    not    --    that                                    lethal      wound             is    that           right                           12                       Yes.


13           A.       I    did       not see the                   skull         fracture.               I    did    not                      13             Q.        Do you                   know         the         trauma associated                    with        it     Do

14    see    the brain               injury.               But    this        wound           could           cause the                       14   you know                 how            long         a    person that was stabbed that many

15    concussion                which           I    cannot            tell      --                                                           15   times      would              be conscious

16            Q.                                                                                                                              16             A.             --            cannot
                      Okay.                                                                                                                                            I          I                         tell.




17           A.       --    from autopsy.                                                                                                     17             Q.        Okay.                   You indicated that there were two on the

18            Q.      Could           you           tell    whether or not                         --    whether or not                       18   diagram             a    moment                      ago.        I    think        you pointed there were

19    that    wound             would           be         sufficient            to    cause the person                         to            19   two stab wounds                               to the             abdomen               of Ms.      Hummel above                    her


20    lose    consciousness                                                                                                                   20   navel          is       that           correct

21            A.      Could.                                                                                                                  21             A.        Yes.


22            Q.      What            --     what she died of was the stab wounds                                                             22             Q.        And            I    think            you     --   I    believe          you     indicated that


23    is   that    correct                                                                                                                    23   the child the                          --    the     fetus            would have                 been positioned

24            A.      Yes            stab       wounds              to        the      heart to the lung and                                  24   below          her navel                     at   this        point        of her          pregnancy          is       that


      to    the    liver.                                                                                                                     25   correct

                                                                                                                                      212                                                                                                                                      214

  1           Q.      All       right.          Thank             you very              much                 Doctor.                           1             A.        Yes                its   still       in   the         pelvic.


 2                                   MR.        MOORE                  I
                                                                            pass the witness Judge.                                            2             Q.        Its        still         in    the pelvic               region

 3                                   THE WITNESS                              Thank       you.                                                 3             A.        Yeah.


 4                                   THE COURT                         Redirect                                                                4             Q.        You did not denote any stab wounds                                                      to the

  5                                  MR.        BRISSETTE                        Yes Your Honor                           briefly.             5   fetus          did       you
 6                                              REDIRECT EXAMINATION                                                                           6             A.            No.


 7    BY MR.         BRISSETTE                                                                                                                 7             Q.        All       right.


 8            Q.          Dr.    Bao when                     a    body receives                        that        much trauma                8                                      MR.        CUMMINGS                           Thats           all Judge.            Pass the


 9    from multiple sources                                 of    infliction            can        it    be a                                  9   witness.

10    combination                of       all   that could                  ultimately               cause the death                          10                                      MR.        BRISSETTE                          No redirect Your Honor.

11    as    well                                                                                                                              11                                      THE COURT                          May         Dr.      Bao be     --    step        down

12            A.      Yes.                                                                                                                    12   or   --    Im           not        really          sure.             One     of        your witnesses              I



13            Q.      And you                   listed       the stab                 wounds             to    be the       --    the         13   believe             has examined more than one person

14    ultimate        cause of death.                             Would               the baseball                  bat    in                 14                                      MR.        BRISSETTE                          That would           be Dr. Sisler

15    splitting       the        back           of    somebodys                       head         open          would          that          15   Your Honor.

16    cause        serious bodily injury                               to     the individual                                                  16                                      THE        COURT                   All    right.           May    Dr.    Bao be

17            A.      Since           I     did      not         see       the    skull       fracture               and the                  17   excused

18    brain       contusion                 I   --     Im         not sure.             The baseball bat                                      18                                      MR.        BRISSETTE                          Yes.

19    injury can            cause death                          but       Im     too sure the stab                        wounds             19                                      MR.        MOORE                    Yes.

      could       cause         death            a    hundred percent.                              Went through                      heart   20                                      THE COURT                          Doctor               you    may      step    down.

      two times lung four times liver                                                  five        times.            Thats                    21   Thank          you        very much.

22    good        enough.                                                                                                                     22                                      THE        WITNESS                       Thank           you.

23            Q.          How        long would                   somebody                live          after their heart                     23                                      Witness retires

24    has been stabbed                          that        many times                    their              liver   has    been              24                                      THE COURT                          State            call   your next witness.
25    stabbed         that           many            times        and their lungs have                               been                     25                                      MR.        GILL               We       call     Dr.      Sisler.
                                                       215                                                                                                                                                                                                       217
                        Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                   Page 61 of 101 PageID 5273
                                     THE COURT                                                                                                     A.             believe since                   about 1970.




 --13
  1                                                                   And while Dr. Sisler                        is   coming           1                    I




                   do want to                             to the                                                                        2          Q.        And how                     long    have you           been       involved              in
  2   up       I                             talk                      attorneys             briefly.


  3                                  BENCH CONFERENCE PROCEEDINGS                                                                       3   pathology              forensic                  pathology specifically

                                     THE COURT                        Mr.         Moore       there        was one                      4          A.        I    --    I    took combined training                            since           1971.


      additional              grounds the reason                              I    permitted         the                                5          Q.        Have             you served                in   the military


  6   photograph                    and         I    wanted           to    make      that         part of the record                   6          A.        Yes            sir.




  7   at      this      time and thats regarding                                    Article        38.36.          In                   7          Q.        In       what capacity did you serve                                    in   the military


  8                                                   murder               the State or the                 Defendant                   8          A.             had a varied career.                             Infantry          in    Korea
      all     prosecutions                   for                                                                                                             I




  9   shall        be permitted                      to    offer      testimony              as to    all   relevant                    9   pharmacist                 and physician.

 10   facts        and circumstances surrounding                                             the    killing       and the              10          Q.        What             are        your duties with the Tarrant County

                                                 accused                                                                    and                              Examiners Office
      previous relationship existing between the
 11                                                                                                                                    11   Medical


                                                                                                            and                                    A.        To establish the cause                                of   death and then how
 12   the      deceased together with                                      all    relevant         facts                               12


      circumstances                       going           to    show        the condition             of the           mind of         13   rule   on how               the         death occurred.                 We         have several

 14   the      accused              at the           time of the                  offense.                                             14   categories            of        how          a    death occurred.                  Natural          manner

 15                                  And that was an additional                                    fact that the                       15   which       is   a heart                attack         accident             a car    wreck               suicide


 16   Court          was considering.                                                                                                  16   person takes their own                                life       and then homicide.

 17                                  MR.            MOORE              I    understand              Your Honor.                    I   17          Q.        And generally                        is    the type of        medicine you

 18   still    dont agree with you.                                                                                                    18   practice         known                 as forensic           pathology

 19                                  THE COURT                        I    appreciate          that.        Thank            you       19          A.        Yes             sir.




 20                                                                                                                                    20          Q.            So                                                 what forensic
      very much.                                                                                                                                                       tell        the        jury please

 21                                   OPEN COURT PROCEEDINGS                                                                           21   pathology             is.




 22                                   Witness                  enters       courtroom                                                  22          A.            Again             its       to establish          the   cause            of   death to

 23                                  THE COURT                        Dr.         Sisler      please        raise       your           23   investigate                suspicious                death investigate                    homicides

 24   right         hand           sir.                                                                                                24   suicides.


                                      Witness                  sworn                                                                   25          Q.            And have you done                           that       on a    --    on a          --    on a

                                                                                                                              216                                                                                                                                    218

  1                                  THE COURT                        Please         be seated              Doctor.                     1   daily or         weekly                basis for the             last   22 years with the

  2                                  You may proceed.                                                                                   2   Tarrant          County Medical                        Examiners Office

  3                                                       GARY      L.      SISLER                                                      3          A.            Yes         sir.




  4   having             been        first          duly    sworn            testified        as follows                                4          Q.            Were you employed by                               the Tarrant                County Medical

  5                                                  DIRECT EXAMINATION                                                                 5   Examiners Office                             on December the 18th                         of       2009
  6   BY MR.             GILL                                                                                                           6          A.            Yes         sir.


  7                Q.     Doctor                would           you        please     tell    the jury        your                      7          Q.            And did you happen                           to   be working                  in   the        morgue

  8   name                                                                                                                              8   that    day
  9                A.     Its        Dr.     Gary          L.    Sisler.                                                                9          A.            Yes         sir.


 10                Q.     And             Dr.       Sisler       how         are    you occupied                  or                   10          Q.            Who         is     Dr.       Lucille    Tennant

 11   employed                                                                                                                         11          A.            She was a fellow that was                                in   training             with        us

 12                A.     As a Deputy Medical                                Examiner           for    Tarrant                         12   at that      time.


 13   Parker             Denton            and Johnson                      Counties.                                                  13          Q.            And as a                --   as a fellow          in    training          did           she

 14                Q.     And how                   long       have you             been      employed                 in   that       14   work with you or did you                                     work with her               in    the       --    in   the

 15   capacity                                                                                                                         15   conducting                 of autopsies                in    Tarrant         County Texas                          for   a

 16                A.     Approximately                         22 years.                                                              16   period of            time

 17                Q.     And what                   is    your training              and education that                               17          A.            Yes         sir.




 18   qualifies           you        to      hold         that     position                                                            18          Q.            And on December the 18th of 2009 did you

 19                A.     I    received               my        D.O.       degree from Kansas                          City            19   assist her            in    conducting                 an autopsy which has received

      College of Osteopathic                                   Medicine            and Surgery.               I    trained             20   your case             number 0914835
._    in      forensic          and anatomic pathology at William                                             Beaumont                 21          A.            Yes         sir.



 22   Army           Medical              Center.              Im     licensed         to practice            medicine                 22          Q.            And does each case that comes                                        into      your           office


 23   in      the       State       of Texas.                                                                                          23   receive          a   unique case                     number

 24                Q.     And how long have you been                                          licensed            to    practice       24          A.            Yes         sir.


 25   medicine                in   the State               of   Texas                                                                  25          Q.            So     is    the        case     number           of    0914835 unique to the
                                                      219                                                                                                                                                                                                                               221
                       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                             Page 62 of 101 PageID 5274
                                                                                                                               on on                         Q.      You said thats something thats caused                                                                     by the
          case    that        you and               Dr.       Tennant            conducted             an   autopsy                        1
      1



      2   December               the     18th           of    2009                                                                         2       reaction         to        heat

      3          A.         Yes         sir.
                                                                                                                                           3                 A.      Yes         sir.




                 Q.         And how do you begin                                  your autopsy                    How        did    you    4                 Q.      Did        this --                did       this        --   well        I   take       it   this



          do that on that particular date                                        with regard to              this                          5       body had been                       in     a        fire.          Is    that        how       it   appeared               to



      6   particular             case                                                                                                      6       you
      7          A.          First      we do             an       external examination                      noting          any           7                 A.      Yes         sir.




      8   abnormalities                                             them with photography                              and     line        8                 Q.      All       right.             Did        the           fire       cause       partial
                                          recording

                                                                                                                                           9       detachment of anything
      9   drawings.

                                       After                                    we proceed                  enter the                     10                 A.               think there                   were extremities.                                think            the
                                                        that then                                                                                                    I                                                                                   I
 10                                                                                                    to


                                                                                                                                                              --                hand              was amputated.                                  The skin over the
 11       chest       and examine the heart the lungs again                                                       noting          any     11       right            right



 12       abnormalities.                   And then after that we proceed                                          to    the              12       body arms was burned away                                                          exposing the                --    the        muscle

                                                                   abdominal organs                     and then             after        13       and bone.
 13       abdomen examine                               the


                                                         examine the head and the brain                                                                      Q.      And you said after your external examination
          that we proceed
 14                                                to                                                                                     14


          again documenting any abnormalities.                                                                                            15       you do a                    an                                     the         chest
                                                                                                                                                                      --               incision                  in
 15


     16          Q.          And Case No.                      0914835             on December                    18th       of    2009   16                 A.      Yes          sir.




      --3
     17   how     did       this     particular                body present                 to   you                                      17                 Q.      And did you                            --
                                                                                                                                                                                                                  you         proceeded                 with      your autopsy

     18          A.          There         were external thermal injuries                                         in    other             18       on    this      body on that occasion

     19   words         burns.                                                                                                            19                 A.      Yes          sir.




 20              Q.          Okay.             And how extensive were those thermal                                                       20                 Q.      Okay.               Were there any                                 --    any findings of note

 21       injuries                                                                                                                        21       in   --    in   the chest                  cavity

 22              A.          Almost a hundred                              percent of the body.
                                                                                                                                          22                 A.       No         sir.




 23               Q.                           So would                    be a    fair     statement              that the               23                 Q.       Were there any findings of note                                                        anywhere on
                             Okay.                                    it




 24       body you observed                             in    this       case number was almost 100                                       24       this      body             particularly                   from the                  --    from the neck                    down

          percent           burned                                                                                                        25                 A.      1 --        Ill     take               that       back            sir.       You have some

CC                                                                                                                                220                                                                                                                                                   222

      1           A.         Yes sir                                                                                                           1   atherosclerosis                       in   the coronary                             arteries.



      2           Q.         Okay.             And           did    your inspection                of the         body at                  2                 Q.       What             is    that just                  for



          that time reveal                     anything               else       about it                                                  3                 A.       Its       the narrowing                                of the coronary arteries


      4           A.         There was some head trauma that                                                --    after      --            4       that supply the heart.                                        Theyre                partially         closed          off



      5   we documented                        the        head trauma after we cleaned the                                         --      5       with       fatty           deposits.


      6   the    skull       off.                                                                                                          6                 Q.       Okay.              Would                   you describe                     to    the jury              what your

      7           Q.         And what                   --    what did that                --    that head trauma                          7       examination                  of the                 --    of the           head of             this    individual


      8   consist       of                                                                                                                 8       revealed

      9           A.         Multiple              skull       fractures.                                                                  9                 A.       Multiple right-sided                                        depressed             skull      fractures.


     10           Q.         Was        that        body capable                  of being             identified         in              10                 Q.       And         for        --        for       those of us                  who dont                 practice

     11   the    --    in    the condition                     it   was presented                 to    you                               11       medicine                   what       is   a         depressed                     skull       fracture

     12           A.          No        sir.                                                                                              12                 A.       That means theres                                           a   depressed              fracture              of


     13           Q.         Were you capable                              --   was   it    capable          --    were you               13       the       --    with the             right           side          of the           body.

     14   capable           of    making                an    age assessment on that body                                    in    the    14                 Q.          Did     it
                                                                                                                                                                                        appear that                          this      individual            had been

     15   position          it    was presented                       to    you                                                           15       struck          by some type of object

     16           A.          No       sir.                                                                                               16                 A.       Yes             sir.



     17           Q.         And why was that                                                                                             17                 Q.          Based upon                         your training                     and your experience

     18           A.          Because               all      the external             features          were burned                       18       did       you have a suspicion                                     at that time                     what that object

     19   away.                                                                                                                           19       might           be

                  Q.         Tell       the jury              what         pugilistic       posturing             is.                     20                 A.          It    was       --       it    would               be a blunt object                          sir.




                  A.         This        is    a    posture that after thermal                               injuries                     21                  Q.      Is a        baseball                   bat or a bat a                       blunt        object

     22   the    --    the        muscles               that        flex   your arms contract                         and the             22                 A.          I    would           say           so        sir.




     23   pugilistic             deal    is    where               the     arms are drawn up                                              23                  Q.      Would              these               injuries                 that    you found                with regard


     24   against           --    over        the       front of the              body similar              to    a                       24       to    Case No.               0914835 be consistent with that individuals

     25   fighter.                                                                                                                        25       head being                  struck by a                       bat
                                                                                                                                 223                                                                                                                                   225
                              Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                          Page 63 of 101 PageID 5275
       1                 A.      Yes        sir.                                                                                             1   are    States Exhibit 353                        through            367           illustrate               the


       2                 Q.      Do       you      have         an opinion as to how                        much          force              2   condition       the      body appeared when                                  you        first         saw it

       3       this      individuals               head        --    how much                force    was used                  by           3           A.     Yes       sir.



               that      bat to strike               the       individuals               head                                                4           Q.     And there              --   are there               also various                       photographs

ý..        1             A.      I    would say a high velocity                                of blunt        injury.                       5   taken during different points                                in    the       autopsy

                         Q.                           body came                                                      burned                                     Yes
                                                                                        --                                                   6           A.
       6                         Since         the                                 in         to   you    in    a                                                         sir.



       7       condition              did      you take any additional                             steps to          inspect                 7           Q.     Do    the        photographs                  illustrate                the       --     the      damage

       8       it   to   see whether or not the                                 fire    had caused             the       death               8   that    was done              to the       skull      of     this       individual


       9       of the individual                                                                                                             9           A.     Yes       sir.



      10                 A.                                                                                                                 10           Q.     And do they                 illustrate             some            of Dr.          Austins
                                 Inspection                sir.


      11                 Q.      Okay.             And what did you inspect                                                                 11   work     in    reconstructing                the        skull

      12                 A.      We       --     from a         fire       fatality          we    look    to       see    if               12           A.     Yes       sir.



      13       theres soot                in   the airways.                                                                                 13           Q.     Do they             illustrate         the      --   the           depressed                     skull


      14                 Q.      Did      you       find       soot        in    the     airways      of    this         body               14   fractures       that      youve            described               earlier to the                       jury

      15                 A.      No       sir.                                                                                              15           A.     Yes       sir.


      16                 Q.      You also            inspect the                  lungs                                                     16           Q.     Do they             also     illustrate            the        --    the extensive


      17                 A.      Yes        sir.                                                                                            17   thermal damage to the                            body
      18                 Q.      And what did you                          find        with       regard to the             lungs           18           A.     Yes       sir.



      19                 A.      No evidence                   of soot           in    the    deep    air      --    deeper                 19                            MR.         GILL         We        offer       353 through                         367.


      20       airways and mostly pulmonary                                            edema.                                               20                            BENCH CONFERENCE PROCEEDINGS
      21                 Q.      What          did   all       that        indicate          to    you with regard                          21                            MR.         MOORE              Judge            I    have               no objection               to


      22       to the fire                                                                                                                  22   353 through              358         the    photographs                      that depict                    the    way

      23                 A.      That the            --    the        person was dead                     during          the               23   they appeared                 at the        time of          --     of the autopsy.


      24       fire.                                                                                                                        24                            THE COURT                      Those           will       be admitted.

                         Q.      Now who                               Dana Austin                                                          25                            MR.         MOORE                                             359 360 361 362




      --11
                                                          is   Dr.                                                                                                                                       I
                                                                                                                                                                                                              object          to


  _                                                                                                                              224                                                                                                                                     226

       1                 A.      Shes our             forensic               anthropologist.                                                 1   363 364 365                   366 and 367                     as    each of them depicts the

       2                 Q.      And what             is       her job description                    at the Tarrant                         2   scene        after a      portion          of the           skull       removed                   in    autopsy.

       3       County Medical                      Examiners Office                                                                          3                            THE COURT                      Mr.                  your response




      --15
                                                                                                                                                                                                                   Gill

       4                 A.      She examines                        skeletons               specializing           in    bone               4                            MR.         GILL         First      of all          these photographs




      --17
       5       pathology.                                                                                                                    5   were originally taken                       in   color         and we have                            only

       6                 Q.      And did she have                          occasion           to examine              this                   6   reproduced           these particular                       exhibits              in    black           and white

       7       particular             body                                                                                                   7   so that       we can          --     we can minimize                         the effect                 on the

       8                 A.      Yes        sir.                                                                                             8   jury.

       9                 Q.      And were her                       skills      used      to help reconstruct                                9                            Second            of all       theyre               relevant                 to    show        the

      10       the       skull       on   this     particular                body                                                           10   condition       the      skull        was        in   and the means that these

                         A.      Yes        sir.                                                                                            11   that    these medical professionals                                 had to go through                                 in


      12                 Q.      Doctor             Im         going to           show you what has been                                    12   order to       reconstruct                 the    skull       and examine                          it   to arrive

      13       marked as States                       Exhibits               No.       353 through             367 and               ask    13   at a    cause       of   death which                    is
                                                                                                                                                                                                              --    which               is    the

      14       if   youd       take a            second         and          look       through       these         and see            if   14   underpinnings                 of the       relevance               is   to        illustrate               the


               you recognize each of these as being photographs                                                                 that        15   the    cause     of      death being blunt trauma to the head.

      16       were taken at your direction                                      or     by you during               this                    16                            THE COURT                      So Exhibits                     359 or             --   and

               particular             autopsy                                                                                               17   through        367       is   to establish              the        manner                   of   death by blunt

      18                 A.      Witness             complies.                                                                              18   force    trauma

      19                 Q.      Okay            Doctor.             Do you             recognize the               scene                   19                            MR.         GILL        Thats correct.

       1       depicted              in   each of those photographs                                                                         20                            THE COURT                      Okay.            Now                youre minimizing

                         A.      Yes        sir.                                                                                            21   by making them black                         and white photographs.                                             Now        did

      22                 Q.      And were each                        of   those photographs                        taken during            22   any other        experts             rely    upon            the    photographs                            in


      23       the       autopsy          of     Case No. 0914835                                                                           23   anticipation                  believe                   said                                       about an
                                                                                                                                                                           I
                                                                                                                                                                                                  you                something

      24                 A.      Yes        sir.                                                                                            24   anthropologist                  is   that    correct

      25                 Q.      Do       the      photographs                   that        youve    just          seen         which      25                            MR.         GILL         Dr.       Sister       worked with Dr.
                                                                                                                                                  227                                                                                                                       229
                  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                  Page 64 of 101 PageID 5276
  1   Austin a forensic anthropologist                                                          in       --    in    the                                   1                         THE COURT                         Thank you.

  2   reconstruction                      and examination                                      of    this       skull.                                     2                         OPEN COURT PROCEEDINGS
  3                                 THE             COURT                   Okay.                   Did        she refer to these                          3                         THE COURT                         Members                of the       jury States

-1    photographs                    for       the        purposes of her                                    work                                          4   Exhibit     353      through               367 are admitted.

                                     MR.            GILL             Yes she did although shes                                                             5                         States                Exhibit          Nos.       353-367             admitted

  6   not going             to      testify.                                                                                                               6          Q.      BY     MR.            GILL         Dr.        Sisler       although           numerous

  7                                 THE             COURT                   She            is    not going to testify                                      7   photographs           were taken                     during        your autopsy                   in   Cause       No.


  8   Okay.                                                                                                                                                8   0914835         did       you also have                      occasion           to create             some

  9                                  Now             the        Court finds that                                --    well           359                   9   sketches       that       illustrated the                    --   the         injuries to this

 10   through              367       to establish                      the            manner and means                                      of    death   10   individual


 11   and the          efforts            to establish                          beyond                   a    reasonable doubt                            11          A.      Yes     sir.


 12   the       States burden caused                                        the           death caused                          by blunt                  12          Q.      And did you and                         Dr. Austin              collaborate             and

13    force      trauma              should               be and                    will       be considered                         by     the           13   sketch      some three-dimensional                                 --     make        a

14                Your objection                                     overruled.                                                                           14   three-dimensional                        sketch        on a model                skull      for
      jury.                                                is




15                                  Was             there            anything                   else          that         you wanted to                  15   presentation          to the jury of the                          injuries to             this


16    add        Mr.       Moore                                                                                                                          16   individuals          skull

 17                                  MR.            MOORE                       No         Judge.                                                         17          A.      Yes     sir.


 18                                 THE             COURT                   All           right.              Yes sir                                     18          Q.      Let    me show               you         whats been                   marked as States

 19                                  MR.            MOORE                       I    --    I    do have               a        403 objection              19   Exhibit     No.      271C and ask                       if
                                                                                                                                                                                                                            you recognize                  271C
20    to those             same numbers Your Honor.                                                                                                       20          A.      Yes     sir.


21                                  THE             COURT                   All           right.                                                          21          Q.      And    is       271C         a   --     an exhibit that you and                          Dr.


22                                   MR.            MOORE                   The                relevance                  --    the        basis of       22   Austin      prepared                to   illustrate          to the jury             what you found

23    the       403 objection                       is    each of those photographs                                                    is   taken         23   with    respect to this                   case

24    at a      time after they have                                       already                   removed the                       skull              24          A.      Yes     sir.


_25   from       --    a    portion                 of the           skull           from the body.                              Theyve                   25          Q.      And    is       it    a true       and        accurate            representation               of


                                                                                                                                                  228                                                                                                                       230

  1   cleaned          the          skull           in    some             --       in     a    number                of the                               1
                                                                                                                                                               your findings             in     this      case

  2   photographs                     and            I   think         that               the       --       the     photograph                            2          A.      Yes     sir.


  3   because              the      --    it     does not                   reflect             the           way         that the           body          3                         MR.            GILL         We         offer      271C.

  4   appeared              at      the        time that they received                                               it        but    it                   4                         MR.            MOORE               Judge            I    dont       have any

  5   reflects         after         they have                       done             a surgical                    intervention                  is       5   objection.

  6   more prejudicial                          than probative.                                                                                            6                         THE COURT                          271C                 admitted.




--14
                                                                                                                                                                                                                                    is



  7                                 THE             COURT                   Well               first          off     is       that        there           7                         States                Exhibit           No.       271C admitted
  8   hasnt been any                           --        there        hasnt been                              any testimony about                          8                         MR.            GILL         May         I   have         the doctor             step   down
  9   any medical intervention                                         for life-saving                                                                     9        front of the
                                                                                                                    efforts.                                   in                        jury please

10                                   MR.            MOORE                       No         and           --    and         I   must have                  10                         THE COURT                         Thats granted                      Mr.    --   Dr.

11    misspoke.                 I
                                    mean                 as part                of the              autopsy they removed                                  11   Sisler.


12    it   --                                                                                                                                             12          Q.      BY     MR.            GILL         If    you would                Doctor           would you

13                                  THE             COURT                   Okay.                   Now             as part of the                        13   take 271C

      autopsy              as       we        all    understand                           autopsies                  through                our           14                         THE REPORTER                                Im      sorry.          Excuse        me.

15    experiences                    is   that            thats             necessary to establish                                          the           15                         MR.            GILL         Im         sorry.           Sorry.

16    cause       of       death          in        that        it    is    normal and                          its        part of the                    16          Q.      BY     MR.            GILL         Would           you take 271C and

17    autopsy          procedure to show                                        to the jury                     and            prove        to    the     17   illustrate     to the jury                 what you found                       in   reference          to

18    Defense              what          --     what steps were taken to perform a                                                                        18   the    skull   of    this       individual

19    correct         autopsy.                                                                                                                            19          A.      This    is      the        right side of the                    head.        As

                                    And as a result of your 403 objection                                                                                 20   illustrated       here theres a large area outlined                                              in


      after      conducting                     a        balancing                   test           is    that the              probative                 21   purple a depressed                        skull        fracture.              Then        this   is



22    value                                              outweighs                       the prejudicial                                         and      22
                  substantially                                                                                                 effect                         involving       as    I
                                                                                                                                                                                          say            the right side of the                      head
23    should          be considered by the jury under the                                                                                                 23   fractures      extend               into the           mandible                the   --    the orbit         and

24    circumstances.                                                                                                                                      24   the    maxillary sinus.

25                                  MR.             MOORE                   All           right.                                                          25                         And then                  extending               from the posterior
  2

   --3
   1




  t1



___j


  6

  7


   8
       theres another fracture

       back

       then



       side.




       the


       indicate
               Q.

               --
                    of the


                   in




                    They

                             So
                                   head

                         front of the

       theres another fracture

                                   meet

                                   for


                        do the purple

                             fractures
                                              --
                                                    231
                    Case 4:16-cv-00133-O Document 23-19




                                                   in
                                                        Filed 07/06/17

                                                   and ends

                                                        depressed



                                                        a


                                                   so for

                                                         lines
                                                                  that




                                                                  that
                                                                       in
                                                                             extends

                                                                             a




                                                             burned area of the
                                                                                  --


                                                                                 skull


                                                                             extends
                                                                                       in




                                                                  purposes of the record do

                                                                    on States Exhibit 271C
                                                                                              a
                                                                                                  across the

                                                                                                   burned area.

                                                                                            fracture

                                                                                                  across the

                                                                                                              skull.
                                                                                                                            then
                                                                                                                                  --




                                                                                                                                  left
                                                                                                                                         the

                                                                                                                                              And
                                                                                                                                                         1




                                                                                                                                                         2

                                                                                                                                                         3


                                                                                                                                                         4

                                                                                                                                                         5


                                                                                                                                                         6

                                                                                                                                                         7


                                                                                                                                                         8
                                                                                                                                                             skull




                                                                                                                                                             area.


                                                                                                                                                             of the


                                                                                                                                                             This
                                                                                                                                                                    Q.



                                                                                                                                                                    A.




                                                                                                                                                                     --



                                                                                                                                                                    Q.
                                                                                                                                                                            And

                                                                                                                                                                          were there




                                                                                                                                                                          Actually



                                                                                                                                                                           the

                                                                                                                                                                            So the
                                                                                                                                                                                     Page 65 of 101 PageID 5277
                                                                                                                                                                                     on



                                                                                                                                                                            There was some




                                                                                                                                                                                  left




                                                                                                                                                             damage which had occurred
                                                                                                                                                                                                the




                                                                                                                                                                                              the


                                                                                                                                                                          body which the other one

                                                                                                                                                                                           side was spared.

                                                                                                                                                                                              left
                                                                                                                                                                                                              --




                                                                                                                                                                                                             left




                                                                                                                                                                                                             side
                                                                                                                                                                                                                    the       left




                                                                                                                                                                                                                             --



                                                                                                                                                                                                                     side of the face




                                                                                                                                                                                                                         was spared
                                                                                                                                                                                                                                         side of the




                                                                                                                                                                                                                                   some burned area




                                                                                                                                                                                                                                       to the
                                                                                                                                                                                                                                                Ill
                                                                                                                                                                                                                                                                 and

                                                                                                                                                                                                                                                          talk about.




                                                                                                                                                                                                                                                          the


                                                                                                                                                                                                                                                      right
                                                                                                                                                                                                                                                                     --



                                                                                                                                                                                                                                                                     side
                                                                                                                                                                                                                                                                          --




                                                                                                                                                                                                                                                                           the
                                                                                                                                                                                                                                                                                the.




                                                                                                                                                                                                                                                                                left
                                                                                                                                                                                                                                                                                          in


                                                                                                                                                                                                                                                                                           side
                                                                                                                                                                                                                                                                                                this




                                                                                                                                                                                                                                                                                          thermal
                                                                                                                                                                                                                                                                                                     233




   9           A.            Yes        sir.                                                                                                             9          A.      Yes      sir.



 10            Q.            And what do the black                                lines       on the                   --    on the                     10          Q.      And      then               271B

 11    model illustrate                                                                                                                                 11          A.      This     is       the            pugilistic                 attitude           that           --        that


 12            A.            The    sutures                 of the         skull.                                                                       12   was mentioned                    already.                       This        is    where the arms are

 13            Q.            And what are the sutures                                    of the                  skull                                  13   pulled       up over the front of the chest                                                   like       a fighter


 14            A.            Its    where               the different               bones          meet.                                                14   and thats due to the contraction                                                   of the               flexor            muscles.

 15            Q.            So    --    so the sutures                      are a natural                            process                           15   Theyre stronger than                                   the       extensor                    muscles and                           the heat

 16            A.            Yes        sir.                                                                                                            16   causes        them      to         come up                      into        what we                call       pugilistic                or a


 17            Q.            Thank            you        Doctor.                                                                                        17   fighter position.


 18                                 If        you could             while         youre            up                 let    me show                    18                          Then                all        the       chest was                    blackened                       and

 19    you what has been                                marked             as    States Exhibits 271A and                                               19   charred         and there                       was     a       large defect                       of the              abdomen

       271B and ask                                                                                these items
                                               you recognize each
 20                                      if                                                   of                                                        20   that    was burned away with the intestines                                                                  protruding.


 21    Lets take 271B                          first        since          its   in front.                                                              21   Theres extensive                           heat damage                           of the            --    of the              upper

 22                                     Do you              recognize            271B                                                                   22   extremities.


 23            A.            Yes        sir.                                                                                                            23                          And             I    think           I    mentioned                     this already.


 24            Q.            Do you            recognize               271A                                                                             24   There was a heat amputation                                                 of the           right           hand            and        then

 05            A.            Yes        sir.                                                                                                            25   over    this    --    this         extremity                         all    of the            --    the           --    there


                                                                                                                                            232                                                                                                                                                      234

   1           Q.            And are               both of        these exhibits                       blow-ups                    of                    1   was burning and                        charring                  of the           extremity with                              exposure

   2   sketches               that       were done                 by you during the course of                                                   this    2   of   muscles.

   3   autopsy               --
                                  you         or Dr.         Tennant             during           the             course of              this            3                          And             then            this          is    an area of sparing                                 that


  4    autopsy                                                                                                                                           4   was on the            left       side of               the body.                       These            extremities


   5           A.            Yes        sir.                                                                                                             5   were blackened                     and charred.                             The          skin       over the                      --   the

  6            Q.            And do they truly and accurately                                                     depict           your                  6   right    kneecap             was burned away exposing                                                        the         kneecap.

   7   findings              in   Case No.                  0914835                                                                                      7                          On          the           back           we had             extensive                       black           and

   8           A.            Yes        sir.                                                                                                             8   charred        skin.         There was a large defect with exposure                                                                           of


   9                                    MR.        GILL           We       offer       271A and                        B.                                9   the    bone     --    pelvic               bone         and the posterior chest wall

 10                                     MR.        MOORE                   Judge Ive seen                               the       exhibits              10   and then this               is     a       back         view of the sparing.                                           All    the

 11    and     I    dont have                      any objection.                                                                                       11   extremities           were             --       the     skin              was burned away exposing

 12                                 THE            COURT               271A and B                  are admitted.                                        12   the    muscle and                  bone.


 13                                     States              Exhibit          Nos.      271A 271B admitted                                               13          Q.      And      as a               --    as a           result of the                      autopsy                   and

 14            Q.            BY     MR.            GILL           And        Dr.       Sisler               if
                                                                                                                  you could                             14   inquest        you performed                            here as a result of your

 15    step        up    to       this        easel please.                      Lets start with 271A.                                                  15   examinations                 did           you come                        to a    conclusion                          as to           what

 16                                 All        right         Doctor.             Would            you explain                          to               16   caused        the    death                 of    this       individual

 17    the jury              what we see on States Exhibit                                               271A                                           17          A.      We      said the                   cause              of     death was                    blunt               force

 18            A.            On    the right side                   here these are what we                                               call           18   trauma of the head.

 19    split       --    heat-split                lacerations.                  The     --    the               --    the       heat                   19          Q.      And      did        you arrive                         at a        --     a   manner                    of    death
  I0   causes            a    stretching                of the       skin         and         as       it        stretches                  it          20          A.      Yes          sir.


w.     splits.          Theres                heat       splits     here here and then over                                                             21          Q.      And what was that

 22    the right side                    of the face.                                                                                                   22          A.      Homicide.

 23                                 On         this         one    we       depicted              in        not         --       not as                 23          Q.      Thank you Doctor.                                           Go ahead                 and take your

 24    great        detail         as      on the mannequin.                             This            area               is   the     area           24   seat.

 25    of   depressed fracture                               that      I    mentioned                  already.                                         25          A.      Witness complies.
                                                                                                                                    235                                                                                                                                237
                     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                  Page 66 of 101 PageID 5278
  1             Q.        Now      Doctor                you mentioned                          earlier             that     this             1   whats been marked                             as    States Exhibit No.                           441 and           if




 2    individual           was not capable                       of being                  identified                is    that               2   you    could       refer to the left-hand                             --    the        photograph on

 3    correct                                                                                                                                 3   the left-hand          side of                page        1    and see           if
                                                                                                                                                                                                                                         you       recognize

                                                                                                                                              4   another blood           card             that       was drawn                         connection              with
ý-.             A.        Yes     sir.
                                                                                                                                                                                                                                  in



                Q.        And as part of your responsibilities                                                  as    --     as a             5   this   particular        case weve                        been       speaking                   of

 6                                       Examiner                         Tarrant               County Texas                       do         6          A.     Yes.
      Deputy          Medical                                   for


 7              have the responsibility to                                        to identify                   this                          7          Q.      Okay.            Is   that the              --   its        in   the        --   the
      you                                                                  try


 8    individual                                                                                                                              8   left-hand       column               the third                 from the top                      0914837             is




                                                                                                                                              9   that   correct
 9              A.        Yes     sir.




10              Q.        And     in     --   in    order        to       do so            --   in       order        --   for               10          A.     Thats         from the other case                                  sir.




11    other      purposes                do you           collect          samples from the body                                        at   11          Q.      Okay.            Im        sorry.           0914835                    is    that      correct

12    the time of           autopsy                                                                                                          12          A.      Yes     sir.




13              A.        Yes     sir.
                                                                                                                                             13          Q.      Im     sorry.              I    misspoke on                  this           --   on States

14              Q.        And are some of those samples that you                                                             collect         14   Exhibit No.          378            Doctor.              This was Case No.                            0914835

15    blood      cards          that could               be used            later           on to obtain a DNA                               15   correct

16    profile        in   order to arrive                  and establish the identity                                         of             16          A.      Yes     sir.



17    this      individual                                                                                                                   17          Q.      All   right.           And you recognize it

18              A.        Yes     sir.                                                                                                       18          A.      Yes     sir.




19              Q.        Let   me show you what has been marked                                                             as     States   19          Q.      The 091857                      I   was referring to you recognize

20    Exhibit No.            378 and ask                   if   it    bears the                     --   the        case                     20   that as being          a     number                 of the University                           of North         Texas

21    number           that      weve been                     referring              to 0914857                                             21   Health      Science         Center

22              A.        Yes     sir.
                                                                                                                                             22          A.      Yes     sir.



23              Q.        Okay.          And        is   that        --    does that exhibit portray                                         23          Q.      Okay.            I    apologize for                   that.



24    some                                                                                                                                   24                          So           the       --   with regard to                     States           Exhibit
                 forensic          samples that were collected                                                 in    connection


5     with      this      case                                                                                                               25   No.    441 youre                 referring               to the       envelope                  thats       in   the


                                                                                                                                      236                                                                                                                                 238

  1             A.        Yes     sir.                                                                                                        1
                                                                                                                                                  upper left-hand                  corner of the                   photograph                      is    that


  2             Q.        And do you                recognize               it                                                                2   correct

  3             A.        Yes     sir.                                                                                                        3          A.      Yes     sir.




  4             Q.        And was that collected                             --        was that item                                          4          Q.      0914835

  5   depicted            there collected                  --        what        is    it       please                What         is         5          A.      Yes     sir.


  6   the item that               was collected                                                                                               6          Q.      Does that envelope contain                                        another blood                    card


  7             A.        Its   what we                 call    a blood           card.                  Its    actually                      7   that   you     connect              --    collected             in    connection                     with   this



  8   a piece         of cardboard                  that        we        put a
                                                                                       --       a    drop           of blood                  8   case

  9   on.                                                                                                                                     9          A.      Yes     sir.




10              Q.        And at the               --    at the           end after its                    collected                         10          Q.      And that same day Doctor                                              did        you    have

11    is   it   sealed       in   the         small coin              envelope                  that           appears           in          11   occasion        to perform another autopsy

12    the       upper       left-hand              corner of the                  photograph                                                 12          A.      Yes     sir.




13              A.        Yes     sir.                                                                                                       13          Q.      And     if   I       could          direct       your attention                        to   Case

14              Q.        And     is     that coin              envelope               then sealed                     within                14   No.    0914837.

15    the larger            envelope               that        appears            on the right-hand                              side        15          A.      Yes     sir.


16    of the         photograph                                                                                                              16          Q.      And was               this --             did    you also come                        across      this


17              A.        Yes     sir.                                                                                                       17   body     in   your morgue on that                               --    that       same date December

18                                MR. GILL                 Your Honor                           we       offer at          this              18   18th    of    2009
19    point      without           condition              States            Exhibit No.                        378.                          19          A.      Yes      sir.




                                  MR.         MOORE                  Judge             I    have           no additional                     20          Q.      And     how           did           the    body       in this           particular           case

      objection.                                                                                                                             21   present       to     you
22                                THE COURT                          378     is       admitted                 for     all                   22          A.      Its a        --      was with global charring.

23    purposes.                                                                                                                              23          Q.      Could        you           tell      --    well what do you                            mean by

24                                States                 Exhibit No.              378 admitted                                               24   global      charring

25              Q.        BY      MR. GILL                 Doctor                let       me now               show         you             25          A.      Total        burns.
                                                                                                                                           239                                                                                                                             241
                         Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                       Page 67 of 101 PageID 5279
    1              Q.         Was       this          a       --    was
                                                                      A.     this a large            body or a small                                  1                   Yes     sir.


                                                                                                                                                                          And what were your findings
    2       body                                                                                                                                      2            Q.

                                                                                                                                                      3           A.      The                            were negative for soot.
    3              A.         Small           body                 sir.                                                                                                          airways

                              And did                                                                                                                              Q.     And what does that mean to                                    you
                                                          appear to be consistent
                   Q.                               it                                                              with          a   body            4


            of a   child                                                                                                                              5           A.      That the            --        the        decedent       was dead               before        the


                                                                                                                                                      6
    6              A.         Yes       sir.                                                                                                              fire.



    7              Q.         And during the course of your autopsy did you                                                                           7            Q.     Doctor             let        me      hand    you whats been                         marked           as


                                                                                                         child                                        8   368      through       375 and                 ask you to examine each                                   of these.
    8       come        to learn the                     sex of            this   particular

                                                                                                                                                      9            A.     Witness              complies.
    9              A.         Yes       sir.




   10              Q.         And what sex was the child                                                                                             10            Q.     And         Doctor do you recognize each of the

   11              A.         A     female.                                                                                                          11   photographs            contained                      in   States Exhibits                    368 through

  12               Q.         And you said the body presented                                                      to   you           with           12   375

   13       global charring.                        Could              you explain             that           in    a   little                       13            A.     Yes      sir.


                                                                                                                                                     14            Q.     And were these photographs                                                taken during
   14       more        detail         to the             jury please                                                                                                                                                                       all




   15              A.         The whole surface of the body showed burns.                                                                            15   your autopsy                of the            body weve been                      discussing

   16              Q.         Was        it    --        was         it    burns       or     was        it    extensive                             16            A.     Yes      sir.



   17       burns                                                                                                                                    17            Q.     Did    Dr.         Austin            collaborate            with        you     in    this


   18              A.         Extensive.                                                                                                             18   case      also

   19              Q.         And how                    --    how deep                did    those burns                     go                     19            A.     Yes      sir.



  20               A.         Full     thickness.                                                                                                    20            Q.     Did    you and she                         also   prepare a series of

  21               Q.         And       full        thickness                of the          skin                                                    21   sketches with regard to the condition                                             of     this   body at

   22              A.         Yes        sir.                                                                                                        22   the     time of autopsy

                                                                     you have               occasion                                                 23                   Yes
  23               Q.         All                         Did                                                  to       more                                       A.              sir.
                                       right.


   24       closely inspect                   the         head             of the      --    of the           body that was                          24            Q.     Do     the         photographs                 illustrate          the        condition           the


-b          delivered             to   you          in        connection               with    this           case                                   25   body was          in   when              it   was presented                  to    you at the               morgue
                                                                                                                                              240                                                                                                                           242

        1          A.         Yes        sir.                                                                                                         1            A.     Yes      sir.



    2              Q.         And what did your inspection                                           reveal                                           2            Q.     And does                 it   further         illustrate          the efforts              you

    3              A.         After the                  --    the         skin    we cleansed                      the       --                      3   and Dr. Austin had to go through                                         to reconstruct                   the


    4       the    --    the      skull.            There was extensive                             fractures                      again              4   skull     of the individual                     and then            arrive        at a        cause        of


    5       on the right side and extended                                             as     one     fracture                    line                5   death

    6       extended from the depressed fracture                                                     across the                       --      the     6            A.     Yes         sir.



    7       front of the               skull         and            ended         up    in    the   left           side.                              7                           MR.         GILL                 We   offer     370       --     Im     sorry
                                                                                                                                                                                                                                                                       --      368




   --19
    8              Q.         After        your               visual        inspection were photographs                                               8   through         375.


    9       taken of          this      particular                        body                                                                        9                           BENCH CONFERENCE PROCEEDINGS
   10              A.         Yes        sir.                                                                                                        10                          THE COURT                            Go ahead              Mr.         Moore.

   11              Q.         And did you                          also     do sketches              in        this         particular               11                           MR.         MOORE                   Judge Im               going to object                    to


   12       case        as    you did               in        the         other   case        youve                testified           to            12   all     of the exhibits                  368 through                   375    on the basis that

   13              A.         Yes        sir.                                                                                                        13   they      are not       relevant                to the        Indictment                 in   this       case.


   14              Q.         And did you                          go ahead            and conduct                      a    --    the               14   Hes       not    charged            in        this       Indictment with the murder of

   15       Y-shaped incision and                                    --    and    do an autopsy of the                                   --    the   15   the      child    Jodi       Hummel                      and therefore                 these        --    these

   16       chest cavity               of      this           individual                                                                             16   photographs             are not                relevant           to   prove any               fact       thats

   17              A.         Yes        sir.                                                                                                        17   necessary to be proved                                   before     this jury.


   18              Q.         And did that reveal anything                                          of        note                                   18                           I    specifically                  object      to    Exhibits           No.

                   A.         No        sir.                                                                                                         19   beginning         with         No.            368         369 and       370       appear to purport

        q           Q.        Now             you mentioned                         with       regard to the other                                   20   the      body the way that                          it    appeared          at the        morgue.

ý....       case        number we                   just got                done       discussing                  that       one of                 21                           Beginning with 371 through                                            375     the

   22       your        --   one of the important aspects of the body that                                                                           22   exhibits        depict scenes                      after the           Medical           Examiners

   23       you examined was to examine to see                                                      if        theres any soot                        23   Office        has cleaned                 the skull           removed              pieces        of the


   24       in   the     --    in   the breathing                           areas of the body.                              Did       you            24   skull         attempted            to piece                pieces      back together                      and     they

   25       conduct           that      same examination                                with        regard              to    this         case      25   dont depict the scene                               as the        way    that       it    appeared              at
                                                                                                                                       243                                                                                                                       245
                    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                             Page 68 of 101 PageID 5280
 1   the    time.           So we                feel     like           they are              not admissible.                                   1       at    States      Exhibit Nos.               270A     through             270G and           see   if
                                                                                                                                                                                                                                                                 you

 2                                    I    also       object              on the basis that                        all    of                     2       recognize         each of these as being                      sketches            that       you

                                          --            more prejudicial than they are                                                           3       prepared          in    connection           with    this    autopsy             in   Cause No.
 3   these        are       not                 are


     probative.
                                                                                                                                                 4       0914837

                                      THE           COURT                     State your response                                                5                 A.     Witness              complies.

 6                                    MR. GILL                       Your Honor                   we would                 have the              6                 Q.     Doctor          do you recognize States                          270A through


 7   same         --       same            reasoning                     and rationale                 for   offering               these        7       G
 8   as    we       did     the           autopsy on the other case that                                                 Dr.    Sisler           8                 A.     Yes      sir.




 9                                    to.        Obviously                      this            same     transaction                             9                 Q.     And do each of them accurately depict the scene
     just    testified                                                                    is




10   contextual                 evidence                  in    connection                     with the         --       the    case            10       as    you      observed          it   on December the 18th                        of    2009

11   on    trial.          We         believe             theyre relevant.                             And      their                           11                 A.     Yes      sir.




12   probative              value              is   not        substantially                    outweighed                     by               12                 Q.     Will    they assist you              in   explaining             your work to

13                              effect.                                                                                                         13       the       jury
     prejudicial

14                                    And again                      the           --   the originals              of these                     14                 A.     Yes      sir.




15   are    in color.                 We         have made these exhibits                                          in    black       and        15                                 MR.         GILL      We    offer       270A through                G.


16   white        to       reduce               the     --     the        effect          on the jury and also                                  16                                 MR.         MOORE          Judge          I    have     seen       the   diagram.

17          --                                      Mr.                                 which          didnt get                                17            have no objection.
     its          just          like       for                 Bedford                             I                            to                       I




18   add     for       the       record               the           --    the        uncleaned           photographs are                        18                                THE          COURT          270A through                 G    are    admitted.


19   more gorier than                               the      photographs that we have                                          included         19                                 States           Exhibits        270A 270B 270C 270D

20   here which                      show the                  --    the        body parts and                      --    and                   20                                 270E 270F 270G admitted

21   cleaned               up    at       autopsy.
                                                                                                                                                21                 Q.     BY      MR.       GILL         Doctor       while         youre there              let



22                                    THE COURT                                For the          reasons stated by the                           22       me        show    you     270H and ask you                   if    that     is    an exhibit that

23   State the Court does                                      find       that the States                      Exhibits              368        23       was prepared by you and Dr. Austin

24   through 375 should                                   be considered                         by the       jury.             Im               24                 A.     Yes      sir.




5    specifically                overruling                    your 403                  objection           after                              25                 Q.     And do 207H accurately                           portray         the    injuries


                                                                                                                                          244                                                                                                                     246

 1   taking           --    conducting                    a     --       a balancing               examination.                                      1   that      were     inflicted          on    this   body     as      it   was presented              to



 2                                        Furthermore under                                    Article   --        Texas            Code of      2       you on December the 18th of                             2009

 3   Criminal              Procedure                  38.36                   in    murder cases                   that                          3                 A.     Yes      sir.




 4   information                     and circumstances involving the family are                                                                  4                 Q.     And      will    that      assist    you     in        explaining       your

 5   admissible particularly                                        with regard                  to one                                          5       testimony          to     the    jury

 6   establishing                     the        identity            of       the individual                 the         manner                  6                 A.     Yes      sir.




 7   and means of the death                                          and to show                   that       it    was                          7                                 MR.         GILL      We    offer       270H.

 8   contextual                  --       contextual                     and transactional.                                                      8                                 MR.         MOORE          Judge          I    have     seen that exhibit

 9                                        Given         those factors                          the Court             has                         9       and       I    have no objections.

10   determined that the evidence                                                       should     be and               will    be              10                                 THE         COURT          207H      is        admitted.


11   considered                  by the              jury.                                                                                      11                                 States            Exhibit No.           270H admitted

12                                        Your objection                           is   overruled.                                              12                                 MR.         GILL      May    the        Doctor         step    in   front of


13                                        Are there                 any other rulings that you                                                  13       the jury         and show              them 270H           Your Honor

14   require                                                                                                                                    14                                 THE         COURT          He may.

15                                        MR.       MOORE                      Not at           this   point Judge.                             15                                 THE         WITNESS          The back                 of the   head       was

16                                        THE COURT                            All      right.                                                  16       burned fragmented                          and missing the                 --    the missing parts

17                                        OPEN COURT PROCEEDINGS                                                                                17           illustrated    with the            ruler.      And then on the right side

18                                        THE COURT                            Members             of the          jury States                  18       we have another depressed                             skull       fracture        that       extends

19   Exhibits              368 through 375 inclusively are admitted.                                                                            19       over the          right    side and then theres a process                                    called

0                                         States               Exhibit Nos.                     368-375            admitted                     20       the       mastoid process                  below     the ear canal               thats

                 Q.        BY             MR. GILL                       Dr.    Sisler          did    you         also        --   you         21       fractured.

22   testified             you also had occasion                                         to    prepare some sketches                            22                                 Then         we have        fracture           lines    extending             from

23   with regard                     to        this   case               is    that       right                                                 23       the       mastoid process                  anterior    into       the      zygomatic           bone.


24               A.        Yes            sir.                                                                                                  24           Its the     bone      that        connects       the    frontal         bone        and face         to


25               Q.        If    I    could           have you                     step        down and            take         a look          25           the   temporal bone                here.
                                                         247                                                                                                                                                                                                          249
                         Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                        Page 69 of 101 PageID 5281
       1                          Then theres                       another fracture                              that    extends               1           A.     Then             we have                the skin             thats     burned away over

      2    from the back                of the            depressed fracture                                across the front                    2.   the    --   the     right pelvic                   area with                exposure of bone                   and

      3    of the        skull   and ends                 in   --   in     a bone              --      burned bone on                           3    muscle and then we have                                         another         heat amputation                  of the


           the    left    here.                                                                                                                 4    right mid-thigh here.

                  Q.       BY     MR.           GILL           So what type of injuries were                                                    5           Q.      And then                  Exhibit               F
      6    they that you observed to the                                      skull          of     this          individual                    6           A.     Again                 this      is   the illustration                  the     skin       is




      7           A.       Multiple right-side                       skull         fractures.                                                   7    burned away from the                                left        thigh       and with heat amputation

      8                           THE            REPORTER                     Im         sorry sir                                              8    to    the   left    lower             leg.


       9                          THE            WITNESS                   Multiple                 right-side            skull                 9           Q.      And then Exhibit                                G
     10    fractures.                                                                                                                          10           A.      I    title         this     as global                 charring which                I   use

     11           Q.       BY     MR.           GILL           Thank          you             Doctor.                                          11    the    --   when         I    say global the whole body                                       is       burned.

     12                            Im           going to            show you                  --       ask you to                              12    And we have                   the      burned away skin of the anterior chest

     13    illustrate       these charts                   to the jury                  next           if    you dont                          13    and    this    --    I       have        --     its    intact             blackened        charred             skin


     14    mind          starting       with          States Exhibit 270A.                                                                     14    over the chest and abdomen.

     15           A.       This     is      a    --   a    side     view of the back                                  of the                   15                                 Here        we have charred                           loss of the          eyes and

                                             mentioned                                         burned away and                                                                             and then when                         we have




      --2
     16    right side that              I                            that       was                                                            16    skin of the          face                                                                  the heat


     17    then we have the fracture                                extending                   from the right                                 17    fractures          posterior               --      this        is   all    missing     that    I




     18    across the frontal                    skull         ending         in     a    --       a    unboned burned                         18    mentioned             before and then we have                                        what we            call    cooked

     19    area.                                                                                                                               19    brain       protruding                 and         then we have                    charred         blackened

     20           Q.       And then               270B                                                                                         20    skin    over the back.

     21           A.       This     was the area of a depressed                                                  skull                         21                                 And then on                       this       side the     left   side we

     22    fracture.         We     have              a fracture           that          --    mastoid                  process.               22    have the skin and                        ribs       burned away with exposure of

     23    It   extended          into          the    zygomatic               process that connects                                     the   23    charred       lungs               and small            intestine.

     24    maxillary         bone and the frontal                             bone             to the             temporal                     24                                 And then we have                              over the right side the

           bone.                                                                                                                               25    burned away skin with exposure of the                                                  ribs    of the          right

                                                                                                                                     248                                                                                                                              250

       1                           This          is   the      fracture            that            extended from the                            1
                                                                                                                                                     flank       and     its        the       right


           depressed fracture across the                                      left       --    or right side of                                 2                                 THE REPORTER                                 Im   sorry          Im       sorry

       3   the    skull     and ended                  up over here                     in    bone               --   burned bone.              3                                 THE WITNESS                                 Subcutaneous          tissue           burned

      4    This    is    the area           that       was missing charred                                       --   charred                   4    away        with    exposure                    to charred                 liver    and intestines.

       5   fragmented             bone.                                                                                                         5           Q.      BY            MR.      GILL             Would               you repeat the               last


      6            Q.       Doctor              270C           please.                                                                          6    portion       of    your answer                                 dont        think                            heard
                                                                                                                                                                                                                I
                                                                                                                                                                                                                                          everybody

      7           A.       This     is      an    illustration              of the right extremity.                                             7    it.



      8    The skins burned away over the right upper                                                                  arm         the          8           A.      The           --     over the right flank the right side of

      9    exposure of bone                      and       muscle and then we have                                             a   heat         9    the    body         the        skin        is   burned               away          and we have exposure

     10    amputation             of the          forearm at the elbow                                      --    the    elbow and             10    burned        liver          and intestines                         in   this area.

     1.1   this   part      was amputated.                                                                                                     11           Q.      Thank                you         Doctor.

     12                           Then            we have             illustration                     of the           skin                   12                                 Doctor             was         this          body capable         --      capable        of

     13    burned away              with          exposure of bone                             and muscle over the                             13    being visually                    identified

     14    right    side and then we have                                  heat          amputation                      of the                14           A.      No            sir.


     15    right lower                                                                                                                         15           Q.      And again just                                        with the
                                 leg.                                                                                                                                                                       like                          other    autopsy            you
     16           Q.       And then                   Doctor         270D                                                                      16    testified      to     here earlier today did you have                                          occasion

     17           A.       This     is      a    posterior           view          of the              skin of the                             17    to retain          for later identification                                 purposes and later

                                            burned away with exposure of the pelvic
     18    buttocks         thats                                                                                                              18    testing       certain                forensic          samples from                   this    body
     19    bones.         And then               in    this     illustration                   we have                  the                    19           A.      Yes            sir.



           skins burned away of the                                 left    arm with exposure of the                                           20           Q.      And did those include obtaining                                          blood           cards
fl




           bone     with          heat fracture                     of the         --    of the                        arm.                    21    that could          be used                         DNA
                             a                                                                               left                                                                               for                      profiling      purposes
     22                            And then we have                            --        the        skins burned away                          22           A.      Yes            sir.


     23    with    exposure of the right arm with muscle and                                                               bone                23           Q.      Let       me show                   you whats been                     marked as States

     24    exposed          and     a       heat amputation                        at the              elbow.                                  24    Exhibit      No.         376 and                ask    if
                                                                                                                                                                                                                    you are able to recognize the
     25           Q.       And Doctor                     270E           as    in       Edward                                                 25    exhibits      portrayed                    in      States 376.
._.
       --6
       1




       2


       3




       7


       8

       9


      10


      11


      12


      13
           you




           envelope

           that




           with


           on the
                    A.


                    Q.

                    for


                    A.


                    Q.
                            Yes

                            And were

                          use

                            Yes




                    photograph

                    A.


                    Q.

                    inside




                    A.
                            Yes




                          right


                            Yes
                                   side
                                       sir.




                                  in this




                               which
                                       sir.




                            And was the blood




                                       sir.




                            And was the coin

                                  --   within




                                       sir.




                                       MR.
                                                   those




                                              appears




                                               of the




                                               GILL
                                                         251
                         Case 4:16-cv-00133-O Document 23-19


                                                   Case No.
                                                             Filed 07/06/17

                                                            samples




                                                            in




                                                     the larger
                                                                 the
                                                                      0914837



                                                                     card




                                                                 envelope



                                                          photograph



                                                           At    this
                                                                         upper




                                                                         envelope
                                                                                 that




                                                                              sealed
                                                                                         were obtained




                                                                                              in


                                                                                        left-hand




                                                                                      then sealed




                                                                            point Your Honor
                                                                                              that
                                                                                                       the    coin


                                                                                                                 corner of




                                                                                                             appears
                                                                                                                      inside




                                                                                                                         were
                                                                                                                               by
                                                                                                                                     1




                                                                                                                                     2

                                                                                                                                     3


                                                                                                                                     4


                                                                                                                                     5

                                                                                                                                     6


                                                                                                                                     7


                                                                                                                                     8


                                                                                                                                     9


                                                                                                                                    10

                                                                                                                                    11


                                                                                                                                    12

                                                                                                                                    13
                                                                                                                                         exhibit




                                                                                                                                         microphone




                                                                                                                                         testimony.

                                                                                                                                         exhibit


                                                                                                                                         summarized

                                                                                                                                         of the
                                                                                                                                                    as
                                                                                                                                                       please.




                                                                                                                                                   chart.
                                                                                                                                                                     Page 70 of 101 PageID 5282
                                                                                                                                                                    THE COURT



                                                                                                                                                                    Oh
                                                                                                                                                                    Okay.

                                                                                                                                                                    MR.




                                                                                                                                                                    please.

                                                                                                                                                                    MR.

                                                                                                                                                                    My



                                                                                                                                                           they had her testify

                                                                                                                                                                    her
                                                                                                                                                                               yes




                                                                                                                                                                    THE REPORTER
                                                                                                                                                                                   MOORE




                                                                                                                                                                                   MOORE

                                                                                                                                                                               objection


                                                                                                                                                               They went through
                                                                                                                                                                                             I   remember

                                                                                                                                                                                       And your objection




                                                                                                                                                                               testimony over here on the

                                                                                                                                                                     And what youve
                                                                                                                                                                                                         Let




                                                                                                                                                                                                         is
                                                                                                                                                                                                            My




                                                                                                                                                                                                            Im
                                                                                                                                                                                                                   me




                                                                                                                                                                                                                   objection

                                                                                                                                                                                                                   Im




                                                                                                                                                                                                                 its




                                                                                                                                                                                                                    got
                                                                                                                                                                                                                       sorry.

                                                                                                                                                                                                                        a
                                                                                                                                                                                                                             take




                                                                                                                                                                                                                             this




                                                                                                                                                                                                                                 sorry.




                                                                                                                                                                                                                             summary

                                                                                                                                                                                                                       the chart exhibit

                                                                                                                                                                                                                       and then they



                                                                                                                                                                                                                                 is
                                                                                                                                                                                                                                             a look




                                                                                                                                                                                                                                          now.

                                                                                                                                                                                                                                              again




                                                                                                                                                                                                                                      essentially
                                                                                                                                                                                                                                                  is




                                                                                                                                                                                                                                                      Speak




                                                                                                                                                                                                                                                            of the




                                                                                                                                                                                                                                                             far
                                                                                                                                                                                                                                                                  at the




                                                                                                                                                                                                                                                                  is



                                                                                                                                                                                                                                                                       into




                                                                                                                                                                                                                                                                       by



                                                                                                                                                                                                                                                                    right part

                                                                                                                                                                                                                                                                       a
                                                                                                                                                                                                                                                                                  253




                                                                                                                                                                                                                                                                                  the




      14                                States        376 without                condition               for                        14   summary           of      her testimony.
           going to         offer                                                                                all




      15   purposes.
                                                                                                                                    15                              And            my    objection                     is   that        it        well       may have

      16                               MR.     MOORE             I    have        no additional                                     16   been usable               in     front of the jury as a jury aid                                                    or as a


      17                          Your Honor.                                                                                       17   demonstrative                    exhibit                but its           not evidence.                              The
           objections




      --6
      18                               THE COURT                 376        is   admitted               for      all                18   evidence        is    what she said and so                                          I    object                   on that

      19                                                                                                                            19   basis.
           purposes.

      20                               States Exhibit No.                        376 admitted                                       20                              THE COURT                               Do you have                           a    response

      21            Q.      BY. MR.            BRISSETTE                 Again Doctor                         let      me ask       21                               MR.           GILL           Well thats                          why were                     offering


      22   you to refer to States                         Exhibit No.            441 and ask                     if    there        22   it   because         her testimony was long                                             and         it   was detailed

      23   is   a   blood      card       within      an envelope                 contained                  on that                23   and    this    was an accurate                                summary                    of her               testimony                  and as

      24   photograph on the left-hand                                           on page               1                            24        relates                     the different                       exhibits                that            were




      --10
                                                                      side                                                               it              to        all




 1-15               A.      Yes        sir.                                                                                         25   admitted        during                the      --       the     course of the                            trial.


                                                                                                                              252                                                                                                                                                 254

       1            Q.      And do you               recognize           it      as being              from the same                 1                              THE COURT                               It    was voluminous and not only

       2   Case No.            0914837                                                                                               2   that but        it    is        an essential to                         this       --    to the


       3            A.      Yes        sir.                                                                                          3   Prosecution               presenting                    its     case.              Your objection                             is



       4            Q.      And was that blood                        card       drawn and prepared at                               4   overruled.            442            is   admitted.


       5   your direction                in    connection             with       this   case                                         5                               MR.           MOORE                    Judge                we     also

                    A.      Yes        sir.                                                                                          6                              THE REPORTER                                   Im            sorry.                I    cant           hear

       7                               MR.      GILL        At    this        point Your Honor                               were    7   you.

       8   going to         offer       States        Exhibit          No.       441 without                                         8                               MR.           MOORE                    We         have the same prior

       9   condition.                                                                                                                9   objections           that        we made                      in    connection                      with           all    those

                                       MR.      MOORE             I    have no additional                                           10   the depict           --    the        photographs                         and things that are

      11   objections             Your Honor.                                                                                       11   contained            are the              results of the                       search                    which           we        --    the


      12                               THE      COURT            441        is   admitted               for      all                12   searches        that            were done                 which               we        raised                in   the        Pretrial


      13   purposes.                                                                                                                13   Motions to           Suppress                   and so we would renew those

      14                               States Exhibit No.                        441 admitted                                       14   objections           as well as the                        --       the       new            objections                   that

      15                               THE      COURT            Your Honor                   now          that        all    the   15   Ive made at                 this          point.

      16   condition           precedents             have       been satisfied the State                                           16                               THE COURT                              Thank            you        for           clarifying                 that.

      17   offers        442    for     all
                                               purposes.                                                                            17   Your objection                   is       noted continues to be overruled and

      18                               MR.      MOORE             Judge           I   have the same                                 18   you have a running objection with regard to those

      19   objections           that          we    previously         made             plus       I    object that                 19   matters.         442            is    still    admitted.


      1    442      is    essentially           a   summary of testimony                                that      was given         20                               Yes           Mr.       Cummings
ý..        in   front      the jury           by    Ms.    Van Winkle.                  Its    a                                    21                               MR.           CUMMINGS                            Your           bailiff              just    told          me
      22   demonstrative                  exhibit.         Its not          an exhibit                 itself.                      22   the jury       wants a break.

      23                               THE      COURT            All    right.          Let    me          visit       with         23                               OPEN COURT PROCEEDINGS
      24   the State           and the Defense                   over         here.                                                 24                               THE           COURT                    All    right.             Members                     of the jury

      25                               BENCH CONFERENCE PROCEEDINGS                                                                 25   Ive heard            your            call.      Ive heard your                                call.               Were            at a
                                                 255                                                                                                                                                                                      257
                 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                        Page 71 of 101 PageID 5283
                                                                                                                              1          Q.    And         with regard            to   your Case No. 0914837                                  the
 1   stopping      point.


 2                           MR.      GILL             Judge            can       I    ask    five       more                 2   five-year-old            child        did     you    learn the              identity      of the


                                           doctor                                                                                                          child
                                                                             pass him on direct
 3                                                                 can                                                        3   five-year-old
     questions with the                                       I




     examination                                                                                                              4         A.      Yes        sir.



                             THE COURT                      You may.                                                          5          Q.     And what was that


 6                           MR. GILL                  Thank            you.                                                  6          A.     It    was     --      she was identified                      as Jodi      Ruth

 7                           THE COURT                       Please           continue.                                       7   Hummel.

 8                           MR. GILL                  Would            you       tell      the jury       what the           8                           MR.      GILL          We     pass the witness Your Honor.

 9   results      of                             was on States Exhibit                              --                        9                           THE COURT                    Members                of the    jury we have
                       your     ruling


10                           THE COURT                      442         --    ladies         and gentlemen                   10   reached       a stopping              point      and we              will    break for the

11   442    is   admitted            for    all    purposes.
                                                                                                                             11   evening.           Well     resume the               trial      at    900       a.m.      tomorrow.

12                           States               Exhibit          No.       442 admitted                                    12                            Please        remember                the     Courts previous

13          Q.     BY        MR.      GILL             Now          Doctor Sisler with regard                                13   instructions.             Do     not discuss           this       case with anyone

                                                            0914837                                                  an                                                                                      both sides have
                         your Case No.
14   to   cause    --                                                                 did    you     arrive     at           14   including      amongst              yourselves                 until



15                           cause          of     death                                                                     15   presented          their case            and    --    theres a number of other
     opinion as         to


                                                                                                                                                               need             be accomplished                      before
16          A.     Yes        sir.                                                                                           16   things      that    still                to                                                     youre

17          Q.     And what                is    that      opinion                                                           17   sent to the jury                room for your deliberations.                              If    you

18          A.     I   said     blunt force                 trauma            of head.                                       18   have     any questions                regarding              your instructions                   please


19          Q.     And the manner of death                                                                                   19   refer   to   the        pamphlet.

20          A.     Homicide.                                                                                                 20                            Well       be   in    recess          until       900     a.m.        Thank

21          Q.     Would         the        injuries suffered
                                                                                      --                                     21   you very much.

22                           Well          let    me ask you                  this first             Was                     22                            Jury not present

23          --   was    this     body consistent                         in   size with             that of a                23                            MR.     BRISSETTE                     Judge         while       were     outside




 --9
     this


24   five-year-old            child                                                                                          24   the   presence           of the       jury as a matter of housekeeping                                        I




a5          A.     Yes        sir.                                                                                           25   believe      now         through         the presentation                     of   Dr.    Bao we

                                                                                                                  256                                                                                                                     258

 1          Q.     Would         the injuries suffered                                by    this                              1   have     proved up the conditions                              that        were placed          upon

 2   five-year-old            child        be consistent                     with that                                        2   States Exhibits                 250 251 252 253 254 385                                        386 and

 3   five-year-old            child        being           struck        by a baseball bat                                    3   387     those       being Judge                 and        I    would proffer to the

 4          A.     Yes        sir.                                                                                            4   Court that the              first     set of    numbers was the                        shirt     that


 5          Q.     Let       me show you what has been admitted                                                  into         5   was recovered from the body of Joy                                          Hummel          and       386 and

 6   evidence          as    States             Exhibit       No.        331B.              Let    me     ask you       if    6   387     were the bra that was recovered.

 7   the    injuries        suffered             by    this       five-year-old                   child   were                7                            Those        were conditionally                      admitted          when         Ms.


 8   consistent         with being                struck          by an item such                     as   States             8   Belcher      testified           and

     Exhibit      331B                                                                                                        9                            THE COURT                   So youre offering                    it    for   all




10          A.     Yes        sir.                                                                                           10   purposes           at   this     time

11          Q.     With       regard to the other                             autopsy              that   we                 11                            MR.        BRISSETTE                  Yes Your            Honor.


12   discussed          with     you        earlier           No.       0914835                   the adult     male         12                            THE COURT                   Mr.       Moore         or Mr.      Cummings
13   were    the       injuries       suffered              by him to                 his    head        consistent          13   whats your response

14   with being         struck         by States Exhibit                              331B                                   14                            MR.        MOORE            Judge             I   dont have           any

15          A.     Yes        sir.                                                                                           15   additional         objections            other       than those that we

16          Q.     And        Doctor              at       some         point         after       having                     16   previously          made         in   connection               with        those exhibits.


17   conducted          these         autopsies                   did    you learn from the                                  17                            THE        COURT            During the               pretrial         hearing

18   University         of North            Texas           Health Science                        Center the                 18                            MR.        MOORE            Well at the time that they

19   identity      of these           two         bodies                                                                     19   were originally offered and those                                    --    they hark back              to

            A.     Yes        sir.                                                                                           20   the    pretrial         hearing Judge.

            Q.     And what did you                          learn           was the identity                of the          21                            THE COURT                   All       right.       States Exhibits

22   body presented to you                            in   Cause             No   --       Case No. 0914835                  22   250 251 252 253 254 385 386 387                                                    are    admitted           for

23   the adult         male                                                                                                  23   all   purposes.

24          A.     I    learned            he was identified                          as    Clyde Edward                     24                            States          Exhibit           Nos.       250-254
25   Bedford.                                                                                                                25                            385-387            admitted
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                          Page 72 of 101 PageID 5284                                                     1




                                                          1335 11-                         981             1621816322                                     229D      1            -       16218                20416

                                                          133611               -           981            2.5111-        2059                             229D1          2               -       967 977     272B         3           -
                                                                                                                                                                                                                                               19921

88   1     -     1831                                     1414       -
                                                                           7220 10110                     2014      -    13018                            229D2          5               -       1633         2008 2056
92   1     -     1831                                      2093 2094                                       13623 13718                                     16316 16319                                       272C         4           -
                                                                                                                                                                                                                                               19921

                                                          14th       I1        -       5317                16812                                           16322 16323                                        2009 2066 2076

                               0                          1516       -     7223 13623                     2001      1        -       18316                229E1          71-                     979 987     273   11
                                                                                                                                                                                                                                  -   5619

                                                           13717 16811                                    200211             -       121                   988 10917                                         273B         7 5723 581  -



01-02-1213                             Ill-
                                                   1124    2093 2094                                      2004111-                   18219                 11021 1112 1115                                    584 5818 5821
014654 2 -1520                                            15th       111
                                                                               -       5316               2008121-                   1705                 229F      1            -       12722                5823 5825
 421                                                      1612       -
                                                                               12916 1486                  18219                                          229F-1             3               -   8324        273C 31- 589 5825

043323 2                                       1817                                                                                  353 431               8325 846                                           607
                                       -
                                                          16th       13                -   13722          2009      46           -



 431                                                       14424 1451                                      5316 7910 1146                                 229F1          101-                    9225        273F 13                       -   5123
0914835112                                 -
                                               21820       145314591462                                    114221318                                       936 9312 9315                                      5219 533 5314
 21825 21916                                               16220 16225                                     1325 1328                                       9316 1268                                          5625 5710 5715
 22224 22423                                               1635 1639                                        13322 13524                                    12612 12613                                        5717 5721 5722
 2298 2327                                                 17510 17511                                      1376 1377                                      12616 12618                                        587 5811 6210
 23711 23714                                               17513                                            13813 13916                                   24121-         5018 732                            288111-                  141

 2384 25612                                               174    4         -
                                                                                   13016                    14210 14421                                   2459      Ill-                 1028                29    2      -       827 12721
 25622                                                     13118 13123                                      1463 1486                                     2512      -
                                                                                                                                                                         733 737                             29C-1                2        -   8115
0914836                  111-                  1856        16717                                            1481914922                                    250   2        -       2582 25822                   8118

0914837                  7 2378        -                  17th       15                -   3910             1527 1536                                     250-254                    1           -   25824   29C1         1 838        -




 23814 2454                                                5422 14724                                       15717 15718                                   251   2        -       2582 25822                  29E-1        3 8115           -



 2513 2522                                                 1483 1486                                        15721 16225                                   252 21-                2582 25822                   8125 8218
 25514 2571                                                14819 14922                                      1639 16515                                    253 21-                2582 25822                  29F-1            1            -   8325
0914857                  11- 23521                         1527 15721                                       1681 1684 1702                                254 21-                2582 25822
                                       23719               16515 17523                                      1745 17513                                                                                                                         3
091857                  I11-                                                                                                                              25th     1         -       26016
                                                           17524 1765                                       1836 18620                                    27   1    -    12918
                                                           17614 17710                                      18624 18922                                                                                                   295
                                                                                                                                                          270A      6                    2451                3111-
                                                                                                                                                                                 -


                                                          18111-               18922                       20210 2185                                      2456 24515                                        3.5   1          -       2059

117        714 829                                        1823        1                    9720            21818 2192                                                                                        3015                     2418 499
                                                                                                                                                           24518 24519
       -
                                                                                   -                                                                                                                                      -



 9718 12722                                               18th       121-                  431 444          21916 23818                                    24714                                              13718 15120
 20221 2373                                                                                                 24510 2462                                                                                        15124
                                                           5422 1536                                                                                      270B          2        -           24519
 25124                                                     20210 2185                                     2010      2 5317   -                     1228    24720                                             303     5            -
                                                                                                                                                                                                                                       16424
10   1     -    6816                                       21818 2192                                     2011 11-                   112
                                                                                                                                                          270C 21- 24519                                      16425 1655
10/1/09                                9610                21916 23818                                    201211             -       26017                                                                    165816510
                        I1                                                                                                                                 2486
                               -



10/2/09                 2 9418 -
                                                           24510 2462                                     205 1          -       7620
                                                                                                                                                          270D          2        -
                                                                                                                                                                                             24519
                                                                                                                                                                                                             304     171-             7624 1895
 959                                                      1921-                722310122                  207H 2                 -
                                                                                                                                     24525                                                                    18961901
                                                                                                                                                           24816
                        21924                                                              2171             24610                                                                                             1941419420
100111-                                                   197011                                                                                          270E                           24520
                                                                                   -
                                                                                                                                                                                 -
                                                                                                                                                                    12
1000           4         -     16620                      1971        Ill-
                                                                                           2174           20th      111-             11421                 24825                                              19812

 16621 1675                                               1980        1            -       1815           21   I1
                                                                                                                    -    112                              270F 11- 24520                                     304-318                       1    -   19814
 16712                                                    1988        111-                 18223          212-818111                         -   8312     270G          2 2451       -
                                                                                                                                                                                                             305     5            -
                                                                                                                                                                                                                                       18912
1011           Ill-           3125                        1992 41-                         18125          214    1       -       5016                      24520                                              18924 18925
1029           Ill-           3125                         1822 18223                                     22    2   -
                                                                                                                         21616 2181                       270H          4            -
                                                                                                                                                                                             24522            1913 19812
10th       5        -    1429                              18311                                          220D          11       -   1183                  2467 24611
                                                                                                                                                                                                             306     1            -    19218

 144121737.                                               1995121-                         18311          220F 11- 1182                                    24613                                             307     1            -    19220

 1744.17620                                                18316                                          229 21-                8418 947                 271A71- 23119
                                                                                                                                                                                                             308     1            -    19222
11   21-        12920 1315                                1998        3            -       6116           229B          2        -   8019 815              23124 2329                                        309     I11-              19224
                                               8911                                                                                                                                                          30L                       509
11/13/09                     Ill-                          6123 626                                       229B-1             I1          -   859           23212 23213                                               111-


1150           111-           694                         19th 61-                         15218          229B1              81-             814 827       23215 23217                                       310     1            -    1931
12/16                         6218                         15220 15312                                      8420 9212 9317                                      B                                                                     -1933
               Ill-                                                                                                                                       271           15           -       23120           311     I1




12/20/09                     1         -       894         15724 17710                                      9322156191578                                  23121 23122                                       312     1            -    1935
12/31/2013                             11      -           18624                                          229B2              9       -       9411          23213 23310                                       313     Ill-              1937
 26021                                                    130 11- 6822                                      1585 15811                                    271 C 91- 22919                                    31412                -
                                                                                                                                                                                                                                       1939 19420
12/5/09                 1 1-               8914           135        Ill
                                                                               -           809              15818 1591                                     22921 2303                                        31518                -    19311
1229B1                  1          -       8414           14654 2                           -
                                                                                                163 165     16111 16213                                    2306 2307                                          19421 1953
                        1323                                                       1836                     16214 16319                                                                                       1954 19516
12511           -
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                                                                                                                                                           23013 23016
1200           1         -    6816                                                                        229C1              6 933   -
                                                                                                                                                           2317                                               1966 19621
1210111-                      694                                                           2               941510917                                     272A          7        -           19915            19623

1227           Ill-
                               809                                                                          1101011021                                     2003 2007 2008                                    316 21-                   19324
1309       Ill-
                             9723                         214    -       714 9411                           1114                                           20318 20319                                        19424
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                Page 73 of 101 PageID 52852



317121-                    1941 19424             23624 23714                                        4211    -   7320                           462-464                1     -   4925    603 1 7624         -




318   6        -           1941                  379   4       -       20124                         42/59   1 7512          -                  463   4        -       4716 4724         63 1 4918  -



                                                  20213 20217                                        426    3 6323 641                           4913 4923                               64 1  4918 -
 19414 19425                                                                                                     -



                                                                                                                                                                       4717 483          640 1  1323
 1953 1967 19812                                  20218                                               6513                                      46415          -                                            -




31st   3           -           353 3523          38.36121-                     2157                  427171-                 633 6315            4913 4923 5010                          65 2  1121 4918
                                                                                                                                                                                                    -



 1146                                             2443                                                6316 6317 6319                            465A      6            -   486 487       66 1  4918 -



320   1        -           6124                  385121-               2582 25822                     6321 6511                                  4813 4913 4923                          67 1  4919 -



323-7667                       1   -   8418      385-387               1           -       25825     431    14           -       153 155         4925                                    68 1  1102 -




331   B    3               -   2566              386   3 2582 2585
                                                               -                                      157 1521 178                              465B 1                 -   501           680-1602111-                                       9423

 2569 25614                                       25822                                               253 293 3723                              466   5 4818 4820
                                                                                                                                                               -
                                                                                                                                                                                         680-6962                               11
                                                                                                                                                                                                                                        -   9523

34121-         499 10214                         387131-               2583 2586                      381 4111 4113                              4913 4923                               682    2           -           8415 8713
34/30111-                      498                25822                                               4114 4116 4311                            466-46711                    -   501     600141-                            16620
340B       1               -   506               347     1         -       17915                     432    3    -           1410 291           467   5 4822 4824
                                                                                                                                                               -
                                                                                                                                                                                             16621 1675
                                                                                                      292                                        4914 4923                                   16712
343   12               -       1512
 15141671712                                                                       4                 432A        2 3721 381  -                  468   5        -       1225              615        1               -       25912

 1725 184 2915                                                                                       432B        7 145 148   -                   12214 12216
                                                         295                                          1411 244 246                               12224 12416
 4017 4020 4124                                  4111-                                                                                                                                                                              7
 4219 4220                                       40 1    -     267                                    3721 381                                  469   8        -
                                                                                                                                                                       1231 1235
34W 1                  -       509               401 1         -       26023                         432nd           2 2604      -               12311 12414                             702    1           -           7622
                                                 403 6                 19425                          26022                                      12424 12515                                                            121
     1             10214                                                                                                                                                                 71611
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35
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353   5        -           22413                  1973 22719                                         437A        1           -   1906            1262 1264                               7180           11              -   26021

 2251 22519                                       22723 22820                                        437B        4           -   1905           47 2      -
                                                                                                                                                                   12021 1216            76060-540811                                               -



 22522 2294                                       24325                                               19112 19117                               47s 1              -       1219              12710

353-367111-                        2295          404b 1                    -       9124               19119                                     470 7          -       18815             76196              1               -       26023

358    1       -           22522                 405111-               292                           441    8        -       20221                18816 18817                            7701-1823 1                                            -   9711
                                                 405A21- 3715 3725                                    2371 23725                                  19122 1923
359    3           -       22525

 22616 2279                                      405B 10                       -
                                                                                   1421               25122 2528                                  1926 19810                                                                         8
360    1           -       22525                  1423 151 2412                                       25212 25214                               471   6 -18819
3611               -       22525                  3714 3715 3725                                     44217           -       25217                19122 1923                             8    1 -       714

                                                  405 4014 4311                                       25220 2544                                  1926 19810                             80    1                141
       1                   22525                                                                                                                                                                        -
362                -



363    1           -       2261                  406   1       -       293                            25419 25510                               473A       1           -    18722        81716                  -
                                                                                                                                                                                                                        8312 8418
364    1           -       2261                  406A   2 3717         -                      3725    25511 25512                               415111-                    17915             9423 9523 9711
                                                 406B 16                           1717              445     7               5910 5911                                                       1102
       1                   2261                                                -                                     -
365                -




                           2261                   1720 1721 1814                                       5916 5919 5922                                                        5           817-770-3723                                               1   -
366111-

                                                  2511 308 314                                         5925 621                                                                              827
367171-                    22413
                                                  3717 381 425                                       4461201-                    6621           51    4   -        10321                 84    1        -       121
 2251 22519
                                                  427 428 4210                                        6623 6625 682                               12021 1216 1219
 2261 22617
                                                  4217 435 4311                                       685 688 6911                              525   1        -       7620                                                          9
 22710 2294
                                                 407 1 293                                            6919 779 793                              527   1        -       7621
       7 2418
                                                                   -

368                -



                                                 407A 2 3719                                  381      795 7920 999                             540 1          -       13113             9.01b                              -        294
 24111 2427
                                                                       -                                                                                                                                        11




                                                 4078 9 1818                                           9911 9912 9918                           5408       3 5217      -                 9/15       1               -       5324
 24212 24219
                                                                       -




                                                  1822 267 3720                                        9921 10121                                 5219 5222                              9/21       1               -       553
 24323 24419
                                       24420      381 442 448                                          1055 1196                                558-3863121-                      8415   901131-                            1213 134
368-375111-
                                                  4410 4413                                          447     4               639 6323             8713                                       4610
    1 24219
                                                                                                                     -

369                -


370 2                                            408141-               293 4412                        649 6514                                 58    1            10514                 901b 1                                 -    3120
       2427                              24219                                                                                                             -
                   -



371 1  24221       -
                                                  4615 4619                                          447-460                     1   -   6517   59    18       -       673 6810          971    1               -           1121

3723 1  8212               -
                                                 408A        6         -
                                                                                   1911 225          449     4       -
                                                                                                                             10622                6910 6920 714                          900        12              -
                                                                                                                                                                                                                            25711
                                                  229 2212 2215                                        1099 11122                                 715 7221 7224                              25720
375171-                    2418
                                                  2217                                                 11125                                      733 737 7320                           907 1                      -       112
 24112 2428
                                                 408B 17                       -   1914              451     3       -10619                       9925 10110
 24212 24221
 24324 24419                                      202 204 206                                          11121 11122                                10214 1033                                                                         A
                                                  2124 2210 2218                                     45612           -
                                                                                                                                 10619            10321 10422
376151-                    25024
                                                  231 237 267                                          11122                                      1056                                   a.m    9               -           112 1520
 25025 25114
                                                  2620 453 4520                                      459121- 1097 11121                         5th   1                9115                  3125 421 694
 25118 25120
                                                                                                                                                               -




                                                  465 4617 4621                                      460     4       -       639 6323                                                         1675 25711
377    6- 20022
                                                  4625                                                 649 6514                                                                              25720
 20023 2013                                                                                                                                                                  6
                                                 41 1 1033 -                                         462     9 4716 4722
                                                                                                                     -                                                                   abdomen                                    6       -
                                                                                                                                                                                                                                                    19518
 20213 20217
                                                 412 4 633 6323    -                                   4723 4912 4918                           60131-             671 676                   20321 21319
 20218
                                                  641 6512                                             4923 5216 5225                             678                                        21913 23319
378151-                    23520
                                                 412-42611                             -   6516        11325                                    600    1           -       1279               24914
 23619 23622
  Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                Page 74 of 101 PageID 52863



abdominal                    i1-                      367 5610 5622                            1926 1953 1966                                          almost 41-                       1707                                   1319 13112
  21913                                               651 653 6617                             1971019813                                                  21015 21922                                                         149231644
ability    15        -    3023                        16014 18611                              19814 2007                                                  21924                                                               17615 17621

  336 708 9513                                        1978                                     2009 20217                                              alone 51-                14313                                         apologies             l          -       549

  11415                                              additional       241-             191     20218 22524                                                 1444 14618                                                         apologize             i          -       23723

able   1311-             1522 211                     361 4920 5820                            2294 2295 2306                                              17420 1775                                                         apparent              21-            8719
  215 218 2522                                        7121 774 9312                            2307 23212                                              Alonzo       121-                1122                                   9421




  l1-10714
  2718 4210 4523                                      9321 11025                               23213 23622                                                 1214                                                               Appeals         31-          1124
  462 518 607                                         1191 12612                               23624 24419                                             alteration               1               -       1220                   121 7624
  6011 6114 621                                       15723 1602                               24420 24518                                             altered      3           -       133                                   appear 51-                 4722
  6712 6722 684                                       19114 1921                               24520 24610                                                 2721 341                                                            2078 22214
  6917 6923                                           19712 20215                              24611 25118                                             amended 11- 8022                                                        2394 24219
  106191074                                           2155 21515                               25120 25212                                             Amendment i                                              -       368   appearance
                     10717                            2237 23620                               25214 25325                                             amendments                                       11-                    1552

  10815 15419                                         25116 25210                              2544 25419                                                  811                                                                appeared              171-               1092
  17122 17124                                         25815                                    25511 25512                                             American                                             18210              2215 2252
                                                                                                                                                                                11-

  1727 2081                                          address     71-   8023                    2565 2587                                               amount i1-1002                                                          22523 2284
  20823 25024                                         844 8515 882                             25822 25825                                                                                                                     24220 24225
                                                                                                                                                       amphetamine                                          41-
                                                      9313 1276 1278                           26014
abnormalities 13                               -
                                                                                                                                                           21010 21011                                                        application                 2                -


                                                                                                                                               1211
  2198 21912                                         addressed        1    -           804    admitting                   11-
                                                                                                                                                           21012 21019                                                         3816 3824
  21915                                              addresses        l    -           122    adult   4       -       18510
                                                                                                                                                       amputated                        2               -                     applies         2      -    2519
above-styled                          1    -         addressing        i1          -   7313    18511 25612
                                                                                                                                                           22111 24811                                                         16322
  26010                                              adequately       i        -       334     25623
                                                                                                                                                       amputation                           6               -                 appointed              1             -       3613

absolutely                   21-                     adjourned        t    -       25912      advice          1       -       3021
                                                                                                                                                           23324 24810                                                        appreciate                 111
                                                                                                                                                                                                                                                                       -




  19720                                              adjust i1-       18112                   affidavit12                      -
                                                                                                                                       3411                24814 24824                                                         21519
                                      1824                                                     1226
accepted                 i1-                         admissibility         131-                                                                            2493 2497                                                          approach              1111-                      4424
                                                                                                                                               358




  11-20516
                              6713                    1222 6423 9617                          affidavits
                                                                                                                                                                                                                               4712 502 5118
access                                                                                                                    ii
                                                                                                                                                                                                    204
                                                                                                                                       -

                   11-                                                                                                                                 analysis 21-

accidentll                    -       21715          admissible        4       -              afternoon                    2 9525          -
                                                                                                                                                           1973                                                                10913 1108
                                                      3223 1621 2431                           18014
accomplished                           l1-                                                                                                             analyst          f2          -       2117                               11112 12218
  25716                                               2445                                    age 21- 16421                                                6524                                                                18712 19416
                                                                                               22014
accordance                        1    -   847       admission        3    -           1117                                                            anatomic                 1               -       21621                  2105

                                                      1217 6813                                                                    1159
according                    121-                                                             agency          121-
                                                                                                                                                       anatomical                           t               -       1829      approximate

                         20825                       admit   1   -   2593                     ago   31-       5010                                     anatomically                                     ill
                                                                                                                                                                                                                    -          6122

accordingly                       4    -
                                               362   admittance        t           -   122     19016 21318                                                 19623                                                              area   25       -     7414
  65519751982                                                                          1713                               21518                                                                                                1039 10310
                                                     admitted                                 agree
                                                                                                                                                                                t
                                                                                                                  -
                                                                     106       -                        Ili
                                                                                                                                                       Angelica                             -       2603
                                  525                 1725 2014 2215                                                           2219
account              121-                                                                     agreed          l1-                                      ANGELICA                             i1-                                10712 12315
  5311                                                2217 3715 3716                          ahead       171-             1318                            26021                                                               19517 19525

accuracy                 l        -   652             3717 3718 3719                           6816 80719617                                           angle 21-                2410 262                                       19621 19624
accurate                              2724            3720 3721 3722                           23423 24014                                                                              248                                    2046 20910
                         181-
                                                                                                                                                       angles       11-
  30131175                                            3723 381 4616                            24210                                                                                                                           20914 23020
                                                                                                                                                       Angleton                 31-1121
  12115 15712                                         4619 4621 4924                          ahold     Ill       -       17713
                                                                                                                                                           1214 1222                                                           2312 2315
  1582 22925                                          501 571 5716                                            584 5814                                                                                                         23224 2333
                                                                                                                                                                    2
                                                                                              aid   41-                                                ANHUI                    -       18119
  25323                                               5717 5823 5825                           652 25316                                                                                                                       2334 2343
                                                                                                                                                       Anhui        3       -
                                                                                                                                                                                    18025
accurately                                            5923 5925 6320                          air 31-     11817                                                                                                                24719 24721
                             71-
                                                                                                                                                           1811718119
  13912 15715                                         6321 657 6512                            11820 22319
                                                                                                                                                       answer                                                                  2484 2492 25010
                                                                                                                                                                        141-                1241
  1637 16311                                          6513 6514 6517                          airways                              22313                                                                                      areas 91-             1017
                                                                                                                                                           12422 1568 2506
                                                                                                                  41-

  2326 2459 24525                                     6716 7820 793                            22314 22320                                                                                                                     10119 1038
                                                                                                                                                       answered                                     -
                                                                                                                                                                                                            9613




31-actual
                                                                                                                                                                                    121


accused              21-              21511           7919 931 9315                            2413                                                                                                                            10761236.1238
                                                                                                                                                           9716
  21514                                               9316 948 981                            aisles 12           -       3017                                                                                                 19314 2098
                                                                                                                                                       anterior         2               -       24623
action     11-               4317                     988 9911 9912                            3022                                                                                                                            24024
                                                                                                                                                           24912
acts   2       -
                     7724 9122                        10610 1113                              Alabama                 1            -       18219                                                                              arguing         1      -     1421
                                                                                                                                                       anthropologist
           4         -       278                      1115 12214                              alarm l1-                   4725                                                                                                argument                         -
                                                                                                                                                                                                                                                                           1972
                                                                                                                                                           2241 22624 2271                                                                           121


  581010821199                                        12216 12313                                                                              15324                                                                           19716
                                                                                                                                                                                    3                       1825
                                                                                              allegation                   11-
                                                                                                                                                       anticipate                                   -



add    5           359 5615                           125512631264                            alleged         2 9419      -                                                                                                   Arizona                -    615
                                                                                                                                                           7718 8016
           -
                                                                                                                                                                                                                                              Ill



                                                      12613 12616                              9510
  16019 22716                                                                                                                                                                                                       9815      Arlington 91-                            1818
                                                                                                                                                       anticipated                          ill
                                                                                                                                                                                                            -

  24318                                               16111 16213                             allegedly               13           -
                                                                                                                                               799     anticipation                             z               -
                                                                                                                                                                                                                               264 273 4324
added 31- 5814                                        16214 16322                                                                                                                                                              4413 10324
                                                                                               8718 9122                                                   3525 22623
  7023 7025                                           16323 1658                              Allen                   477
                                                                                                      11-                                                                                                                      10816 10825
                                                                                                                                                       anyway i1- 17024
                                                      16510 19117
adding         Ili       -    1825                                                            allow     4     -
                                                                                                                      333 334                                                   666
                                                                                                                                                                                                                               11312
                                                                                                                                                       a   p arti       -

                                                      19119 1923
                                                                                                                                                                    1




addition             po       -       2913                                                     3524 6817                                                                                                                      arm    15   -   1051 2488
                                                                                                                                                       apartment                        71-                     1315
     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                        Page 75 of 101 PageID 52874



     24820 24821                                                      assume      3       -       11215                                  20525 2064                                               18715 19212                                     959

     24823                                                             12119 12120                                                       20822 21013                                              19815 19913                                    behalf             t -17720
    arms s1- 20724                                                    atherosclerosis                                     ill       -    2114 21117                                               20013 20219                                    behind              4 564              -



     22022 22023                                                       2221                                                              21819 2191                                               20311 2056                                      7711 13115 1964
     22112 23312                                                      ATM   131-        1112                                             2194 22117                                               2071 20710                                     Belcher                    2I                  -
                                                                                                                                                                                                                                                                                                        1929
    Army i     I
                    -       21622                                      142515141611                                                      22417 22423                                              20822 2128                                      2588

    arresti1-3624                                                      1620 254 2910                                                     2255 22523                                               21411 21416                                    beliefs-326

    arrested            21              -           3612               2915 4019 4022                                                    2262 22811                                               25725                                          Belknap                            t               -   26023

     17718                                                             4124 7311 10217                                                   22814 22817                                             BAO     ill
                                                                                                                                                                                                                -       18010                    belly 1i               -           20425

    arrive    5         -       22612                                 attack   121-       7714                                           22819 2297                                              Baptist           111       -       18220       belong                 4                   -       8116
     23419 23516                                                       21715                                                             2323 2324                                               barely iI              -        3215             8314 8416 872
     2424 25514                                                       attempt     151     -       6023                                   23413 23512                                             Barry         3    -        11713               belongs                            3               -   5013
    arrived        iI           -           1145                       614 14114                                                         23811 2397                                               11714 11716                                     8119 8315
    arrow     Ill-              1042                                   14811 15213                                                       24015 24115                                             Barrys            11        -       11710       below              17              -           19517

                                                                                          6 6020                                         24122 2438                                              baseball                             20515        19519 2013
    arrows         11                   -
                                                7024                  attempted                         -
                                                                                                                                                                                                                        51-

                                                                       6113 11720                                                        24321 2453                                               21214 21218                                     2132 21310
     1016 10118
     1025.10361037.                                                    14414 15216                                                       25015 25611                                              22221 2563                                      21324 24620
                                                                       24224                                                            available                           17       -   3313    based                               1121        BENCH 8                                                542
     10310 10313                                                                                                                                                                                               1291-                                                                            -



     1049 10414                                                       attempting              121-
                                                                                                                                         3316 3321 342                                            1212 1213 1816                                  6415 1601
     10419                                                             14718 14917                                                       363 617 1794                                             2525 301 3016                                  -19417 2153

                                                                                      6                 5720                            Avid                            3810                      318 3921 4612                                   22520 2429
    arteries         2 2221         -                                 attention                   -                                             161-



     2223                                                              7024 7213 1055                                                    3812 3814 3816                                           555 575 626                                      25225

    Article    121-                     2157                           12224 23813                                                       408 708                                                  6422 6425 7720                                 bend         11            -           18113
                                                                                                  23311                                 aware                                   6711              794 855 928
     2442                                                                                                                                                                                                                                                                                           7018
                                                                                                                                                                        -
                                                                      attitude            -
                                                                                                                                                                                                                                                 benefits
                                                                                                                                                          ill                                                                                                                               -
                                                                                  1l

                                                                                                                                        axe                     14018                             965 985 1007
                    2 701                                                                                       7113                                                                                                                               8717 1078
                                                                                                                                                      -
                                                                                                                                               11
    articles                        -                                 Attorneys           21-

     7313                                                              10221                                                            Axe    2          -         14021                         11020 12422                                      11923 15418
                                                                                                                                         17412                                                    1428 16120
    articulate                  Ill
                                                  -   6418            attorneys           21-               15924                                                                                                                                best         5         -           1123
    articulated                                       -       6425     2152                                                                                                                       16121 19620                                      11216 1175
                                            ill




    artifact       31-                      1078                      audio 21-           1207                                                                                  B                 22217                                            118121735
     1079 10711                                                        1209                                                                                                                      basis         20        -       1115            better             21-                     528 761
                                                                                                                                        B-a-o       1               -           18021             1116 138 3213
    artifacts           11                  -       1075              Austin     7 22325
                                                                                      -                                                                                                                                                          between 22                                             -
                                                                                                                                                                                                                                                                                                            6123
                                        14717                          2271 22912
                                                                                                                                        BI 31-            8418 8511                               3223 337 3622                                    622 726 8719
    asleep         i1-
                                                                                                                                         876                                                      647 801 913
    aspects             ill
                                        -       24022                  22922 24117                                                                                                                                                                 9114 9118 9419
    assembled                                                 2912     2423 24523                                                       baby 41- 19612                                            918 9324 1378                                    9618 13019
                                            21-
                                                                                                      22510                              19613 19715                                              1383 2181                                        1385 13814
    asserted                161
                                            -         8813            Austins      1I         -


                                                                                                                                         20125                                                    22722 24212
     8819 911 913                                                     authenticate                      1I-                                                                                                                                        13818 13910
                                                                       16221                                                            background                                       4   -
                                                                                                                                                                                                  2432 25319                                       15422 1579
     9251626
                                                                                                                                         5810 7210                                               bat 81-        20515
    assessment                                        l       -       authenticated                             4          -                                                                                                                       15713 1591
                                                                                                                                         11811 11822                                              21214 21218
     22014                                                             8518 8614 9725                                                                                                                                                              15915 1628

                                                                       16120                                                            badge             l                 -   10022             22221 22225                                      16314 21511
    assets 51-                          418
                                                                                                                                        bag    io               -
                                                                                                                                                                            1253                  2234 2563                                                                                             7915
     4419 5021 514                                                    authentication                                ill
                                                                                                                                -
                                                                                                                                                                                                                                                 beyond                     4l                  -



     6024                                                              6422                                                              1256 18513                                              bears 11-                   23520                 1548 1976 22711
                                                                                                                                         18517 1863                                              Beaumont
    assign         1I           -           1851                      authorities             ill           -                                                                                                                    1I   -
                                                                                                                                                                                                                                                 big    21-             3821 9015
                                                                                                                                         18710 18910                                              21621
    assigned                                    -     12712            11513                                                                                                                                                                     bigger                                 -           2059
                                12                                                                                                                                                                                                                                              I




                                                                      automobile                                     6610                2024 2027 2029                                          became              3           -
                                                                                                                                                                                                                                      17510                             433
      18411                                                                                       Ill
                                                                                                                -                                                                                                                                bill
                                                                                                                                                                                                                                                        ill
                                                                                                                                                                                                                                                                -

                                                                                                                                        bailiff                         -       25421             17511 17518
                                                                                                                19315                                                                                                                                               2                           1276
                                                                                                                                                      ill


    assignments                                       11          -   autopsied           ill
                                                                                                        -
                                                                                                                                                                                                                                                 billing                                -


                                                                                                                                        balancing                               2        -
                                                                                                                                                                                                 become              3I          -
                                                                                                                                                                                                                                     6720          1278
      18414                                                           autopsies           31-

                                                                       21815 22814                                                       22821 2441                                               13325 16811                                    binder                                             6621
    assist     5l           -
                                    5911                                                                                                                                                                                                                            Ill
                                                                                                                                                                                                                                                                                        -



                                                                       25617
                                                                                                                                        band                        -       10312                Bedford             4           -    2033
     773 21819                                                                                                                                                                                                                                   Birmingham
                                                                                                                                                    ill
                                                                                                                                                                                                                                                                                                            21   -

                                                                                                                                        Bank                        -       4023                  2088 24317                                       18218 18221
                                                                                                                                                    iI
     24512 2464                                                       autopsy      56                       18418
                                                                                                  -


                                                                                                                                        bank                                1616                  25625
    assistance                              121-              282      1851 1853 1857                                                               191-
                                                                                                                                                                                                                                                 birth        ill
                                                                                                                                                                                                                                                                            -       12512

     2816                                                              18512 18516                                                       1619 417 419                                            began         131-              568                                                                        1484
                                                                                                                                                                                                                                                 birthday                           1121
                                                                                                                                                                                                                                                                                                        -



                                                                       18613 18618                                                       5319 595 6017                                            8923 1381
    associated                              81            -                                                                                                                                                                                        1488 14816
                                                                        18622 1881                                                       9725 1408                                                                           4214
      1522 702 8518                                                                                                                                                                              begin 61-                                         1491 1495
r    8522 9712                                                          1898 18913                                                      banking                         5        -
                                                                                                                                                                                         1112     565 1372 18513                                   15011 15012
                                                                        18915 18917
                                                                                                                                         5024 512 529                                             18517 2194
      12624 1274                                                                                                                                                                                                                                   15024 15110
     21313                                                              19213 1946
                                                                                                                                         5414                                                    beginning                       s    -
                                                                                                                                                                                                                                          8911     1641 16411
                                                                                                                                        Bao 20                              17922
                                                                       19820 20014                                                                                                                15716 16820
                                                                                                                                                                -
    Association                                     ýl                                                                                                                                                                                             17524
                                                                       20122 2036                                                         17923 17925                                             24219 24221
      1843                                                                                                                                                                                                                                       bits     1         -
                                                                                                                                                                                                                                                                                12118
    assorted                    11-679                                 20325 2047                                                         18017 18112                                            begins         2            -
                                                                                                                                                                                                                                 5316            black          1191-                           2021
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                    Page 76 of 101 PageID 52885



 4723 4816 4821                                        21917 21922                                         896 8910 908                                      5817 591 594                           burned         29       -     21925
 4825 5811 7217                                        21924 2202                                          9114 9211 9213                                    5918 604 6314                           22018 22112
 7512 7516                                             22010 22014                                        Bows 2                  -
                                                                                                                                           975 978           6322 659 6519                           2236 2312 2315

 10314 13420                                           22024 2215                                         box 11- 479                                        687 7422 753                            2333 23320
 13421 18710                                           22112 22118                                        boxes       1           -        851               7619 7710 7713                          234623411

 2266 22621                                            22124 22213                                        boy     8   -   1411 1422                          8012 816 824                            24616 2473
 23110 2347                                            2236 22314                                          435 4413 453                                      829 8212 8215                           24716 24718
 24315                                                  2247 22410                                         5724 581 8414                                     8223 831 835                            2483 2488
blackened                          4        -           2252 22517                                        boyfriend                        8     -
                                                                                                                                                     1421    8312 8315 8319                          24813 24818
 23318 2345                                             22725 2283                                         14321 17011                                       8411 8413 9215                          24820 24822
 24913 24919                                            2335 2344                                          17013 17015                                       9219 9225 9318                          2491 2497
bleach    il                  -    2020                 23511 23817                                        17019 17110                                       9410 9414 9425                          24911 24912

blocks                -       19319                     23820 2391                                         17224                                             9524 9622 9625                          24922 24925
                                                        2392 2393 2394                                                                                       9717 9811 9818                          2503 2509 25010
block-outs                         1-                                                                     boyfriend/girlfriend

 19319                                                  23912 23915                                        Ill-   17018                                      991 998 9915                           burning        I1       -     2341

blood     20                  -    20019                23924 2409                                        bra     6   -
                                                                                                                          18711                              9920 9924                              burns      7    -
                                                                                                                                                                                                                            20715

 20025 2016                                             24022 24024                                        18818 1901                                        10616 10618                             21919 23825

 2019 20110                                             24115 24121                                        1929 2586                                         10913 10916                             23915 23916

 20118 20121                                            24125 24220                                       Brahma                  il         -   4817        1106 1109                               23917 23919
                                                        24320 2461                                                                                           11019 1117                             business                                  348
 20222 2032                                                                                                           4 21114
                                                                                                                                                                                                                                      -
                                                                                                          brain               -                                                                                         16


 20720 20919                                            24911 2509                                         21218 21914                                       1119 1224                               3410 3424 357
 23515 2367                                             25012 25018                                        24919                                             12218 12222                             1226 18616

 2368 2374 2386                                         25523 25622                                       branches                         Ill
                                                                                                                                                 -   13119   12321 12325                            businesses                        Ill
                                                                                                                                                                                                                                               -



                                                        2585                                                                                                  12424 12515                            11518
 25020 2515                                                                                               brand       3           -
                                                                                                                                           14021
 25123 2524                                            bone 22             -       22113                   16722                                              1266 12617                            butt   1   -   20724

Blood     I               -       2018                  2244 2349                                         Bravo                    -       829 9411
                                                                                                                                                              12725 15817                           buttocks            l         -           24818
                                                                                                                      12
                                                        23412 24623                                                                                           17922 18013                                      2             7217
                      1236                                                                                            9                    6817                                                     button              -
blot Ii   -
                                                                                                          break                   -




blouse        2               -    18810                24624 24625                                        6917 6924 8014
                                                                                                                                                              18121 18410                            20425

  18811                                                 2473 24724                                                                                            1862 18712                                                                      7217
                                                                                                           14414 20520                                                                              button-up                             -
                                                                                                                                                                                                                            liI




blow    2         -
                          1995 2321                     24725 2483                                         25422 25710
                                                                                                                                                              18715 19111                           BY 74      -   1417 1424
                                                        2485 2489                                                                                             19120 1927                             1511 1661716
blow-ups                          11    -       2321                                                      breast          1            -     19517

        7 6620 8425                                     24813 24821                                                                                           19212 19413                            1724197                                  2320
blue          -
                                                                                                          breathing                        1     -   24024
                                                        24823 2492                                                                                            1956 19516                             385 3916 4015
  9722 13420                                                                                              brief   3       -        13820
                                                       bones    2              -       23114                                                                  19522 1961                             4116 429 4218
  15911 16081612                                                                                           1392 1395
                                                        24819                                                                                                 1968 19619
blunt     9           -       21110                                                                       briefly         5           -      193 389                                                 4411 452 471
                                                       book    8       -       16412                                                                          19815 1999                             4715 505 5121
  22220 22221                                                                                              6411 2125 2152
                                                        16413 16415                                                                                           19912 19913
  2235 22615                                                                                              bring4 - 3124 376                                                                          539 5719 594
                                                        16416 16418                                                                                           19921 2002
  22617 22712                                                                                              994 17917                                                                                 604 6519 6916
                                                        1651 1653 16514                                                                                       20010 20013
  23417 25518                                                                                             Brissette 7 - 238                                                                          753 9915 9924
blunt-force
                                                       booked          4               -       3515                                                           2019 20212                              10618 10916
                                       111
                                                -
                                                                                                           3519 8015 8022
                                                        3519 3522 12412                                                                                       20219 2038                              11091117
  21110                                                                                                    8723 872511116
                                                       boot    3               10724                                                                          20311 20416
          2                                                                                                                                                                                           11115 12222
                                                                   -
board                     -
                                  1827                                                                    BRISSETTE 166                                 -

                                                        1081 1254                                                                                             20623 20817
  2039                                                                                                                                                                                                12325 12424
                                                                                                            11101321 1325
                                                       booth   i                   6717                                                                       2125 2127 2134                          126171296
          ý                       18210                                    -
Board                     -
                                                                                                            1431411                                  1417
                                                       boots   7           -
                                                                                   352                                                                        21410 21414                             13315 15823
bodies        4- 18417                                                                                      1421 1424159
                                                        4816 781 10715                                                                                        21418 25121
  1861 1879 25619                                                                                                                                                                                     16216 16324
                                                                                                            1511 166 177
                                                        10718 10720                                                                                           25723 25811                             16513 16521
bodily    111-                    21216                                                                     171217161722
                                                        1254                                                                                                  2596 2598                               18013 18121
body 75                   -       18513                                                                     1724 1823 197
                                                       border      2               -       1154                                                              broken1         -       20517
                                                                                                                                                                                                      18410 1862
  18517 18521                                                                                              228 234 2311
                                                        1156                                                                                                 brought 6           -       3513         18715 19212
  1861 18621863.                                                                                           3310 374 3712
                                                       borrowed                        2           9518                                                       3514 6424 8625                          19815 19913
                                                                                                           385 397 3912
                                                                                               -
  18613 18625
                                                       bottom                                  316                                                            1177 19312                              19921 20013
  1871 1876
                                                                                           -
                                                                   Ii1
                                                                                                           3916 4015 4116
                                                        411 4511 4516                                                                                        burden    2     -
                                                                                                                                                                                     1975            2019 20219
  18710 18823                                                                                              429 4218 4411
                                                                                                                                                              22712
                                                        10310 1041                                                                                                                                   20311 20416
  1898 18913                                                                                               4424 452 465
                                                        1182 1203                                                                                            burdens                         7917    20623 20821
                                                                                                                                                                                     -

  19315 19621                                                                                              4618 4622 471
                                                                                                                                                                       ill




                                                        12025 12311                                                                                          bureau    1     -       478             2107 2127 2138
  20014 20321                                                                                              4712 4715 4911
  2041 2043 2046                                        1962                                                502 505 5118
                                                                                                                                                             Burleson        9           -   1419    2166 2296
                                                       bought                                  10721                                                          2412 404 4024                          23012 23214
                                                                                                            5121 532 545
                                                                                       -
  20417 20714                                                      111




                                                       Bow lo                      8416                                                                       1014 10116                              23625 24421
  20922 2116                                                                                               549 5419 5511
                                                                           -



                                                        8623 881 889                                                                                          1022 1025 13019                         24521 2505
  2117 2128                                                                                                 5515 5520 5719
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                             Page 77 of 101 PageID 52896



                                                                                                                                                                       16915                                                     2616 399
 25121 25513                                                carried    1           -       7715         23316

                                                            carry   121-       14721                   cavity   3       -           20411                             charge     2            -       189                       cigarette                     ill
                                                                                                                                                                                                                                                                          -       566

                            C                                14722                                      22121 24016                                                    1810                                                     cigarettes                            12          -
                                                                                                                                                                                                                                                                                      1345




51-California
                                                            carrying           1           -   2053    cell   21-       9719 10918                                    Charge      12              -       7718                   13922

C1   1   -       1112                                       case 81        -
                                                                                   115                 Center3                  -
                                                                                                                                    21622                              786                                                      circles       111-                        11624

calibrate                  11       -           12122        1119 125 1214                              23721 25618                                                   charged         1               -       24214             circumstances

                            5 4419          -
                                                             1215 1925 245                             centers              -
                                                                                                                                    3918                              charges         a               -       437                2911 21510
 4522 5424 618                                               2412 253 472                                10220 1235                                                    5213 5221 5423                                            21513 22824
 12118                                                       5019 5024 514                               20423 20424                                                  charred     1101-                           23319          2444

camera 13                       -           1318             5116 559 6819                             Centro       2           -
                                                                                                                                        618 619                        2345 2348 2484                                           cite 1    -       1123

 248 2410 2417                                               7014 773 7720                             Cert 1       -   26021                                          24913 24915                                              cited 1           -           1214

 254 2523 262                                                7915 8617 881                             Certain 11- 1238                                                24919 24923                                              cites 1           -           141

 2821 3012 762                                               897 8915 1008                             certain          1o          -       332                        2504                                                     city   131-       423 12911
 1021911223                                                  10522 1164                                  6011 6710 1002                                               charring            151-                    2341            12913

cameras 11                                  -
                                                201          12021 17517                                 10521 1218                                                    23822 23824                                              City 12       -       1811
 2414 2422 2517                                              17719 18425                                 1236 18718                                                    23913 24910                                               21619
 2610 2611 2612                                              1852 1857                                   20014 25018                                                  chart    6 7015
                                                                                                                                                                                  -                                             clad 1 18710  -



 2717 2821                                                   18525 18619                               certainly            1           -   11222                      18514 18623                                              claim 2 369 6422      -


 11617 11619                                                  1876 1879 1883                           certification                        2 219     -                1878 25310                                               claims 3 1314                     -


canal        ill
                       -    24620                            18817 18818                                 7613                                                          25313                                                     297 2919
cancer             11-18320                                   18820 18916                              certified         21-1827                                      charts    1         -           24713                     clarify       2 2317          -



cannot13                    -   871                           19410 19714                                1829                                                         chemical                1               -   21017           6918
 21115 21316                                                  19917 20024                                                           2605                              chemicals                       11          -   20921                                                           3117
                                                                                                       certify 21-                                                                                                              clarifying                        131-


cans     1         -       18718                             20325 20523                                 26012                                                        chest    12             -
                                                                                                                                                                                                      19517                       796 25416
capability                      1l          -   613          20714 20718                               cetera       111-            6611                               20321 20410                                              clarity       1               -       11216
capable                9 7420   -                            2112 21820                                chain    1       -           19610                              21911 22115                                              class     241-                        205 208
 2095 22010                                                   21822 21823                                                                                 7717         22121 23313                                                662 667 668
                                                                                                       challenged                       11-

 22013 22014                                                  21825 2191                               chambers                     31-           3312                 23318 2349                                                 669 681 735
 2352 25012                                                   2196 21924                                 3315 26011                                                    24016 24912                                                7517 7518 7811
                           3 6117                             22923 2301                               chance                                                          24914
capacity                            -
                                                                                                                        1141-               1512                                                                                  10019 10020
 21615 2177                                                   23520 23525                                                                                             Chevron             2                       614             1018 10119
                                                                                                         198 3320 521
                                                                                                                                                                                                          -



capital            1        -   9123                          2375 23710                                 6125 632 638                                                  616                                                        1026 10224
captured                                        11125         2388 23820                                                                                              chief2 4423 477                                             10315 10411
                                                                                                         10425 10521                                                              -
                            21-

  11824                                                       23925 24012                                                                                             Chief 3 477 4810                                            1042010422
                                                                                                         1231215620                                                                   -


                                                              24021 24025
capturing                       1           -       10710                                                18316 18716                                                   11420                                                      10513 10717
car   1      -     21715                                      24118 24213                                20711                                                        child    1181-                  12924                       10725
                                                              2438 24310
carbon             1        -       20720                                                              chances 1 768                    -                              14221 18510                                              clean 11-                         13219
                                                              24423 2525                                                                                               2053 2054 2055
card     134           -    3415                                                                       change 1 13616               -                                                                                           cleaned                   6               -   11811
  3416 3417 3424                                              2543 25713                                                                                               21323 2395                                                 11816 2205
                                                                                                       changes 2 9320                   -


                                                              25715
  3518 3520 5217                                                                                         9413                                                          2398 23910                                                 2281 24223
                                                            Case 13                    1121
  5218 5416 6211
                                                                               -
                                                                                                       character                    2       -
                                                                                                                                                 8720                  24215 25524                                                24321
                                                              1855 21916                                                                                               2562 2563 2567
  10815 10818                                                                                            8820                                                                                                                   cleansed    1 2403                            -



  1408 18915                                                  22224 22423                                                                                              2572 2573
                                                                                                       characteristic                             1z          -                                                                 clears    1 2318      -



  20023 20025                                                 2327 23714                                                                                                                  1                       12922
                                                                                                         665 7811                                                     children                            -
                                                                                                                                                                                                                                  3511 826 1098
                                                              23813 2513
  2016 2018                                                                                            characteristics                                    136     -   childrens                       1           -   16416       11222 17213
                                                              2522 25514
  20110 20118                                                                                            205 206 208                                                  China     8         -
                                                                                                                                                                                                      18023                     clearer 21-                                   11211
  20121 20222                                                 25622 2571
                                                                                                         2017 2018 2023                                                 18024 1811                                                1174
  20225 2032                                                cases     3        -       2418                                                                             1812 1817
                                                                                                         2123 653 662                                                                                                                 3 - 274
                                                                                                                                                                                                                                clearly
                                                              18411 2443
  2035 2367 2374                                                                                         664 667 668                                                    18122 18224                                               5618 654
  2386 2515
                                                            cash 5 - 189 1810                                                                                           1832
                                                                                                         682 736 7517                                                                                                           Cleburne                              41-             12912
  25123 2524                                                  274 434 438
                                                                                                         7519 7522 798                                                choose      Ill
                                                                                                                                                                                                      -       811                 13019 1355
                                                            cashier 11-                        13219
cardboard                       1               -   2368                                                 7913 10019                                                   chosen      1                   -       19523               16718
                            5214                            categories                         1   -
cards         151-
                                                                                                         10021 1019                                                   Chris    io             -
                                                                                                                                                                                                      8216                      clerk     2           -
                                                                                                                                                                                                                                                                  13221
                                                              21714
  5319 20019                                                                                             101201026                                                     8320 8420 9512                                             1405
                                                                                               10822
  23515 25020                                               caught
                                                                                                                                                                       9722 15519                                                                     1
                                                                       111-
                                                                                                         10224 10315                                                                                                            clients                               -       2618
                                                            caused                     -       14214
care                       13220                                           17                                                                                           15521 15524
         21-                                                                                             10411 10420                                                                                                            clinical              1               -       1829
  14825                                                       20510 2211                                 10423 1057                                                     17717 17719                                             close     12              -
                                                                                                                                                                                                                                                                  7319
career                          2178                          2238 22712                                 10514 10717                                                  chronological 21-
                   111-
                                                                                                                                                                                                                                  13116
                                                              23416
carefully                   i           -       1971                                                     10723 10725                                                    144 1819                                                closed            1               -       2224
Carlson                                     5521            causes         2 23220     -
                                                                                                        characterize
                           111-                                                                                                                 111
                                                                                                                                                          -
                                                                                                                                                                      chronologically                                  12   -
                                                                                                                                                                                                                                closely               111-                    23924
       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                        Page 78 of 101 PageID 52907



      closer      i-1806                                                    comfort   1-1167                                                      23415                                                 17519                                                 157319122
      cloth   i         -       764                                         coming    6     -
                                                                                                 7821                                            concussion               t       -                    consider      3        -       2219                   context     2 575       -



      clothed                           -           13416                    11414 12518                                                          21115                                                 7719 8621                                             11310
                        1l

      clothes 91-                               345                          1349 16817 2151                                                     condition     11         -                            consideration                          1         -    contextual                      ly      -           5611

       3425 352 3512                                                        commencementi-                                                        21513 22011                                           194                                                   5622 19615

       3521 3622 3625                                                        3314                                                                 2237 2252                                            considered             8               -               19723 24310

       7820 11425                                                           committing              21              -       9122                  22610 23619                                           1120 9124                                             2448

      clothing              1111
                                                    -           3421        common     ii        -          21024                                 24121 24124                                           19722 1983                                           continually                     l           -




       3612 701 7119                                                        communicated                                    1        -            25114 2529                                            22713 22823                                           17322

       7314 759 763                                                          916                                                                  25216                                                 24324 24411                                          continuation                            1           -




       797 1872 1876                                                        communicating                                       1l       -       conditional          4           -                    considering                    l           -           1722

       18716                                                                 9120                                                                 19113 19123                                           21516                                                continue        5               -
                                                                                                                                                                                                                                                                                                     3625
      clustered                     121
                                                        -       2098        communication                                       3        -        1928 20214                                           consist    1       -   2208                            4412 15720
       2099                                                                  6110 8719 15915                                                     conditionally                13          -            consistencies                              131
                                                                                                                                                                                                                                                        -     1784 2557
                                                                                                                                                  11021 1112 2587                                       7811 7812 7822                                               4 - 5822
      Clyde     2           -           9517                                communications                                          5        -                                                                                                               continues

       25624                                                                 9117 9210 9418                                                      conditions       l           -       2581             consistent 211-                                        1924 25417 2592
      CO2 i        -        20919                                            9419 9514                                                           conduct     5    -
                                                                                                                                                                          1210                          2015 223 275                                         continuing                      13          -
                                                                                                                                                                                                                                                                                                                 7923
      Coast       181       -           199 267                             Community                 ll                -                         2119 8914                                             2912 5811 8410                                        8911 8912
       2622 4420 4521                                                        4023                                                                 24014 24025                                           1017 10119                                           continuous                          l           -   6421

       5014104161121                                                        compare    19           -       2114                                 conducted        2           -       2191              10224 10315                                          contract        i               -       22022

      coat    2 7520
                   -                                                 7525    5810 661 6722                                                        25617                                                 1049 10511                                           contraction                         l           -



      Code                          2442                                     742 747 7523                                                        conducting           51-                               10818 10910                                           23314
               11-

                                                849                          12225 12312                                                          6912 21815                                            18725 22224                                          control    12           -       11415
      coding         il             -




      cogent         111
                                    -           9024                        comparing 41- 2619                                                    21819 22821                                           2394 25523                                            11510
                                                                                                                                                  2441                                                  2562 2568 25613
      coin    4    -        23611                                            721 7418 10019                                                                                                                                                                  contusion                   111-                21218

       23614 2515 2519                                                      comparison 14                                   -                    CONFERENCE                           181
                                                                                                                                                                                                  -    constant      2            -
                                                                                                                                                                                                                                      13724                  convenience                             4            -



               2-
      collaborate                                                            2110 2112 2113                                                       542 6415 1601                                         13725                                                 13010 13011

       22912 24117                                                           2623 6521 6524                                                       19417 2153                                           consumer1                      -           1174        1322113919
ýý.
      collect        9 418          -                                        6616 7016 726                                                        22520 2429                                           Contd     3    -       5718                           conversation                                131          -


                                                                                                                                                  25225                                                 9914 16215
       18715 20014                                                           7425 755 7611                                                                                                                                                                    11810 11817

       20017 20019                                                           7616 9917                                                           conference           1           -       1823         contactlio             -       595                     1182414722
       20124 2035                                                           comparisons                         131
                                                                                                                                -                confession           3           -                     6011 614 6114                                         151516221627.
       23511 23514                                                           6925 7219 7321                                                       5517 5620 577                                         8321 9618                                             16912 17411
                                                                                                                                                                                      3815              14719 15213                                           1761 1762 1764
      collected                     113                     -    1425       compartment1                                        -                configured           i1-

       198 403 4720                                                          11316                                                               confinementi                             -   478       15216 15410                                          conversations                                       112      -



       18923 2029                                                           compilation                 i               -                        confirmation                 3           -            contacted          6           -
                                                                                                                                                                                                                                              6018            8616 8815 9113
       2032 23524                                                            2413                                                                 21018 21020                                           6025 616 619                                          1192 13412
       2364 2365 2366                                                       compiled      1             -       247                               2111                                                  15518 17719                                           13910 13913

       23610 2387                                                           complaints              1               -       8024                 confirmed        1       -       2914                 contacts    2 1795     -
                                                                                                                                                                                                                                                              14025 1411

      collection                        2                   -
                                                                 1948       complete      1l            -       19618                            conflicting      1           -                        contain    2 3415  -
                                                                                                                                                                                                                                                              15716 1583
                                                                                                                                                   17324                                                2386                                                  16123
        1949                                                                completes           1               -



      College           12                  -
                                                    18321                    19113                                                               confront    14       -
                                                                                                                                                                          8714                         contained          30              -           1122   converse                3           -
                                                                                                                                                                                                                                                                                                         1445
       21620                                                                complex    3         -
                                                                                                            1315                                  917 9325 9513                                         291 314 3325                                          14811 1647

      cologne               4                   -       14015                1319 13112                                                          confrontation                    1           -         4219 4520 522                                        conversing                          11          -



        14017 14022                                                         complies        6               -                                     919                                                   5219 5415 5516                                        11823

        17412                                                                10320 10615                                                         connect     111-         2387                          5520 6625 678                                        cook i      -       15014

      color    ill              -       4723                                 22418 23425                                                         connection           13              -                 682 685 6911                                         cooked      2               -
                                                                                                                                                                                                                                                                                                 15013

       849 8712 10712                                                        2419 2455                                                             16318 17719                                          778 783 795                                           24918

        107231082                                                           components                          11          -                     19115 20822                                           8120 8423 9214                                       cooking         4               -
                                                                                                                                                                                                                                                                                                     14817
        1085 15812                                                           7417                                                                 23524 2374                                            9515 9720 9725                                        14818 15110
        15815 2265                                                          compression                         1               -                 2387 23925                                            9918 16425                                            1762

       24315                                                                 10710                                                                24310 2453                                            24111 25123                                          copies     11-                  1069

                                                    5915                                                                                          2525 2549 25816                                       25411
      colored           12                  -
                                                                            computer        1l          -           1127                                                                                                                                     copy   9    -   1911
        1044                                                                concern    2        -           14220                                connects      121-           24624                    contains      4            -   1125                    1914 231 8323
      colors1                       -       12618                            15616                                                                24723                                                 6920 1588 2606                                        939.10681652
                                                                                                                                                                                                       contended
      column 1                          -           2378                    concerned           31-                         1519                 conscious        1           -                                               1           -        3119       1996 20924
      combination                                               11   -
                                                                             15614 17516                                                          21315                                                content    2       -
                                                                                                                                                                                                                                  1399                       corner     14       -           10216
                                                                                                                                                                                                        1625
       21210                                                                concludes           Ill             -       2311                     consciousness                            l                                                                   23612 2381 2516
      combined                              2                                                                                                     21120                                                contents                           1919                                   2 2221
                                                                                                    4
                                                                                                                                                                                                                                  -
                                                            -               conclusion                              -                                                                                                161
                                                                                                                                                                                                                                                             coronary                            -



        11613 2174                                                           1121 3119 904                                                       conservatorship                                  1-    1922 1923 4913                                        2223
       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                           Page 79 of 101 PageID 52918



      corporate      l1-6019     21320 21325                                           2223 231 235         16211 16212         2584 2592 2603

      corporation      121-
                                 22619 22624                                           238 2313 2316        16320 1658          2604 26022
                                                                                                                                26022
       4221 18325                22819 2353                                            2825 306 3025        16512 16518

      correct      Ita61-1410    2379 23711                                            3116 322 338         17817 17824        Courts 161-1120

       14191541614               23715 2382 2606                                       359 3516 3524        1798 17911          3119 398 4011

       1617 171 172             corrections                       111-                 371 376 379          17917 17920         447 5413 6818

       19919121913               9412                                                  3714 3911 3914       17923 17925         786 9112 9116

       1915 1916 2414           correctly        ii               -       26013        451 4612 4614        1804 1808           9921 16321

       2419 2423 2424           correlated                1I              -    12115   4619 4624 4714       18524 18714         19718 1984
                                                                                       4920 4922 504        19117 1923           1986 25712
       252 259 2510             corroborate                           i         -



       2610 2725 286             5610                                                  5120 537 5325        1952 19511         courtroom 81-                         3513

       304 305 319              corroborates                                  Ill-
                                                                                       543 5417 551         19514 19521         5113 6716
       3516 387 3810             577                                                   5510 5512 5516        19524 1966         12819 1333

       407 4117 4118            Counsel                                       1824     5519 5614 5618       19615 1971           1793 17924
                                                111-

                                                                                       574 5713 5714         19720 1987         21522
       4123 425 4325             4912 533 6315
       4910 6621 677             6323 972 1225                                         5715 5822 593         1988 1989         cover 61-                   2110
       6921 6922 702             19121 19414                                           5923 603 6319         19911 2007          5314 5324 7219

       7021 712 715              1972 2003                                             6410 6414 6416       20012 20217          1652 16513
       7122 7123 7214           counsel                   -           3613             6510 6511 6518       20310 20818        covered           121-               7220
                                               12

       7221 7224 7316            2608                                                  6815 692 696         2106 2124 2135       7223

        7322 835 8519           count    21-        4120                               699 751 774          21411 21416        covering                ii       -   7310

        861 867 8612             2042                                                  777 7711 792         21420 21424        CR   11-      1124

        953 954 9716            counter                   -           1133             7925 803 806          2151 2154         Crawford141- 916
                                               1i

        9813 9814               Counties            tl                -       21613    8011 812 823          21519 21521         918 921 928
        10110 10111                                                   18121            825 8211 8213         21523 2161        create       lI         -    2298
                                country        lI         -


        1021410811                                                    6019             8220 8225 833         22524 2263        created           31-            2723
                                Country iI                    -


        10911 10912                                                                    8310 8314 8317        22616 22620         11524 11623
                                COUNTY              Ill           -           2602
        1121 1128                                                                      849 8412 855          2273 2277                                     3415
                                          1                   611                                                              credit 91           -
ý-ý                             county              -


        11216 11224                                                                    8511 8514 8523        22718 22721         3417 5214 5217
                                County                        -       3423
        1138 1139                                                                      863 866 869           2287 22813          5416 6210
                                 356 474 5621
        11321 11322                                                                    8613 8619 874         2291 2292 2293      10814 1409
                                 11410 1227
        113251141                                                                      877 8725 883          2306 23010        crimes                           2818
                                 15411 15414                                                                                                 111-


        1147 1148                                                                      8823 8918 901         23212 23622                                            2443
                                 18212 1835                                                                                    Criminal            111-


        114121152                                                                      903 9010 9112         24210 2435
                                 21710 2182                                                                                    cross     161-              9111
        1151411515                                                                     926 9216 9223         24322 24416
                                 2184 21815                                                                                      951411111
        11519 11522                                                                    934 9315 9317         24417 24418
                                 2243 2356 2605                                                                                  1281 16518
        1161 11610                                                                     9319 944 947          24518 24610         20818
                                couple    si        -         1319
        11614 11621                                                                    9412 9415 955         24614 25118
                                 2315 2323 536                                                                                 CROSS             31-                11114
        1172 11712                                                                     9521 964 9614         25212 25215
                                 5523 5524 8923                                                                                  16520 20820




        131-11916
        CROSS-1196
        11717 11718                                                                    9621 9624 977         25223 2531
                                 14412 19015                                                                                   cross-examination
        11722 11724                                                                    9714 983 987          25320 2541
                                courseýo1-363                                                                                    41-   11111 1281
        1185 1188                                                                      9814 9819 9823        25416 25423
                                 4417 8525                                                                                       16518 20818
        11825 1194                                                                     994 996 9910          25424 2555
                                 12711 18616
                   11911                                                               9913 9923             2557 25510
                                 19724 2322                                                                                      EXAMINATION
                     11925                                                             109151105             2579 2589
                                 2323 2397 25325                                                                                 11114 16520
        1201 12022                                                                     110811121116          25812 25817
                                court   1zý1              113 321                                                                20820
        1211212117                                                                     11111 11113           25821 2591
                                 3225 3318 342                                                                                 cross-examine                           zl
        121241392.                                                                     122312214             25910
                                 353 3514 6220                                                                                   9111 9514
        1489 15425                                                                     12217 12220          Court   40- 116
                                 66.13     6820 695                                                                             CSR    iI    -     26021
        1574 1593                                                                      12323 12423           1118 1124 121
                                 8010 8123 821                                                                                  culture       ii            -   1161
        15916 15920                                                                    1262 1265             1210 263 293
                                 917 11020 1451                                                                                 cultures           111-             10518
        16010 1614                                                                     126131281             295 2913 2917
                                 1459 17916                                                                                                                             323




        741-19320
                                                                                                                                Cummings
        16223 16523                                                                    1284 1288             3219 3222 365
                                                                                                                                                                131-

                                 19312 26011                                                                                     3510 688 6913
        1718.17481751.                                                                 12813 12816           367 3712 4524
                                COURT 282                             -
                                                                              114                                                775 7922 856
        1757 1774                                                                      12818 12820           6425 7415 7624
                                 1114129134                                                                                      936 9322 973
        1772318418                                                                     1282513314            7810 792 836
                                 13713101317                                                                                     983 25420 25812
        19214 19316                                                                    15821 15924           8717 9224 945
                                 1324 142 147                                                                                   CUMMINGS
                     19411                                                             1609 16012            9413 998 19210
                                 149 1413 173                                                                                    127 2214 2219
        20225 2051                                                                     .1601      1614       1969 1972
                                 17101715196.                                                                                    2224 2314 2317
        2061 20916                                                                              16111        21
                                 2212 2215 2218                                                                                  2320 2823 3511
        21120618
                   21123                                                               161161188116111629
                                                                                                             24323 2449
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                   Page 80 of 101 PageID 52929



 3517 467 4613                                                dancer      2 8718              -                          death    29       -       18717                      2348                                                             269 3917 4020

4915 4921 535                                                  8722                                                       1979 20415                                         Defendant              17                  -     113              4025 4111 482
 539 5321 5425                                                danger      ill
                                                                                              -           1974            20811 20813                                         1224 321 334                                                     508 5915 622

 552 5518 5616                                                dark   5    -           7317                                21210 21214                                         369 3612 654                                                     11418 18918

 572 5711 5820                                                 7318 1039                                                  21219 21220                                         695 799 8010                                                     18924 1902

 5921 601 6317                                                 10311 1505                                                 21712 21713                                         8816 9114 9119                                                   1907 19011
 6325 6412 6810                                               darkerli                    -           2625                21714 21722                                         9210 13313                                                       1912 19422
 691 698 6914                                                 Darnell         i                   -       1122            21723 2238                                          17916 2158                                                       1959 19510
 6916 7324 776                                                data   5    -           1923 2613                           22613 22615                                        Defendants                         5            -
                                                                                                                                                                                                                                  345          19620 20222

 8013 858 8512                                                                                                            22617 22710                                         3418 368 5416                                                    22420 23223
                                                               3323 3325 365
                                                                                                                          22712 22816                                         6514                                                             2365
 8520 862 864                                                 Date    1   -           26021
 868 8612 8618                                                date                        2813 301                        23416 23417                                        defense     2          -       2072                              depicting             1        -   6710
                                                                     38           -




 8622 876 878                                                  304 3010 3112                                              23419 2425                                         Defense 35                     -       1115                      depicts       2       -   463
 8822 8824 938                                                 3114 332 4223                                              2447 25515                                          124 1824 192                                                     2261

 9323 946 9416                                                 4225 4513 5422                                             25519                                               2920 3312 3319                                                  deposits              1   -        2225

 956 968 9713                                                  6217 852 958
                                                                                                                         deaths      1         -       1981                   343 3420 363                                                    depressed                 12           -



 984 9812 9820                                                 9510 1202                                                 debit   2   -
                                                                                                                                           5218                               3620 466 4912                                                    2229 22211
 993 1103 11023                                                12012 12015                                                1408                                                533 5413 5525                                                    22212 22513
 11112 11115                                                   12018 12024                                               debited     1             -       436                5919 6315 6322                                                   23021 2313
 1221 12210                                                    1218 12110                                                deceased                  5           -   19918      699 7715 8018                                                    23225 2406
 12517 12523                                                   12512 14423                                                19920 20015                                         8112 8320 843                                                    24618 2472
 12610 1282                                                    1451 1461 1472                                             2086 21512                                          8919 972 11022                                                   24721 2482
 2148 25421 2597                                               16222 1635                                                decedent              1           -       2415       1225 1269                                                       depth   ill
                                                                                                                                                                                                                                                                -   2069

Cummings 2                                                -
                                                               18619 18622                                               December                      61          -   353    19121 19414                                                     deputies       l          -        18416

 3424 7520                                                     18915 18916                                                3910 431 444                                        2003 22818                                                      Deputy        5       -   18213
cumulative                            2               -
                                                               18918 18921                                                5422 7910 9114                                      25224                                                            1835 18410
 1951419515                                                    2195 23817                                                 1146 11421                                         defensive              3           -
                                                                                                                                                                                                                                               21612 2356
cured l                       -   1604                        dates    2 5623         -                                   1228 1318 1327                                      20624 2071 2078                                                 Der   so      -   132 1320
currency 1 1249                           -
                                                               8519                                                       1377 13722                                         define1 1206   -
                                                                                                                                                                                                                                               1322 144 1418
current 2 1268                    -
                                                                                                                  1368    13813 1429                                         degree 3 -1816                                                    1424 1511 1716
                                                              daughter                        1181-

 1306                                                           13611 1421                                                1441214421                                          18116 21619                                                      1724193197
custodian                             5 8021      -
                                                                14521 1485                                                14424 1451                                         Delaney        t           -       982                            239 2321 313
 817 8110 841                                                   14820 14914                                               1453 1459 1462                                     deliberations                              1         -            3117 3324 386
 8615                                                           15110 15113                                               14724 1482                                          25717                                                            3916 406 4015
custody                       13          -           131       15116 15615                                               1486 14819                                         delivered          1           -           23925                  429 4218 4411
 36171145.1149                                                  1643 1648                                                 14922 1527                                         Delta 11-          16322                                          471 4916 505
 1141611421                                                     16421 1653                                                152201536.                                         demonstrative                                    6           -    5121 536 5310
 115511561157                                                   16514 17519                                               15721 15724                                         5818 5823 5920                                                   5411 5720 594
 11513 15615                                                    1763                                                       16220 16225                                        5924 25222                                                       604 6219 6519
 17516 19611                                                  daughters                                   4   -
                                                                                                                  1484     1635 1639                                          25317                                                            6811 6917 7325
customer                          l3          -       13318     15011 16325                                                16515 1685                                        denied    t        -       919                                    7410 7423 754
 133231341                                                      17524                                                      170517371745                                      Dennis    3        -       477                                    772 789 7815
customers                             1               -
                                                              daunting                        1           -   9925         17513 17523                                        479 4810                                                         7825 7919 8118
 13220                                                        days ii                 -
                                                                                                  799                      1765 17614                                        denote    2        -
                                                                                                                                                                                                        17210                                  8122 951 953
cut   4           -       2722 765                              8916 14412                                                 17620 17710                                        2144                                                             9916 9924 1062
 766 2068                                                       16623 16625                                                18619 18624                                       Denton     1           -       21613                              10618 10811

                                                                1673 1674 1677                                             18922 20210                                                                                                         1118.12223
                                                                                                                                                                             Department                         7            -




                                  D                             1679 16818 1692                                           2185 21818
                                                                                                                                                                              3618 474 10219                                                   1261712831288
                                                              dead    5                       11815                       2192 21916                                                                                                          DER 2 - 1414 382
                                                                                                                                                                              10417 1143
                                                                                  -


D.A   2           -       1542 1567                             11817 11820                                               23817 24510                                         1146 1251                                                              5 705
                                                                                                                                                                                                                                              describe                   -


D.A.s             l           -   15411                         22323 2415                                                2462
                                                                                                                                                                             Departments                                    Ill       -         133613561359
D.O       l           -   21619                               deal    8       -       437 6813                           decide 1              -       18420                  11411                                                            2226
D1    l               968                                       8017 8025 934                                            decided 2                             6424                                                                           described                              22514
                                                                                                                                                                                                        1
                                                                                                                                                       -
                                                                                                                                                                                                                            13810                                                -
                                                                                                                                                                             depended                                                                                   l1
              -
                                                                                                                                                                                                                    -


daily         3           -
                                  13711                         1127 14214                                                 16810
                                                                                                                                                                             depict    19   -       462 524                                   descript          l       -        355

 13713 2181                                                     22023                                                    decides           1           -       18416
                                                                                                                                                                              7419 22522                                                      description                    3       -



damage                        5       -       2047            dealing             2                   -   858            deciding          1               -       773
                                                                                                                                                                              2326 24222                                                       3421 4812 2242
 2257 22517                                                     9718                                                     deep    3     -   20616                              24225 2459                                                      descriptions                       1           -



 2338 23321                                                   deals   1 713           -                                   22319 23919                                         25410                                                             17311

damaged                           1           -       1964    dealt   3 268       -                                      deeper      1             -       22319
                                                                                                                                                                             depicted       28                  -
                                                                                                                                                                                                                        184                   destination                    1       -       853
Dana l-22325                                                    12611 12614                                              defect      2-23319                                  1813 206 259                                                    detachmentiii                              -
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                   Page 81 of 101 PageID 5293
                                                                                                                                                                                              10




 2219                                                           6915 752 15822                                divided       11-    1006               down        1261-             2525                        6924 7516 8014
detail 10l          -         271 277                          direct 19   -   7816                           divorce       181-    13617              266 2818 3822                                            1079 12614
 2718 749 7524                                                  11116 12223                                    14125 14418                             3913 4314 581                                            1416 16714

 761 8710 1385                                                  16925 1712                                     14420 1451                              5814 6212 6717                                           1701 17612
 23224 23914                                                    17112 2013                                     1456 14523                              7823 8220 1002                                           17614 1788

detailed        111-
                                      25322                     23813 2553                                     1461 1469                               1007 12813                                               18419 18613

                                                               DIRECT                      384                 14610 14612                             1684 1799                                                1946 22323
details   1             -     7214                                         171-


                                                                5718 9914 1295                                 14615 1701                              20225 2039                                               22416 22422
detect    2         -
                              18520
 21015                                                          16215 18012                                    1704 1706                               20311 20315                                              2255 2297 2322

determine                                                       2165                                           17223 1759                              21411 21420                                              2323 2397
                              1101-


                                                                                               2820            17511                                   22124 2308                                               24114 25325
 1311 2522 513                                                 directed     12         -




 652 7514 10522                                                 948                                           DNA 3- 19611                             24425                                                    25817

 10619 1087                                                    directing       13          -       5720        23515 25021                            downstairs                                2   -
                                                                                                                                                                                                        284    duties              3        -
                                                                                                                                                                                                                                                    13218

 2046 20716                                                     7024 1055                                     doctor    1121-      1805                976                                                      1356 21710
determined                                   -                 direction       51-                 20113       18022 1824                             downtown                          111-
                                                                                                                                                                                                        1568   DVR 11 - 1924
                                      Ill



 24410                                                          20615 2081                                     1904 2038 2167                         dozens              11        -       13817.


     3 - 725
device                                                          22416 2525                                     2308 23625                             Dr   1471
                                                                                                                                                                  -       17922                                                                     E
 9519 9520                                                     directly 11         -       2013                2417 2456                               17923 17925
                                                                                                               25012 2553                              18112 18214                                             El          -       815 9710
                2                     11924                                                    31
                                                                                                                                                                                                                     121

devices                       -                                disagree        1           -            1



  1204                                                         discern     21-             2711               Doctor        251-   18014               1838 18415                                              ear 1 24620     -



                                                                                                               18020 2121                              18416 1851                                              early 6 5323         -

diagram             131
                                  -    20418                    19817

                                                                                   3 7612                      21420 2161                              18715 19212                                              8912 13516
 21318 24516                                                                                   -
                                                               discipline

                                            2099                                                               22412 22419                             19815 19913                                              16616 2055
diagrams                    111-                                7614 7615
                                                                                                                                                       20013 20219                                             easel                            23215
              3                                                                            1           7625    23012 23117                                                                                                     11       -


Dickey                    -
                                  11714                        disciplines                         -


                                                                                                               23216 23423                             20311 2056                                              easiest 11-                              16220
  11716 1188                                                   discomfort 21-

                                                                                                               2351 23714                              2071 20710                                              Echo                             9718
                    1                       1183                14214 14219                                                                                                                                                    111-
Dickeys                           -



dictated                          -    12025                   discovery           51-             2416        23810 24110                             20822 2128                                              edema                1l          -   22320
                    Ill




                                                                344 3420 3422                                  24521 24612                             21411 21414                                             edit1- 1173
died   141-         1547
                                                                363                                            24711 2486                              21416 21425                                             edited 81-                           201 246
  20716 20721
  21122                                                        discuss      161-                   6819        24816 24825                             2151 21523                                               249 2425 2721
                                                                6820 7019 9810                                 25011 25121                             2169 21610                                               2924116911612
Diego     9 3423    -




  355 5519 5621                                                 12810 13422                                    25513 25616                             21810 2191                                              editing              3           -       256

                                                                13523 1361                                    doctors        11-1963                   22325 22510                                              3019 3814
  886 894 8923
                                                                1364 1366 1554                                document                                 22625 2296                                              editor              1            708
  8924 1227                                                                                                                       1191-                                                                                                     -




diesel              -         11811                             17115 17118                                    8422 8714 9610                          22912 22921                                             education                            121-          7122
          111




differences                                  -                  1791 25713                                     9612 12319                              23010 2323                                               21617
                                      131


                                                                                                                12421 12619                            23214 24117                                             Edward                   2                   24825
  11912 11914                                                  discussed               6- 576                                                                                                                                                       -



                                                                7314 7918                                       12625 1398                             2423 2438                                                25624
  1234
                                                                17421 1756                                      13912 15620                            24421 24523                                             effect14                         2267
                                            248
                                                                                                                                                                                                                                            -
different25                            -


                                                                                                                1574 16311                             25725
  2413 2514 269                                                 25612                                                                                                                                           22822 24313
                                                                                                       578      16313 1868                            drawing                               -   20425           24316
  2611 2612 2614                                               discusses                                                                                                      Ill
                                                                                       21-


  287 3815 458                                                  7621                                            19213 19818                           drawings                      6           -
                                                                                                                                                                                                    18612      efficient                    1           -   9821

                                                                                                       174     20324 2041                              19816 1992                                                                                   472
  459 5213 5915                                                discussing 51-                                                                                                                                  efforts 14                       -




  6223 6811 7210                                                7025 19811
                                                                                                              documentation                   2   -    19916 19922                                              22711 2289 2422
                                                                                                               3610          18611                     2199
  732010821178                                                  24021 24115                                                                                                                                    eight           1- 10413
  12111 16818                                                  discussion                  121-
                                                                                                              documented             11-              drawn           4        -
                                                                                                                                                                                        20425                  either              151-         4320
                                                                                                               2205                                    22023 2374 2524
  20125 2255                                                    3315 1442                                                                                                                                       5523 781 1794
  23114 25324                                                  display     121-            2820               documenting                 1   -       drive       141-         395 396                          20420
                                                                                                               21915                                   13915 13918
digital   7- 418                                                7020                                                                                                                                           El   2 618 619
                                                                                                                                                                                                                           -



  4418 5021 582                                                displayed                       -
                                                                                                       1610   documents            1      -   569     driving             1         -       4212               elbow  3 24810               -
                                                                                   18

  6023 7018 7022                                                 178 2616 285                                 dog   1   -    16218                    drop 11-                 2368                             24824

digitally           1             -    7020                     2813 7512 1057                                done 15        -
                                                                                                                                  1119                due     4 3219 369
                                                                                                                                                                      -
                                                                                                                                                                                                               Elementary                                   111-
                                                                                                                                                                                                                                                                   982

digits    1         -       5222                                 12011                                          818 837 865                            16411 23314                                             emblem                       3       -
                                                                                                                                                                                                                                                            7218
                                                                                                                9517 974 11721                                    s           1415 383
                                            2                                                  1611                                                   duly                                                      7318 10223
                                                                                                                                                                          -
dimensional                                          -         displays        11-


  22913 22914                                                  disregard  1 7719               -                20918 21725                            1294 18011 2164                                         emphasize                                1     -



dimensions 11                                    -       745   distance 1   621            -                    2258 2285 2322                        duplicative                               21-     644     19721
                                                                                                                24021 25412                            656
dinner      1             -       15110                        District 4  7113    -                                                                                                                           employed                             12        -    1299
                                                                                                              door           411 669                                                                    655
                                                                 10221 2604                                                                                                                                     1306 1307
                                                                                                                                                      duplicitous
dire   141-     6812 6912                                                                                            121-                                                                       11-


  7714 15820                                                    26022                                         doubt     3    -    7916                during              301           -       2323            13025 1321
                                                                                                                1976 22711                             3312 363 6917                                            1322 1327
DIRE      5 2319 538
                -                                              district    111-            6613
     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                     Page 82 of 101 PageID 5294
                                                                                                                                                                                                                    11




     13217 13425                                                      1113 4419 5012                                    752 9914 11114                                            6919 779 793                19812 22413

     21611 21614                                                      5613 6214                                         12221 1295                                                 7920 8418 859              22616 23119
     2184                                                            establishments 11-                                 15822 16215                                                9316 9911 9912             24111 24218

                               2 2820                                 596                                               16520 18012                                                10619 10917                24323 24419
    employee                               -



     16713                                                           estimate          11          -   20823            20820 2126                                                 111411325                  24519 2582

                                                                                 6610                                   2137 2165                                                  1196 12214                 25821
    employment                                     1       -         et 1i   -



     13422                                                                                                 13516       examinations                             l           -      12216 1262                exhibits           48           -       1917
                                                                     evening           to          -



    end          228 414                                              13517 1503                                        23415                                                      1264 12616                 1920 2310 2317
          171-

                                                                                                                       examine                                  9111               15825 16213                2720 2810 2914
     415 5218 5222                                                    16325 16411                                                  101-

                                                                                                                        9514 1051                                                  16214 1633                 2923 3224 392
     11715 23610                                                      16421 1653

    ended 31- 5217                                                    16515 16615                                       21911 21913                                                16319 16323                4318 4525 6221
                                                                      25711                                             21914 2246                                                 16424 16425                6224 635 642
     2407 2483
                                                                     event3 -14212                                      22612 24023                                                16510 19119                645 6412 6723
    ending       21-17425
     24718                                                            14410 1794                                        2418                                                       192619217                  80168018                                8023
                                                                                                                       examined             3                       1588           19220 19222                8114 8410 905
            4            5317                                                     6 5115                                                                -
    ends         -                                                   events                -


                                                                                                                        21413 24023                                                19224 1935                 9211 9214 9220
     9114 2312 2473                                                   554 782 1535
                                                                      1977 19725                                       Examiner                         -       18213              19311 19814                9223 989 1074
    enforcement                                12-
                                                                                                                                        161




                                                                                                                        183518411                                                  2008 20218                 109201204
     1151211920                                                      Evidence              6           -
                                                                                                           1213
                                                                      294 3411 4610                                     1855 21612 2356                                            20221 2251                 1271415820
    engage           l         -       16920
                                                                      7622 1228                                        Examiners                                    -              2294 2295                  1921 1952 2006
    engine       11-               11822                                                                                                            171




                                                                                                           1117         19010 2081                                                 22919 2307                 2266 2321
    engineer               t           -       12013                 evidence              1621-


                                                                                                                        21711 2182                                                 2317 23213                 23210 24212
    enhanced                   1               -       7114            11181312191
                                                                                                                        2185 2243 24222                                            23217 23520                24222 24315
    enhancing                                      -                   2015 296 2918
                                                                                                                                                                                   23619 23624                25025 25324
                                   121



                                                                       326 328 3212                                    Examiners l1- 1844
     1121011214
                                                                                                                                                                                   2371 23714                 25816 26014
    entailed         1             -       7416                        3213 3217 333                                   examines          t                  -       2244
                                                                                                                                                                                   23724 24420                                  1                21511
                                                                       335 337 3313                                                       t 9211                                                             existing                    -

    enter                  21910                                                                                       examining                                -
            11       -


                                                                                                                                                                                   2451 24611                                    4415
                                                                                                                                        4 2018                                                               exits
                                                                       3318 341 3524
                                                                                                                                                                                                                            -

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    enters                 -       12819
                                                                                                                                                                                   24714 2495                exotic                      8718




    21-envelope
     17924 21522                                                       361 362 3616                                     2716 7511 765                                                                                      121-



                                                                       3713 582 6423                                                            272 302                            2499 25024                 8722
                               -       8111                                                                            except2          -
    entirety 11
                                                                                                                                                                                   25120 25122               Exp                26021
             1             8913                                        6713 718 736                                    exception            11-                         1953                                       111-

    entry            -


                                                                       7821 8720 884                                                                    7220                       2528 25214                experience
                                       i                                                                               excerpt              -
    enunciated                                         -       802                                                                Ill


                                                                                                                                                                                   2559 25512                  11919 22217
                                                                       897 9014 9016




                               21-
                               9                   23611                                                               excerpts1                                727
                                                                                                                                                                                   2566 2569
                                           -



                                                                       9017 912 916                                    exchange 6                                   1395                                     experiences                             1   -

     23614 23615
                                                                                                                                                            _



                                                                                                                                                                                   25614 25824                22815
     23725 2386                                                        951910151024                                     1439.14551458
                                                                                                                                                                                  exhibit   601-   149                     5             3417
                                                                       10611 10718                                      1451214515                                                                           expert              -

     2516 2519
                                                                                                                                                                                   175 1825 266               6612 685 7412
     25110 25123
                                                                       10720 11323                                     exchanged                        4           -



                                                                                                                                                                                   3917 4016 416               11824
                                                                       11618 1217                                       1381413818
    environment                                    ý
                                                                       12320 12421                                                                                                 4210 4510 4518            expertise               2               742
                                                                                                                        1579 15713
                                                                                                                                                                                                                                                 -

        5
     1185
                                                                       1255 17610                                                                                                  4611 508 5011               7414
    EPA i                6119                                                                                          exchanging                           i           -   838
                                                                                                                                                                                   5113 5124 522
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                                                                       2024 2026 2029                                  exclude                          904                                                  experts 21-                         771
                           l                       10023                                                                                        -
    epaulets                                                                                                                                                                       5322 541 5412
                                       -                                                                                           1i1



                                                                       20222 22319                                     excluded         1                       9118                                           22622
    equipments- 283
                                                                                                                                                        -


                                                                       24310 24410                                                                                                 552 561 6125                                                  585
     286 3181127                                                                                                       excuse     3 4412    -                                                                explain        91-

                                                                       25317 25318                                                                                                 6210 6814 7124              6523 757 1369
     112121211                                                                                                          656 7217
                                                                       2566 2607                                                                                                   7712 8015 8121              14121 15514
    ERNEST                                         1414                                                                Excuse     3         -           173
                           121-
                                                                     exact l1-                 364                                                                                 8323 854 8624               20312 23216
     382                                                                                                                19811 23014
                                                                                                                                                                                   8811 935 976
                                                                     exactly           2 2520  -

                                                                                                                       excused          5 6823
                                                                                                                                                                                                               23913
                                       7913                                                                                                         -
    escape           liI
                               -

                                                                                                                                                                                   985 9918 1106
                                                                       11821                                                                                                                                 explaining
    essential                                      2542                                                                 1285 1287
                                                                                                                                                                                   11012 11215
                                           _

                                                                                               20710                                                                                                           24512 2464
                                   1




                                                                     exam                                               17821 21417
                                                                                       -
                                                                                 111

    essentially 21-                                                                                                                                                                11022 11215
                                                                     examination                           18                                                                                                export                  -   709
     25220 25313                                                                                                       Exhibit 105                      -
                                                                                                                                                                145                                                        111


                                                                                                                                                                                   1195 11925
                                                                       1211 6912 8319                                    1481423157                                                                          exported                1           -   7014
    establish                  8           -           1789                                                                                                                        1384 15811
                                                                       11111 11116                                       1781721                                1725                                         exporting                   i-7012
     21712 21722                                                                                                                                                                   160316219
                                                                       1281 16518                                       1822 2217 237                                                                        exposed              111                24824
     22617 22710                                                                                                                                                                   18722 19312
                                                                       1701 1713                                        2915 3725 3915                                                                       exposing                f31-            22112
     22711 22815                                                                                                                                                                   19910 22921
                                                                       17112 20818                                      4014 4114 428                                                                          2346 23411
     23516                                                                                                                                                                         23523 24522
                                                                       2197 22114




                                                       15721
                                                                                                                        4217 4410 4615                                                                       exposure                                    2341
                                               5 296                                                                                                                                                                                     121-
    established                                            -
                                                                                                                                                                                   2468 25222
                                                                       2227 2272                                        4621 4625 4925                                                                         2348 2489
      5619 574 8716                                                                                                                                                                2532 25310
                                                                       24025 2441 2554                                  506 5619 5717                                                                          24813 24818
      16013                                                                                                                                                                        25311 25317
                                                                     EXAMINATION                                                                                                                               24820 24823
                                                                                                                             5825 5925
                                                                                                                                                                                             1
                                                                                                                191-
                                                                                                                                                                                  Exhibits         -   291
                                                                       1416 2319 384                                    607 6321 641                                                                           2492 24922
      2446                                                                                                                                                                         3714 632 6512
                                                                       538 5718 6915                                    6516 6621 6911                                                                         24925 2504 2509
    establishment 51-                                                                                                                                                              6513 1989
              Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                              Page 83 of 101 PageID 5295
                                                                                                                                                                                                                                                      12




             extend                1           -       23023                          1223 458 644                                       federal                11                  -       626              5323 553 5524                                               forearm             71-               216
t




             extended                          5            -        3923             6711 7017 7212                                     fedora             Ii          I
                                                                                                                                                                                -       7317                 5525 562 578                                                 222 223 2619

              2405 2406                                                                773 11419 1155                                    fellow             2                   -       21811                5721 713 825                                                 7814 1054 24810

              24723 2481                                                               11524 1187                                         21813                                                              8514 10010                                                  forearms                    1         -       2625

                                                                                       11814 1383                                                                                                                                                                                                                              2606
             extending                             3             -                                                                       fellowship                                         p    -   1837    10414 10514                                                 foregoing                       111-



                                                                                       1458 14524                                                               9821 14914                                   12323 1294                                                  Forensic                                      3812
              23025 24622                                                                                                                felt2          -                                                                                                                                            I11-



              24717                                                                    1554 16219                                        female                 191
                                                                                                                                                                                    -       12924            13321 1381                                                  forensic                1171-                     2117
             extends                   4               -    2311                       16411 1714                                          12925 1858                                                        16118 16612                                                  408 6520 6524

              2314 24618 2471                                                          1753 19612                                          1859 18510                                                        16724 1699                                                   7122 7613 788
                                                                                       19723 1982                                                                                                            16914 17322                                                  18210 1838
             extensive                             7            -    21920                                                                 18511 19624
                                                                                       21515 24216                                        23911                                                              1783 18011                                                   21621 2173
              22516 23321
              2347 23916                                                             factor     2          -       9116                  fetus          9           -               20125                    18514 18625                                                  21718 21720
              23918 2404                                                               9122                                                2023 20824                                                        21014 2164                                                   2241 2271
                                                                                                                           2449            20825 2091                                                        2197 2252 2264                                               23524 25018
             extensor                      i                -       23315            factors 11-

                                                                                                2 21510                                    2094 21323 2145                                                   2287 23121
                               2                       748                                                                                                                                                                                                               forensically 1                                        -
                                                                                     facts           -
             extent                        -



              8618                                                                     21512                                             few      141
                                                                                                                                                            -       7424                                     25522 2584                                                   1002
                                                                                                                               3118        13811 1662
                                                                                                                                                                                                            five    16            -       6211                           forensics                                             7625
                                                                396                                                        -                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                         11
             external                      16          -                             factually lI

                                                                                                     11818                                 19821                                                             1673 17617                                                             3                    15020
              11522 2197                                                                                                                                                                                                                                                 forgot                  -
                                                                                     fair 12    -


                                                                                                                                                                                                             18025 20320                                                  15025 1763
              21918 22018                                                              21923                                             field      5 6520 6613 -


                                                                                     fairness                                  5525        1822182171838                                                     20412 20414                                                 form    9 232 2910
              22114                                                                                        11          -                                                                                                                                                                 -



                                                                                            5        1325 13524                                                                                              21221 2552                                                   2924 2925 3525
             extra       liI
                                       -   767                                       fall       -                                        fields         1                   -           851

                                                                                       1376 13812                                                                                                            25524 2562                                                   364 576 948
             extracted                             1            -    2421                                                                fifteen                111
                                                                                                                                                                                    -   20322
                                                                                                                                                                                                             2563 2567 2572                                               14110
             extremities                                    4            -              13916                                            fighter                3                   -       22025
                                                                                                                                                                                                             2573
              22110 23322                                                            false      2    -         21016                       23313 23317                                                                                                                   formally 21-                              2914
                                                                                                                                                                                                                                                                          2594
                                                                                       21021                                                   1 529                                                        five-year-old 16                                        -

              2344 23411                                                                                                                 figure                                 -


                                                                                                                               183                                                                           25524 2562                                                              t                    8114
                                                   3                 23325           familiar            15                              figured 1 11820                                                                                                                 format                      -
             extremity                                          -                                                          -                                                            -


                                                                                        1919 4016 4019                                                                                                       2563 2567 2572                                                     5                121 7624
              2341 2487                                                                                                                  file3 7018 1181-                                                                                                                Fort        -

                                                                                                                                                                                                             2573
             eye   11-             10822                                                5914 6116 6119                                     19410                                                                                                                          13017 16717
                                                                                                                                                                                                                                                  5915
                                                                                        8118 10518                                                                                                                                                                        26023
                                                                                                                                                                                                                                      -

                                                                                                                                                    5                                                       flags        It
             eyes     3 4322       -                                                                                                     filed                      -
                                                                                                                                                                                3410 356
                                                                                        10917 10922
                                                                                                                                                                                                            flank        12
                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                  2501 2508                      10                      3018
              11919 24915                                                                                                                  1227170.-4170-5                                                                                                               forth                   -


                                                                                                                                                                                                            flex    t         -       22022                               468 642 1396
             EZ   1371
                               -       118 1110                                         11219 12020                                      files      3           -
                                                                                                                                                                                1923 249
                                                                                        12513 1855                                                                                                          flexor       1 23314              -
                                                                                                                                                                                                                                                                           1516 16314
              145 245 399                                                                                                                  289
                                                                                                    8                  12713                                                                                             2 5423           -
                                                                                                                                                                                                                                                                           16912 1736
              519 5114 5221
                                                                                                                                                                                                            flight
                                                                                     family                    -
                                                                                                                                         filling            11                  -       851
                                                                                                                                                                                                              7725
              5411 5415 5418                                                            1361 1364 1366                                   final      6 3224 786      -                                                                                                      17311 1764

              5420 555 5513                                                             1369 15325                                          104131461                                                       flipped                   1               -       3319       forward                 3        -        3620

              562 579 10012                                                             1757 2444                                           17510 17511
                                                                                                                                                                                                            floor        3            -           261 6717                4414 17119
                                                                                                         1111 2419                                                                                            7110
              10017 11616                                                            far1191-
                                                                                                                                         finally                7 3522              -                                                                                    foundation                            1               -   1116

              1308.1309                                                                 2511 266 2618                                      979 1284 1479
                                                                                                                                                                                                            Florida                   1               -       18312      four   11           -
                                                                                                                                                                                                                                                                                                     2611
                                                                                        2815 8925 9121                                                                                                                                                        3020
              13011 13025                                                                                                                   1471317122                                                      flowing                       Ili
                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                          2612 2614 5222
              1322.1327                                                                 9325 9422 9611                                      1725                                                            fluid 1               -           249                         6211 6691673
                                                                                        10410 11210                                                                                                         fluids 1                                  20014
              1321013217                                                                                                                 finder             1                   -       1982                                                  -
                                                                                                                                                                                                                                                                           1674 17618
                                                                                        11214 11216                                                                                                         fob                       4725                                 20412 21221
              13222 13224
                                                                                                                                                                                                                          -
                                                                                                                                         findings                               10           -
                                                                                                                                                                                                     2920           1t


               1391913923                                                               11921 1312                                                                                                          focus         4 7216                                         four-door                                             669
                                                                                                                                           7019 7921 1869
                                                                                                                                                                                                                                              -                                                                        -
                                                                                                                                                                                                                                                                                                         Ili




               14024 1667                                                               15918 25312                                                                                                           7224 733 735                                               fourth     2                     6717
                                                                                                                                           20312 22120
                                                                                                                                                                                                                                                                                                     -



               1668.167131693                                                        Fargo          161-               348                  22123 2301                                                      fold 1            -           4723                             7110
                                                                                        3417 516 5212                                       2327 2412                                                       folks 1                       -       13222                  fracture                211-                      21113
                                                       F                                5217 5311                                        fine      3            -           139 724                         follow 1                              -       10714            21217 22211
                                                                                     fashion             4             -       3019         939                                                             following                                 Ill
                                                                                                                                                                                                                                                               -   794     22212 23021
                                                                             1305       335 3317 15214
             F-r-a-e-z-e                                   111
                                                                     -
                                                                                                                                         finger             121-                        10620               follows                       15              -   1415         2311 2313 2314
             fabric            161-                    507 755                       fatality        Ili
                                                                                                                   -       22312            10911                                                             383 1294 18011                                               23225 2405
              758 7521 7523                                                          father         11-                1368              finish I1                              -       739                   2164                                                         2406 24618
              767                                                                    father-in-law                              11   -
                                                                                                                                                                                                            footage                       61-                 1112         24622 2471
                                                                                                                                         fire     12                -
                                                                                                                                                                                15318
             face     191
                                   -       4319 4320                                    1368                                                1545 20716                                                        1425 3223 4025                                               2472 24717
              674 7824 1801                                                          fatty l         -       2225
                                                                                                                                            20717 20721                                                       422 4521                                                     24722 2481
    f-   1
               23222 2334                                                            fault 1         -         1567                         2215 2218 2238                                                  force         17              -           21110                2482 24821
               24624 24916                                                           favor i                       1303                                                                                       2232 2233                                                  fractured                       1                     24621
                                                                                                         -
                                                                                                                                            22312 22322                                                                                                                                                            -


             Facebook                                                        17811                                             15017                                                                          22618 22713
                                                       11-                           favorite            13            -
                                                                                                                                            22324 2416                                                                                                                   fractures                       1o                -


             facial                                7819                                 15025 16420                                                                                                           23417 25518                                                  20524 2209
                                                                                                                                                                                    4023
                                           -

                                                                                                                                          First1
                           Ili                                                                                                                                          -


             facility              1               -       12412                     features                  2           -   1236       first     41                      -           1415 262            Ford         14           -           481 6116                 2229 22514
             fact26                    -       1221                                     22018                                               3311 383 398                                                      6123 626                                                     23023                     2318.
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                 Page 84 of 101 PageID 5296
                                                                                                                                                                                                                            13




 2404 2477                                       fronta1131                   -       24624                            23618 23625                                                                                      H               hears          -       3216
 24710 24917                                       24718 24724                                                         2427 2436                                                                                                         12521 15323

fragmented                          2    -       FSU      1       -       18314                                        24421 24515                                                      H-e-y   1           -       15223                18061956 2546

 24616 2485                                      fuel    141-         565 6117                                         24521 2467                                                       H264111-                    1925                heard      15              -       8721

frame    l14l
                    -       3918                   6122 625                                                            24612 2475                                                       hair   2 20525
                                                                                                                                                                                                    -                                    973 1153 1527

 4117 4120 709                                   fueling              2           -   608                              24711 2505                                                        2065                                            1533 1534
                                                                                                                       25113 2527                                                                                                        15318 1543
 7010 7011 7125                                    6012                                                                                                                                 half   3 9510 1323
                                                                                                                                                                                                    -



 8925 10714                                      full
                                                        151
                                                              -       6123 11415                                       25321 2552                                                        1669                                            1545 1548 1779
 1127 12012                                        18016 23920                                                         2556 2558                                                        hallway             1               -   415      17715 2506
frames     4            -
                                4120               23921                                                               25513 2578                                                       HAND 1                  -           26016        25425

 4122 9715 1074                                  fun    1     -       17325                                          gill   6   -    8014 9013                                          hand 21                 -       10624           hearing                113             -       3518
frank   1- 1714                                  furthermore                                      121-
                                                                                                                       1691917112                                                        10910 12823                                     461212611

Frank           -       5123                       3611 2442                                                           17717 2263                                                        16217 1801                                      144201456
         131




 5219 5314                                       future           1           -       15512                          gills1           -          9024                                    19617 20610                                     1451014513
freeze   16             -
                                5513                                                                                 given 6                 -       3420                                2073 21524                                      14515 14518

 5613 578 8321                                                                    G                                    7017 1388 2084                                                    22111 23324                                     17222 17510

                                                                                                                       2449 25220                                                        23612 23615                                     25817 25820
 12820 12822
 1299 15618                                      gallon 21-                           6120                           glad    1       -       706                                         2372 2373 2378                                 hearings                   1 3312      -




 15824 16217                                        18718                                                            global         5            -           23822                       2381 2417 2516                                 hearsay                    6 8715  -




 16324 16522                                     game 1                   -       3220                                 23824 23913                                                       25124                                           8813 8818 915
 17815 17821                                     garment2                                 -           7321             24910 24911                                                      handed              1               -   5313     941 9515 12318
                                                                                                                                                 1911                                                                                    12422
 178241796                                          1199                                                             Gold       11       -
                                                                                                                                                                                        handful             2               -   17616
Freeze     11               -
                                    8316         GARY 1                       -       2163                           gorier         1            -       24319                            17617                                         heart     19           -
                                                                                                                                                                                                                                                                   20411

 8318 892 895                                    Gary         1       -       2169                                   government                                      1        -   626   hands       3               -       4314         20419 21124

 9120 9619                                                                1345 13921                                 grab       1     -          2074                                    4320 2077                                       21220 21223
                                                 gas     12       -



 12723 12817                                     gasoline                     4               -       6012           grainy          111
                                                                                                                                                 -           2620                       handwriting                             6 456
                                                                                                                                                                                                                                  -      21715 21911
                                                                                                                                                                                                                                         2224
 12818 1298                                         1401 16720                                                       Grand 19                            -
                                                                                                                                                                 171                     459 4510 4516
 16513                                              16722                                                               1717 186 242                                                      19821 19917                                   heat     14            -   2212
FREEZE              1           -   1293         general                  a           -
                                                                                              1048                      2511 2513 2521                                                  happy       5               -12321               23219 23221
Freezes             3 8324      -
                                                    10513 1383                                                          281 2811 2815                                                     14816 1495                                     23315 23321
 844 909                                            16912                                                               302 307 309                                                       15611 17515                                    23324 2489

                    5                                                                                                                                                                                                                    24814 24821
frequent                        -   13323        generally                        7               -       13513         315 3111 423                                                    hard    9           -   395 396
 1341 1378 1379                                     13524 1392                                                          5020154151552                                                     1068 1069                                      24824 2493
 13710                                              1413 15124                                                       granted                 31-                     3911                 15023 20420                                    2497 24916
                                                                                                                                                                                                                                                                                           23219
                                    1                                                                                   14524 23010                                                                                                     heat-split1                                    -
frequenting                                  -
                                                    16614 21717                                                                                                                           20514 20515
 5612                                            generate                         1           -       6623           graph          11           -           1179                         20614                                         heavily         1              -       19722

friend   111
                    -       15521                generated                         4                  -       168    graphic                 2               -       17310              hark    1       -       25819                   height         1           -       7616
                                                                                                                                                                                                                                                                   2249
friendly1                   -       14918           4220 19924                                                          19318                                                           Harris          2           -       8517        help     111       -



friends 7               -       14320               20121                                                            graphically                                 1        -
                                                                                                                                                                                          1615                                          helpful            2 651       -



                                                                                                                                                                                                                                         7914
  14919 16811                                    gentleman                                2               -
                                                                                                              3110      12011                                                           hat    12       -
                                                                                                                                                                                                                7224 736
  16917 1715                                        8216                                                             gray       3        -
                                                                                                                                                 851                                      739 7317 1023                                 hereby             1           -       2605

  171917218                                      gentlemen                                2               -             10310 10314                                                       1026 1035                                     hidden             1           -       284

friendship                      3    -
                                                    10519 25510                                                      great      2            -
                                                                                                                                                     14214                                10310 10311                                   high     1         -       2235

  14110 14112                                    GILL 56                      -
                                                                                      882 884                           23224                                                             10315 10316                                   highlight                  2               -       6223
  1714                                              8921 923 9616                                                    greater              111
                                                                                                                                                         -       2068                   head 25                 -
                                                                                                                                                                                                                            2817         12618

front   32      -
                        2210                        12817 1296                                                       green          7 7111       -                                        10312 1101                                    highlighted                                11       -



 411 412 562                                        13312 13315                                                         722 1272 1597                                                     20518 2061                                     581 8120 8422
 6210 6620 7219                                     16011 16017                                                         160916021 1611                                                    2063 21111                                     972011011
 7220 7318 765                                      1617 1624                                                        Gretchen                            9 8416      -                    21215 21914                                    12621 1272
 8122 9225 931                                      16216 16316                                                         8623 881 889                                                      2204 2205 2207                                 12716 15812
  1016 10810                                        16324 1655                                                          896 8910 908                                                      2227 22225                                     15815 1592
  11951267                                          16511 16513                                                         9114 9210                                                         2233 2234                                     highlighting                                   2    -



  154141713.                                        16517 17818                                                      grew       1            -       18023                                22615 23019                                    58131198
  2046 20420                                        21425 2166                                                       ground  1                               -   19425                    23022 2312                                    Highway                    2               -       13118

  2116 22024                                        22519 2264                                                        grounds 1                                  -       2155             23418 23924                                     16717

  2309 2313                                         22619 22625                                                       grouping                           21-             10112            24615 25518                                   history            1           -       18515
  23121 23313                                       2275 2296 2303                                                      10124                                                             25613                                         hit 12    -    20510 20511
  2407 24612                                        2308 23012                                                        grow 1                 -           18022                          header          1 6212              -
                                                                                                                                                                                                                                        hitting   1 17813          -


  2472 25221                                        23015 23016                                                                                                                                         3 18220                                  3 4119
                                                                                                                      guess 4
                                                                                                                                                                                        Health
                                                                                                                                                     -
                                                                                                                                                             266                                                        -               hold               -


  25316                                             2329 23214                                                          5017 528 1213                                                     23721 25618                                     18211 21618
      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                              Page 85 of 101 PageID 5297
                                                                                                                                                              14




     hole   111-
                   2019                1357 16825                        1761319622                                          783 23516 2446                               incised    21-     2067

     home          -   13518          hotel   11    -   464              1977 20119                                          25619 25621                                  incision    21-        22115
             16I




      13521 1507                      hour    21-       808 11025        2021 2033 2088                                      2572                                          24015

      15318 16817                     hours 71-           3518           2115 21319                                         illegal   1l   -    3623                            31- 315
                                                                                                                                                                          include

      17423                            13510 16515                       24215 2577 2585                                    illustrate         1121-       2251            1367 25020

     home-wrecker                      16615 16616                      Hummels                     181-             212      2257 22510                                  included    51-         8624
                               111-


      17423                            16824 1811                        215 576 8116                                         22513 22516                                  8810 1324

     homicide          141-   20815   House        151-   13022          8214 8215 8217                                       22614 22922                                  24319 2609

      21716 23422                       13024 13114                      831 833 969                                          23017 23111                                 includes    Ill
                                                                                                                                                                                             -    1924

      25520                             13116 13123                      9719 9721 1051                                       24124 2422                                  including     41-15721

                                      house 91- 15112                    10620 10918                                          24713                                        17613 20321
     homicides          i1-
                                                                                                                                                               2299




      151-3712
      21723                             15121 1526                       158141639                                          illustrated             131-                   25714
                                                                        hundred                              12114            23020 24617                                                             633
     Honor     1141-         1111       1535 1539 1542                                         13    -                                                                    inclusive    41-

      128 1461412                       1568 20716                       21220 21922                                        illustration             41-           2487    639 6324 19415
                                                                        hundreds                                 13814        24812 24819                                                    1




      111-4921
      177 1722 1823                     20717                                                      111-                                                                   inclusively                 -



                                                                                                   1112                       2496                                         24419
      228 2214 2312                                                     hyper                  -
                                      housekeeping                11-                ill




      2314 3310 374                     25724                                                                               image 43            -
                                                                                                                                                    2114                  inconsistencies

                   397 4425           Houston           I11-
                                                                 6020                                                         2115 2116 2625                               788 7810 7822
      466 467 4623                    Huddle        51-     13022                                                             4117 661 672                                 10515 10517
                                                                                           412                                6710 7010 7012
      4713 4911 4915                    13024 13114                     ice 21-                                                                                           inconsistent

                   503 5119             13116 13123                     ID   2   -   7819                                     7015 7311 7316                               17321

      532 536 5321                    HUMMEL              I11-   2089   idea     2         -
                                                                                               1686 1687                      7823 1013 1014                              incorrect     21-           3118
      5515 5616 5817                  Hummel            981-     115    identical                  2 5723-                    10115 10116                                  11723
                                                                         745                                                  10122 1022
      592 5918 5921                     168 1611 1713                                                                                                                     indefinite        21-           1776
      601 6314 6325                     2120 258 298                    identification 211-                                   1023 1024                                    1777

      6413 687 6810                     3422 352 3512                    351 453 4716                                         10213 10216                                 indicate    141-        1136
      691 698 6914                      463 531 5513                     486 5123 589                                         10217 10218                                  11323 22321
                                                                         5910 8612                                            10220 1033
       7324 7421 7422                   567 5621 702                                                                                                                       2318

       7619 776 8013                    7525 7723 8212                   11010 1231                                           1038 10314                                  indicated         18        -       854
       8020 817 8411                    838 863 865                      1239 15825                                           10323 10416                                  8520 9013 9024
       8513 873 8822                    8719 885 894                     16125 18722                                          1065 1092 1094                               12016 12024

       9215 9219 938                    8922 9419 9420                    18815 1895                                          1098 11218                                    1218 12110
       9318 9323 9410                   962 9713 10324                    1998 19912                                          1131 11312                                    1712 1719
       9417 9524 9616                   10522 10715                      20022 20220                                          11314                                         17112 17220
       9717 985 9818                    1271 1275                        25017                                              images         261-          3114              2097 20917




       111-11112
       9820 992 998                     12713 1331                      identified                  139      -       8121     4523 6311 679                                20918 2115
       9920 10616                       13316 13321                      8123 8124 821                                        6718 6811 7013                               21317 21322
       109141103                        13523 1386                       8214 8216 834                                        7119 7419 7510                              indicates         1     -       12315
       110711019                        1389 13815                        8313 8318 8324                                      7518 7813                                   indication                  -       12419
                                                                                                                                                                                             1I

       11023 11110                      13818 1395                           8416 8421 8516                                    113012          10013                      indications

                       1222             13910 13915                       8518 8525 862                                        10014 10017                                  20424
       1224.12210                       1407 14015                        867 8610 8711                                        10025 1018                                 indicted    11     -        19714
       12219 12516                      1416 1419 1423                    8825 892 893                                         10119 10415                                Indictment             2        -


       125171266.                       14213 14425                       899 9424 9620                                        10421 10511
                                                                                                                                                                            24213 24214
       1261015817                       1465 14614                        9724 982 13313                                       10525 1138                                 individual        46            -
                                                                                                                                                                                                              2123
       1624 16511                       14811 1517                        16013 16015                                          1929 19318
                                                                                                                                                                            224 258 2819
       16519 17819                      15115 1528                           16114 16116                                     imagine                     9221
                                                                                                                                                                            3614 3917 3918
                                                                                                                                               111-



       18713 19111                      15216 15422                          16119 1905                                      impact                  21110
                                                                                                                                         11l-
                                                                                                                                                                            3921 3922 3925
       191201927.                       1554 15522                        22010 2352                                         impacts           11    -   335
                                                                                                                                                                            784 7814 9022
       20010 20212                      15710 15713                       25013 25624                                        implication             1         -   8818
                                                                                                                                                                            1073.11513
       2125 21410                       15716 15724                       2576                                               important              3      -
                                                                                                                                                                            116251242
       21415 21517                      16010 1628                      identifies 11-                           797           17520 20713
                                                                                                                                                                            1245 1248
       22720 23618                      16223 16314                     identify               1o        -   277               24022                                        12411 12414
       2436 24613                       16325 1646                           4211 5623 608                                   impression 11-
                                                                                                                                                                            13225 1333
ý.     25113 25117                      1653 16514                        654 8224 8722                                        17812                                        1339 13925
       2527 25211                       16919 1708                           1888 2082 2357                                  in-store      2         -
                                                                                                                                                         417                15519 1915
       25215 2578                       17012 17024                                                      6           7820      419                                          1969 2053
                                                                                                                 -
                                                                        identifying

       25811 2597                       17118 17218                          7912 8311 962                                   inch 41-          20618                        20712 20723
      hopefully               11715     1733 17310                           11118 11624                                       20619
                        11-
                                                                                                                                                                            21216 2227
      hospital         31-    1355      1747 1756                       identity 71                  -       7722            inches      121-
                                                                                                                                                     499                    22214 2239
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                   Page 86 of 101 PageID 5298
                                                                                                                                                                                                                              15




 2258 22910                                                     2519 25110                                                    4015 429 4411                                                1153 1154 1331                             July1 -1836
 23018 23416                                                         4 - 2237
                                                               inspect                                                        471 505 5121                                                 13315 15522                                jump 1 1214  -



 2352 2358                                                      22311 22316                                                   5310 604 6519                                                1561 1579 1591                             June 1  112  -



 23517 24016                                                    23924                                                         7211                                                         15916 1663                                 juror 12     -   6821 747
 2424 2446 2476                                                inspection                5 2116      -
                                                                                                                             investigators                                    1       -    16612 16724                                     3 - 7420
                                                                                                                                                                                                                                      jurors

individuals                             6           -
                                                                2202 22310                                                     18717                                                       17024 1713                                  796 7914
  1257 1259                                                     2402 2408                                                    investigators                                   i    -        1719 17121                                 jury   113       -
                                                                                                                                                                                                                                                           113 195
 22224 2233                                                    instance                          1225                          1151                                                        17613 17621                                 1914 2210 2723
                                                                                 21-

 2234 22916                                                     1216                                                         invoked                     1- 17825                          17623 17718                                 3124 321 373
individually 11                                     -   709    instruction                   3           -                   involve 1                           -   1612                  17720 17725                                 377 3710 3713
individuals                         5 206       -               5413 943 1946                                                involved 6                              -       771          Johns       2       -
                                                                                                                                                                                                                      9724             4012 4113 427
 6617 7616 8519                                                instructions                      5               -             11716 15324                                                 1134                                        469 4917 5012
 9619                                                           6819 847 17913                                                 1541 17014 2172                                            Johnson             1           -   21613    5224 5715 585
infantry        1           -       2178                        25713 25718                                                  involving                       3           -
                                                                                                                                                                             1977         Joshua 17                   -       519      5815 5819 5912
inflicted       1               -       2461                   intact1       -       24913                                    23022 2444                                                   5221 5415 579                               5920 6015 6225
infliction              11          -       2129               intend    2       -   326                                     irrelevant                          11-         19512         6215 12914                                  645 6417 652
inform         6        -
                             3713                               12523                                                        issue 41-                           17516                     12915 12919                                 6511 6523 6723
  999 14523 1465                                               intended      1               -       7019                      19614 19724                                                 13013 13015                                 6813 6816 695
                                                                                                                                                                                           13017 13021                                 7019 741 7413
  1468 14716                                                   intends      1        -       9411                              1982

informally 1                                -       2599       intent   2    -       9125                                    issues              2           -
                                                                                                                                                                     6110                  13141316                            1319    7423 7716 7810
information                                                     17317                                                          7716                                                        13111 13225                                 8010 8115 8122
                                        23              -



  175 285 2916                                                 interact     11-              1647                            item     12             -       7216                         Joy   113   -       8116                     8125 9124 9218
  314 316 317                                                                                                                                                                              8212 9517 962                               931 9825 994
                                                               interest     4 4211   -                                         1132412224
  318 3419 3420                                                 437 4312 7818                                                  12225 1402                                                  1271 1275 1609                              995 999 9910
  362 366 577                                                                                                                  19024 1912                                                  1612 1977                                   1012 10114
                                                               interested                3 543       -



  795.7911                                  841                 545 5410                                                       19121 20025                                                 20119 2032                                  1021 10212
  978 14223 1499                                                                                                               2364 2366 2568                                              2088 2585                                    10319 11025
                                                               interface     1               -       3113
  1562 16121                                                                                                                          1                  20124                            Joys    2       -
                                                                                                                                                                                                              862 9417                  1138 11516
                                                                            4                11521                           Item                -
                                                               internal              -


  17721                 1972 2444                                                                                                                                    2115                 Judge 68                -       139           1164 1169 1193
                                                                2045 2048 20710                                              items 18                        -



informed                    5 8723      -
                                                               intervention                                      -             3615 479 4718                                               1321 143 1421                                1196 11911
                                                                                                 12

  14315                 1443                                                                                                   4720 489 5914                                               155 159 1720                                 11918 11924
                                                                2285 2289
  14425 14614                                                                                                                  6713 7719 819                                               1821 244 2922                                121712671297
                                                               interview             3       -
                                                                                                         885
                                1                       1378                                                                   8812 11510                                                  325 375 392                                  16212 17913
infrequent                                  -
                                                                8922 10417
           1                818                                                                                                1343 18716                                                  3913 5410 5523                               1791617918
                                                                                 1                   24923
initial             -
                                                               intestine                     -


                                4513                                                                                           18718 1885                                                  705 757 785                                 1875 1989 2004
initials       41-                                             intestines         3              -


  4515 1574 2026                                                                                                               19311 23120                                                 805 8210 8323                               2167 21720
                                                                23320 2504
                                            18612                                                                            itself     3                    1924                          859 8622 882                                22020 2226
                                                                25010                                                                                -
injuries        1181-


  1965 20324                                                                                                                   10013 25222                                                 902 946 9622                                22514 2268
                                                               introduced                    3           -


  2041 20521                                                                                                                                                                               9811 12321                                  22714 22817
                                                                8016 8021 17610
  20722 21918                                                                                                                                                        J                     15820 15923                                 22823 2293
                                                               introduction                          13              -


  21921 22021                                                                                                                                                                              16114 16317                                 22915 22922
                                                                3211 3212 3221
  22223 2299                                                                                                                 Jail   4                3423 356                              1656 17816                                  2309 23017
                                                                             2 741
                                                                                                                                             -

                                                               invades                   -


  22915 24525                                                                                                                  5621 1227                                                   17820 19114                                 23217 23914
                                                                7413
  2475 25521                                                                                                                        7    -
                                                                                                                                                 3515 3520                                 19125 19416                                 24217 24316
                                                                                                                 3220        jail
                                                               inventory                         -       1


                                                                                                                               551911410                                                   19516 19711                                 24324 24411
  2561 2567 25613                                                                            2
                                                                                                                                                                                                                          5
                                                               investigate                                   -


           8                20615                                                                                              11425 1226 1781                                             1999           2005.                        24418
injury                                                          21723                                                                                                                                                                                      245513
                    -


                                                                                                                                                                                                              005                                      24613
  20620 20622                                                                                                                January                     2 5317
                                                                                                         8
                                                                                                                                                                     -
                                                               investigation                                             -

                                                                                                                                                                                           20819              20
                                                                                                                                                                                                                          38           2465                3
  2075 21114                                                                                                                   26017
                                                                2010 4418 6016
  21216 21219                                                                                                                Jim                     226                                   2122 2136 2148                              25316 25422
                                                                6712 12711                                                          11       -




  2235                                                                                                                       job    4    -       1306 13218                                22521 22717                                 25424 2558
                                                                18515 20516
Inn             199 267                                                                                                        20715 2242                                                  2304 23210                                  2579 25717
      18                                                        2085
           -




  2622 4420 4521                                                                                                                                                                           23620 24211                                 25724 2594
                                                               investigative                             1               -   jobs     1          -       1173

  5014104161121                                                                                                              Jodi     2                  24215                             24415 24516                                Jury    17   -   378 5020
                                                                527                                                                              -



                                    23414                                                                                      2576                                                        2468 25218                                   771815415
inquest         1           -
                                                               Investigator                      11
                                                                                                                                                                                                                          2
                                                                                                                         -

                                                                                                                                                                                           2545                                         155217919
inquire         1           -14517                              1424 226 386                                                 John 37                     -
                                                                                                                                                                     115 258
                                                                                                                                                                                                          255252
insets                       1083                                                                                              531 5621 702                                                25723                                       25722
                                                                4420 886 9926
                        -
               12

  1085                                                                                                                         8719 894 9420                                               25814 25820                                jurys    3 393 4525
                                                                                                                                                                                                                                                       -

                                                                7410 886 9916
                                                                                                                                                                                           2596                                         1078
inside         e        -   1113                                1117 12617                                                     9518 969 9713
  508 5216 1402                                                                                                                1145 1149
                                                                                                                                                                                          Judicial        2 2604      -


                                                               investigator                      13                      -

                                                                                                                                                                                           26022
  14025                 1412                                    1713 1716 197                                                  11414 11421
     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                    Page 87 of 101 PageID 5299
                                                                                                                                                                    16




                               K           7    1906 19122
                                               lacerations                         3   -
                                                                                                1716 1724 194
                                                                                                197 239 2321
                                                                                                                             lethal    131-


                                                                                                                               20622 21112
                                                                                                                                                        20620              2054
                                                                                                                                                                          location        91       -
                                                                                                                                                                                                           119
     Kansas             Ill
                               -    21619       2058 20519                                     313 3117 3324                 Lethal        I11-
                                                                                                                                                            20622          2020 2021 2714

     keep        141-         18615             23219                                          386 3916 406                  lettering              121-         5813      558 769 1044

       1948 1949 20315                         laces     I11-              1254                4015 429 4218                   10410                                       1048 10511
     Kennedale                                 lack 41-                1116 528                4411 471 505                  LEVA      121-             219 7612          locations               51-      608
                                    141-


       1021910325                               985 1167                                       5121 536 5310                 license           111-1829                    6012 62210314

       10417 1279                              ladies        111-              25510           5411 5720 594                 licensed               21-          21622     11517

                          14622                lady 21-                8623                    604 6219 6519                   21624                                      logic    11-        1984
     kept     21-

       15517                                    10922                                          6811 6917 7325                life   191-       7212 13616                 logo 21-        7513 1042

                        4725 483               laid   21-          1218 764                    7411 7424 754                   14122 14411                                look    38 -1512
     key    51-

      5012 8418 8424                           language                    Ill     -   6111    772 789 7825                    14416 14725                                 1522 205 215
                              3422 1254                                        7522             7919 8118 8122                 17119 21716                                 4717 5021 5023
     keys        121-                          lapels        I11-


     killed                    19715           laptop                          3825             951 953 9916                   2289                                        515 569 5722
                   11-                                         131-


                               21510            394 9918                                        9924 1062                    life-saving 11-                       2289    587 632 638
     killing           11-
                                                                                                10618 10811                                                                653 6825 708
     kind     11   21-        6918             large    16         -
                                                                           5412                                              light    141-          7317
                                                                                                111812223                      10311 1044                                  747 826 8217
       1171513915                               11418 23020
                                                                                                12617 1283 1288                                                            873 9310 1004
       14017 16415                              23319 2348 2391                                                                13420
                                                                                              LEEST                1414                                                    1074 10814
       16525 16720                             larger        5         -       5113                          21-
                                                                                                                             lights    31-              236
                                                                                                382                                                                        15620 1572
       16911 1732                               561 19012                                                                      3912 10617
                                                                                              Leests 21- 4916                                                   942        1587 15914
       17323 17812                              23615 25110                                                                  limiting           11-
                                                                                                7816                                                                       16219 18613
       20823                                   Larry     Ill       -       16522                                             line    61-        192 8425
                                                                                                              181 3519                                                      18625 18815
                                      2346                     2 20711                                                         9723 19623
                                                                                              left   561-
     kneecap                  121-             larynx                  -



     knife                    2074              20719                                           3923 4017 4219                 2198 2405                                    19622 20711
                 111-

                                                                                                8124 8125 8421                                                             22312 22414
     knit 21-           1812 4310              last 211-               1824 268                                              Lines     I11-             981
                                                                                                851 10022 1013                                          6212 769           24425 2531
     knives            111-         1861        3319 347 3416                                                                lines 16           -


                                                                                                10115 10118                                                               looked                       151
     knowing                  111-    786       5222 5412 5721                                                                 8425 2317                                                 181-


                                                                                                1022 10218                                                                 317 341410516
     knowledge                      141-
                                                5722 587 5811                                                                  23110 24622
                                                629 8111 8417                                   1038 10324                                      349 12714                   1398 15622
vl
       1212 261 8524                                                                                                         link    31-

                                                8913 12521                                      1041 10415                     19123                                        17810 19216
       9516
                                                                                                10620 10624                                                                                                1510
                                                1339 18020                                                                                                  3417 836      looking                      -
     known 22                   -    2114                                                                                    linked            21-
                                                                                                                                                                                         129

                                                                                                1091 10910                                                                 2321 3115 5216
       2116 3810 4221                           1962 2181 2505                                                               linking           1        -       7814
                                                                   3220                         1131313310                                              5416               6017 7523 7824
       6520 6525 6720                          late   61-                                                                    links    11-
                                                                                                14618 1522                                                                 829 8414 1001
       6722 726 10017                           13322 1681                                                                   listed    61-              846 1099
                                                                                                1526 20225                                                                  103310351037
       10021 10117                              1684 1702 20317                                                                1262512721
                                                                                                20418 20421                                                                 10321 10322
       1027 10220                              law 51-             1119 125                                                    1385 21213
                                                                                                20610 20612                                                                 1041 10413
       1038 10322                               11512 11919                                                                  listen 11              -   904
                                                 1368                                           20613 2314                                                                  10622 10624
       1043 1047                                                                                                             listening                  11-      551
                                                                                                2331 2334 2336                                                              1073 11910
       10412 10418                                   31- 5325
                                               lawyers                                                                                                      -   13813
                                                                                                                             literally
                                                                                                2337 2344
                                                                                                                                                I11

                                                                                                                                                                            11913 1736
       18325 21718                              6410 12810                                                                   live a1       -
                                                                                                                                                12913
                                                                                                23612 2372                                                                  190919020
     knows                          951                                7521
                                               lays                                                                            13120 21223
                                                               -
                       111-                            I11


                                                                                                2373 2378 2381                                                              19023 20319
     Korea 11-                 2178            lead    111-            17318                                                   21310
                                                                                                2407 2474 2482                                                             2056 2066
     Kristie 101-                    8315      leading             1           -1104                                         lived    41-               7212
                                                                                                               24821                                                      looks           -       19419
       891 895 909                             leaning             11          -   16024                                       12915 1314 1315
                                                                                                                                                                                    11
                                                                                                248202497
                                                                                                                                                                          lose 11-        21120
       9120 9619                               learn     8- 14213                                            2498            liver                  20412
                                                                                                              2516                    191-

                                                                                                                                                                          losing 1            -    14125
       1272312817                                1434 1436 1538                                 2492125124                     20414 20417
                                                                                                                                                                                          1




       128181298                                2398 25617
                                                                                                                                                                          loss                1618 2523
                                                                                                                               20421 21125
                                                                                                                                                                                  141-

                                                                                              left-hand        81-   10910                                                 282 24915
     KRISTIE21-                       1293      25621 2572                                                                     21221 21224
                                                                                                23612 2372                                                                loud 21-            11822
       1305                                    learned                 61-         5212                                        2504 25010
                                                                                                2373 2378 2381                                                             20316
     Kylie       21-          14816             7415 1432 1742                                                               living                     962
                                                                                                2516 25124
                                                                                                                                       131-

                                                                                                                                                                          love                1556
       14911                                    1747 25624                                                                     12919 1318                                         111-

                                                                                              leg    31-     2117 24815                                                   loves 11-               15022
                                               least    11-                1646                                              load z1-               6123 625
                                                                                                2498
                                L              leave     191-              3925                                              loaded 21-                         393 408
                                                                                                                                                                          lower     3     -       1024
                                                                                              legs 11-        20724
                                                               3 1444                                                                                                      24815 2498
                                                                                                                             locate            21-          3114
                                                                                              length        5 2419
                                                                                                               -
                                                                                                                                                                                                   21810
     lab   191
                   -
                       2524 3822                 11431555
                                                                       1557 1559                                               6023                                       Lucille    11-

                                                                                                499 507 5315                                                                                      6817
       582 5814 718                              17420 1757 1775                                                             located                             4024
                                                                                                                                                                          lunch 61-
                                                                                                2068                                            111-
       100211525                               leaves          Ill-            4416                                            423 6019 13012                              6823 807 9916
                                                                                              lengthy              13824
       1199 18725                              Leest         58                    132
                                                                                                             11-
                                                                                                                                                                            10423 11025
                                                                                                                               13014 13024
                                                                           -


                                                                                              less            17616
                                     1911                                                                                                                                                     20421
                                                                                                      121-
     labeled                                                                                                                                                              lung
                        51-                     1320 1322 144                                                                  13112 13116
                                                                                                                                                                                  141-

                                                                                                21310
       6621 18818                               1418 1424 1511                                                                 1312313225                                  21124 21221
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                17
                                                                                                                                                                         Page 88 of 101 PageID 5300



lungs   171-          20412                              22918 23119                                             2447                                         1493 15210                                 Midland           1- 6018
 20421 21225                                             23519 2371                                             measurements                         2   -    15218 15222                                midnight              1j          -   1535

 21911 22316                                             2417 25023                                              622 746                                      1532 15311                                 might    151
                                                                                                                                                                                                                           -
                                                                                                                                                                                                                               7417
 22318 24923                                            marker         1        -       7011                    measuring 2- 725                              15312 15315                                 7913 15418
                                                        markings                1               -       18723    11924                                        15421 15723                                 16220 22219

                      M                                 marriage            21-                     1751        Medical    1171-             18117            1767 1768                                  mile   1j   -     1313

                                                         1754                                                    18120 18213                                 messages                 1451-              miles    121-         6120
m-a-t-a-I        1- 18523                               married        5            -
                                                                                            13613                1835 1844                                    8218 839 8513                               6124

maam 31- 549                                             14320 17110                                             18410 1855                                   8810 898 8911                              Miles   1       -     1542

 12825 1798                                              17116 17811                                             19010 20725                                  9113 9416 9516                             military        2         -
                                                                                                                                                                                                                                           2175
Mac 8- 2013 2014                                        Mart   371-         118 1110                             21612 21622                                  9618 10919                                  2177

 2019 7513 781                                                                                                   21711 2182                                   13723 1385




 1I-13118
                                                         145 245 3910                                                                                                                                    MIN    111-     844

 10322 1042                                                                                                      2184 2243 2356                               13814 1391
                                                         519 5114 5221                                                                                                                                   mind 31- 1718
 10410                                                   5411 5415 5418                                          24222                                        139514281439.                               21513 24714
machine           21-              1621                  5420 555 5514                                          medical        121-              18115        14312 1455                                 mine 11- 4517
 412                                                     562 579 10012                                           1822 1824 1828                               1458 14512                                 minimize                                  2267
                                                                                                                                                                                                                               111-

                                                                                                                 18315 18320                                  14515 14714
Main    2- 13113                                         10018 11616                                                                                                                                     minimizing

                                                         1308 1309                                               18324 18515                                  14814 1516                                  22620
mainland                               1832              13011 13025                                             2077 21024                                   15419 1579
                      111-                                                                                                                                                                               minute 51-                    3123
major 111-            13014                              1322 1327                                               22611 2289                                   15713 15720
                                                                                                                                                                                                          5010 6824 1178
male    141-      12924                                  13210 13217                                            Medicine        1        -       21620        1588 1591 1598                              17912
 1858 25612                                              13222 13224                                                                             18111        15911 15920
                                                                                                                medicine        61-                                                                      minutes             7- 2418
 25623                                                   13919 13923                                             18217 21622                                  1606 16014
                                                                                                                                                                                                          13018 15120
man    31-       7212                                    14024 1667                                              21625 21717                                  16015 16021
                                                                                                                                                                                                          1512417914
 17023 17120                                             1668 16713 1693                                         22211                                        1736 1739
                                                                                                                                                                                                          2132 21310
mans                                                    masters                                     1816                                                      17317 17321
            1j    -   7217                                                 21-                                  meet   9   -   3613 579                                                                  misquote 11-                              5522
                                                         1819                                                    13225 13315                                  1769
manager           21-              6112                                                                                                                                                                  missing             4         -       24616
                                                                                                                                                             messaging
 6114                                                   mastoid            3- 24620                              17123 1725                                                              21   -

                                                                                                                                                                                                          2484 24917
                                           2621          24623 24722                                             2315 23114 2599                              1389 1446
managers                   111-
                                                                                                                                                                                                         misspoke                  2           -



                                                                                                958                                                          met 13               3513
managing               1j          -   17518            material           11           -                       meeting        2- 5513                                    -

                                                                                                                                                                                                          22811 23713
mandible              1j       -       23023            materially                  11j
                                                                                                    -   132      16725                                        3517 5613 578                              model 3- 6120
                                                        matter18- 1313                                          member3-15410                                 7621 13321
mannequin                      4       -
                                                                                                                                                                                                          22914 23111
                                                         2722 297 2919                                           1843 1846                                    13324 13325
 10015 10016                                                                                                                                                                                             modified 21-                              2923
 1024 23224                                              324 7319 744                                           members 171- 379                              1349 14819
                                                                                                                                                                                                          978
                                                         8024 8813 8819                                          5012 5224 5715                               16612 1707
manner           91    -
                               1979                                                                                                                                                                      moisture                                  4321
                                                                                                                                                                                                                               111-
                                                                                                                                                              17024
 1981 20813                                              911 913 924                                             6015 6511 6815                                                                          Mom 1-                2716
 21714 22617                                             11524 1626                                              9910 10114                                  metadata                 1171        1522
                                                                                                                                                                                                         moment41- 311
 22710 23419                                             1753 19617                                              16212 17913                                  162 1610 174
                                                                                                                                                                                                          859 934 21318
 2446 25519                                              25724                                                   1875 1989 2293                               241 243 2522
                                                                                                                                                                                                         monoxide                      11-         20720
manufactured                                            matters            51-              3121                 24418 25424                                  285 289 2812
                                           1j                                                                                                                                                            month
                                                    -
                                                                                                                                                                                                                       2j      -       16814
 763                                                     3619 924 25419                                          2579                                         411 1202 1205

manufacturer                                             2595                                                   memory 1                     19024            1206 1208
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                                       3j                                                                                                                                                                                                      16813
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                                                                                                                men 1 - 11823                                 12013 12113
 4816 491 506                                           maxillary 21-                                   23024
                                                                                                                                                                                                         months 5- 5523
                                                         24724                                                  mens 21- 4723                                metal       1l   -       18523
manufacturing                               1
                                                                                                                                                                                                          8923 951016613
 759                                                    ME        -    1881                                      4825                                        metallic         3- 10620
                                                                                                                                                                                                         MOORE
                                                             1j
                                                                                                                                                                                                                                                   1216
                                                        MEs                                                                                                   10624 1099
                                                                                                                                                                                                                             1771-

                 621 623                                                    1835                                mentioned                            896
map    12   -                                                     11   -                                                             91          -
                                                                                                                                                                                                          136        1391315
                                                                                                                                                             metals                     18520
March                  241                              meal      11   -    15017                                13921 23225                                              i2j     -
            11-
                                                                                                                                                                                                          3227 362 335
                                                                                                                                                              18524
Mark              723 8415                              mean 14                     2711                         23312 23323
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        141-

                                                                                                                 2351 24020                                  Metals                    18525
                                                         7117 744 9519                                                                                                    1j
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 8517 8520                                                                                                                                                                                                9022       001                           005
                                                                                                                 24716 24918                                 MetroPCS                             8021
marked 29                  -   3425                      10720 11418                                                                                                                   41-
                                                                                                                                                                                                            22807 921
                                                         11623 11918                                            merchant                         519          817 84212625
 453 4716 485
                                                                                                                                             -
                                                                                                                                    1j
                                                                                                                                                                                                          1231812420
                                                                                                                merchants            1               6012    Mexico 21- 6024
 5122 588 599                                            12114 13710                                                                             -

                                                                                                                                                                                                          1582                     512
                                                         17617 22811                                                                 316                      611
 1101012225                                                                                                     merely
                                                                                                                     Y l1
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 1561915824                                              23823 2414                                              7418 872 8723                               microphone
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 1608 16218                                             meaning                             -       20721        1198                                         548 1291 16023
                                                                                                                                                                                                          160241616.
                                                                            ill




 1642318721                                             means                               6524                message 24- 853                               1806 18112 2537
                                                                       111-
                                                                                                                                                                                                          1611016113
                                                                                                                                                             mid              2494
 188141894.                                              1544 20519                                              9018 9020 9110                                    111

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 1905 1997                                               2067 2068 2072                                          1374 1399                                   mid-thigh                1- 2494
                                                                                                                                                                                                          1651916521
 19915 20021                                             20912 22212                                             13913 1437                                  middle       2- 1039
                                                                                                                                                                                                          1781617820.
                                                         22610 22710                                             14710 14722                                  10418
 20220 22413                                                                                                                                                                                              19114 19125
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                   18
                                                                                            Page 89 of 101 PageID 5301



 19416 19418                                     228 2214 2219    12210 12218       22825 2296                                   10922 11713

 1958 19513                                      2224 234 2311    12222 12318       2303 2304 2308                               12412 1257

 19515 19613                                     2314 2317 2320   12321 12325       23012 23015                                  12510 12624

 19711 1985                                      2823 2922 309    12420 12424       23016 2329                                   1297 1304
 2005 20215                                      325 3217 3310    12515 12517       23210 23214                                  13022 13525

 20819 20821                                     3511 3517 3621   12523 1266        23618 23620                                  15519 18016

 2105 2107 2122                                  374 375 3712     12610 12617       23625 2427                                   18017 18020

 2136 21419                                      385 397 3912     12725 1282        24211 2436                                   1884 18820
 21517 22521                                     3916 4015 4116   1286 12817        24415 24421                                  19917 19920

 22525 22717                                     429 4218 4411    1296 13312        24515 24516                                  20024 2084
 22719 22722                                     4424 452 465     13315 15817       24521 2467                                   2086 2168
 22810 22825                                     467 4613 4618    15819 15823       2468 24612                                  names      1           -       8522

 2304 23210                                      4622 471 4712    15923 1602        2475 24711                                  narrow     1               -   1684

 23620 24211                                     4715 4911 4915   16011 16017       2505 25113                                  narrowing                      1           -   2223

 24415 24516                                     4921 502 505     16020 16024       25116 25121                                 National           ij          -       1843

 2468 25116                                      5118 5121 532    1616.1617         2527 25210                                  natural      21-               21714
 25210 25218                                     535 539 5321     16110 16113       25218 2535                                   23115

 2535 2538 2545                                  545 549 5419     1624 16216        2538 25321                                  nature     4           -       3616
 2548 25814                                      5425 552 5511    16316 16317       2545 2548                                    3624 1391 2078
 25818                                           5515 5518 5520   16324 1655        25421 2552                                  nauseous                       1       -       17414
mOORE 1                   -       2138           5616 572 5711    1656 16511        2556 2558                                   navel    2- 21320
Moore 10              -       323                5719 5817 5820   16513 16517       25513 2578                                   21324

 7922 903 928                                    591 594 5918     16519 16521       25723 25811                                 necessarily                        3           -



 1601816522                                      5921 601 604     1781617818        25814 25818                                  1211412116
 2154 22716                                      6314 6317 6322   17820 17922       2596 2597 2598                               12122
 24210 25812                                     6325 6412 659    18013 18121      multiple         14      -
                                                                                                                        2516    necessary                      41-             1210
morgue       4            -
                                  2187           6519 687 6810    18410 1862        7014 11617                                   742 22815 24217
 23817 24125                                     691 698 6914     18712 18715       13714 20510                                 neck    7 -1915
 24220                                           6916 7324 7422   19111 19114       20511 20812                                  20322 2069
morning 21                        -   128        753 7619 776     1912019125        20912 20913                                  20610 20611
 212 2119 244                                    7710 7713 7923   1927 19212        2129 2209 2229                               20612 22124
 251 2619 379                                    801 805 8012     19413 19416       2477 2479                                   need 14            -
                                                                                                                                                           3122
 468 4917 646                                    8013 816 824     19418 1956       murder 6             -   9123                 6410 6412 6811
 6724 961 13516                                  829 8212 8215    1958 19513        15325 2158
                                                                                                                                 7120 9216 9220
 13520 1385                                      8223 831 835     19515 19516       24214 2443                                   981012713
 142916616                                       8312 8315 8319   195221961.       murdered 1                       -   963
                                                                                                                                 179318741878
 16621 16622                                     8411 8413 858    1968 19613       Murphy       9 8119  -
                                                                                                                                 25716 2595
 16712 18411                                     8512 8520 862    19619 19711       952 9513 9522                               needed         1               -1786

         1                22320                  864 868 8612     1985 19815        9524 9818
mostly            -
                                                                                                                                needless                   1       -       13812
                                                 8618 8622 876    1999 19912        10923 11018
motel    1    -   276                                                                                                           needs      t           -       7621
motion    i           -       332                878 882 884      19913 19921      Murphys              1       -       10925
                                                                                                                                negative               2               21021
                                                 8822 8824 8921   2002 2005        muscle 61- 22112
motions       i 19116         -
                                                                                                                                 2413
              2 3623                             902 907 9011     20010 20013       23412 2489
Motions                       -
                                                                                                                                Networks                   1           -       242
 25413                                           923 9215 9219    2019 20212        24813 24823
                                                                                                                                never              -       37
                                                 9225 938 9318    20215 20219       2493
motivating                    ý       -   9121                                                                                   349 4317 6114
motive                            5611           9323 946 9410    2038 20311       muscles          4       -
                                                                                                                    22022
         1o               -
                                                                                                                                 8
                                                 9414 9416 9425   20416 20623       23314 23315                                   6w2 9706024
 884 8817 8821                                                                                                                  New    -
                                                                                                                                              4                                    6   11
                                                 956 9524 968     20817 20819       2342
 891 8923 911                                                                                                                   new    3   -   3615 1991
                                                 9616 9622 9625   20821 2105       mushrooms                        a
 914 9125                                                                                                                -
                                                                                                                                 25414
                                                 9713 9717 984    2107 2122 2125
move    1     -   601                                                               15020 15022
                                                                                                                                news     3     -           15310
                                                 9811 9812 9818   2127 2134 2136    15024 1763
moved    3        -           2410                                                                                               153191544
                                                 9820 991 993     2138 2148        must     l       22810
 2523 7320
                                                                                                -
                                                                                                                                next    23     -           1418
                                                 998 9915 9920    21410 21414      MY           26016
MR 374- 1110 127                                                                        p   -

                                                                                                                                 162517181819
                                                 9924 10616       21418 21419
 1216136.139                                                                                                                     262 263 264
                                                 10618 10913      21425 21517                           N
 13151321 1325                                                                                                                   402 6023 7216
                                                 10916 1103       2166 22519
 1431411                              1417                                                                                       7310 8413
                                                 11061109         22521 22525      name 32                  2817
 1421 1424 159
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                                                 11019 11023      2264 22619        482 5011 519
 1511 166177                                                                                                                      113312816
                                                 1117 1119        22625 2275        5224 8216 8624
 1712 1716 1722                                                                                                                   1541017921
                                                 11112 11115      22717 22719       952 10021
 17241823197                                                                                                                     20116 21424
                                                 1221 1224        22722 22810
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                    19
                                                                                                                                                               Page 90 of 101 PageID 5302



 24713                                                         1274 12712                              942 9611 984                                1384 1422 1646                                           2182 2185 2243
                                                                                                                                                                                                            24223
night   13                -       352                          12716 12719                             987 1113 12318                              16419 17620

 3522 3910 5423                                                12721 13210                             12324 12420                                 18618 20124                                             office     16 -1619

 13514 1501                                                    13212 13214                             12525 12614                                 22118 2246                                               2621 2818 3110

 1502 15112                                                    13619 13622                             16112 16114                                 2298 23811                                               329 473 6019

 1524 1526 1539                                                13624 1371                              1629 16320                                  23923 24422                                              6025 8415
                                                               15812 15814                             17820 19118                                 25016                                                    11420 11524
 16621 16712
NO 1     -    26021                                            16114 1632                              1924 19424                                 occasions                    5 6113      -                18214 1838

noise                 -       11811                            1852 18619                              1957 1958                                   13619 13621                                              1851 19816
         Il   l




                                                               1876 18722                              19712 19719                                 15122 17310                                              21822
noisy    1            -       1184

nonlinear                         2 3814  -                    18725 1881                              2005 22521                                 occupied                 1       -           21610       officer    6           -
                                                                                                                                                                                                                                          2524

 708                                                           1883 18820                              22714 22719                                occurred             91          -       257              283 7211 1154
                                                               18916 19917                             22723 22820                                 3014 3024 6022                                            11920 1358
normal            2           -       18616
 22816                                                         20024 2042                              2305 23211                                  1981 21713                                              officers        1 1619         -



                                                               2097 21820                              23621 24325                                 21714 2338                                              Official       2 2603      -

normally                      2       -       11510
 1883                                                          21823 21825                             24412 24517                                 26010                                                    26022

                                                               21924 2281                              2534 2535 2539                             occurring                1           -           14411   OFFICIAL                           -       26016
          3                                                                                                                                                                                                                           11
North                 -           13113
                                                               23521 23720                             25315 2543                                 Oceanside                 5                  -   276     often    1     -       1346
 23720 25618
Nos 14                                                         24021 25715                             25417 25418                                 4522 782.1071                                           old   12           12917
                              3725
                                                                                                                                                                                                                      -
                  -



 4925 5825 6516
                                                              numbered            1       -   26010    2591 2593                                   1099                                                      1301 1485
                                                              numbers 16              -
                                                                                              8120    objections                          192     October          3           -
                                                                                                                                                                                       1377                  20823 2091
 1114 1926
                                                                                                                        1481-



                                                               8125 844 8421                           2213 3121 3625                              15717 1685                                                2095 25524
 19814 2008
                                                               8423 852 8515                           468 4610 4615                              OF 2         2601 2602                                     2562 2563 2567
 20218 2295
                                                                                                                                                           -




 23213 24420                                                   8518 8522 8525                          4916 4920 4922                             offense       181
                                                                                                                                                                           -       5421                      2572 2573
                                                               8610 9314 9422                          5617 5821 642                               5423 5424 556                                           on-screen                      1           2521
 2451 25824
                                                                                                                                                                                                                                                  -




                                                               19210 22720                             649 6912 7922                               958 9511 1978                                           once     5             8121
nose    1                     4321                                                                                                                                                                                        -
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                                                               2584                                    804 8018 8025                               21514                                                     9816 10419
notations                         1       -           1871
                                                              numerous            4 2417  -            857 8620 9222                              offenses             1                   986               18910 20419
        4                 1241
                                                                                                                                                                                   -
note              -



                                                               1477 14710 2296                         9312 9321 9418                             offer   33               229 2210                        oncology                           -       1832
 22120 22123                                                                                                                                                       -                                                                  111




 24018
                                                                                                       956110241111                                326 348 465                                             one 103            -       1613
notebook                          1           -       6919                    0                        12211 12518                                 533 5818 5919                                             162016241710
                                                                                                       12519 12524                                 6316 6324 689
noted         1           -       25417                                                                                                                                                                      1718 1825 232
                                                              object   1351
                                                                              -   1216                 12612 1603                                  8110 11021                                                242 2410 254
notes        21-                  9424
                                                               3210 3211 3221                          16318 1657                                  1229 12515                                                264 268 3020
  19820
                                                               336 337 4918                            19115 1921                                  1268 15818                                                324 3312 415
nothing               5           -       8916
                                                               646 666 8113                            19420 20216                                 163161655                                                 4117 4413 4510
  11921 12821
                                                               8623 8825 918                           2469 25117                                  19112 19122                                               5417 612 6211
  21021
                                                               10620 10625                             25211 25219                                 2003 20213                                                6921 737 7419
notice        3 3611          -


                                                               10910 1104                              2549 25414                                  2159 22519                                                7723 8117 8119
  791410821
                                                               1606 19420                              25815
                                                                                                                                                   2303 2329                                                 8213 8323 874
noticed            1              -       6018
                                                               19425 2015                             observations
                                                                                                                                                   23618 2427
                                                                                                                                        110
                                                                                                                                                                                                             887 892 902
                                                                                                                                              -



noting            2 2197      -


                                                               20512 20514                             211 3922 518                                24515 2467                                                9015 935 945
  21911
                                                               20515 22215                             7213 7431198                                25114 2528                                                9519 9812 9815
November                              4 8913      -


                                                               22218 22220                             11917 11922                                offered      15              -       146                   10117 10525
  13813 15718
                                                               22221 22525                             11923 11925                                 3224 6318 8020                                            10613 1137
  1

        ad
                                                               24211 24218                            observe      121-         602                8720 9014 9025                                            11320 11419
nowadays                              1           -   11518
                                                               2432 25219                              1053                                        911 91211215                                              11510 1163
number
                                                               25318                                  observed          9               2123        1138 12211                                               1161311615
  19
                                                                                                                                -


  1944 266 5015
                                                              objecting       1       -       9324     2222 244 4317                                12525 1267                                               11618 11623
  817                 821 8224
                                                              objection                       1115     645 1054 21924
                                                                              p77         -
                                                                                                                                                   25819                                                     1173 11716
  81117               827 8214
                                                                 1




                                                               137 2218 2220                           24510 2476                                                  14                          361           12115 1232
  823
                                                                                                                                                                                   -
                                                                                                                                                  offering
                      8319 3221
                                                               2921 2923 3410                         obtain   1    -   23515                       8812 8814 8818                                           12611 12923
  82223               832 8318
                                                               3621 372 5321                          obtained      3       -
                                                                                                                                    5020            8820 924 9615                                            13719 1425
  8325 8413 8415
                                                               5413 5625 572                           11518 2512                                   9710 1625 2437                                           1441214611
  8416 8417 8419
                                                               5711 5713 5822                         obtaining 1               -       25020       25321 2589                                               14624 1479
  8425 867 872
                                                               5922 6317 6416                         obviously 2               -
                                                                                                                                        889       offers       1       -   25217                             14713 14714
  9523 9623 975
                                                               6420 6421 6515                          2439                                       Office                           7113                      15723 16918
                                                                                                                                                               11
  9719 9725 1096
                                                                                                                                                                           -


                                                               7324 7410 7421                         occasion          20          -
                                                                                                                                         202        10221 15411                                              17218 17220
  10925 11011
                                                               7924 845 8713                           4417 5023 515                                1835 19011                                               1731 17620
  11015 1238
                                                               908 9024 921                            6612 13719                                   2081 21711                                               18310 18718
  12621 1272
                                                               927 928 937
      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                   Page 91 of 101 PageID 5303
                                                                                                                                                                   20




                                                                    1787                   owners                      5310       19212 19410                               21721 2245
       19071919                            ordeal              -                                                   -
                                                                                                         Ill
                                                     Ill




       19115 19519                         order 91-               144 288                 owns    I      -        11014          1984 20013                               Pathology           1     -       18210




       11-2154
       19916 20314                          3311 341 709                                                                          20710 2156                               patrol   21-    1154

       20322 20510                          22612 23510                                                            P              22811 22813                               1156

       20610 20614                          23516                                                                                 22816 2355                               pattern      111-
                                                                                                                                                                                                   764

       20618 20619                         ordered         12       -   9320               p.m   171-    694 809                  24811 25312                              pay   151-   7213

       20715 20913                          9413                                            1675 17915                           partial   1        -   2218                13923 1401

       2112 2117                                                                            25912                                                            2224           1407 14013
                                           orders 21-               3218                                                         partially      t1-

                                                                                                                       12118                                        1224
       21412 21413                          13220                                          Pacific      11-                      particular 1511-                          pay-at-the-pump

                 23223                     organs41- 1964                                  package             131-     1175      209 2322 2821                             13923

       2335 2405                            2045 2048 21913                                 18718 2023                            2922 4211 491                            payment 31- 434

       24021 24022                         oriented            111-         8710           page 16             -   141            5015 5213 558                             438 1404
       2445                                original        91-          1912                5417 5722 587                         6814 7213 9022                           Peerwani        121-          18415

      one-frame-per-                        1923 225 249                                    5811 629 674                          985 11217                                 18416

       second         111-
                              4117          2924 8023 8110                                  6921 733 7320                         11324 11624                              Peerwanis               3     -



                                                                                            7512 7621                             13417 13615                               18214 1838 1851




       11-2812
      one-gallon         ii    -
                                            1181 19314
       18718                                                                                12312 20221                           14019 14212                                              2141
                                           originally              131-       3111                                                                                         pelvic    51-

      one-inch        121-    20618         2265 25819                                      2373 25124                            14812 15018                               2142 2349
       20619                                                                 24314         Page    131-            1123           15620 16419                               24818 2492
                                           originals               11-

      one-time                1425                                                           1215 1322                            16722 18425                              pen 11- 4313
                      121-                 Osteopathic                      111-


       14412                                21620                                          pages        1141-          521        1852 18619                               pending       11-        17516

      ones             241                                                                  524 5414 5524                         187218761885
             2o1-                          otherwise                21-            7418                                                                                    penetrations

                 10721                      7913                                            5721 6625 672                         19025 19525                               2043
                                                                                            676 678 6910                          19713 20910                                                      2023
       1111 12021                          outlined            11-          23020                                                                                          people       161-


       15421 1592                                                                           6920 7015 714                         20911 20913                               6618 7119
                                           outs   111-         19319
                                                                                             9925                                 21017 2195
       15951597                            outside             161-         468                                                                                              18421 19821

       159131603                                                                           paint                   18718          2196 21917                                 2072
                                            6417 6812 7413                                         11-

                                                                                                           4825                   2247 22410
       1607.1611                   1612     7423 879 9221                                  pair 11-                                                                        peoples 11- 459
                                                                                                                         25719    22417 2266




       11-695
       1613 20410                            11020 11024                                   pamphlet                11-                                                     per 1s1- 272 4117


       20411 20412                                                                                                 3923           2375 23820                                 4122 6120 13718
                                             1411 1412 1413                                panel      111-


                              1793                                                                                 3425           2398 2409 24011
      ongoing         11-                    1698 16911                                    pants      21-                                                                  percent       141-       12114

      open 71- 3318                                                                          3611                                                                            21220 21922
                                                                                                                                 particularly
                                             2095 25723
                                                                                                                                                             141-


                                                                                                                                   11616 20713
       8123 821 1064                       outstanding                       Ill
                                                                                   -       Papa      11-           9724                                                      21925
        10813 21215                                                                                                4017            22124 2445
                                             8610                                          P a P er     21-                                                                perform       121-       22818
       26011                                                                                 4313                                parties     21-            2608             23811
                                           outweighed                       11-
                                                                                                                                   26015
      Open    5 113 321
                  -
                                             24312                                         parallel        111-
                                                                                                                        13120                                              performed
                8010 17916                                                                                              2059     partner        3       -
                                                                                                                                                            3819
                                           outweighs                    31-        1974    parietal            11-                                                           23414
      OPEN                                                                                                                         11525 11710
              81-       5714                 19717 22822                                   Paris     211-              8217                                                perhaps        z1-        796
                                                                                                                                                               11419
       6510 16211                          overall         131-         2711                 834 837 838                         partners 11-
                                                                                                                                                                             11619
        1988 21521                                                                           8320 8324 8420                      parts                  6224                                       257
                                             7612 16121                                                                                  41-
                                                                                                                                                                           period       91-

       2292 24417                                                                            8516 8524 867                         20125 24320                               3923 5314 8915
                                           overbroad                    121-       5322
        25423                                                                                                                      24616
                                             5624                                            871 16013                                                                       11814 1324
                              10825                                                          16016 1613                          party   4      -       1469
      opened     21-                       overrule                3    -    6420                                                                                            1419 1702 21816
       11313                                                                                                                       14610 14612
                                             927 942                                         161616171618                                                                  permission               4        -       398
                              8825                                                                                                 14615
      opening         111-                 overruled                               2921      17719 17723                                                                     4011 447 9921
                                                                    221-

                              1219                                                           1784                                pass                   1119
                                             372 4615 4922                                                                                                                                                   2155
                                                                                                                                         111-
      opinion     1191-                                                                                                                                                    permitted 21-
        167 2122 414                                                                       Paris                   8219            1221 12725
                                             5625 5712 5713                                             131-                                                                 2159
        436 4312 4316                        5823 6515 988                                   8223 9722                             16517 17816
                                                                                                                                                                                 6 9324
                                                                                                                                                                           persist             -


        4318 9112 9116                                                                                                 21613       20817 2122
                                             1113 12614                                    Parker        11-                                                                 144414461448
        100710561059                                                                                                    4416       2134 2148 2553
                                             16112 16210                                   parking             11-                                                           14718 1496
                                                                                                                                   2578
        1051010813                           16321 19118                                   part381-                159 204                                                 persistent              111-
                                                                                                                                                                                                             14116
        2077 2232                            1924 22714                                      209 218 219                         passages 11- 8620
                                                                                                                                                                           persistently
                                                                                                                                                                                   ntly              11          -


        25515 25517                                                                                                                                     2723
                                                                   2544                      357 4210 472                        paste
                                                                                                                                 P                  -
                                                                                                                                           11                                146244
      opinions         31-     681           25417 2591                                      5019 596 609                        patch     11-10022
                                                                                                                                                                           persists 11-              9611
        7411 7412                                                                                                                                              19611
ý-.                                         overrules               11-            19716     6013 6016 6219                      paternity 11-
                                                                                                                                                                           person        321-        1224
      opportunity                    125                                           138       6421 6712 754                       Paternity              1i   -19613
                              61-           overruling                  12     -
                                                                                                                                                                             437 4312 4319
        327 6715 6910                        24325                                           765 8515 12316                      pathology                  191-
                                                                                                                                                                             459 619 666
        1647 18311                          own 4          -   86411819                      12425 12522                           18210 18218
                                                                                                                                                                             7817 7825 872
      Optical                 1912                                                           17425 1754                            1839 21621
                 11-                         11919 21716                                                                                                                     917 919 9111
      orbit 11-       23023                 owner 11- 8419                                   18024 18616                           2173 21718
                                                                                                                                                                             951 961 962
         Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                 Page 92 of 101 PageID 5304
                                                                                                                                                                                                    21




         1101411017                                    2910 719 7110                                                1411 14119                                     10417                                                        142181432
\   -
         11415 11416                                  photographic                                13           -    1423 1427                                     police 1     -   10325                                        14310 1443

         1528 18512                                    2110 2112 2113                                               14213 1764                                    Porter 5     -   723                                          14414 17214

         20118 2048                                    6521 6523 6616                                               1885 18825                                     8415 8517 8520                                               1742 17414
         20525 21119                                   6717 7111 7115                                              placed     6       -           1149             899                                                          17625 19610

         2139 21314                                    7425 754 7611                                                1638 1889                                     porter   3   -   8625                                         19612 19624

                                                       9917                                                         19024 19319                                    11710                                                        1978
         21413 21716
         22323                                        photographs                                 39       -        2581                                          portion    6     -           1016                            prejudice      2         -
                                                                                                                                                                                                                                                                1974
        persons 1-20518                                2911 651 6825                                               placement                      2       -
                                                                                                                                                                   1091 1205 2262                                               19716

        personal     i 8524  -                         6920 701 742                                                 10814 10818                                    22725 2506                                                  prejudicial          6           -
                                                                                                                                                                                                                                                                        1951

        pertained     2 5114      -                    747 7411 7418                                               places 1 11615     -
                                                                                                                                                                  portions    1            -           2607                     19713 2286

         7724                                          7523 1868                                                   placing 1  7010            -
                                                                                                                                                                  portray    2     -           23523                            22822 2433
                                                                                                                                                                                                                                24313
        pertaining           2        -   8615         19214 19216                                                 plan 2  261 14910
                                                                                                                              -                                    24525.
         8714                                          19423 19510                                                 planned 1   971                -               portrayed        2 7725              -                       preparation              3               -




        pertinent        1    -       8617             1979 1983                                                   plans 2   1466 -                                25025                                                        6219 6312 19010

        pharmacist            111
                                          -   2179     22415 22420                                                  1468                                          position     9           -
                                                                                                                                                                                                       347                     prepare     8    -       1917

        Pharmacy             1        -   18321        22422 22425                                                 plastic    2       -           11319            3412 3413 563                                                4518 4524 5910

        phase   1    -       10710                     2254 2257                                                    14011                                          14324 18211                                                  6125 944 24120

        phone 50         -   564                       22522 2264                                                  play 3 233 12010
                                                                                                                              -                                    21618 22015                                                  24422

         8116 8117 8125                                22621 22622                                                 played 3 2225      -                            23317                                                       prepared       9         -
                                                                                                                                                                                                                                                                342

         8214 8215 8219                                2274 22723                                                   11620 1193                                    positioned               1                   -                635 6311 6920

         8221 8223 831                                 2282 2297 2408                                              player     1- 1924                              21323                                                        10919 22922

         8321 8324 8419                                24111 24114                                                 plus   1   -       25219                       positive     6           -       21012                        2453 24523 2524

         8421 852 8524                                 24124 24216                                                                                3425             21016 21017                                                 preparing      1 5911        -
                                                                                                                   pocket         1       -



         8615 9017 9020                                24318 24319                                                                            2222                 21019 21022                                                 prepping       1 19012   -
                                                                                                                   point    1581-

                                                       25410
         9021 9417 9421                                                                                             3210 3925 402                                  2113                                                        presence       9 393     -



         9518 968 9622                                photography                                 1    -
                                                                                                                    559 8121 8222                                 positively       1                   -           14822        469 6417 6812
                                                       2198                                                                                                                                                                     7423 879 9221
         975 9716 9719                                                                                              8621 10161025                                 possession                       5               -



         9725 10919                                               11                      7023                                                                                                                                  11024 25724
ýý                                                    photos                                                                                                       4418 4710
                                                                                  -
                                                                                                                    10313 10420
         10925 11015                                   723 731 18919                                                10523 1155                                      11411 11422                                                present     21       -
                                                                                                                                                                                                                                                                113
         12621 12719                                   1907 1909                                                    1156 11815                                    possessions                                  2           -    3011 3015 321
         12721 13619                                   19020 19123                                                                                                 3418 354                                                     3520 378 684
                                                                                                                    11817 11914
         13622 13624                                   1943194519410                                                12121 1229                                    possible         4           -
                                                                                                                                                                                                           1175                 695 8010 948
         1371 13717                                   phrase  1               -       20623                         12212 1336                                      14823 14824                                                 995.117412316
         13817 13820                                  physical 2                      -       6713                  14123 14410                                     14910                                                       16441792
                                                       11323
         13823 13824                                                                                                14416 1479                                    possibly         1           -           681                  17916 17919

         1436 1438                                    physician                   1           -   2179              14713 14721                                   posterior5                       -
                                                                                                                                                                                                               20322            20714 21917
         161141783                                    picked      2           -
                                                                                      1165                          14918 1522                                     23025 2349                                                   23821 25722
        phonetic         1    -           14816        1168                                                         15217 1534                                     24817 24917                                                 presentation                     9           -



        photo   11       -
                             11316                    pickup      1           -   6610                              15323 15413                                   postmortem                               1           -        2723 4119 5911
         1891319011                                   picture     4           -       10016                         15511 15518                                    20719                                                        7023 713 8114
         1931919322                                    11315 19517                                                                                                                                                              11622 22915
                                                                                                                    15817 16916                                   posture      1       -           22021
         19323 1947                                    20023                                                        16918 17015                                                                                                 25725
                                                                                                                                                                  posturing            1               -           22020
          194919522                                   pictures            2 7119      -
                                                                                                                    17119 17220                                   potential        2               -       1792                presented           23               -       292
          196219610                                    10017                                                        1741617713                                      1981                                                        2913 36511911
        photograph                29          -
                                                          5 - 191 4313
                                                      piece                                                         17813 17821                                   practice     4 21622     -                                    11918 18417
         301 317 6718                                  718 2368 24224                                               1863 20011                                      21624 21718                                                 18425 1853
         7025 721 726                                 pieces      3           -
                                                                                  8611                              2092 21324                                      22210                                                       1864 1871 1877
         721710151092.                                 24223 24224                                                  23619 24415                                   Prairie   16         -           171                          1879 18823
         1111711118                                   pink    4   -
                                                                          11011                                     25113 2527                                                                                                  189818913
                                                                                                                                                                   1717 186 242
         11119 11214                                   18710 18820                                                  25415 2551                                     2511 2514 2521                                               20525 22011
         11223 1137                                    18822                                                        25616 25710                                                                                                 22015 23912
                                                                                                                                                                    281 2811 2815
          11310 11320                                 pinstripe               1           -       7520             pointed        2               -
                                                                                                                                                          11924     303 307 309                                                 24125 2461
          18611 19314                                 pixel 1 10711
                                                                  -                                                 21318                                           315 3112 423                                                25622 25715
          19713 2156                                  pixels 4 7824                                                        1                          20318                                                                                         1                       2543
                                                                                                                   pointer
                                                                                                                                                                                                   1                           presenting
                                                                          -                                                                   -                                                                                                                     -
                                                                                                                                                                  precedents                                       -


         2282 23612                                    1044 1047 1048                                              pointing 3                         -
                                                                                                                                                          7517     25216                                                       presents       4     -
                                                                                                                                                                                                                                                                1242
         23616 2372                                   Pizza   1               9724                                  1011810311                                                                                                  1245124818512
                                                                                                                                                                                   1                               1218
                                                                      -
                                                                                                                                                                  predicate                            -

         2381 2517                                            13                  118                                         2                   1042                                                                                    9         4610
                                                      place                                                        points
                                                                                                                                                                                    1
                                                                          -                                                           -                                                                                        pretrial        -

                                                                                                                                                                  pregnancy                                    -


         25111 25124                                   3012 8815                                                    2255                                                                                                        12520 12524
                                                                                                                                                                   21324
        photographed                          3   -
                                                       11320 13220                                                 Police     2       -           10219                                                                         12611 12615
                                                                                                                                                                  pregnant         13                      -
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                      Page 93 of 101 PageID 5305
                                                                                                                                                                 22




 19116 1922                                 25912 2607                                  333 7415 11625                         1895 19112                           rather 21-        7510
 25817 25820                                26013                                      providing          1l1-        7411     19118 19123                           1392

Pretrial 21-             3623              process       201-           198            Province       11-             18025    1998 2004                            rationale        11-      2437

 25412                                      2519 2520 287                              province      3        -       741      20022 20213                          raw 61- 2613 3223

pretty   141-    2620                       3219 369 5021                               7413 18024                             20220 2274                            3323 3325 365
 11218 11225                                6525 704 705                               proving      1l    -       1976         2316 23511                            4523

 14117                                      759 7516 7723                              publish 61-            4011             23623 25017                          rays 11-        18517

prevalence               1    -   1161      788 23115                                   4113 427 447                           25021 25115                          reach 11-         1445

                                  1619      24619 24620                                 9921 16511                             25119 25213                          reached         11-       25710
prevention               131-


 2524 283                                   24623 24722                                published          1171-         148    25217 25511                          reaction        31-       15321

preview     111-
                             3314           24723                                       14231571721                            25810 25823                           15516 2212

previous        61-          6818          processing               11-      707        1822 237 3915                         pursuant 21-                3218      read   121-       2718 506
                                           produce                      1404            4014 4114 428                          1228
 14315 16321                                                 111-                                                                                                    529 1428 15419
 17912 21511                               product       111-       3624                4217 4410 4622                        pursue         21-      888            16412 16413
                                                                                                                               18515
 25712                                     profession 11-                               4625 591 7625                                                                16418 1653
                                            20624                                       20011                                                             889
previously           181-         116                                                                                         pursuing 11-                           16514 18717
                                                                                                                                                          16919
 313 8920 1604                             professional                 111-           pugilistic         4 22020 -           pushing         i1-                    19822

 16015 20216                                2014                                        22023 23311                           put    1191-    194 262               ready    121-         3321
 25219 25816                               professionals 11-                            23316                                  2615 3325 347                         373 697 8011
prices    i1-    4314                       22611                                      pull   31-   10525                      3412 459 468                          8012 9217 9824
primarily       121-          6111         proffer 91         -   1510                  1291 1805                              5611 642 669                          991 997 1292
 11521                                      173 1723 229                               pulled    111-     23313                818 11410                             17413 1809

primary 11-                  6111           2312 778 791                               pulmonary              11-              11516 11715                          really   191-     7210

print 11-       6220                        951 2583                                    22320                                  1261 1573                             14020 14612

printed    12    -
                         1612              proffered          21-        1711          pump     11-       13923                20025 2368                            146241509
 7513                                       7912                                       purchase           11-         1343    puts 21-        10712                  15918 16624
                             1578          profile   11-          23516                                                        2019                                   19714 21412
printoutlil          -                                                                 purchased              121-


                                                                        25021                                                                         4320
                         18325             profiling 11-                                10715 13921                           putting        111-                   reari      -    3923




31-problem
private 11


probative        171-         1951         progress           121-      7022           purchases              41-      566                                          reason         141-   11815

 1973 19717                                 711                                         139251407                                                  Q                  19715 21025

 2286 22821                                progresses 11-                        567     14013                                                                       2155
                                                                                                                                                  11-     21618
 2434 24312                                projection             1i1-       7617      Puritan      21-       494 509         qualifies                             reasonable

                                                              2                                                                              41-      7818           7916 1976 22711
                2            1225                                        7020                    5            8711            quality
                         -                 projector                -
                                                                                       purple         -



 1754                                       9922                                                                               7823 1123 11220                                                  2437
                                                                                        9622 13917                                                                  reasoning             11-
                                                                                                                                                       3923
problems 31-                  9015         promise           11-        20314           23021 2317                            quarter        111-
                                                                                                                                                                    reasons         5 6419-




 17221 17224                               prongs 11- 785                              purport21-                 11017       questions               151-   1319    794 7918 887
Procedure                         2443     proof              891                       24219                                  239 2315 2823                         24322
                     11-                           111   -


                                                                                                                        919    536 6812 7424                                              1125
procedure            111-                  properly 21-                 8614           purportedly 11-                                                              Reavis         121-


 22817                                      16120                                                                     3415     775 825 898                            1214
                                                                                       purports       11-
                                                                                                                               1568 1662
proceed         221-          147          property          51-        329            purpose       9 331    -                                                     rebuttal        11-       3525
                                            1134 11410                                                                         17818 2553
 235 3620 3711                                                                          511 7114 778                                                                recalled        11-       17825
                                                                                                                               25718
 3724 537 6518                              12317 1241                                  7711 9614 9710                                                              receipt        151-       1514
                                                                                                                              Quick                   1925
 6913 8011 9217                            proponent              3     -    1313        11512 1531                                      11-
                                                                                                                                                                      15151661612
                                                                                                                              quite 11-           2713
 996 9913 1116                              297 2919                                   purposes           1651-        146                                            181 184 186
  12217 1265                               proposed               11-       8018        2211 351 3716                                                                 1816 4019 4022
  12921808.1925.                           Prosecution                  11   -          3718 3720 3722                                                R              4125 4220 432
 2162 21910                                 2543                                        3723 4119 453                                                                439 4310
                                                                                                                              Rachel         11   -   961
 21912 21914                               prosecutions                     11-         4716 486 5123                                                               receive        71-    225
                                                                                                                              radiation           11-1832
proceeded                1    -
                                            2158                                        534 589 5819                                                                 4422 472 15210
 22117                                                                                                                        radiological 11-
                                           protect       21-        2073                5824 5910 5920                                                                1816 18115
                                                                                                                               18111
PROCEEDINGS                         161-   protruding 21-                               5924 6324 6513                                                               21823
                                                                                                                              raise               12822
 542 5714 6415                              23320 24919                                 689 6911 7115                                  131-
                                                                                                                                                                    received         9 489-



 65101601                                                                               7912 8021 8115                         1801 21523                            847 9018 9021
                                           prove   51-        7722
  16211 19417                                                                           8613 93210121
                                                                                                                              raised     41-          3623           9613 14223
                                            7915 19611
  1988 2153                                                                              1101011521                            191151922
                                            22817 24216                                                                                                              21619 21819
                                                                                                                               25412
 21521 22520                               proved 31-              9019                  1231 1269                                                                   2284
                                                                                                                              ran 11-        3018
 2292 2429                                  24217 2581                                   15818 15825                                                                receives         11-      2128
 24417 25225                                                                             16112 16213                          range 31-            6122                                       3123
                                           provided           1101-         117                                                                                     recess     111-

 25423                                                                                   1659 1795                             625 13718
                                            1118 1119 126                                                                                                            3125 6824 693
                                                                                                                              rate            12012
proceedings                   31-           2416 3214 3218                               18722 18815                                  111-
                                                                                                                                                                     694 807 809
     1-7819
    Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                  Page 94 of 101 PageID 5306
                                                                                                                                                                                                23




     17912 17914                             records           35               -       348              1310 2212 2310                                         22722                                           2107 21012
r

     17915 25720                              349 3410 3414                                              302 304 307                                           relevant      1151-                558          reported   1           -       26011

                                -             356 357 5020                                               311 5513 777                                           8617 8621 8715                                 REPORTER
    recognition       12

             17125                            5024 512 516                                               8310 8523 866                                          881 8914 8925                                   164 3215 547

    recognize     4s        -       1515      5110 5113 5210                                             9019 9115 9119                                         9523 19714                                      12521 16022

     208 4219 454                             5313 5318 5414                                             936 9322 9415                                          2159 21512                                      18118 1848

     456 4510 4513                            564 585 595                                                9521 967 9621                                          2269 24213                                      18522 19919

     4718 482 486                             6017 818 8218                                              9815 13616                                             24216 24311                                     2017 20413

     4818 4822 5124                           836 8521 8615                                              14223 1456                                            relied   3    -       2813                       20621 23014

     6214 11011                               9615 9719 981                                              1459 16319                                             3010 3021                                       2478 2502 2536

     1259 1399                                1226 12313                                                 17516 1954                                            relieved      Ill
                                                                                                                                                                                         -    17518             2546

     15625 1573                               12416 16123                                                1967 19725                                            rely   41-   284 2810                           Reporter    2 2603     -




     1595 1598                                1874                                                       2195 22223                                             729 22622                                       26022

                                                                                6115                     22318 22321                                                                     2622                                                               2609




    -ý.ý
     15911 15915                             recover           i1-                                                                                             relying      11-                                Reporters          21-


     16424 18723                             recovered                  3               -                23724 24020                                           remain 121-                   8425               26012

     188191896                                11412 2585 2586                                            24025 24121                                            17822                                          represent 21-                           334
                                                                                                         2445 24423




     21-2373
     18915 1905                              recross           1        -           2135                                                                       remaining                 21-         819        1586

     192171943                               RECROSS                        11-                 2137     25418 25513                                            8117                                           representation                               16        -



     19915 20022                             RECROSS-                                                    25611 2571                                            remains 51-                    2722              3013 5723 856
     20221 22415                              EXAMINATION 11-                                           regarding              19               -       2218    849 1852 2082                                   1181 1182 22925
     22419 22919                              2137                                                       3017 3713 578                                          2085                                           representations                                  Ill
                                                                                                                                                                                                                                                                          -



     23120 23122                             red   4   -
                                                           12717                                         6325 6416 7122                                        remember                  181-            557    966

     23124 2362                               15812 1592                                                 8015 881 905                                           6818 871 11721                                 representative

             23717                            15913                                                      9113 921 987                                            13211 13214                                    761 18912
     23719 24110                             redact        i    -       929                              11118 1439                                              14020 1474                                    represented                    2             -



     2452 2456                                                                                           15820 16122                                                                                            2712 9610
                                             redacted           3 8112              -                                                                            14925 1515
     25024 2521                               8616 1239                                                  2157 25718                                              15118 16624                                   representing                           ill


                                                                                                                                2142
    recognized        2         -
                                             redactions                         2           -   819     region     11-                                           17912 19015                                    3020
     5011 17210                               846                                                       register       1        -       274                      19020 19023                                   represents             1                -


                                                                                                                                                        463      2533 25712
    reconstruct
                                                                                z                                                                                                                               10222
                                                                                                                                                    -
                       31-                   REDIRECT                                       -           re9isterin9                 l       1




     2249 22612 2423                           12221 2126                                               regular2           -        13219                      remote       3        -       553               reprinted                      -       1633




    111-reconstruction
                                                                                                                                                                                                                            liI



                                                                                                         16721                                                   8915 957
    reconstructing                  11-      redirect5                  -           8319                                                                                                                       reprinting 1l                      -     975
     22511                                     1223 17817
                                                                                                        related       13   -
                                                                                                                                    514                        remoteness                        1   -
                                                                                                                                                                                                               reproduced

                                    11   -
                                              2124 21410                                                 5115 828                                                9611                                           2266
     2272                                    redraw  l              -           19816                   relates       2    -        18817                      remove 31- 843                                  request    5       -       1315
    record   44   -   114                    reduce  1 24316        -
                                                                                                         25324                                                   9210 978                                       12425 19815
     229 2216 322                            Reeves i    3416           -
                                                                                                        relation       141-             5620                   removed 81- 853                                  1991 19925
     3511 3715 3717                          refer 8   7817-
                                                                                                         13017 13024                                             9216 1863                                     requested          31-                       611
     3719 3721 4619                            15419 1874
                                                                                                         13114                                                   18910 2262                                     6910 2608
     5323 6316 6318                           2102 2273 2372
                                                                                                        relations 13                    -
                                                                                                                                                16921            22724 22811                                   requesting             1                -    332
     6319 6512 697                             25122 25719                                               17311 17621                                             24223                                               3 2920
                                                                                                                                                                                                               require        -




     8022 8425 8614                                                                                                                                            removes                            1928
                                             reference              4                   -
                                                                                                562     relationship                        241-                                   111       -
                                                                                                                                                                                                                3620 24414
     959 9715 9722                             852 10121 23017                                           14215 14316                                           removing              21-          974          required    11-                    135
     9723 1229                                                                                           1432514415
                                             references                         14          -
                                                                                                5114                                                             20214                                         requisite 1                -           1116
     12211 12215                                                                                         14918 15512
                                               5525 5612 9213                                                                                                  rendition             21-          15712        requisites l                       -         1212
     1231312516                              referred 21-                                                1663 16916                                              1582                                          research 3
                                                                                        14623                                                                                                                                             -           18315
     1251812519                                                                                          17018 17019
                                               15421                                                                                                           renew     4 4610  -
                                                                                                                                                                                                                18320 18324
     125251261                                                                                           17022 1718
                                             referring          5 8222              -                                                                            4915 11023                                    reserved    11             -           7412
     1263 1304                                                                                           1721 1726                                               25413
                                               875 23521                                                                                                                                                       residencies                    l             -

     1331213314                                                                                          17211 17217
                                               23719 23725                                                                                                     repeat 21-                11213                  18216
     16113 16124                                                                                         1732 17323                                              2505
                                             reflect       7 5318
                                                                -
                                                                                                                                                                                                               residency      3                   -


     18016 2156                                                                                          17422 17424
                                               13312 13314                                                                                                     repeatedly                    131-
                                                                                                                                                                                                                18218 18223
     2316 24318                                                                                          1789 21511
                                               13912 1637                                                                                                        13720 15515                                    1831
     2599 25911                                                                                         relative      1l       -        11225                    16223
                                               16311 2283                                                                                                                                                      respect12              -
                                                                                                                                                                                                                                                  345
    Record   2    -   2609                                                                              relatively                      -       13823                                4            12322
                                             reflected                                      16124                                                              rephrase                                         435 4311 8118
                                                                                                                           11
                                                                21-                                                                                                                           -


     26013                                                                                                                 1494                                  12324 1665 1723
                                                                                                                      -
                                               1769                                                     relay   111

                                                                                                                                                                                                                824 10513
    recording     41                                                                                    relevance                                       4919             s
                                                               2                    2285                                                                                                 18616
                                                                                                                                                -
                                             reflects                   -                                                                                      report            -
                                                                                                                                                                                                                10916 12311
     12025 1219                                                                                          5619 573 8716
                                               26013                                                                                                             18717 19023                                    1888 2045
     12110 2198                                                                                          8817 957 9611                                           20516 20720
                                             refreshed                      i                   19024                                                                                                           20611 22923
    recordings                      118                                                                  986 1626 22614
                      Ill

                                             regard        461-                     117                                                                          20918 20925                                   respective             11-
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                         Page 95 of 101 PageID 5307
                                                                                                                                                                                                                    24




 26014                                                 right-sided                          11    -    2229    safety         1         -           14220                       second        1111-               2513                292 305 3011

respond            31-              13811              rights     1             -       369                    samples                  6               -           19611        4117 4122 5722                                       3021 3024 554

 1479 14713                                            ring 111-                    10519                       23511 23514                                                      9023 10720                                           731 7310

responded                          1l       -
                                                        10523 10620                                             23524 25018                                                      1587 16219                                          sequences                        1    -   7315

 13810                                                  10910 11118                                             2512                                                             20224 22414                                         sequential                   31-          2925

response                   151-                 126     11119 11122                                            San    19      -     3423 355                                     2269                                                 3020 341

 127 339 8918                                           11211 12316                                             5519 5621 886                                                   section           4   -
                                                                                                                                                                                                              1241                   sequentially                         1l   -   269

 922 923 927                                            12419                                                   893 8923 8924                                                    1244 1247 12411                                     Sergeant11-                           5521

 12319 15315                                           rings    11      -           1242                        1227                                                            secured           1       -           11511          series 31-                   117
 1564 1955 2263                                                             226 4423                           sat                2525                                          security 51-                          123             11611 24120
                                                       Rizy 41-                                                      111-



 2435 25320                                             886 11420                                              satisfied                    3           -
                                                                                                                                                                    1117         11521 1236                                          serious 11-                          21216

 25813                                                 Road     1l          -           1279                    1213 25216                                                       13420 1358                                          serve      131       473 476
responsibilities                                 11-   road    11       -       13015                          satisfy            ill
                                                                                                                                                -       3120                    Security          1       -           1238            2177

 2355                                                  Rodgers                      11      -    7620          saves          111-              648                             see    67     -   241 243                            served          2        -
                                                                                                                                                                                                                                                                      477
responsibility                                  21-    romantic                         2 -17022               saving             1             -       2289                     2625 274 288                                         2175

 7915 2357                                              1717                                                   saw 1141-1814 268                                                 3320 4413 4717                                      service          111-                528

rest   111-       3413                                 room 91- 2621 464                                        3112 4025 1099                                                   5217 5323 564                                       set   141-       1318 666
restaurant11-                                           5015 7111 7113                                          115311641169                                                     5723 605 6210                                        7118 8015
 13021                                                  7118 722 25717                                          1201913918                                                       7015 7316 7318                                       10010 10025

result    9 2917   -                                   rotate       11-                 1678                    15310 20522                                                      7419 7524 8217                                       10210 10225

 7911 7917                                             routine          2               -
                                                                                            20325.              21110 2252                                                       8218 8810 9823                                       10317 1044

 145171965                                              2042                                                   scalp          21-               20517                            10223 10323                                          1046 10414
 20521 22820                                           rule                 6418 6616                           20520                                                            104310461075                                         1451 2584
                                                              151-


 23413 23414                                            6617 788 21713                                         scene          6             -       556                          10717 10815                                         sets    31-       1006 1036
                  2                                                                                                                                                              1092 11314                                           10721
results                    -       25411               Rule    7        -           1213 134                     18515 22419
 2559                                                   294 3120 469                                            2262 24225 2459                                                  1167 1231 1233                                      settings          1 3816         -



resume            1            -   25711                17822 17825                                            scenes 11- 24222                                                  12315 12414                                         settled          2 433 437
                                                                                                                                                                                                                                                              -


                                                                                                                                                                                 12416 1263
retain    111-             25017                       ruled 1              -           3222                   scheduling                                   1l       -   2599                                                        seven       3l      -1302
                                                                                                                                                        982                      12621 1333                                           16625 20322
retires 31-                        12815               ruler 4          -           18918                      School               21-

                                                                                                                                                                                 13513 13517
 17910 21423                                             19519 19520                                             1279                                                                                                                several          1121-               2416
retrieve                       -   10613                24617                                                  school              2 755        -                        758     13520 14024                                          5523 6812 7812
                  121




 12424                                                                                                                                                                           1587 1632                                            8916 11612
                                                       Rules        141-                294                    Sci   111-          18325
                                                                                                                                                                                  17714 18612
retrieved                  51-              175         3411 7621 1228                                         Sci-Tech                 1 18325             -                                                                         11619 11620
                                                                                                                                                                                 18816 1959
 317 3110 3111                                         rules 1l             -           1289                   Science                  2 23721         -                                                                             12618 13618
                                                                                                                                                                                  19910 2026
 1256                                                  ruling       9               -
                                                                                        9220                    25618                                                                                                                 15122 21713
                                                                                                                                                                                 20523 20718
retrieving                 1            -       613     999 16321                                              science                  31-                     6520                                                                 sewn       111-          767
                                                                                                                                                                                 2107 21113                                                 7
reveal     3 2203      -
                                                         19718 1986                                              1816 1819                                                                                                           sex         -    14115
                                                                                                                                                                                 21114 21217                                          1423 1433
 2402 24018                                             20814 2559 2592                                        scientific 1l                                    -   746
                                                                                                                                                                                 2238 22312
revealed               111-
                                        2228           rulings          4               -
                                                                                                3619           scientist1l                                  -       18324                                                             14412 1743
                                                                                                                                                                                 22414 23217
reverse           21-              3311                  3713 11020                                            screen 1241-156                                                                                                        2398 23910
 7617                                                                                                                                                                            2373 24023 2451                                                                          17313
                                                         24413                                                   1521 1610178                                                                                                        sextin9          11          -


                                                                                                                                                                                seeing        6- 167
review        17               -   1119                run    2     -   3022 11525                               179 1813 241                                                                                                        Sexting           21-                17315
                                                                                                                                                                                 4214 4323 8016
 125 1311 232                                          running                  5           -   2614             2521 2620 2813                                                                                                       17316
                                                                                                                                                                                  1203 1515
 328 3610 5020                                           6421 17116                                              316 411 436                                                                                                         sexual           5       -
                                                                                                                                                                                                                                                                      16920
                                                                                                                                                                                seem 31- 14322
 511 521 6910                                            25418 2593                                              75131055.1057                                                                                                        1732 17311
                                                                                                                                                                                  14825
 794 9313 10521                                        runs    1        -           731                          1061 11419                                                                                                           17621
 1087 10822                                            Ruth                 -       2576                         12011 12016
                                                                                                                                                                                selection             1               -   7716
                                                                                                                                                                                                                                     shaded 11- 19312
                                                                11
 18514                                                                                                                                                                          sell              16720
                                                                                                                                                                                                                                                          2159
                                                                                                                                                                                       111-
                                                                                                                 12025 19012                                                                                                         shall   11-
                                                                                                                                                                                sending           1           -       1531
reviewed                   12       -
                                            8521                                            S                    21014                                                                                                               shape        16      -       272 274
 15914                                                                                                                        272
                                                                                                                                                                                sense       2     -
                                                                                                                                                                                                          3616
                                                                                                               se    1l   -
                                                                                                                                                                                                                                      275 2711 2715
                                                                                                                                                                                  11623
reviewing                      1l       -       2825   S-h-i-p-i-n-g                             1     -       seal       11-           357                                                                                            10512
revisions                  11-              811          18019                                                 sealed 61-                               1253
                                                                                                                                                                                sensitive             2           -
                                                                                                                                                                                                                          21015
                                                                                                                                                                                                                                     shaped           1l          -       24015
                                                                                                                                                                                  21016
revisit       1        -       12213                   S.W.2d           11- 1121                                 1256 23611                                                                                                          share 11-                    16410

                                                                        5                                                                                                       sent    7     -
                                                                                                                                                                                                  9020 9613
ribs   2      -   24922                                S.W.3d                           -       121              23614 2515 2519                                                                                                     shave       1l       -       2065
                                                         1323 141 7620                                                                                                            1187 15218
 24925                                                                                                         seams               1l           -       762                                                                          shaved           1           -       2063
                                                                                                                                                                                  15312 25717
Richland                   111
                                    -       1841         7624                                                  search               1               -   25411                                                                        sheet       31    -1241
right-hand                         1        -          sad 2        -       17121 1725                         searches                             1           -   25412       separate              1           -       2422
                                                                                                                                                                                                                                       1244 1247
                                                       safe 1                                                                                                                   September                                 -
 23615                                                                              19820                                 1                                                                                       31
                                                                        -
                                                                                                               seat                -    23424                                                                                        Sheriffs             161-             3618
                                                                                                                                                                                  5316 5323 1685
right-side121-                                  2477   safekeeping                               111
                                                                                                           -
                                                                                                               seated              141
                                                                                                                                                -
                                                                                                                                                        12825                                                                         474 11421146
 2479                                                    11512                                                                                                                  sequence                  10              -   2821
                                                                                                                 17920 1804 2161                                                                                                       11411 12425
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                           Page 96 of 101 PageID 5308
                                                                                                                                                                      25




                                             23519 23625                                                      7010                22610 22612                                     19919 2017
sheriffs           2 329    -                                                        simple 31-

 6025                                        24320 2447                               7512 7516                                   2272 22724                                      20413 20621

shift   131    -   16619                     24522 24613                             simply 21-               342                 22725 2281                                      23014 23015

 1675 1678                                   24712 25023                              10310                                       22914 22916                                     23711 23713

shifts    1        -       18421             2565                                    single        131-       887 888             23018 23021                                     2427 2478 2502

                                  18010     showed                    5216            17811                                       2313 2315                                       2536 2538 2546
sHIPING                111-
                                                                51-

                                             1179 15112                              sinus                    23024               23112 23113                                    Sorry    Ill    -        23015
Shiping            121-18017                                                                   111-



 18018                                       1542 23915                              Sisler    1131-          21414               2332 2404 2407                                 sort 51-        3919 725

shirt 351-                 209 2012         showing             1101-       1824      21425 2151                                  2424 24223                                      7218 8716 1128
                                             303 452 4715                             21523 2169                                  24224 24618                                    sound          1    -        9925
 2013 2014 2019
                                             485 599 745                              21610 22625                                 2473 2476 2477                                 source   646
 2021 4821 6610                                                                                                                                                                                 131-


                                                                                                                                  2479 24718                                      853 11220




  21-10117
 714 718 7218                                836110911725                             2296 23011
                                            shown 41- 6723                            23214 2438                                  24721 2483                                     sources                                  2129
 7318 7511 7512
                                                                                                                                                                                                                  -
                                                                                                                                                                                                    Ill




                                             15424 19422                              24421 25513                                slacks 21-                 4825                 south                    13018
 7516 766 781                                                                                                                                                                              31-

                                             2099                                                                  2163           13421                                           1311 16717
 10014 10016                                                                         SISLER             11l
                                                                                                              -



                                            shows 31- 2614                                                                       sleeve                     6610                 southwest 11- 6013
  10020 1015                                                                         sits   21-         10819                                 121-



                                             19518 20720                              16716                                       7218
  10161017                                                                                                                                                                       southwestern

                           10323            sic   71-       1312 4615                sitting 21-              1024               sleeves              121-   766                  596 609
 104510411                                   6511 8414 9711                           1569                                        11319                                          space      1        -        11815

  13420 18711                                11020 17413                             situation              9 2512-
                                                                                                                                 slide   61-           7125 737                  spaghetti                141-15015

  18811 18923                               sic   11I
                                                        -   4620                      265 2615 2815                               10110 10222                                     15016 15019
                                                                 541 7011             6617 6618                                   10422 1056                                      1762
  189251906                                 side   401-

  19021 2584                                 11313 15925                              1412215610                                 slides 31-                 711                  Spanish             11l
                                                                                                                                                                                                                  -           6111

shirts 21-                 7610              1794 20225                               15615                                       1003 10514                                     spared         2         -       2336
  10015                                      20418 2069                              six            1487 16422                   slightly         11-        12111                2337
                                                                                            161-


shocked                           15322      20614 22213                                                                         slow                  8220                                                               2343
                                                                                       16613 17617                                       11       -
                           11-                                                                                                                                                   sparing         121-


shoes         111-          13421            23019 23022                              2058 2067                                  small 51-              20023                     23410

short     141-             6610              2315 23218                              Sixth     111-           368                 23611 2391                                     speaking                 21-                  9816
  721816710                                  23222 2331                              sixth     21-          1488                  2393 24923                                      2375




I11-shorts
short-sleeve                      21-        2334 2336 2337                            17524                                     smaller              111-   3824                special         2 2818       -



  6610 7218                                  2338 2344                               size     4 495 507
                                                                                                    -                            smoke            1l    -    16911                15011

shortly 21-                     8017         2361.5              2373                  10512 25523                               smoking 11- 1415                                specialized                              2     -    1126

  1371                                       2405 2407                               skeletons                11      -   2244   sneezing               11-       4321           specializing

               141-         18710            24617 24619                             sketch         121-          22913          Social 11-                 1238                  2244
  18821 18822                                2477 2479                                 22914                                     soft   11l   -       20514                      specialty                1l              -    18110
  1908                                       24715 24716                             sketches                 61-         2299   software              31-        1126           specific            111-                      2019
shot31-254 2621                              2482 24814                               2322 24011                                   11212 12013                                    2021 5212 5623
  2623                                       24921 24924                               24121 24422                               sole 41-              10724                      797 8620 1017




201-shoulders
shots                      2417              2508 25111                                2452                                        1081 1083 17518                                1037 10313
              12       -



                                             25124                                                                                                                17122
  3012                                                                               skills    11-            2249               someone                    11-                   14417 16125
shoulder                   111-
                                  10022     sidebar 21-               843            skin     21        -     20517              sometime 71- 1505                               specifically
                                             848
                            11-     10023                                              20519 20715                                 15310 15425                                     122 2620 271
                                            sided                 2229
show          481-          155                         111-
                                                                                       22111 23220                                 1552 1681 1737                                 294 2915 306
                                            sides 61-            373 766               2345 2348                                   1744                                           4420 469 4617
  1720 1821 432
  5122 588 735                               8011 9217 9824                            23411 23921                               sometimes                   3l       -           515 5115 7620
                                             25714
  8814 9014 1012                                                                       2403 24812                                  13714 13717                                    894 9211 10021
  101141021                                 sign    2       -   12412                  24817 2491                                  21016                                           103616116
                                             1574
  10212 10319                                                                          2496 24912                                somewhat                    1l   -       5211    2173 24218
                                                                            12414      24913 24916
  10661106.1247.                            signature 31-                                                                        soot    161-          20718                      24325

  15618 15715                                1571 20223                                24920 24922                                 22313 22314                                   specifics                111-                 13525

  1585.15824                                significance                11-            24925 2509                                  22319 24023                                   specifies                1l              -    5710
                                             19525
  1627 16423                                                                         skins         131-       2488                 2413                                          spell    131-            1303
  18721 18814                               significant               31-              24820 24822                               sorry        321-           164                   18018 18020
  1894 1904                                  14724 1482                              skull 421-               2059                 3215 547 738                                                                               20715
                                                                                                                                                                                 spillage 1l                      -


  19217 1997                                  15021                                    20521 20523                                 814 8220 11213                                split21-            23219
  20021 20219                               similar141-               7321             21113 21217                                 1177 13712                                    splits                   23221
                                                                                                                                                                                            121-

  20416 21012                                 1026 10420                               2206 2209 2229                              15718 16022                                   splitting            1               -       21215
  21513 22412                                22024                                                            22410                16024 1784                                    spoken          111-11014
  2269 22817                                similarities              121
                                                                            -
                                                                                       2258 22511                                  18118 18225                                   sponsoring                                          814
                                                                                                                                                                                                                              121-

  22918 23118                                 11910 11912                              22513 2262                                  1848 18522                                      816
                                                                                   J22211
       Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                 Page 97 of 101 PageID 5309
                                                                                                                                                                  26




      stab    1181-       19518                2002 20213               2317 23119                                          stills   31-            6220                                       17825 19810

       1964 19620                              21424 2158               23213 23217                                           6223 6925                                                       subpoena                                   131-                  346

       19623 20320                             21623 21625              23519 23619                                         stock     i1-               13219                                  473 12425
                                                                                                                                                                                                                                                                       841
       2049 20410                              2435 24323               23624 2371                                          stop     151-         13515                                       subscriber                                     il            -




       20424 20812                              25216 25224             23713 23724                                           16616 16816                                                     substantially                                             13                 -




       2097 2099 2115                           2596 2605               24111 24323                                           16820                                                            1974 22822
       21122 21124                             STATE 11- 2601           24418 24420                                         stopped                 11          -           1693               24312

       21213 21219                             States   11681-   145    2451 2456                                           stopping                14                  -     1688            succeed i1- 14619

       21319 2144                               1481423153              24519 24611                                           1689 2551 25710                                                 suffer i             l
                                                                                                                                                                                                                       -             20521

      stabbed         161-           19621      155 157 1512            24714 25023                                         store     1351-                 151                               suffered                   141-                        25521
       21224 21225                              1514 1521 167           25025 25114                                            1614 183 184                                                    2561 2567 25613
       2131 2139 21314                          178 1717 1721           25120 25122                                           403 415 417                                                     sufficient                         171-                        1312
      stabbing            131-       19525      1723 1724 1814          2528 25214                                            419 4415 6021                                                    272 277 296
       19622 19624                              1818 1822 2124          2559 25512                                            619 13010                                                        2918 3610 21119
      stack    Ill-           1003              2217 237 2312           2566 2568                                              13011 13210                                                    sufficiently                                       11-                   295

                              2055              291 2914 3714           25614 2582                                             13212 13214                                                    suggestive                                                       -
      stage     11-                                                                                                                                                                                                                              ill




      Ill-stand
      stain               2020                  3725 3915 405           25821 25824                                            13222 13317                                                     20910
               121-


                               1517             4014 4020 4114         statement                        121-         567       13318 13321                                                    suicide                                            21715
      stamp                                                                                                                                                                                                                          -
                 81-                                                                                                                                                                                               Ill




       15191525162                              425 428 4217            5610 7717 7719                                         13323 1341                                                     suicides                     Ill
                                                                                                                                                                                                                                             -         21724
                                                4219 4410 4615          8825 893 8924                                          1344 1347
       301 304 3010                                                                                                                                                                           suit   Ii    I
                                                                                                                                                                                                               -       1338

       4124                                     4621 4625 4716          17413 19113                                            13410 13416                                                    summarized
                                                4818 4822 4912          1928 21923                                             13515 13919                                                     25312
                131-          10613
       1991019913                               4925 506 5010          statements                           3    -
                                                                                                                               1402 1405                                                                                                                     25220
                                                                                                                                                                                              summary                                141-


      standards                Ill   -   627    563 5619 5717           7721 8816 9014                                         16711 16716                                                     2539 25314
                                                5825 5910 5922         states                           18217                  16725 1689                                                      25323




       21-23215
      standing                121-   168                                            11-


       273                                      5925 607 632           States 71-                       597 609                16810                                                          summation                                          1                 -



      start pol       -       144 398           638 6315 6321           6013 1248                                           straight              ill
                                                                                                                                                                -           3514                16121
                                                6323 641 6513            18124 1822 1825                                    stream                                  11619
       546 5410 663                                                                                                                                                                           sun                      444
                                                                                                                                                            -
                                                                                                                                              ill                                                              -
                                                                                                                                                                                                     Ill




       9418 9610                                6516 6621 682          station 3l                   -       3821            streams                                 -         1207                                                       16721
                                                                                                                                                                                              super
                                                                                                                                                    Iil
                                                                                                                                                                                                               l   1-


        16923 1834                              688 6911 6919            10325                                              street 21-                      7211                              superficial
                                                779 793 7915           stay                3922                                13014
                                                                               121-
                                                                                                                                                                                               2062020714
      started                    9917           7920 8012 8824           14025                                              Street        3l        -
                                                                                                                                                                13113
                      141-                                                                                                                                                                    supervisors                                              ill
                                                                                                                                                                                                                                                                       -

                                                927 9316 965                                                15119              13118 26023
        1349169918917                                                  stayed       121-
                                                                                                                                                                                                11420
                                                991 9910 9912            15124                                                                                                        3413
                      11-24714                                                                                              strengthen                                                                             1                         2224
                                                                                                                                                                                  -
      starting                                                                                                                                                          Ill
                                                                                                                                                                                              supply                             -

                                                10619 10622                                                 14521
                 3 5322                                                staying                                              stress                              14124                                                                                1312
                                                                                                        -
      starts              -                                                               Ill
                                                                                                                                          121-
                                                                                                                                                                                              support                  al                    -

                                                10916 11010                                     4816
        552 19610                                                      steel    11-                                            17222                                                            296 2918 361
                                                1114 11324                                                       4816                                                             23220
                               1123                                    steel-toe                                            stretches
                                                                                                            -
      state    Iiol
                          -                                                                     Ill                                                         111-
                                                                                                                                                                                              supposed                                   141-                      2712
                                                1196 1225              Steele                               1714                                                                      23220
        11251323 3411
                                                                                                -
                                                                                                                            stretching                                                          972 146914610
                                                                                    111                                                                                       -
                                                                                                                                                                Ill



                                                12214 12216
       4419 6613 7712                                                  step                 12813                           stricken                                        8424
                                                                               9l
                                                                                                                                                                                                                                                               3623
                                                                                      -                                                                             -
                                                                                                                                                    11                                        Suppress                                   zl            -

                                                12224 1231
        126814316                                                        1798 2038                                          strike        21-               844 2234                            25413
                                                1262 1264                21411 21420                                                                                7521
        18016                                                                                                               stripes           11-                                             surface                                    -           23915
                                                12616 1585
                                                                                                                                                                                                                       Ill



      State    119126                                                    2308 23215                                         stronger1l                                  -     23315           Sure                                                   21620
               161                                                                                                                                                                              g ry
                          -


                                                1582516212
                                                                                                                                                                                                                             i       l




        121513141317
         215 1314 1317                                                   24425 24612                                        struck                              22215                                                                                  2285
                                                                                                                                          151-
                                                                                                                                                                                              surgical                                       -

                                                16214 1633
                                                                                                                                                                                                                         11l



        13251491825                                                    steps     4         -        14222                      22225 2563                                                                                                              3617
                                                                                                                                                                                              surprise                                           -
                                                16323 16423                                                                                                                                                                Ill



        295 338 3325                                                     21013 2237                                            2568 25614                                                     surrounding
                                                16425 16510              22818
        347 3412 361                                                                                                        structure i1-                                         10223         10712 21510
                                                                                                                                                                                                          10
                                                18815 1895                                          1713
        3711 4912 533                                                  Steve     Ii1-
                                                                                                                            studies            2                        6119




                                                ý1-1937
                                                                                                                                                                -
                                                                                                                                                                                              surveillance                                              31
                                                18912 190.1
        5618 5818 5919                                                 Stevenson                            11       7623      7611                                                             2717 7312 10218
                                                19119 1926
        6315 688 7620                                                  Still   271-             1216                        study i1-                       202                               survival                                       -       2095
                                                19217 19220                                                                                                                                                              Ill


        7623 7722 7912                                                   1217 3119 651                                      stuff 4l                3316                                                                                                           2 2218
                                                                                                                                              -

                                                19222 19224                                                                                                                                   suspicion                                  Ill
                                                                                                                                                                                                                                                        -


        856 8616 8918                                                    679 7010 7012                                         3320 8112 8710
                                                1931 1933 1935                                                                                                                                suspicious
        922 929 9410                                                     7013 7313                                          styled        tl            -       26010                           21723
                                                         1939
        9614 971 979                                                     10217 1064                                         sub      13   -    7612 7614                                      sustain                                            927
                                                19311 19324                                                                                                                                                            z1
        9811 11020                                                       10661094.1098.
                                                                                                                               7615
                                                1941 19414                                                                                                                                      12324
ý-ý     1225.12217                                                       1112511217                                         subcutaneous
                                                19812 19814                                                                                                                           Iu1-    sustained                                  13l            -          1105
        126812816                                                        11951621                                              2503
                                                2008 20218                                                                                                                                      12323 12423
        1292 17921                                                       17013 18513
                                                                                                                            subject                                           2722
                                                20221 22413                                                                                       121                   -
                                                                                                                                                                                              sustaining i1-                                                           1976
        18312 18317                                                      19615 2141
                                                2251 22712                                                                     3410 4211 7319                                                 sutures 31-                                            23112
        1832219121                                                       2142 21518
                                                2293 2295                                                                      8024 8110 1286                                                   23113 23115
        194131975                                                        25419 25716
                                                                                                                               14814 17822
                                                22918 2307                                                                                                                                    sworn                8             -           1415
 Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                         Page 98 of 101 PageID 5310
                                                                                                                                                                                    27




 38312824 1294                                                  14714 15213                                            7416 772 7816               1773                          11111 11113

 1803 18011                                                     15812 15814                                            795 7918 7924              texted    2 9018 -             1223 12214
 21525 2164                                                     16123 1632                                             822 8317 8322               17710                         12217 12220

symbols                 1           -       5915                1637 1638 1639                                         8516 8517 861              texting      3 568   -         12323 12423

                                                                                                                       8611 905 9011               1381 14622                    12521 1262
sync    i       -       1209                                    16312 16313

synchronized                                    l       -       16523 1766                                             9121 9620                  texts    1   -   16117         1265 12613
 12123                                                         telephoned               3              -               10425 1154                 THE   3141-              114   1281 1284 1288

                                    2322                        14625 1475                                             1289 14623                  1114 129 134                  12812 12813
system          161-

                                                                16223                                                  15125 1605                  137 1310 1317                 12816 12818
 2514 3810 3814
                                                                                               2                       16120 1791                  1324 142 147                  12820 12825
 40913923                                                      telephoning                                 -



                                    243                         1372 1448                                              19010 1969                  149 1413 158                  13314 15821
System              14          -



                                                                                                                       2159 2288 2465                                            15924 1609
 3812 3814 18220                                               temporal           2        -       24625                                           164 165 173
                                                                24724                                                  25220 25310                 1710 1715 196                 16012 16018
systems                 131-                2325
 2717 3817                                                     ten   8   -       3123 4120                             25312 25314                 2212 2215 2218                16022 1614

                                                                4122 6824                                              25322 25323                 2223 231 235                  1618 16111
                                                                                                                                 1        25018    238 2313 2316                 16118 1629
                                T                               17912 17914                                           testing         -



                                                                20321 20410                                           tests   31-     21013        2825 306 3025                 16212 16320

                                                                                                           3123        21024                       319 3116 322                  1658 16512
T-shirt         4           -       4821                       ten-minute 31-

 7512 18711                                                     6824 17912                                            TEXAS      2    -   2601     3215 338 359                  16518 17817

 18811                                                                                             1394                26021                       3516 3524 371                 17824 1797
                                                               tendencyi                   -



                                                                                                                                          294      376 379 3714                  1798 17911
table   3           -       764 965                            tender        13    -    466                           Texas      201-

                                                                                                                       4024 469 5222               3911 3914 4115                17917 17920
 1339                                                           4912 533 5919
tabled          1           -       9812                        6315 6322 688                                          5710 6018 6215              451 4612 4614                 17923 17925

                                                                                                                       1279 13021                  4619 4624 4714                180218041807
tag   3 507 509
            -                                                   11021 1225

  10022                                                         1269 19121                                             1828 21623                  4920 4922 504                 1808 18118
                                                                19414 2003                                             21625 21815                 5120 537 5325                 18119 1848
tailored            11-5623
                                                                                                                       2356 23720                  543 547 5417                  1849 18522
talkative               111-                1416               Tennant            3    -       21810
                                                                                                                       2442 25618                  551 5510 5512                 18523 18524
tape    10          -           1220                            2191 2323
  1223 131 1311                                                tentative          1        -       903                 2605 26023                  5516 5519 5614                18525 18714

                                                                                                                                      5811         5618 574 5713                 19117 1923
 3019 895 1179                                                 tentatively             i           -       1120       text 731    -



                                                                                  528                                  6921 8218 839               5715 5822 593                 1952 19511
  1218 12115                                                   term 11-

                                                                                                                       8512 8810 898               5923 603 6319                 19514 19521
  18723                                                        test   6 21014-


                                                                                                                       8910 9016 9020              6410 6414 6416                19524 1966
tapes       3           -       336 1165                        21018 21020
                                                                                                                       9110 9113 9416              6511 6518 6815                196151971
  1168                                                          2111 22821
                                                                                                                       9516 9618                   692 696 699                   19720 1987
TARRANT                             1       -       2602       testified          26       -       1415
                                                                                                                        10919 1374                 751 774 777                   1989 19911
Tarrant             114             -
                                            474                 2720 3416 383
                                                                                                                        13723 1385                 7711 792 7925                 19919 19920
  1149 15411                                                    842 8419 867
                                                                                                                        1389 13814                 803 806 8011                  2007 20012
  15414 18212                                                   10516 1294
                                                                                                                        1391 1395 1399             812 823 825                   2017 2018
  1834 21612                                                    15417 1607
                                                                                                                        13913 1428                 8211 8213 8220                20217 20310
  21710 2182                                                    16016 16115
                                                                                                                        14224 1437                 8225 833 8310                 20413 20414
  2184 21815                                                    16122 16222
                                                                                                                        1439 14312                 8314 8317 849                 20621 20622
  2242 2356 2604                                                16324 1761
                                                                                                                        144614551458               8412 855 8511                 20818 2106
tattoo          111             -   222 223                     18011 1902
                                                                                                                        14512 14710                8514 8523 863                 2123 2124 2135
  275 276 278                                                   1929 2164
                                                                                                                        1471414722                 866 869 8613                  21411 21416
  2712 2715 7813                                                24012 2439
                                                                                                                        14812 14814                8619 874 877                  21420 21422
  1054 10510                                                    24422 25016
                                                                                                                        1516 15210                 8725 883 8823                 21424 2151
tattoos             1           -   212                         2588
                                                                                                                        1532 15311                 8918 901 903                  2154 21519
Taylor i1-                          2603                       testify I11-                132
                                                                                                                        15315 15419                9010 9112 926                 21523 2161
TAYLOR l                                -   26021               3011 314 6612
                                                                                                                        15421 1578                 9216 9223 934                 22524 2263
team    1           -       5814                                7023 12421
                                                                                                                        15712 15715                9315 9317 9319                22616 22620
tech    2       -       20115                                   15414 1963
                                                                                                                        15720 15723                944 947 9412                  2273 2277
Tech    1           -       18325                               2276 2277 25311
                                                                                                                        158215881591               9415 954 955                  22718 22721
technically                             11      -       1112   testifying          2           -       12319
                                                                                                                        15920 1606                  9521 964 9614                2287 22813
technician                                      -               1796
                                                                                                                                                                                 2291 2293 2306
                                    131



                                                                                                               1221     16014 16015                9621 9624 977
  20111 20112                                                  testimony                               -
                                                                                       152
                                                                                                                        16020 16122                9714 983 987                  23010 23014
  20115                                                         213 2323 3017
                                                                                                                        1621 1623 1627              9814 9819 9823               23212 23622
Technology                                  1           243     312 4917 5112
                                                                                                                                                                                 24210 2435
                                                    -




                                                                558 5512 576                                            1736 1739                  994 996 9910
telephone                           19          -   9314
                                                                                                                        17317 17320                9913 9923                     24322 24416
  969 9612 9719                                                 584 5815 6224
                                                                                                                        1766 1768 1769              10915 1105                   24418 24518
  1371813817                                                    6312 7325 7412
                                                                                                                                                    1108 1112 1116               24610 24614
     Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                                                                                   Page 99 of 101 PageID 5311
                                                                                                                                                                                                                                                                  28




     24615 2478                                                                10511 10515                                                       toxicological                                          3           -       true    4     -       3013 1211                                   uncleaned                     Ill           -



     2479 2502 2503                                                            1376 13812                                                          20918 20925                                                                22925 2606                                                       24318

     25118 25212                                                               14325 17421                                                         21012                                                                    truly     21-             2326                                    under      13           -     134 293
     25215 25223                                                             tied Ii      -          9021                                        toxicology                               i             -                     26013                                                            2911 357 7619
     2531 2536                                                               timeframe                               1       -    8922             20719                                                                    truth in          -
                                                                                                                                                                                                                                                      8813                                     7621 9124
     25320 2541                                                              timeframe-wise                                            Ill
                                                                                                                                             -   trachea                2             -       20711                           8819 9025 913                                                    1412417221
     2546 25416                                                                8922                                                                20719                                                                      924 15919 1625                                                   1973 22823 2442
     25424 2555                                                              timelessness                                        111
                                                                                                                                       -         trained              Ill
                                                                                                                                                                                  -       21620                             try   7   -
                                                                                                                                                                                                                                          14112 1664                                          undergoing                          1           -



     2557 25510                                                                9115                                                              training               9             -
                                                                                                                                                                                                  218                         1788 18520                                                       13615

     2579 2589                                                               timeline                    4           -   1419                      7121 7424                                                                  2072 2074 2357                                                  underpinning                                    2   -



     25812 25817                                                               1718 1819 5611                                                          11920 21617                                                          trying        9 557       -                                        11221125
     25821 2591                                                              timely          2               -   3213                              2174 21811                                                                 7523 8023 1445                                                  underpinnings                                       t   -



     25910 2601                                                                3218                                                                21813 22217                                                                1496 14919                                                       22614

    themself                    11          -       2073                     tissue          2               -   20125                           trans           1      -       9117                                          16920 17713                                                     understood                              2       -



    themselves                                  4       -
                                                                               2503                                                              transaction                                      12            -           Tucson             2                  -       614                  14920 17113
     2024 747 7721                                                           title   1       -       24910                                             189 1810 5416                                                          616                                                             unfair Ii           -         1974
     10024                                                                                                           394                               5420 553 6018                                                        turn          -       236                                         unidentified
                                                                                         23                                                                                                                                         11                                                                                                        -
                                                                             today                           -                                                                                                                                                                                                                        It

    theory       2 887          -
                                                                               5112 584 5815                                                       6021 6211 6217                                                           turned            13          -
                                                                                                                                                                                                                                                                      1223                     9422
     9617                                                                      5912 6221 6224                                                          10816 19725                                                            3423 16421                                                      uniform            7 714      -


    therefore                       6 5624      -
                                                                               6312 685 10425                                                          2439                                                                 twice         2       -       20411                                718 10014
     656 9116 9123                                                             10516 10819                                                       transactional                                          2               -     20420                                                            13418 13419
     16124 24215                                                               11517 11721                                                             2916 2448                                                            two 47            -
                                                                                                                                                                                                                                                      2325                                     13420 1524
    therein      Ill
                                    -       783                                1334 1337 1398                                                    transactions                                           18          -         3319 3815 3818                                                  unique             22         -     205
    thermal             17              -       20714                          15612 15623                                                             524 5218 5318                                                          3820 458 569                                                     2017 2018 2022
     20722 21918                                                               1589 1882 1969                                                          5411 5415 5418                                                         5721 6113 6211                                                   2023 2122 662
     21920 22021                                                               25016                                                                   565                                                                    769 785 9015                                                     663 665 682
     22517 2337                                                              toe     1   -       4816                                            transcription                                          I1              -
                                                                                                                                                                                                                              9118 9313 9510                                                   7510 7519 7522
    theyve       5 2924             -
                                                                             together                        20          -       201                   2606                                                                   10012 10013                                                      7812 798 10422
     3319 8123 9016                                                            2614 2925 3019                                                    transferred                                      Ill
                                                                                                                                                                                                            -       1159      1036 1049                                                        1056 10723
     22725                                                                     5610 5612 762                                                     translate                                        -     529                   10919 11823                                                      21823 21825
                                                                                                                                                                                13

    thickness                           2           -
                                                                               768 769 7815                                                            5213 12116                                                             1233 1234 1433                                                  Unit   4       -   12021
     23920 23921                                                               837149616910                                                      translation                                  2             -
                                                                                                                                                                                                                8418          14910 15819                                                      1216

    Thierry      Ill
                                    -       1325                               16911 17119                                                             8424                                                                   16813 16814                                                     United         171-           597 609
    thigh    31-                20322                                           17120 17323                                                      transmit1                                    -         1623                  16914 17023                                                      6013 1248
     2494 2497                                                                 20117 21512                                                       transmittals                                         11        -             1743 19013                                                       1812418221825
    thinking                1               -       5522                       24224                                                                   9117                                                                   19216 20321                                                     University                    6             -



    third    1   -          2378                                             tomorrow                                2       -
                                                                                                                                                 transparency                                               1           -     20424 2069                                                       18117 18120
    thirds i        I
                            -       17023                                      25711 2594                                                              1004                                                                   20618 20619                                                      18312 18317

    thirty   1          -       20320                                        took    14              -
                                                                                                                 132 248                         transpired                               11            -       1535          21013 21221                                                      23720 25618
    thirty-five                     i               -   20320                  717 722 723                                                       trauma                1o                 -           2128                    2132 21310                                                      university                    2             -   1812
    thoughtfulness                                              Ii   -         8815 1015                                                               21313 2204                                                             21317 21319                                                      1814
                                                                                                                                                                                                                              25619
      19722                                                                     11222 14119                                                            2205 2207                                                                                                                              unknown                     9           -       2114
    Three     111
                            -       1849                                        1423 1427                                                              22615 22618                                                          two-inch                      2               -   20618            661 10018
    three    16             -           269                                     14212 2174                                                             22713 23418                                                            20619                                                            10020 10118

     3518 458 5312                                                           Tool    2           -
                                                                                                         2014 781                                      25518                                                                two-thirds                                11          -   17023    102710431047
     5319 6211                                                               tools       Ill         -       7210                                traveling                      i                 -     298                 type      1o          -       1093                                 10412

      10223                     1151                                         Tools        4              -       2013                            travels              l           -           1207                            1343 13419                                                      untimely                Ill
                                                                                                                                                                                                                                                                                                                                  -       335

      1207 17618                                                               7513 10323 1042                                                   tri
                                                                                                                                                        1    -    4723                                                        13615 14010                                                     up   155   -       131 1318
      1847 1991                                                              top     15          -       1812 2817                               tri-fold             Ill         -       4723                                2074 21717                                                       2222 3122 324
     20010 20610                                                               416 4310 4514                                                     trial      3314 555
                                                                                                                                                            181
                                                                                                                                                                  -                                                           22215 2475                                                       349 3417 444
     22913 22914                                                               8424 1003                                                               7511 9861793.                                                        typical           1           -           2074                     4513 7118 7217
    three-dimensional                                                    2      10218 1037                                                             24311 25325                                                          typically                     1           -       18414            7722 7821 8025
     -
         22913 22914                                                            10313 1049                                                             25711                                                                                                                                   8625 9019 9224
    Throughout                                      i       -                   1101 1257 2378                                                   trier      2     -
                                                                                                                                                                            6711 773                                                                              U                            10023 10525
      17217                                                                  total   5           -       676                                     trim       1     -         7317                                                                                                               1064 10814
7   throughout                                  18          -                  20320 20410                                                       tripping                   ill           -       605
                                                                                                                                                                                                                            ultimate                  Ill
                                                                                                                                                                                                                                                                      -       21214            1165 1168
     2624 596 608                                                              2058 23825                                                                                                                                   ultimately                                        -       21210    11811 11816
                                                                                                                                                 Trish           5                8119 952                                                                        Ill
                                                                                                                                                                        -


     6012 7723 7811                                                          toward              1               -       415                                                                                                unable            1               -       6022                     1195 12714
                                                                                                                                                       10923 10925
     7813 8410 8422                                                          tower        t              -       10918                                 11018
                                                                                                                                                                                                                            unboned                       1               -       24718        12821 15112

      854 8824 897                                                           Town         Ill
                                                                                                         -       6019                            truck           1          -     6610
                                                                                                                                                                                                                            unborn             1                  -       14221                1542 15720
Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                                                                                                                      Page 100 of 101 PageID 5312
                                                                                                                                                                                                 29




 1713 17410                                     3012 3017 8611                                         3222 3311 3317                                           Walls   I1     -        1354                              1908 2266
 17613 17925                                    11517 2254                                             3324 643 646                                             Walmart            421-                   119             22621 24316
 18022 18023                                   vehicle         6               -
                                                                                       3919            655 11612                                                 111011131419                                            whole 51- 15610

 18112 19623                                    4211 4415 4416                                        view      5 2523      -                                    16161618 1622                                            17614 1787

 1995 19910                                     6120               13915                               15511 23410                                               1625 171 1717                                            23915 24911
 19914 20315                                   velocity            liI
                                                                                   -   2235            24715 24817                                               181 187 1818                                            wife   14     -
                                                                                                                                                                                                                                                 1368
 2059 2152                                     veracity             I11-
                                                                                       15919          viewed                    121-              2425           2322 2413 2511                                           14218 1432

 22023 23118                                   verify II           -           3023                     3321                                                     2521 261 265                                             143101443
 23215 23313                                   Verint                  -           243                viewing                    11           -   2618           273 2820 2916                                            144131555
                                                             iI

 23316 2407                                    versa 11-                       9120                   violation                      121-           3219         315 3112 404                                             1559 1628
 24321 2483                                    version                             -   1169             368                                                      4024 422 4221                                            17120 17214
                                                                   iI

 2581 2595                                     versus         13               -       7620           visible               2            -       1137            4325 7817 1014                                           1742175717624
upcoming                         21-    1456    7623 10412                                              19315                                                    10116 1023                                              William        1I           -   21621

 1459                                          VHS            -        1218                           vision 11-                             11923               1025 10715                                              Windstar  481           141-
                                                        iI

upper      161
                         -
                             10216             via 11    -    18611                                   visit     8I          -    5325 6918                       10816 1091                                               6116 6123 626
 23321 23612                                   vials           -       20017                            13621 14913                                              11313 1164                                              Winkle        Ill
                                                                                                                                                                                                                                                 -       25221
                                                        11

 2381 2488 2516                                vice                9120                                 14923 15115                                              11611 11616                                             wiping      131-                4319
                                                       1l1-


ups                  2321                                                                               15924 25223                                             Walmarts                 31-                 2417         4321
      1l                                                                               118
             -

                                               video      66               -


                             1569                                                                                                                8014            271 299                                                 wise 11-                8922
upset      131-
                                                1319 1523 169                                         visited               41-

  1786 20316                                                                                            15121 16325                                             wants    3          -     3322                           with..                  8917
                                                 1611 1981924                                                                                                                                                                     11         -



                         905                                                                            16522                                                    12013 25422                                                                                3010
urge                                             1925 232 2410                                                                                                                                                           witness             471-
                 -
       111




urged        1           -   8919               259 2524 2619                                         visiting                  1            -    19015         Washington                               131-             3015 4424 4712
usable           i1-             25316          271 273 276                                           visits          1          -           1417                18317 18322                                              502 5118 814
                             3813                                                                                                                                1841                                                     816 871 8715
utilize      Ill-                               2723 302 303                                          visual           31-                   2116
                                                                                                        11725 2408                                              watch                     3422                            899 941 9525
                                                399 402 422                                                                                                              11    1-


                             V                  4313 4324 445                                         visually                   2- 3112                        watches             11-                  1245             9816 10320
                                                4521 514 5517                                           25013                                                   waveform                     1I-             1183         10613 10615
Vado                         611                                                                                                                                waveforms                                        1181     10913 1104
                                                5620 6020 6022                                        voice                                  20315                                                           -
          1I         -
                                                                                                                                 -                                                               Itl
                                                                                                                      Ill



value      51-               796 1973           617 653 6524                                          voicemail                              1      -   11016   wear 41- 10519                                            1119 1221
  19717 22822                                   6723 707 709                                          VOIR                                   1416                13418 14015                                              12218 12725
                                                                                                                     61-
 24312                                                                                                                                                            14017                                                   1281512816
                                                7011 721 7219                                           2319 538 6915
VAN    121-              1414 382               7312 7613 7625                                          752 15822                                               wearing            141-              7525                 12824 15414
Van                          131 1319            1001210013                                                                                                       11211 1337                                              1601616517
       611-                                                                                           voir 4I           -        6812 6912
  13221441418                                    10020 1014                                             7714 15820                                                17412                                                   17816 17910
  14241511 1716                                  10217 10219                                          volume l1- 2609                                           wedding             31-                  10519            17921 1803

  1724193.197                                                                                                                                                     10523 11118                                             187121999
                                                 10324 10416                                          voluminous                                    1    -




  239 2321 313                                   1063 1075                                              2541                                                    week 91- 347 3416                                         20817 2122
  3116 3324 386                                  10710 10721                                          vs   11    -      1325                                     5412 8111 1671                                           2134 2149
  3916 406 4015                                  1088 1121 1153                                                                                                   167416771678                                            21423 21424
 429 4218 4411                                   1161 11921                                                                                  W                    1679                                                    21525 22418
 471 4916 505                                    1207 1209                                                                                                      weekdays                     1I          -       18419    23425 2419
  5121 535 5310                                  12012 12118                                          waistlil                   -           507                weekend                 2            -    973             2455 2578
  5411 5720 594                                videos          129                 -
                                                                                       224            waistline                              121-       497       18420                                                  Witness             131-          12819
 604 6219 6519                                   2221 2322 2422                                         499                                                     weekends                     11- 18421                    17924 21522
 6811 6917 7325                                  2614 2624 284                                        wait                  -    2513                           weekly        iI         -   2181                        WITNESS                     231-       158
                                                                                                                Ill



  7410 7423 754                                 291 302 304                                                                                                                                                               165 319 4115
                                                                                                      waive            2             -       12519              weeks 71- 3319
  771 789 7815                                  6710 6925 7014                                          12523                                                     16813 16814                                             954 12812 1797
  7825 7919 8118                                 7122 727 7416                                        walk 11-                       605                          16914 19016                                             1802 1807
  8122 951 953                                   7417 7817                                            walks                          -       415                 2093 2094                                                18119 1849
                                                                                                                       Ill

  9916 9924 1062                                 10516 10521                                                                                                                                             1971             18523 18525
                                                                                                      wall      ij          -    2349                           weighed             Ill
                                                                                                                                                                                                 -


  10618 10811                                    1126 11516                                                                                                                                  20825                        19920 2018
                                                                                                      wallet            1161-                     3414          weight t1-
  111712223                                      11517 11518                                                                                                                                                              20414 20622
                                                                                                        3421 354 4723                                           Wells   161-             348 3417
  12617 1283                                     11620 11625                                                                                                                                                              2123 21422
                                                                                                        1081010814                                               516 5212 5216
  1288 25221                                     11910 12019                                                                                                     5311                                                     24615 2479
                                                                                                        10819 10821
van   l1-            13917                       12020                                                                                                                                                                    2503 26016
                                                                                                        108251091.                                              West    111-        26023
variances                               1233                                                                                                                                                                                                                    9815
                                 111-          videotape                           31-      123         1132 11313                                              western            Ill
                                                                                                                                                                                             -           10518
                                                                                                                                                                                                                         witnesses                       141-


varied           21-             2419            1211 2912                                                                                                                                                                12811 1792
                                                                                                        1131411316                                              whichever                    l11-                811
  2178                                         videotaped                                       299                                                                                                                       21412
                                                                                       121-
                                                                                                        11511 1253                                              white   19      -        1046
                                  14019          893                                                                                                                                                                     womb                            19625
                                                                                                                      2                      1353
variety                                                                                                                                                                                                                              31-
                             -

                                                                                                      walls                                                       1047 18711
                 lit
                                                                                                                                 -



various              71-           2422        videotapes                                   -
                                                                                                        1355                                                                                                              2054 2095
                                                                                       8I                                                                         18811 18818
      Case 4:16-cv-00133-O Document 23-19 Filed 07/06/17                             Page 101 of 101 PageID 5313
                                                                                                              30




      women            11-                   888            2573

      won    21-               14519                       years 91-   527
       14521                                                11919 12920

      word    131-                 2716 811                 1315 1814 1847
       10410                                                19014 21616

      words                              959                2181
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       11819 21919                                         yellow 71-      9720
      wore    iI           -       352                      1086 12622
      world t1-                          2014               1271315815

      worn    1            -        798                     1592 15914
      worried                            -       14125     yesterday    101-   116
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      Worse        i           I
                                    -    16414              141 328 346
      Worth        51-                   121                387 389 473

       7624 13017                                           4720 11412
       16718 26023                                          11721

      wound                                  2067          you-all   51-   7114
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       2068 20619                                           1133 11412
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       2071 2072
       21112 21114                                         yourself    3 2117
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      wounds                                      19421    yourselves
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       1964 19620
       19623 20320                                                         z
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       2098 2099 2116
       21122 21124
       21213 21219
       21319 2144
      wreck        iI               -    21715

      wrecker                      ill
                                             -   17423

      write    21-                   1562
        17721

      writing              121-              19817
        2608
      written              31-               2716
        2818 17725


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      x-rays           111                   18517
      XL    111-
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      yall 9I          -           13414

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      year    151-                       6120
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